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                                                            RESEARCH ARTICLE

                                                            Gastrointestinal Disorder Associated with
                                                            Olmesartan Mimics Autoimmune
                                                            Enteropathy
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                                                            Abstract
  GOPEN ACCESS
  Citation: Scialom S, Malamut G, Meresse B, Guegan
  N, Brousse N, Verkarre V, et al. (2015)
                                                            Background and Objectives
  Gastrointestinal Disorder Associated with Olmesartan      Anti-hypertensive treatment with the angiotensin II receptor antagonist olmesartan is a rare
  Mimics Autoimmune Enteropathy. PLoS ONE 10(6):            cause of severe Sprue-like enteropathy. To substantiate the hypothesis that olmesartan
  e0125024. doi:10.1371~oumal.pone.0125024
                                                            interferes with gut immune homeostasis, clinical, histopathological and immune features
  Academic Editor: Anthony Peter Sampson,                   were compared in olmesartan-induced-enteropathy (OlE) and in autoimmune enteropathy
  University of Southampton School of Medicine,
  UNITED KINGDOM
                                                            (AlE).

  Received: October 5, 2014

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                                                            Methods
                                                            Medica] files of seven patients with OlE and 4 patients with AlE enrolled during the same
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                                                            period were retrospectively reviewed. Intestinal biopsies were collected for central histo-
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                                                            pathological review, T cell Receptor clonality and flow cytometric analysis of isolated intesti-
  access article distributed under the terms of the
  Creative Commons Attrfbution Ucense, which permns         nal lymphocytes.
  unrestricted use, distribution, and reproduction in any
  medium, provided the orignal author and source are
  credned.                                                  Results
  Data Avaaabifity Statement: All relevant data are         Among seven olmesartan-treated patients who developed villous atrophy refractory to a
  within the paper.                                         gluten free diet, three had extra-intestinal autoimmune diseases, two had antibodies react-
  Funding: The authors have no support or funding to        ing with the 75 kilodalton antigen characteristic of AlE and one had serum anti-goblet cell
  report.                                                   antibodies. Small intestinal lesions and signs of intestinal lymphocyte activation were thus
  Competing Interests: The authors have declared            reminiscent of the four cases of AlE diagnosed during the same period. Before olmesartan
  that no competing interests exist                         discontinuation, remission was induced in all patients (717) by immunosuppressive drugs.



  PLOS ONE 1001:1 0.1371/journal.ponem 25024 June 23, 2015                                                                                                       1/9
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                                           mitochondria, -LKM1, -smooth muscle, -thyroid) and serological tests of celiac disease (serum
                                           immunoglobulin IgA (AGA) and IgG (AGG) anti-gliadin antibodies, serum IgA class endomy-
                                           sia! antibodies (EMA), serum anti-human tissue transglutaminase IgA (tTG) antibodies) were
                                           also recorded. HLA-DRB1 and DQBl genotyping was performed by hybridization with
                                           sequence-specific oligonucleotides following amplification by PCR, using the InnoLipa HLA
                                           genotyping test (Abott, Rungis France) [Z]. Endoscopic evaluation included upper gastrointes-
                                           tinal endoscopy or enteroscopy with gastric and small intestinal biopsies, colonoscopy with
                                           colonic biopsies. Clinical response was defined by a reduction of 50% of stool frequency and
                                           recovery of at least 50% of body weight loss. Mucosal response was defined by total or partial
                                           recovery of a normal villous epithelium [.Ill.
                                               For histological analysis, gastrointestinal specimens were fixed in 10% formalin, embedded
                                           in paraffin, and 5 flil1 sections stained with H&E and Giemsa. Villous atrophy was assessed on
                                           two to 3 duodenal biopsies as described [2]. Duodenal lymphocytosis was defined by counts of
                                           intraepitheliallymphocytes (IEL) over 30 per 100 duodenal epithelial cells (EC), lymphocytic
                                           gastritis by IEL counts over 25 per 100 gastric columnar EC and lymphocytic colitis by IEL
                                           counts over 20 per 100 surface colonic EC. Apoptotic bodies (single-cell karyorrhectic debris)
                                           were assessed and were enumerated per 10 crypts [2.].
                                               Isolation of IEL,lamina propria lymphocytes (LPL) and peripheral blood lymphocytes
                                           (PBL) was performed as described [~ lQ, lJ]. Surface Lymphocyte phenotype was assessed by
                                           8-color flow-cytometry. Briefly, pellets of2-5xl04 cells were incubated for 20 minutes with
                                           mixof antibodies directly conjugated with FITC, APC, PE, PE/Cy7 BD-Horizon-V450, PerCPI
                                           Cy5.5, AmCyan, APC-H7 at optimal concentrations. The following antibodies were used:
                                           CD45, CD3, CD4, CDS, NKP46, CD56, CD57, NKG2A, control isotypes (BD Biosciences, Le
                                           Pont de Claix, France), CD103, NKG2C, CD94, TCRo:~, TCRyo (Beckman Coulter, Nyon,
                                           Switzerland) and NKG2C (R&D system, Abingdon, UK). For intracellular FOXP3 detection,
                                           cells were surface labeled with CD45, CD4 and CD25, and then fixed, permeabilized using
                                           Human FOXP3 Buffer Set (BD Biosciences) and labelled with PE-conjugated anti-human or
                                           control isotype (BD Biosciences). Fluorescence staining was analyzed with a FACSCanto II
                                           flow cytometer using the DIYA software (BD Biosciences) and gated on CD45+ cells.
                                               Molecular detection of clonal TCRy chains rearrangements was performed on DNA
                                           extracted from frozen specimens and from PBL by multiplex PCR and confirmed by analysis
                                           ofheteroduplex formation, as described [ll].

                                           Ethics Statement
                                           The study was approved by the lle-de-France II ethical committee (Paris, France).

                                           Results
                                           Clinical and immunological characteristics (Table 1)
                                           Seven patients treated by olmesartan were referred to our medical center between 2000 and
                                           2014 for unexplained severe enteropathy with villous atrophy refractory to a gluten free diet
                                           (T!!-.l>le 1). All had chronic diarrhea with malnutrition. Four of them (patients 1, 2, 4 and 5)
                                           were treated by parenteral nutrition at time of admission and two patients had already been
                                           hospitalized for severe hypokalemia (patients 1 and 4). Three patients had extra-
                                           intestinal autoimmune diseases. Four patients had the celiac HLA-DQ2/DQ8 susceptibility
                                           genotype. Celiac antibodies (IgA and IgG anti-gliadin and anti-transglutaminase, IgA anti-
                                           endomysium) were tested before initiating a gluten free diet and were negative except in one
                                           HLA-DQ2 patient (patient 1) who had low titers of serum IgA anti-
                                           transglutaminase (Table 1). Primary immunoglobulin deficiency was eliminated in all patients.




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  Table 1. Clinical and immune characteristics.

  Case           Sex    Age       Autoimmunediseases                      BMI   DQ2/   Anti AlE     anti·   tTG     IGA    ANA     Duod       Lymphocytosis
                        (y}                                                     8      75kDa        E
                                                                                                                                            Duod     Sto    Col
  Olme-
  sartan
                 F      74        Goujerot Sjogren                        17    +      +            net     +              +       TVA      30%
  2              F      72                                                23    nd     +            nd                     nd      STVA     40%
  3              F      69        Uveitis Cholangitis                     17    +                                   nd     +       STVA     40%
  4             M       79                                                20    +                                   nd     +       TVA      30%
  5             M       60                                                21                                        nd             TVA      100%     +
  6             F       65        Cholangitis                             20                        nd                     +       TVA      30%
  7             M       77                                                24    +      nd           -*                     nd      STVA     30%
  Mean                  71                                                20    67%    33o/o        0%      14%     0%     80%              43%      14%    0
  AlE
  8             F       17        Auto I Pancreatitis anti-               16    +      +            nd                     +       TVA      40%
                                  phospholipid Sd Polyarthritis
  9             F       23                                                21           +            +                      +       TVA      90%      +      +
  10            F       19                                                20           +                    +              nd      STVA     57%             +
  11            F       41                                                18           +            nd      +       +      +       STVA     65%
  Mean                  25        25%                                     19    25%    100%         50%     50%     25%    100%             63%      25% 50%

  *: detection of serum anti-goblet cells antibodies.
  Ab: antibody. Anti-E: anti-enterocyte Ab. ANA: anti-nuclear Ab. BMI: Body Mass Index. Col: colon. Duod: duodenum. EMA: lgA anti-endomysium. IGA: lgA
  anti-gliadin. Lymphocytosis: number of intraepitheliallymphocytes for 100 epithelial cells. LC: lymphocytic colitis. LG: lymphocytic gastritis. Sto: stomach.
  tTG: lgA anti-transglutaminase. VA: villousatrophy. TVA: total villousatrophy. ST VA: sub-totalvillousatrophy. PVA: partial villousatrophy. y: years.
  Noserum anti-tTG lgG or antigliadin lgG was found. No lgA anti-endomysium was found.

  doi:1 0.1371{joumal.pone.0125024.t001


                                                        Serum antibodies reacting with goblet cells or with the brush border 75-kilodalton antigen
                                                        {AIE-75KD) were detected in one {1/4) and 2 patients {2/6), respectively. Serum anti-
                                                        nuclear antibodies were detected in 4 patients {4/5).

                                                        Histopathological findings (E.ig_1)
                                                        Duodenal or jejunal biopsies showed subtotal (patients 2, 3 and 7) or total villous atrophy
                                                        {patients 1,4, 5 and 6), dense lymphocyte and plasma cell lamina propria infiltration and crypt
                                                        rarefaction {patients 1-7), paucity of goblet cells and glandular apoptosis (patients 2 and 4).
                                                        Such intestinal pathological features were reminiscent of those observed in 4 patients with
                                                        adult autoimmune enteropathy (AIE) investigated during the same period (Fig 1). An intestinal
                                                        collagenous subepithelial layer thicker than lOfilll was observed in patient 1, as in one AlE
                                                        patient (patient 9). Patient 4 had very high numbers ofiEL in the duodenum (100%) and dis-
                                                        played lymphocytic gastritis. Similarly, two AIE patients (9 and 10) with increased numbers of
                                                        duodenal IEL also had lymphocytic gastritis and/or colitis (Table 1).

                                                        Lymphocyte isolation and 'flow cytometry analysis (Tables 2,, ~and~)
                                                        Yield of isolated IEL was low or normal in all patients with OlE and AlE (0.1-0,3xl0 6/6
                                                        duodenal biopsies) except for patient 11 with AlE complicated by a CD4+ lymphoma which
                                                        infiltrated the gut epithelium. In contrast, and in keeping with lamina propria infiltration in
                                                                                                             a
                                                        tissue sections, the yield ofLPL was increased (0,8 1.5x106/6 duodenal biopsies, normal 0.5
                                                        ±0.1). Flow cytometry analysis showed a predominance of CD3+ TCRa~+T cells in IEL and




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  Fig 1. H&E staining of the duodenal biopsies of one patienttreated with Olmesartan (patient 2) (A, B) and of one patient with AlE (patient 7) (C, D)
  showing subtotal villous atrophy (A, C: original magnification x 100) with glandular apoptosis (B, 0: original magnification x200).
  doi:10.1371Jjoumal.pone.0125024.g001



                                                LPL. In contrast with observations in celiac disease, the frequency of yoT IEL was low in both
                                                OlE and AlE, while the frequency of CD4+ IEL was often high in OlE. A very high count of
                                                CD4+ IEL cells was observed in patient 10, who had AlE complicated by a CD4+small cell T
                                                lymphoma which infiltrated the epithelium. In some OlE and AlE patients, T cells expressing
                                                the CD57 or NKG2C NK markers were increased in epithelium and lamina propria, suggesting
                                                chronic activation. Interestingly, the frequency of the normal subset ofiEL lacking surface
                                                CD3 and expressing the NK marker NKP46 was higher in patients with OlE than with AlE
                                                (Table 2), even if the difference was not statistically significant. The frequency of CD3- IEL
                                                remained however within normal values, thus eliminating type II refractory CD (Tables 2. and
                                                ~ [l.Q]. No deficit in the number of intestinal and blood regulatory T cells CD4+CD25
                                                +FOXP3+ was found either in OlE or in adult AlE (Tables .2. and .4). No clonal rearrangement
                                                ofT cell receptor gamma was found in intestinal mucosa of patients treated with olmesartan,
                                                while two out offour adult AlE displayed either an oligoclonal (patient 9) or clonal (patient 11)
                                                repertoire [2_,2).




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  Table 2. Phenotype of intestinal intraepitheliallymphocytes.

   Case                         CD103+                 COB+     CD4+             TCR             CD94+      CD 56+   CD57+    NKP46         NKG2A            NKG2C

                            CD3+         CD3-                             «II
  Olmesartan
  1                         71%          2%            67%      30%       86%          5%        20"/o               3%       3%            5%               5%
  2                         60%          21%           83%.     23%       74%          3%                   44%               26%                            10%
  3                         69'%         23%           64%      H%        59%          12%       27%        37%      16%      37%           17%              3%
  4                         83%          5%            66%      35%       92%          2%        46%        5%       18%      6%            5%               8%
  5                         47%          30%           54%      19%       64%          6%        2q%        10%      24%      aso(o         7%               80%
  6                         53%          14%       46%          29%       72%          4%        16%        11%      9%       12%           10%              7%
  Median                    65%          17%       64%          26%       73%          4%        20%        11%      16%      19%           7%               7%
  AlE
  B                         71%          5%            70%      24%       85%          2%        64%        22%      2%       6%            5%               80%
  9                         79%          1%            80%      4%        95%          3%        27%        3%       10%
  10                        88%          4%            90%      4%        94%          0%        8%         6%       7%       1%
  11                        93%          3%        400,.{,      60%*      88%          8%        13%        2%       1%       7%            4%               5%
  Median                    84%          4%        75%          14%       91%          3%        20%        5%       5%       6%            4%               48%
  Normal val1.1e (%)        8()-95       ~20       60-85        5-15      71H18        12-20     16--38     9-19     0        5-15          11--38           1-5

  *:excess of CD4+ IEL with onset of CD41ymphoma after two years treatment with azathioprine (Case published in Malamut et al, ClinGastHepatol2014);
  flow cytometry analysis of AlE onset is not available.

  doi:1 0.1371~oumal.pone.0125024.to02


                                                         Outcome of olmesartan-induced enteropathy (Table 5_)
                                                         Patients were treated with olmesartan for 2 to 10 years at a mean dosage of20mg/day at onset
                                                         of diarrhea. Following diagnosis of villous atrophy resistant to a gluten free diet, they received
                                                         steroids and immunosuppressors (Table 5). In all but one (patient 4), steroids and immuno-
                                                         suppressors were introduced before olmesartan discontinuation (Table 5). Treatment with
                                                         anti-TNF-aantibodies induced clinical response in 5 patients (5/6) with partial villous recovery

  Table 3. Phenotype of lamina propria intestinal lymphocytes.

  Case                    CD103+ CD3+          CD103· CD3+        CDB+     CD4+      TCR alpha      CD19+    CD94+   CD56+   CD57+     NKG2C         CD4+ CD25+
                                                                                     beta                                                            FOXP3+
  Oliriesartan
  1                       34%                  52%                35%      53%       80%            8%       3%              1%        3%            5%
  2                       25%                  53%                50%      45%       74%                             42%               6%            6o/o.
  3                       28%                  62%                39%      51%       84%            8%       12%     5%      10%                     6%
  4                       23%                  66%                38%      56%       85%            8'Y<>    17%     1%      11%       1%            11%
  5                       42%                  39%                47%      38%       73%            8%       3%      5%      30%       17%           4%
  6                       26%                  52%                37%      39%       68%            ~3%      10%     2%      9%        5%            10%
  Median                  27%                  53%                39%      48%       77%            so;.     10%     5%      10%       5%            6%
  AlE
  8                       23%                  49%                40%      38%       73%            18%      24%     14%     5%        3%            .8%
  9                       54%                  45%                5S%      38%                                                                       4%
  10                      38%                  57o/~              47%      49%       !W/o           5%       7%      6%      8%                      8%
  H                       38%                  75%                33%      54%       83%            1%       27%     10%     5%        16%           1%
  Median                  ~8%                  53%                43%      44%       83%          ·S%        24%     10%     5%        10%           6%
  Normal Vali.Je (%) . 2G-::35                 411-70             3o-so    4(),-60   65-85          5-10     <8      <1.0    <1       . <0,5         2-12
  doi:10.1371~oumal.pone.0125024.to03




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   Table 4. Phenotype of peripheral blood lymphocytes.
   Case                    CD103+CD3·     CD3+CD8+       CD3+CD4+          TCR alpha beta   CD19+    CD94+    CD56+   CD57+   NKG2C     LT CD4+ CD25+
                                                                                                                                        FOXP3+
   Olmesartan
   1                       0.5%           10%            49%                                11%                                         3%
  2                        0.5%           f.!%           63%               69%                                52%                       5%
  3                        0.1%           25%            50%               71%              17%      15%      13%     16%               3%
  4                        0.1%           13%            62%                                30%                               1%        4%
  5                                       19%            47%                                6%                                6%        6%
  6                        0.1%           37%            39%               81%              8%                8%      16%     0%        1%
  Median                   0.1%           16%            50%               71%              11%      15%      13%     16%     1%        4%
  AlE
  8                        0.0%           34%            39%               68%              7%       23%      57%     31%     73%       4%
  9                        0.4%           38%            50%                                         30%      20%     26%
  10                      0.0%            30%            61%               87%              4%       6%       11%     19%               4%
  11                      0.2%            22%            61%.              78%              1%       12%      5%      13%     3%        3%
  Median                  0.1%            32%            55%               78%              4%       17%      16%     23%     38%       4%
  Nom1al Value.(%)        <1              30-50          40-60             65-85            5-20     5-25     5-25    5-25    0         2-12
  doi:10.1371fJQurnal.pone.0125024.t004



                                                  in 3 patients (3/6). FK-506 and rapamycin were used in patient 1, who had collagenous-
                                                  like sprue and induced complete clinical and histological recovery with disappearance of the
                                                  collagenous subepithelial layer. After olmesartan discontinuation, remission was maintained
                                                  despite withdrawal of immunosuppressive drugs in patients l, 2, 5 and 6. Complete mucosal
                                                  recovery was confirmed on control intestinal biopsies performed 2 to 7 months later and these
                                                  patients remain in clinical remission at latest follow-up, one year after cessation of immuno-
                                                  suppression interruption. Patient 4 had stopped olmesartan six months before admission as
                                                  hypertension had resolved because of the severe diarrhea. Despite this, diarrhea persisted, with
                                                  important potassium loss that required intravenous supplementation and prolonged hospitali-
                                                  zation. Steroids given intravenously were inefficient but infusion of anti-TNF-aantibodies

  Table 5. Treatments.
                           Steroids         AZA/6MP              Anti·TN F-a           Cyclosporin           Rapamycin        FK-506           Rituximab
  olme~rtan
  1                        10m:-/-          4m:-/-               1 m:-/-                                     2m:+l+           Bm:+l+
  2                        12m: +I+         6m:-/nd              30m: +1-
  3                        em: +lnd         48m: +lnd
  4                        ~ m:-tild                             12m.: +I+
  5                        1m:-/nd                               6m: +1-
  6                        12m:+/nd         12m: +lnd            12m: +I+                                                     1m:·/hd
  7                       12m: +I+                               12m: +I+
  AlE
  8                       2m:-/·            1m:-/-               9m:-/-                36m:+/+
  9                       47m:+l+           114m:·.+t-           2m:-/-                                                                        1rrii·l•
  10                      tsm:-t nd         2m:-/nd              iOm: +I·              12m: +I+                                                nd
  11                      6rri:-/nd         14m:+/+                                   ·•                                                       .1.m:•/·

  m: month. AZA: azathiopurin. 6MP: 6 mercaptopurln. clinical response (+ or-) I mucosal effect (+/-)

  dol:10.1371{joumal.pone.0125024.t005




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                                            rapidly induced clinical remission. Mucosal healing was observed after seven months of treat-
                                            ment and no relapse was observed after two years without any immunosuppressive treatment.
                                            Patient 7 was already treated with anti- TNF-a at time of olmesartan interruption. Despite
                                            olmesartan discontinuation, diarrhea relapsed after anti-TNF-a withdrawal but remission was
                                            restored when anti-TNF-atherapy was resumed. Three months after olmesartan discontinua-
                                            tion, he is still treated with anti-TNF-a. Despite being informed of the risks, patient 3 has not
                                            stopped olmesartan and still needs azathioprine to control diarrhea.

                                            Discussion
                                           During the past three years, several cases of severe enteropathy were described in association
                                           with olmesartan [.2, 12]. A recently published six year-review of pathology reports of patients
                                           investigated in the US showed no association between the use of olmesartan and the histologi-
                                           cal diagnosis of celiac disease or microscopic colitis, respectively [ll] suggesting that this severe
                                           gastrointestinal disorder is a rare adverse effect of this angiotensin receptor-blocker. Our obser-
                                           vations further suggest that OlE affects predisposed individuals. As already reported by Rubio-
                                           Tapia, we observed an increased prevalence of the HLA-DQ2/DQ8 genotype (67%), which pre-
                                           disposes to celiac disease or to type I diabetes. In support of our hypothesis, extra-intestinal
                                           autoimmune diseases were found in 3/7 patients.
                                               The olmesartan prodrug is converted within the small bowel into olmesartan medoxomil,
                                           the active compound, which binds the angiotensin 2 receptor ATl [14, lS,lQ]. How olmesar-
                                           tan can induce severe inflammation and intestinal damage remains to be elucidated. In keeping
                                           with the hypothesis of an immune mechanism, OlE referred to our institution shared striking
                                           similarities with AlE. In both situations, severe villous atrophy was associated with glandular
                                           apoptotic lesions and increased numbers of intestinal T cells expressing the NK markers CD57
                                           or NKG2C. Antinuclear and anti-AIE-75KD or anti-goblet cells antibodies were found in
                                           respectively 80% and 43% of patients. Moreover, all patients with OlE responded to immuno-
                                           suppressive drugs. Cases of patients 4 and 7 are particularly informative, as anti-TNF-a ther-
                                           apy was necessary to achieve remission of a self-sustaining enteropathy after olmesartan
                                           discontinuation. It suggests that olmesartan could trigger immune-mediated enteropathy, a
                                           hypothesis in line with the inhibitory effects of the angiotensin receptor blockers on transform-
                                           ing growth factor beta, an immunoregulatory cytokine necessary for gut immune homeostasis
                                           [17]. Interestingly, cases of enteropathy related to other angiotensin II receptor inhibitors seem
                                           to be much less frequent than OlE [1]. The selective role of olmesartan might be explained by
                                           its conversion into the active form in the intestine, its long half-life and its efficacy, 30 fold
                                           higher than that of other sartans.
                                               Altogether these data support caution when using olmesartan in patients with an autoim-
                                           mune background.

                                           Author Contributions
                                           Conceived and designed the experiments: GM SS NCB CC. Performed the experiments: BM
                                           NG NB VV CD EM. Analyzed the data: GM SS BM NCB VV NB. Contributed reagents/mate-
                                           rials/analysis tools: GM CC BM NCB VV NB PS GS GC LV LM FC CD EM. Wrote the paper:
                                           GM SS NCB. Performed the retrospective analysis of medical files, collected clinical, histologi-
                                           cal and molecular data: GM SS. Performed histological review of biopsies specimens: VV NB.
                                           Performed molecular analysis: CC EM. Provided clinical data: PS GS GC LV LM FC CC. Per-
                                           formed isolation and phenotyping ofintestinallymphocytes: BM NG. Contributed to data
                                           analysis: NCB. Reviewed the paper: GM SS BM NG NB VV CD EM PS GS GC LV LM FC
                                           NCBCC.



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  ·.(~f.PLOS I ONE                                                                                                              Olmesartan Enteropathy



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                 Identification of new cases of severe enteropathy
                 has recently increased the spectrum of intestinal
                 non-celiac villous atrophy

                 Georgia Malamut, Nadine Cerf-Bensussan & Christophe Cellier

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    Identification of new cases of severe
    enteropathy has recently increased
    the spectrum of intestinal non-celiac
    villous atrophy
    Expert Rev. Gastroenterol. Hepatol. 9(6), 719-721 (2015)


                      Georgia Malamut                     From olmesartan,induced enteropathy to small CD4+ T,cell intestinallymphoprolif,
                      Author:.fQr.(orrespood~ce:
                                                          eration, the spectrum of non,celiac villous atrophy has recently been largely
                       Uni~fte Pwis                       extended. Precise characterization of the different types of non,celiac enteropathy
                       desc~(fe$,$orbonne Paris Centre.   with villous atrophy is necessary to avoid misdiagnosis, to identify a causal
                     · Paris, France                      mechanism and propound appropriate therapeutic strategies. This paper discusses
                       and
                       Gastrqentero!ogy Oepartlllent,     how to use the different diagnostic tools to address diagnostic criteria, citing the
                     . HopitQI EuropeeiJ Georges          examples of recent new cases of non,celiac enteropathy with intestinal villous
                       PompidooAPHP;20 riie.Lebfar:ic     atrophy.
                       751/IS Parfs. France
                       a.nd        ·
                                                          Within the past 20 years, the spectrum                 lymphocytes and multiplex PCR detec-
                       fnserm UMR1 I 63 lnstitut
                       lm<~gine; Paris, France            of non-celiac enteropathy with villous                 tion of T-cell rearrangements [S]. For
                      T~. .' +3:] 151$.Q93 561            atrophy has considerably increased.                    example, CD4 lymphoproliferations are
                      Fax: +.33 156 093 529
                                                          Besides Whipple disease and tropical                   often misdiagnosed by routine histology
                      georgi/l.mai~miitfi»~p.;;php.fr
                                                          sprue [I], some entities have been more                and confused with clonal refractory
                                                          recently characterized such as adult auto-             celiac disease due to the combined
                                                          immune enteropathy [2], or common                      presence of villous arrophy, decreased
                                                          variable immunodeficiency (CVID) [3].                  frequency of cos+ intraepithelial lym-
                                                          Expert histopathological analysis with                 phocytes (IEL) and presence of intestinal
                                                          immunohistochemistry is necessary for                  clonal T-cell receptor rearrangement [6.7].
                                                          diagnosis of the precise type of intestinal            Flow cytometry is very useful to demon-
                                                          non-celiac villous atrophy. For example,               strate that, in contrast with type II
                                                          chorionic plasmocytic rarefaction and                  refractory celiac disease, counts of
                                                          nodular lymphoid hyperplasia point out                 CD103+Co3- IEL are very low, while
                                                          to CVID enteropathy, and the diagnosis                 the frequency of CD103-CD4+ IEL is
                                                          can be confirmed by serum protein elec-                increased due to diffusion of malignant
                                                          trophoresis and anamnesis of frequent                  lamina propria CD4+ T cells into the
                                                          upper respiratory tract infections [3].                epithelial compartment. Flow cytometric
                                                          HLA of type II may also be useful as                   determination of malignant CD4+
                                 APHP,·                   absence of HLA haplotypes encoding                     T cells is less informative in lamina
                     RiO 15 Pi!rfs. France                                                                       propria that is naturally rich in CD4+
                     and
                                                          HLA-DQ2 or DQ8 excludes celiac dis-
                     !ii$erm UMR!ti;3.in$titvt            ease as a cause of villous arrophy [4].                T cells bur cytometry may allow identifi-
                     Imagine; Paris, 'Fi;lnce             Nevertheless, genotypes HI..A-DQ2/                     cation of the T-cell receptor Vbeta chain
                                                          DQ8 can be found in non-celiac enter-                  used by the donal malignant CD4+
                                                          opathy such as in patients with CVID                   T cells. Detection of this Vbeta chain is
                                                          bearing celiac susceptibility genotypes in             then helpful to monitor diffusion and
                                                          77% of cases [3]. In situ studies of intes-            response to treatment [6,7]. Serology is
                                                          tinal biopsy can be usefully completed                 another complementary diagnostic tool.

    EXPERT                 I                              by flow cyrometric analysis of intestinal              Anti-transglutaminase antibodies can be


    IREVIEWS
                                                          .t<ffl.vQRils: autoimmune enteropathy • cei;ac disease • intestin(!l.lymphoprpliferatipn • olmesarta~
                                                          enteropatb~ • v~lou~   atrophy              . .


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                        Malamut,      Cerf-B~nsussan   & Cellier



 observed in one-third (5/15) of patients with adult autoim-                 olmesartan-induced enteropathy, 32/36 of which had villous
 mune enteropathy and thus lack specificity to eliminate celiac              atrophy but none of them had serum anti-transglutaminase
 disease [2], In contrast, the presence of serum antibodies against          antibodies [14]. In our experience (personal data) [15], olmesartan
 enterocytes or goblet cells is characteristic of autoimmune                 enteropathy can mimic autoimmune enteropathy. Common
 enteropathy [2]. Serum antibodies can be detected by staining               histological features were severe villous atrophy with glandular
 intestinal tissue sections and/or by radioimmunoassay detecting             apoptotic lesions. One-third of patients displayed serum anti-
 reactivity of anti-enterocyte antibodies reacting with the brush            A1E-75KD antibodies and, before olmesartan discontinuation,
 border 75-kDa antigen (AIE-75KD) first described in immune                  all had responded to immunosuppressive drugs [15]. A recent
 dysregulation, polyendocrinopathy, enteropathy and X-linked                 US study demonstrates that this severe gastrointestinal disorder
 (IPEX) syndrome [8]. Several rare genetic immune diseases of                is in fact a vety rare adverse effect of this angiotensin receptor-
Mendelian inheritance have recently been identified as a possi-              blocker (16]. It is therefore possible that olmesartan enteropathy
 ble cause of autoimmune enteropathy. Most have an early onset               only affects predisposed individuals. The pathogenesis of
in infancy. Yet, some such as cytotoxic T-lymphocyte-associated              olmesartan-induced enteropathy remains to be elucidated. Since
protein 4 haploinsufficiency and signal transducers and activa-              angiotensin receptor blockers can inhibit signals from trans-
tors of transcription 3 activating mutations can be of incom-                forming growth factor beta, a key immunoregulatory cytokine
plete penetrance and develop only at the adult age stressing the             (J7], Rubio-Tapia et al. have suggested an immune-mediated
need to consider immunological workup and genetic analyses                   mechanism. This hypothesis is supported by the increased prev-
in these patients [9].                                                       alence of the HLA-DQ2/DQ8 genotype [12,15], the presence of
    Pharmacological drugs such as mycophenolate mofetil may                  extra-intestinal autoimmune diseases in one-third of our
also cause intestinal villous atrophy [IO). The mechanism of its             patients and the beneficial effect of immunosuppressive drugs,
toxicity remains unclear. Recently, a new cause of sprue-like                which sometimes need to be pursued several weeks after olme-
enteropathy has been described in association with use of olme-              sartan discontinuation [15].
sartan, an angiotensin II receptor antagonist used to treat arte-               In conclusion, the use of new diagnostic tools has recently
rial hypertension. Indeed, several cases of chronic diarrhea with            considerably extended the spectrum of non-celiac villous atro-
weight loss, anemia and low serum albuminemia have been                      phy. Precise characterization of the enteropathy is indispensable
reported after the use of olmesartan [ll]. In 2012, Rubio-Tapia-             to identifY the causal mechanism and to propose a pertinent
et al. reported 22 cases of severe sprue-like enteropathy associ-            treatment.
ated with olmesartan [12]. All patients displayed villous atrophy.
Celiac susceptibility genotype HLA-DQ2 was found in around                   Financial & competing interests disclosure
68% of them, bur no serum anti-transglutaminase antibodies                   The authors have no relevant affiliations or financial involvement with
were detected and none of the patients responded to a gluten-                any Mganization or entity with a financial interest in or financial conflict
free diet. Notably, three of them had detectable serum anri-                 with the subject matter or materials discussed in the manuscript. This
enterocyte antibodies. In another series of 72 patients with                 includes employment, consultancies, honoraria, stock ownership or options,
unexplained intestinal villous atrophy and negative celiac serol-            expert testimony, grants m· patents received or pending, or royalties.
ogy, 16 cases were ascribed to the use of olmesartan [13]. More                 No writing assistance was utilized in the production of this
recently, a French National cohort study reported 36 cases of                manuscript.


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                                                  New cases of severe enteropathy with non-celiac villous atrophy



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        a national survey. Aliment Pharmacol Ther             other antihypertensives, and chronic                 in rat glomerular mesangial cells. J Clin
        20 14;40(9):1103-9                                    diarrhea among patients undergoing                   Invest 1994;93(6):2431-7

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        Published in final edited form as:
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         IL-15: a central regulator of celiac disease immunopathology

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        Summary
             Interleukin-15 (IL-15) exerts many biological functions essential for the maintenance and function
             of multiple cell types. Although its expression is tightly regulated, IL-15 upregulation has been
             reported in many organ-specific autoimmune disorders. In celiac disease, an intestinal
             inflammatory disorder driven by gluten exposure, the upregulation ofiL-15 expression in the
             intestinal mucosa has become a hallmark of the disease. Interestingly, because it is overexpressed
             both in the gut epithelium and in the lamina propria, IL-15 acts on distinct cell types and impacts
             distinct immune components and pathways to disrupt intestinal immune homeostasis. In this
             article, we review our current knowledge of the multifaceted roles ofiL-15 with regards to the
             main immunological processes involved in the pathogenesis of celiac disease.


        Keywords
              IL-15; celiac disease; tissue; autoimmunity; cytotoxic T cells; loss of oral tolerance


        Introduction
                           Since its discovery in 1994 (1-3), the role ofiL-15 has expanded tremendously from aT-
                           cell growth factor to pleiotropic cytokine that acts on virtually each cell type of the innate
                           and adaptive immune system. For a long time, IL-15 was viewed as a cytokine that primarily
                           plays a role in immune homeostasis, namely in NK cell and memory CD8+ T-cell
                           homeostasis. However, the fact that multiple reports depict the overexpression of IL-15 in
                           tissues targeted by autoimmune processes poses the question of whether IL-15 may play a
                           role in tissue immunity and be implicated in the development of organ-specific autoimmune
                           disorders. Celiac disease (CD) is aT -cell-mediated intestinal disorder induced by dietary
                           gluten that is a unique disease model to study the pathogenesis of autoimmune disorders in
                           humans. Since IL-15 was first proposed to play a key role in CD pathogenesis (4--6),
                           numerous studies have confirmed its role in multiple phases of the disease and expanded its
                           impact on multiple cell types and immunological responses. In this review, we discuss the


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        The authors declare no conflicts of interest.
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                           role of IL-15 in the pathogenesis of organ-specific autoimmunity using CD as a model, but
                           first we highlight some general key features ofiL-15 biology and CD pathogenesis.

          Overview of IL-15 biology
          IL-15 signaling and expression
                          IL-15 belongs to the family ofType I cytokines encompassing IL-2, IL-4, IL-7, IL-9, IL-21,
                          and IL-15 (7-9). It shares the yc chain (CD132) of its heterotrimeric receptor with all
                          members ofthe yc family cytokines (10) and the~ chain (IL-2115R~ or CD122) with IL-2
                          (11). The interaction ofiL-15 with IL-2/15R~ chain and yc chain leads to the
                          phosphorylation of Jak1 and Jak3, respectively, and to the activation of STAT5 (12-14).
                          The J ak-STAT signaling pathway supports T -cell and natural killer (NK) cell homeostasis
                          and expansion. In addition, IL-15 triggers other signaling pathways in T lymphocytes by
                          promoting the phosphorylation of the Src family cytoplasmic tyrosine kinases, Lck and Syk
                          (15-17), and by activating the phosphatidylinositol-3-kinase (PI3K), the kinase AKT (18,
                          19) and the Ras/Raf/MEK/mitogen-activated protein kinase (MAPK) (20-23) pathways that
                          lead to mitogenic and anti-apoptotic signals (reviewed in 24). Unlike IL-2, IL-15-driven
                          proliferation ofT lymphocytes requires FKBP12 (12-Kda FK506-binding protein)-mediated
                          p70S6 kinase (25). In addition, the recruitment ofTRAF2 and Syk to the cytoplasmic tail of
                          IL-15Ra chain has been shown to mediate IL-15 signaling in fibroblasts and neutrophils
                          (26, 27).

                           IL-15 is a unique cytokine, because it is not secreted and can be up regulated on the surface
                           of all cell types under conditions of inflammation and stress. Its expression on the cell
                          surface requires the 'private' IL-15Ra chain. IL-15 is bound to IL-15Ra intracellularly
                          during synthesis in the endoplasmic reticulum, shuttled to the surface, and is presented in
                          trans to responder cells expressing the other IL-15R subunits, IL-15R~ and yc; thus, IL-15
                          signaling acts in a cell contact-dependent manner (28-30). IL-15Ra stabilizes binding and
                          greatly enhances the affmity ofiL-15 for IL-2~ (31). Although IL-15 transpresentation
                          represents the main mechanism by which IL-15 interacts with its receptor in vivo, alternative
                          mechanisms have been proposed. For instance, cis-presentation represents another
                          mechanism that involves soluble IL-15 binding to IL-15Ra allowing signaling of adjacent
                          IL-2RWyc on the same cell (32-34). Murine and human IL-15 and IL-15Ra can exist not
                          only in membrane bound but also in a soluble form. Thus, the abundance of soluble
                          IL-15Ra!IL-15 complexes that are cleaved from the surface of cells (35-37) suggests that
                          IL-15 cornplexed to IL-15Ra could also mediate IL-15 responses. Nevertheless, it still
                          remains unclear whether cis-presentation or stimulation by soluble IL-15Ra!IL-15
                          complexes are active mechanisms in vivo (38). Expression of IL-15 is tightly regulated at the
                          level of transcription, translation, and intracellular trafficking, avoiding excessive protein
                          production and secretion (39). The translation ofiL-15 mRNA into protein is limited by the
                          presence of multiple AUG initiation sites in the 5'-UTR region, a long signal peptide, and a
                          negative regulatory element in the C-terminus of the IL-15 mature protein coding sequence
                          (39, 40). Alternative splicing also controls IL-15 expression. Distinct IL-15 isoforms
                          encoding the same mature protein that use different signal peptides are generated by
                          alternative splicing. These different signal peptides drive the trafficking of IL-15 to distinct



                               Immunol Rev. Author manuscript; available in PMC 2015 July 01.
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                          intracellular compartments where IL-15 isoforms are differentially translated (41-45).
                          However, it is unknown whether expression ofiL-15 isoforms contributes to tissue-specific
                          regulatory functions. In addition, multiple isoforms ofiL-15Ra contribute to IL-15
                          regulation. Splice variants of IL-15Ra in human monocytes and dendritic cells have been
                          shown to determine the mode of action ofiL-15, by either preventing the release ofiL-15/
                          IL-15Ra heterodimers from cell membranes thereby favoring transpresentation, or by
                          promoting the release of IL-15 as a soluble secreted cytokine that can act on neighboring
                          cells in a paracrine fashion (46). Therefore, IL-15 expression is fine-tuned at multiple levels
                          to ensure that the cytokine can undertake its numerous functions. The fact that IL-15 acts
                          mostly in a cell contact-dependent manner and that IL-2 preferentially signals via the high
                          affinity IL2Ra-IL2RS-yc receptor may explain why these two cytokines that share a
                          common signaling model yet promote different, and even opposing, outcomes. For instance,
                          it is striking to note that inflammation and autoimmunity are associated with IL-2 deficiency
                          (47-50) but that a dysregulated increase in IL-15 expression is observed in many
                          inflammatory autoimmune diseases (51).

                          Both stromal cells and antigen-presenting cells mediate IL-15 transpresentation depending
                          on the tissue of residence, their location within the tissue, and the responder cell (38). IL-15
                          expression by both hematopoietic cells and non-hematopoietic cells, i.e. medullary thymic
                          epithelial cells, hepatic stellate cells and bone marrow stromal cells, is involved in the
                          development and survival of naive CDS+ T cells, invariant NKT cells, and NK cells (52-58).
                          Macrophages and dendritic cells are critically involved in IL-15 transpresentation to
                          memory CDS+ T cells, hepatic invariant NKT cells, and differentiated NK cells (3 5, 52, 59-
                          65). Thus, distinct stages oflymphocyte differentiation require IL-15 transpresentation by
                          different cell types, which include both hematopoietic and non-hematopoietic cells (3S).

                          In the gut, IL-15 expression is influenced by innate immune signaling. Indeed, TLR4
                          activation was shown to upregulate IL-15 on dendritic cells (35), and intestinal epithelial
                          cells (IECs) require MyDS8 for the expression of IL-15 and to promote the maintenance of
                          intraepitheliallymphocytes (IELs) in an IL-lS-dependant manner (66). This suggests that
                          the microbiota, in the absence of overt inflammation, could continuously stimulate MyD88
                          signaling and hence contribute to the constitutive intestinal expression of IL-15 during
                          steady state conditions. Furthermore, it has been suggested that Nod2 signaling might
                          maintain the expression of IL-15 via recognition of the micro biota, as reduced IL-15
                          expression contributes to the loss ofiELs in NOD2-deficient mice (67). Finally,
                          consumption of a diet high in polyunsaturated fat leads to a decrease in IL-15 expression and
                          concomitant reduction in IELs (68). Nevertheless, whether a direct association exists
                          between diet, microbiota, and IL-15 expression has yet to be determined.

         Role of IL-15 in immune homeostasis
                          The critical multifaceted roles ofiL-15 during immune homeostasis are well established.
                          IL-15 regulates adaptive memory CD8aS TCRaS T cells, as well as innate and innate-like
                          lymphocytes. Its role in B-cell biology under physiological conditions is still under
                          investigation.




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                           Extensive characterization of mice deficient in IL-15 or in its private receptor a chain
                           (IL-15Ra) demonstrated that IL-15 is required for the development, maintenance, and
                           expansion of memory ens+ T cells (3S, 69-76), NK cells (77), and invariant NKT cells (49,
                           63, 70, 72, 7S). IL-15 promotes the survival of ens+ T cells by increasing the expression of
                           the anti-apoptotic molecule Bcl-2 (79). In addition to its extensive role in promoting cell
                           development and survival, it has been shown that IL- I 5 induces iNKT and NK cells
                           activation (35, 53, S0-84) and increases the cytotoxicity ofNK cells (85).

                           IELs in the small intestine represent a heterogeneous population ofT cells composed mainly
                           ofTeRa~ and TeRyo ens+ T cells residing within the intestinal epithelium whose main
                           role is to maintain the integrity of the epithelial layer by eliminating infected cells and
                           promoting epithelial repair (86). In mice, IL-15 and IL-15Ra expression on intestinal
                           epithelial cells (IEes) was shown to be critical for the survival and development of innate-
                           like T-cell lymphocytes, i.e. en8aa+ TeRa~+ T cells and TeRyo+ T cells (3S, 49, 63, 64,
                           70, 72, S7-S9). Furthermore, TeRyo+ IELs were also shown to be expanded in transgenic
                           mouse models where IL-15 is overexpressed in IEes (90). The mechanism underlying
                           IL-15-mediated survival ofunconventional IELs involves the activation ofthe Jak3-Jakl-
                           PI3K-Akt-ERK pathway to upregulate Bcl-2 and Mcl-1 (79, 8S, 91, 92). Additionally, it has
                          been suggested that IL-15 can regulate the generation of the restricted TeR variable gamma-
                          region gene repertoire ofTeRyo+ IELs (93), yet the exact role that IL-15 plays on yo T cells
                          is unclear. IL-15 does not seem to be critical for the survival ofTeRa~+ en8a~+ T cells
                          whose numbers are maintained in the absence ofiL-15Ra (72, 88). The limited expression
                          ofiL-2!15R~ expression on ensa~ T cells that reside within the intestinal epithelium could
                          provide an explanation as to why IL-15 is less critical for this subset of IELs in mouse (3 8),
                          yet the signals required for the survival of this subset of IELs remain to be determined.
                          Nevertheless, it was shown that human eD8a~+ IELs respond to IL-15 and its presence
                          increases their cytolytic properties (6, 94, 95) and upregulates the expression ofNK
                          receptors (5, 6, 96), suggesting that IL-15 may impact on en8a~+ IELs function under
                          inflammatory conditions. Furthermore, it was shown that TeRyo+ IELs are expanded in
                          intestinal organ cultures treated with IL-15 (97). IL-15 has also been recently implicated in
                          the activation of human intraepithelial Type 1 innate lymphoid cells by promoting the
                          production ofiFN-y (98). This latter observation is in line with the critical protective role
                          played by IL-15 in defense mechanisms against invading pathogens, especially in the gut
                          (99, 100). Although mice deficient in IL-15 or IL-15Ra exhibit normal numbers ofB
                          lymphocytes (70, 72, 101 ), in vitro studies also suggest that IL-15 can modulate B-cell
                          activities by promoting the differentiation and proliferation of activated human B cells as
                          well as immunoglobulin production (1 02, I 03). Finally, besides its wide range of activities
                          on lymphocytes, IL-15 has an impact on dendritic cells, neutrophils, and mast cells by
                          preventing their apoptosis (104-107).

         IL-15 overexpression in organ-specific autoimmune disorders other than celiac disease
                          In accordance with its essential role in regards to the control of immune homeostasis, IL-15
                          expression is tightly regulated at the translational, transcriptional, and intracellular
                          trafficking levels and coordinated with cellular fate in myeloid vs. lymphoid cells (39, 108).
                          Removal of these control mechanisms results in abnormal IL-15 expression in multiple cell


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                         types, whose 9 detrimental impact is exemplified in many autoimmune disorders and
                         chronic inflammatory diseases. More specifically, IL-15 is upregulated in tissue cells that
                         are targeted by an autoimmune process such as rheumatoid arthritis (109-114), multiple
                         sclerosis (115, 116, 120), psoriatic arthritis or psoriasis (117-119), systemic lupus
                         erythematosus (121-123), and type-! diabetes (124). Furthermore, increased levels ofiL-15
                         and/or IL-15-IL15Ra complexes have also been documented in the serum of patients with
                         systemic lupus erythematosus (121, 123) or type-! diabetes (124, 125). There is also
                         dysregulated expression ofiL-15 and IL-15Ra in the mucosal tissues of patients with
                         inflammatory bowel disease (IBD) ( 126-130).

                         Mechanisms invoked to explain the role of IL-15 in organ-specific autoimmune disorders
                         involve facilitating the maintenance of CDS+ mem01y T -cell survival including that of self-
                         reactive memory T cells (9, 51), bystander activation with secretion of additional
                         inflammatory cytokines by neighboring cells (51), activation ofB cells (129), and
                         upregulation of the activating NK receptor on CDS+ T cells (5, 6, 96, 131) and CD4+ T cells
                         (132, 133).

         Overview of celiac disease
                         CD is an inflammatory disorder with autoimmune features that occurs in genetically
                         susceptible individuals expressing HLA-DQ2 or HLA-DQS molecules. CD patients develop
                         inflammatory T -cell and antibody responses against dietary gluten, a protein present in
                         wheat, rye, and barley (134). In addition, CD patients develop autoantibodies specific for the
                         enzyme tissue trans glutaminase (TG2). The disease is the 'tip of an iceberg' that includes a
                         much larger undiagnosed population with various aspects of dysregulation of adaptive and
                         innate immunity in response to gluten (135). The typical histopathological picture of CD is a
                         small intestine enteropathy that is characterized by crypt hyperplasia, a massive increase in
                         IELs, and villous atrophy as a consequence of surface IEC destruction. CD can be classified
                         as classical or potential, depending on the presence of histological abnormalities in duodenal
                         biopsies (136). Potential CD is defined by the presence of inflammatory anti-gluten immune
                         response and anti-TG2 antibodies in the absence of villous atrophy, and therefore represents
                         an incomplete, less severe form of CD. In contrast, classical active CD is characterized by
                         the presence of villous atrophy (4, 137, 13S), even though the identification of mucosal
                         abnormalities upon intestinal biopsy is no longer required for diagnosis when anti-TG2-
                         antibodies are detected (136). Withdrawal of gluten from the diet is classically associated
                         with normalization of serology and progressive recovery of villous structures (139-143).
                         However, while full recovery tends to occur in children with CD, more than 40% of adult
                         CD patients maintain some level of histological anomalies on a gluten free diet (GFD) (144,
                         145). Furthermore, despite adherence to GFD, adult CD patients can develop a severe
                         complication called refractory celiac disease (RCD), viewed as an early stage of
                         enteropathy-associated T -cell lymphoma and characterized by severe villous atrophy and the
                         presence ofiELs with an abnormal phenotype (146-149).




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          IL-15 expression in celiac disease
                          The chronic upregulation ofiL-15 in the epithelium (5, 150) and in the intestinal lamina
                          propria (LP) (150, 151) is a hallmark of the disease and correlates with the degree of
                          mucosal damage (152). Interestingly, the pattern ofiL-15 overexpression differs between
                          potential CD patients, active CD patients, and patients undergoing GFD. While most active
                          CD patients have increased levels ofiL-15 both in the intestinal LP and in the epithelium
                          (Fig. 1), IL-15 is not upregulated in IECs in potential CD patients (authors' unpublished
                          data), potentially suggesting that it may be required for development of villous atrophy.
                          Conversely, a high number of CD patients on a GFD maintain high levels of IL-15
                          expression in the epithelium (Fig. 1), suggesting that dysregulated expression ofiL-15 in the
                          epithelium is insufficient to induce villous atrophy. We discuss below, how, according to its
                          location, IL-15 impacts distinct immune components and pathways to disrupt intestinal
                          immune homeostasis.

          Role of IL-15 in celiac disease pathogenesis
                          Because it is upregulated both in the epithelium and in the LP, IL-15 acts on distinct cell
                          types and promotes the dysregulation of multiple immune mechanisms in the small intestine
                          that together contribute to CD pathogenesis (Fig. 2).

         Role of IL-15 in loss of oral tolerance
                           Gluten is a unique protein due to its high content in proline and glutamine residues, and
                           therefore it is a very good substrate for TG2. Pralines prevent gluten from being digested by
                           intestinal enzymes (153 ), and the presence of a high frequency of glutamines and their
                           spacing with proline (154), make the glutamines within gluten a good target for deamidation
                          by TG2. Hence, the unique amino-acid composition of gluten allows for the generation of
                           long peptides with negative charges that have a relatively high affinity for CD-predisposing
                          HLA-DQ2 (155) and HLA-DQ8 (156), when TG2 is activated (157). However, the
                          generation ofpeptides able to bind to HLA-DQ2 and HLA-DQ8 does not explain why
                          inflammatory and not regulatory T-ee!! responses are induced. Indeed, unlike in healthy
                          individuals where regulatory mechanisms allow the intestinal immune response to remain
                          unresponsive to innocuous food antigens [an active process called oral tolerance (158)], CD
                          patients exhibit a loss of oral tolerance manifested by HLA-DQ2 or HLA-DQ8-restricted
                          anti-gluten inflammatory CD4+ T cells secreting interferon-y (IFN-y) and IL-21 in the small
                          intestinal mucosa (159-162). Because IL-15 has pro-inflammatory properties and is highly
                          upregulated in the LP of CD patients (150, 151), where dendritic cells taking up dietary
                          antigens reside (163, 164), we hypothesized that IL-15 signaling in dendritic cells may lead
                          to the induction of inflammatory T cell responses against gluten and the loss of oral
                          tolerance (165, 166). Using an HLA-DQ8 mouse model overexpressing IL-15 in the LP but
                          not in the intestinal epithelium, we showed that IL-15 in combination with retinoic acid
                          altered the tolerogenic phenotype of intestinal dendritic cells, hence preventing the
                          generation of inducible F oxp3+ Treg cells to dietary gluten and promoting the development
                          of a TH1 inflammatory immune response to orally ingested gluten (165). It is important to
                          note, however, that the location ofiL-15 overexpression critically determines on which cells
                          it acts and what the pathological impact is. For instance, IL-15 overexpression in the


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                           intestinal epithelium in our hands is not associated with the loss of oral tolerance (165,
                           authors' unpublished data), and potentially explains why ovalbumin-fed mice
                           overexpressing IL-15 in the epithelium but not in the LP show no decrease in Foxp3+ T cells
                           expressing the T -cell-receptor specific for ovalbumin ( 167). Furthermore, a defect in
                          inducible regulatory T cells can be easily missed if one does not strictly control for TCR
                          specificity using RAG-deficient TCR transgenic T cells ( 167), because regulatory Foxp3+ T
                          cells without defined specificity are attracted, as are other effector T cells, to inflamed
                          tissues. This explains why Foxp3+ T cells are paradoxically increased in the tissues of
                          autoimmune disorders (168-172) and inflammatory bowel disease (173-179). To which
                          degree Foxp3+ T cells recruited to inflamed tissues encounter their (self) antigen and are
                          activated remains to be determined. Finally, in addition to losing oral tolerance, mice
                          overexpressing IL-15 in the LP produce anti-TG2 IgG and IgA antibodies (165).
                          Interestingly, no villous atrophy was observed in these mice, supporting the concept that in
                          absence of the epithelial stress associated with IL-15 overexpression in the epithelium,
                          adaptive anti-gluten immunity is insufficient to induce tissue damage. Hence, events leading
                          to sustained or repetitive IL-15 upregulation in the LP have the potential to lead to the
                          constitution of a growing inflammatory effector and memory pool of gluten-specific T cells
                          that can result in the development of potential, but not active, CD.

         Role of IL-15 in blocking the ability Foxp3+ regulatory T cells to regulate effector T-cell
         responses
                          Sallustro and colleagues (180), looking at effector and Foxp3+ T cells in the synovia of
                          juvenile arthritis patients, first proposed that the presence of IL-15 could interfere with the
                          regulatory properties ofFoxp3+ T cells. It was later shown that IL-15 blocks the ability of
                          transforming growth factor (TGF-~) to suppress activation of human mucosal T
                          lymphocytes by activating c-Jun N-terminal kinase (JNK) and subsequently impairing
                          Smad-3-dependent TGF-~ signaling (181). Disruption ofTGF-~ signaling likely results in
                          increased proliferation and production of inflammatory cytokines, ultimately promotirig
                          sustained intestinal inflammation (152). In addition, by activating the PBK pathway, IL-15
                          renders effector CD8+ T cells unresponsive to the suppressive effect ofFoxp3+ regulatory T
                          cells (182). This may be by the same mechanism that IL-15 impairs the ability of regulatory
                          T cells isolated from the blood and intestinal biopsies of CD patients to block effector CD4+
                          T cells in vitro (183). Interestingly, while IL-15 alters the response of effector T cells to
                          regulatory T cells, it does not alter the intrinsic regulatory properties ofFoxp3+ T cells
                          (184). Altogether, this may explain why despite the increase in Foxp3+ T cells in inflamed
                          tissues of patients with CD, autoimmune disorders, and IBD, effector T cells are highly
                          effective at promoting tissue damage.

         Role of IL-15 in the licensing of cytotoxic T cells to kill epithelial cells and induce active
         celiac disease
                          The induction of non-classical MHC class I molecules and the upregulation ofiL-15 on
                          IECs, as well as the dysregulated activation ofiELs that acquire cytotoxic properties, are a
                          hallmark of CD and were shown to be critically involved in the development of villous
                          atrophy. Cytotoxic IELs are not gluten-specific but rather kill epithelial cells based on the
                          recognition of stress signals (4, 6, 166). In healthy individuals, IELs mainly express the


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                           inhibitory CD94/NKG2A receptor (5, 131) and only low levels of the activating NKG2D
                           receptor (6). In contrast, IELs from CD patients lack the inhibitory CD94/NKG2A receptor
                           (185) and express high levels ofthe activating NKG2D and CD94/NKG2C receptors (96,
                           185). Concomitantly, IECs in the inflamed mucosa of CD patients express high levels of the
                           stress-inducible MIC molecules (96, 186), and non-classical MHC class I molecule HLA-E
                           (185), which are the main ligands for NKG2D and CD94/NKG2C, respectively. IL-15 was
                          shown to upregulate the activating l\TKG2D receptor, endowing cytotoxic IELs with the
                          ability to kill IECs expressing the stress-induced MIC molecules (6, 96, 187). IL-15
                          stimulation induces CD94 expression in IELs by increasing CD94 transcription and its
                          expression on the cell surface (5). However, it does not affect the expression ofNKG2A,
                          NKG2C, or DAP12 (5, 185). Moreover, IL-15 induces the expression ofNKG2D (6, 96) by
                          increasing NKG2D and DAP1 0 transcription (96). Furthermore, IL-15 acts as a
                          costimulatory molecule for the NKG2D cytolytic pathway (96, 187), hence endowing IELs
                          with lymphokine-activated killer (LAK) activity (6, 96), i.e. with the capacity to kill in aT-
                          cell receptor (TCR)-independent manner. In addition to its ability to endow IELs with LAK
                          activity, IL-15 lowers the overall activation threshold of IELs (6, 94, 186). This could result
                          in the recognition of low affinity epithelial self-antigens and the ability to kill epithelial cells
                          in absence of cognate antigens but in a TCR-dependent manner. This scenario is supported
                          by studies in mice showing that CDS+ T cells can reject solid tumors expressing IL-15 in a
                          TCR-dependent manner despite the fact that they do not express the cognate antigen for the
                          CDS+ T cells mediating their rejection (188).

                          In our view, it is very likely that the destruction of epithelial cells by IELs involves both the
                          TCR and NK receptors. Importantly, only epithelial cells expressing IL-15 and ligands for
                          activating NK receptors will be destroyed. Hence, despite the fact that IELs in the presence
                          ofiL-15 act as innate-like lymphocytes that kill epithelial cells based on stress signals, this
                          destruction is highly specific. This led us to propose that IELs in CD are autoreactive and
                          that CD is a model for organ specific autoimmunity (189). This concept is further supported
                          by the presence of autoantibodies specific for TG2, which are required for the diagnosis of
                          CD.

         Role of IL-15 in promoting survival of abnormal intraepitheliallymphocytes and promoting
         refractory celiac disease
                          In the case ofRCD, sustained expression of high levels ofiL-15 in the epithelium (150, 190)
                          leads to the expansion of a subset of CDr cytotoxic IELs that have undergone profound
                          genetic reprogramming of their NK functions, ultimately acquiring an aberrant and highly
                          activated NK cell-like phenotype (148). IL-15 is thought to contribute to the expansion and
                          survival of these IELs with an aberrant phenotype by exerting anti-apoptotic action on IELs
                          (150, 190, 191). Indeed, IL-15 is able to activate an anti-apoptotic cascade, involving
                          phosphorylation of Jak3 and STAT5 and the increased expression ofthe anti-apoptotic B
                          cell lymphoma-extra large (Bcl-xL) protein (190). In addition to playing a critical role in the
                          sustained survival of these abnormal IELs, IL-15 also increases their cytolytic capacities
                          (186). Refractory sprue is mimicked in an IL-15 transgenic mouse model where human
                          IL- I 5 is expressed in intestinal epithelial cells. This upregulation ofiL- I 5 is associated with
                          the expansion of activated NK-like cytotoxic IELs and villous atrophy (190, I92). The link


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                         between IL-15, the increase in NK-like cytotoxic IELs and villous atrophy, is supported by
                         the finding that blocking IL-15 signaling prevents villous atrophy ( 192), suggesting that
                         neutralizing IL-15 or blocking its signaling may be a treatment for RCD.

         IL-15 and genetic risk factors of celiac disease
                         Because of its large contribution to CD immunopathogenesis, one would have expected the
                         identification of ill5 as a CD susceptibility gene by genome wide association studies.
                         However, no genetic association has yet been found for the gene encoding IL-15 (193). This
                         lack of association suggests that the increased levels of IL-15 in patients might be the
                         consequence of the deregulation of genes capable to modulate the levels of the cytokine; that
                         is, trans effects. By analyzing the functional interactions among CD susceptibility genes and
                         IL-15, we found that several of the genes were associated with IL-15, suggesting that the
                         increased levels of IL-15 observed in CD patients probably results from functional variation
                         in this CD-susceptibility network (Fig. 3). Interestingly, among the genes that have direct
                         associations with IL-15 in this network are the yc cytokines IL-21 and IL-2, which share
                         many common structural and functional properties with IL-15. More generally, the genes
                         associated with IL-15 are strongly enriched for key pathways that are central for the
                         pathogenesis of CD such as IgA production, T-cell receptor signaling, or antigen processing
                         and presentation. We also observed a significant enrichment for genes belonging to the
                         autoimmune thyroiditis and Type 1 Diabetes pathways, an observation in accordance with
                         several reports showing that IL-15 upregulation is associated with increased risk for such
                         diseases (124, 125, 194, 195).

        Functional redundancy between IL-21, type-1 IFN, and IL-15 in celiac disease
                         Due to shared receptor components and signaling pathways, yc cytokines theoretically
                         present a high degree of redundancy. In fact, IL-15 and IL-21 exert many overlapping
                         activities in regards to CD immunopathogenesis (Fig. 4) including the ability to render
                         effector CD4+ T cells resistant to the suppressive effects of regulatory T cells (196), the
                         ability to drive the production of IFN-y (160), and the ability to upregulate cytotoxic activity
                         in IELs (197). Although in vitro studies have demonstrated that IL-21 by itself has very little
                         effect, if any, on the proliferation of CD8+ T cells, IL-21 synergizes with IL-15 to promote
                         CDS+ T-cell activation and expansion, production of IFN-y, and upregulation of granzyme B
                         and perforin (198). The fact that IL-15 enhances the production ofiL-21 suggests the
                         establishment of an amplification loop that could foster the ongoing inflammatory response
                         (199). In agreement with the hypothesis that IL-21 could contribute to the induction of
                         inflammation and tissue damage in CD is the finding that potential CD patients not only lack
                         IL-15 overexpression in the LP, but also fail to express IL-21 (200). Although they do not
                         share structural components and signaling pathways, Type I interferon (IFN) is another
                         cytokine that could exert redundant effects with IL-15 (Fig. 4). IFN-a expression is
                         dysregulated in the small intestine mucosa of CD patients (20 1-203). In addition, clinical
                         observations of the development of CD in hepatitis C patients treated with IFN-a (204) as
                         well as the induction of inflammatory anti-gluten responses and the generation ofTG2
                         antibodies following rotavirus infections (205) suggest that IFN-a likely plays a critical role
                         in the induction of inflammatory T -cell responses against gluten. However, whether and
                         how Type I IFN contributes to CD pathogenesis remains to be determined.


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          Conclusions and future directions
                          Overall, the involvement of IL-15 in multiple steps of the NKG2D cytolytic pathway,
                          together with its confirmed roles in abrogating oral tolerance to dietary gluten and
                          interfering with the suppressive activity of intestinal regulatory T cells, makes this cytokine
                          a key player involved in the dysregulation of immune responses in CD. Future studies will
                          also better delineate the role ofiL-15 in other organ-specific autoimmune disorders. In
                          particular, it will be important to determine whether IL-15 is critical in the development of
                          autoreactive T-cell responses and the destruction of the tissues targeted by the autoimmune
                          process. In this regard, it is interesting to note that LADA (latent autoimmune diabetes in
                          adults) patients, unlike type-! diabetes patients, lack IL-15 overexpression in islet ~-cells
                          (124), suggesting that, as observed in potential CD, upregulation ofiL-15 in tissue cells is
                          critical to license cytotoxic T cells to kill the tissue targeted by the autoimmune process.

                          Although the exact factors and mechanisms responsible for triggering IL-15 upregulation
                          have yet to be defined, it has been suggested that gliadin pep tides could promote IL-15
                          expression by IECs (186, 206). However, this effect is likely indirect, due to the
                          upregulation of multiple inflammatory mediators as a consequence ofT-cell activation.
                          Because IL-15 can be induced by many inflammatory stimuli, including cytokines and TLR
                          ligands (207, 208), other factors, notably microbial components that are enriched in the
                          intestinal compartment, could promote sustained IL-15 expression. However, it is important
                          to acknowledge that we know very little about the mechanisms underlying IL-15
                          dysregulation in CD and when this dysregulation occurs.

                          Due to the central role ofiL-15 in the immunopathogenesis of CD, there is a growing
                          interest in developing novel therapies able to dampen the actions ofiL-15. To inhibit IL-15
                          activity and to prevent its deleterious effect on oral tolerance and IELs activation, several
                          agents have been developed, including antibodies specific for IL-15 or IL-2/15R~, and Jak
                          inhibitors. The humanized antibody (Hu-Mik-~-1) directed towards IL-2/lSR~ prevents the
                          transpresentation ofiL-15 by antigen-presenting cells to neighboring NK cells and CDS+ T
                          cells (9, 209). The administration ofTM~-1 (the anti-mouse equivalent ofHu-Mik-~-1) to
                          IL-15 transgenic mice results in the abrogation of inflammatory cytokine production and in
                          the reversal of intestinal damages (165, 192). The Food and Drug Administration has
                          authorized the usage ofHu-Mik-~-1 to treat CD patients with the type II form ofRCD (210),
                          who develop enteropathy-associated T -cell lymphoma with a two year survival of less than
                          30% (146, 211). Another approach consists of interfering with the IL-15 signaling pathway.
                          It involves the administration of the J ak2/3 inhibitor tofacitinib that has been shown to
                          completely reverse the intestinal pathological changes observed in the T3b-hiL-15
                          transgenic mouse model (212). Finally, ex vivo experiments have demonstrated the capacity
                          of the humanized anti-IL-15 monoclonal antibody AMG714 to inhibit the activation of Jak3
                          and STAT5 in the mucosa of type II RCD patients. In addition, the administration of
                          AMG714 to IL-15 transgenic mice restores IELs apoptosis and consequently inhibits their
                          accumulation (190). Thus, these anti-IL-15 therapies represent promising therapeutic
                          approaches, especially for patients with refractory disease. However, because of the
                          potential redundancy with IL-21, type-! IFN and yet undefined cytokines, we cannot



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                          exclude that combination therapies or therapies targeting common signaling pathways may
                          be necessary to achieve a therapeutic effect.


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                                  CONTROL                           ACTIVE CD                            GFD




                          Fig. I. Patients with active celiac disease have high IL-15 expression both in the intestinal lamina
                          propria and epithelium, while patients on a gluten free diet only maintain high expression in the
                          epithelium
                          Representative pictures of IL-15 immunohistochemistry staining are shown. Duodenal
                          formalin fixed paraffin embedded sections were obtained from control non celiac subjects
                          (control, left panel), untreated (active CD, middle panel), and treated celiac disease patients
                          (GFD, right panel). Epithelial expression was assessed semi-quantitatively looking at
                          staining intensity and localization (typically being stronger at the villous tip and then
                          reducing its intensity going towards the crypts). The rate ofiL-15 positive cells on the total
                          number of infiltrating mononuclear cells in the lamina propria was assessed by two
                          independent investigators in a double-blind set. Upregulation oflL-15 can be observed in
                          both the small intestinal epithelium and lamina propria of active CD patients. Interestingly,
                          celiac patients on a gluten-free diet (GFD) seem to retain only the epithelial but not the
                          lamina propria IL-15 overexpression.




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                           Fig. 2. Multifaceted roles ofinterleukin-15 (IL-15) in celiac disease pathogenesis
                           IL-15 impacts distinct cell types to mediate its pathogenic effects. (i) In the lamina propria,
                           IL-15 endows mucosal dendritic cells with inflammatory properties in a c-Jun N-terminal
                           kinase (JNK)-dependent manner, and subsequently with the ability to prevent the
                           differentiation of regulatory T cells and to promote inflammatory Thl cell responses leading
                           to the loss of oral tolerance. (ii) IL-15 renders effector T cells resistant to the suppressive
                           functions of regulatory T cells through a mechanism involving JNK and
                           phosphatidylinositol3 kinase (PBK). (iii) IL-15 impacts on intraepithelial lymphocytes by
                           inducing the expression ofNKG2D. The synergy between IL-15 and NKG2D cytolytic
                           signaling pathway promotes the binding of the NKG2D-DAP I 0 complex to distinct adaptor
                           proteins including PI3K whose activation promotes the phosphorylation of the mitogen-
                           activated protein kinases (MAPKs), extracellular signal-regulated kinase (ERK), and JNK.
                           This leads to cPLA2 activation, which in turn critically regulates NKG2D-mediated
                           degranulation and cytolysis, and induces the release of arachidonic acid, a: precursor of the
                           pro-inflammatory compounds called leukotrienes. (iv) In patients with refractory sprue,
                           IL-15 leads to the expansion and survival of an abnormal subset of CDr intraepithelial
                           lymphocytes by activating an anti-apoptotic cascade involving the phosphorylation of Jak3
                           andSTAT5.




                                Immunol Rev. Author manuscript; available in PMC 2015 July 01.
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       Abadie and Jabri                                                                                        Page 24


                                        A




                                        B

                                             Intestinal immune network tor lgA produe1ion
                                                                 Type I diabetes mellitus

                                                               Gralt·vaf31JS-hotd disease
                                                            Autoimmune thyroid disease

                                                                Cell adh-esion molecules
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                                                   Cytokina-cytaklne receptor inl9faction
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                                                             Jak·STAT signaling pa\hway
                                                           Chemoklne signalil1g pathway


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                          Fig. 3. Interactions between IL-15 and celiac disease susceptibility genes
                          (A). Network of known interactions between celiac disease (CD)-associated genes and
                          IL-15. We used the STRING database to look for known functional interactions among CD
                          susceptibility genes, as well as functional interactions between CD susceptibility genes and
                          IL-15 (red). The figure only shows CD-associated genes that are directly or indirectly
                          connected with IL-15. STRING database assembles information about both known and
                          predicted protein-protein interactions on the basis of numerous sources, including
                          experimental repositories, computational prediction method, and public text collections. We
                          grouped genes based on the distance matrix obtained from the String global scores. We used
                          the KMEANS algorithm setting the number of groups to three. Proteins pairs with a higher
                          global core (i.e. stronger evidence that they interact together) are grouped together on the
                          same cluster. The three clusters are represented by different colors (yellow, purple, and
                          blue). IL-15 is directly connected with the 'yellow cluster'. The thickness of the lines
                          connecting the genes is proportional to String global scores supporting the evidence of an
                          interaction. Solid and dashed lines represent intra- and inter-cluster connections,
                          respectively. (B). KEGG pathway enrichment analysis for the CD-associated genes shown in
                          panel A. The y-axis reports the fold enrichments observed for genes in a particular pathway
                          (named in y-axis) using all human genes as our background expectation.


                               fmmunol Rev. Author manuscript; available in FMC 2015 July 01.
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                                                        IL-21               IL-15               Type I interfemn




                          Fig. 4. Overlapping functions ofiL-15, IL-21, and Type I interferon
                          Both IL-15 and IL-21 render effector CD4+ T cells resistant to the suppressive functions of
                          regulatory T cells. Both IL-15 and Type I interferon endow dendritic cells with
                          inflammatory properties and have been shown to mediate loss of oral tolerance and to
                          promote Thl immunity. All three cytokines have the ability to confer cytotoxic properties to
                          CDS+ T cells.




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                                   12395




               Annual Adverse Drug Experience Report: 1996
                                           October 30, 1997

                             Surveillance and Data Processing Branch
                         Division of Pharmacovigilance and Epidemiology
                             Office of Epidemiology and Biostatistics
                             Center for Drug Evaluation and Research
                                  Food and Drug Administration

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                                         INTRODUCTION

        This report presents a descriptive overview of the 159,504 evaluable1, postmarket adverse
        drug experience (ADE) cases received by the US Food and Drug Administration (FDA)
        during calendar year 19961. A case consists of the original report of an ADE on a patient
        plus any follow-up information.

       At this time, October, 1997, the SRS has accumulated about 1.4 million cases. The
       primary purpose for maintaining the database is to serve as an early warning or signaling
       system for ADEs not detected during premarket testing. The ADE system depends upon
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        detection of an adverse clinical event by a health professional or consumer, attribution of
        the clinical event to prior administration of a particular drug ("suspect" drug), and
        reporting of the ADE to the manufacturer ofthe suspected drug or directly to FDA. Data
        from these ADE cases are coded and entered into the computerized ADE database.
        Copies of the ADE cases are stored on microfilm or an imaging system. Up to five drugs
        per case may be entered into the computerized ADE database; the five can be a
        combination of "suspect" and "concomitant" drugs. Up to four adverse events per case
        and their associated body systems can by coded into the database, using FDA's "Coding
        Symbols for Thesaurus of Adverse Reaction Terms" (COSTART).

        Reporting ofpostmarket ADEs by health professionals and consumers is voluntary. They
        may send their reports directly to FDA ("Direct" reports), to the drug manufacturer
        ("Manufacturer" reports), or both. Drug manufacturers are required by law and regulation
        to submit to FDA postmarket ADE reports received by any means from health
        professional or consumers.

        It is important to remember certain caveats when using data from FDA's postmarket
        ADE database:

                                  1. For any given ADE case, there is no certainty that the
                                     suspected drug caused the ADE. This is because physicians
                                     and consumers are encouraged to report all suspected
                                     ADEs, not just those that are already known to be caused
                                     by the drug. The adverse event may have been related to an
                                     underlying disease for which the drug was given, to other
                                     concomitant drugs, or may have occurred by chance at the
                                     same time the suspect drug was administered.
                                  2. Accumulated ADE cases may not be used to calculate
                                     incidences or estimates of drug risk. Numbers from these
                                     data should be carefully interpreted as reporting rates and
                                     not occurrence or incidence rates.

        Over the next pages, various kinds of data and information are presented on the
        postmarket ADE cases computerized into the FDA ADE database during calendar year
        1996. Due to rounding, the percentages in tables and graphs may not total to 100%.
        Figures 1 and 2 present copies of the postmarket ADE forms used by manufacturers and
        health professionals or consumers, respectively.


        1
         Excludes "React Uneval" unevaluable reactions cases.
        2
         The 1996 postmarket ADE Computerized data file used for this report was created
        October 1997.
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                                                                      Standard MedWatch Form, front
                                                                                  page
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                                                                                    TYPES OF REPORTS
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        There are three types of reports in the FDA computerized postmarket ADE database:

                                  1. Manufacturer-reported cases concerning ADEs not in
                                     present official FDA labeling with serious outcomes (i.e.,
                                     death, life-threatening, hospitalization, permanent
                                     disability, congenital anomaly, cancer, or overdose). These
                                     cases are known in regulatory language as "15-day Alert
                                     Reports" because the manufacturer has 15 working days to
                                     submit this type of report to FDA.
                                  2. All other manufacturer-reported cases. These cases are
                                     known in regulatory languages as "Periodic Reports"
                                     because the manufacturer is required to submit them to
                                     FDA on a cyclical basis.
                                  3. Cases sent directly to FDA by health professionals or
                                     consumers ("Direct Reports").

        As shown in Figure 3, reports submitted to FDA via manufacturers accounted for
        91.0%(145,021) of the 159,504 postmarket ADE cases. Only 9.0%(14,483) were
        submitted directly to FDA. 15-day report were 15.6%(24,815) ofthe total.



                       Figure 3. Postmarket ADE Reports by Type of Report: 1996



                  80
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             1€   50
             u    40
             ~    30
                  20
                  10
                   0
                             15_day              Periodic              Direct


                                             N   = 159,504
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                   REPORTING BY HEALTH PROFESSIONALS AND CONSUMERS

        As shown in Figure 4, in 1996, there were 157,067 reporters for the 159,504 postmarket
        ADE cases, 64,752 (41.2%) reporters were consumers, 90,394 (57.6%) reporters were
        health professionals, and 1,921 (1.2%) were unknown sources. Figure 4 also shows that,
        over a four-year trend (1993-96), reports from consumers have increased both in absolute
        numbers and proportionally, whereas those from health professionals have gone up in
        absolute numbers.


                      Figure 4. ADE Reports By Health Professionals and Consumers,
                                               1993-1996

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                        GEOGRAPIDC LOCATION OF INITIAL REPORTER
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        As shown in Table 1, the initial reporter for 81.2% (129,521) ofthe 159,504 postmarket
        ADE cases was located within the US census regions; 9.6% (15,260) of cases were
        missing location.

        There were 9.2% (14,723) of the postmarket ADE cases where the initial report source
        was foreign. There were four countries which each accounted for>= 9% of the foreign
        cases: France (31.2%), Japan (14.2%), United Kingdom (12.8%), Germany (9.2%).



        Table 1. Postmarket ADE Reports by Geographic Location oflnitial Reporter: 1996




         All Locations                159,504



         US Census Region:

         l!.   New England                                          19.4

         East Sooth Central                                         18.0

        I Pacific                                                   17.2

        I Middle West                                               17.2

         West South Central                                         13.0

         Middle Atlantic                                            12.9

         Others                                                    2.3




         Foreign:                     14,723                       9.2

         h France                     4,593                        31.2

         Japan                                                     14.2
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         I United Kingdom              111,888                   1112.8
                                                                                                I
         I Germany                     111,355                   119.2
                                                                                                I
         I Others                      114,793                   1132.6
                                                                                                I
                                       II                        II                             I
        I Unknown                      1115,260                  11   9.6
                                                                                                I

        ll   US Census Regions are percentaged to 129,521
        b    Foreign countries are percentaged to 14,723



                                     SEX AND AGE OF PATIENTS

        As shown in Table 2, the ratio of female-to-male postmarket ADE cases was 1.7:1. For
        both females and males, the >= 60 year age group accounted for the greatest number of
        known sex-age cases.

               Table 2. Postmarket ADE Reports by Reports by Sex & Age of Patient: 1996




             ALL SEXES & AGES                         159,504                    100



             All Females:                             91,200                 157.2


                                                                            II
             <= 19 yrs
                                                                            I 3.7
             20-39 yrs                                19,855                     12.4

             40-59 yrs                                20,980                     13.2
Case 1:15-md-02606-RBK-JS Document 1066-5 Filed 03/31/17 Page 50 of 246 PageID:
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            j   >= 60 yrs                          1124,111                  15.1
                                                                                                 I
            I   Unknown age                       1120,283                   12.7
                                                                                                 I
                                                  II                                             I
                All Males:                        JJs3, 761             1!33.7                   I
                                              II                        I                        I
                <= 19 yrs                         115,069                    3.2
                                                                                                 I
                20-39 yrs                                                    5.3
                                                  118,510
                                                                                                 I
                40-59 yrs                         1113,082               1 8.2
                                                                                                 I
                >= 60 yrs                         1117,418              1110.9
                                                                                                 I
                Unknown age                       119,682               116.1
                                                                                                 I
                                                  Jl                    II                       I
        I Unknown Sex:                            1114,543              119.1                    I
       II                                          I                    II                       I
        I<= 19 yrs                                     439              II 0.3                   I
        120-39 yrs                                     163               1 0.1
                                                                                                 I
       140-59 yrs                                      242                   0.2
                                                                                                 I
       I>= 60 yrs                                 11312                 10.2
                                                                                                 I
       lUnknown age                               1113,387                8
                                                                        11 .4                    I

                                      SERIOUS OUTCOMES

       As shown in Figure 5, hospitalization was the most recorded serious outcome; congenital
       anomaly, the least. (One case could have more than one outcome).
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                Figure 5. Postmarket ADE Reports by Type of Serious Report: 1996


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                                               Serious Outcome

                                                 N = 105,599



        LATENCY BETWEEN SUSPECT DRUG ADMINISTRATION AND ADE ONSET

       As shown in Figure 6, of the 159,504 postmarket ADE cases, 53.6% (85,517) had both a
       drug start date and an adverse experience onset date for the first-listed suspect drug and
       first-listed adverse experience, respectively, and the drug date was computerized as
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        occurring before the adverse experience date. About half of these cases noted that the
        adverse event occurred within one week of drug initiation.

                    Figure 6. Postmarket ADE Reports by Latency Period: 1996




                    0         1-7      8-14      15-30    31-90    91-180    181-365   >365




                                              Latency (days)

                                               N   = 85,517



                                    CLASSES OF SUSPECT DRUGS

       Table 3 presents the top-1 0 ranked drug classes associated with the 174,905 suspect drugs
       computerized from the 159.504 postmarket ADE cases. The top-ranked drug class,
       central nervous system agents, accounted for approximately little less than one-quarter of
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        the drug class mentionsl. Together with the second and third ranked drug classes, anti-
        infectives, and hormones and synthetic substitutes, these top three ranked drug classes
        comprised about half of the total drug class mentions.



             Table 3. Postmarket ADE Reports by Top-10 Ranked Classes of Suspect Drugs:
                                                  1996




            All Suspect Drug Mefitions                174,905



            Central nervous system agents

            Anti-infective agents                     21,388                 12.2

            Hormones & synthetic substitutes          20,956                 12.0

            Cardiovascular drugs                      18,076                 10.3

            Skin & mucous membrane agents             13,927                 7.9

            Antineoplastic agents                     12,552                7.2

            Gastrointestinal drugs                    10,580                 6.0

            Unclassified therapeutic agents           10,397                 5.9

            Autonomic drugs                           8,189                 4.7

            Blood formation and coagulation           3,707                 2.1


        3
        The drug classification used was the American Hospital Formulary Service
       Pharmacologic- Therapeutic Classification (American Society ofHealth-System
       Pharmacists, Bethesda, Maryland, 1997)
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                 SUSPECT DRUGS BY ENTRY NAME AND NEW MOLECULAR ENTITY
                                         STATUS

        Table 4 shows the top-10 ranked suspect drugs as entered on the 159,504 postmarket
        ADE reporting forms.

        New Molecular Entities (NMEs) are defined as new drugs approved within the past three
        years. For this 1996 report, NMEs are new drugs approved during 1993-96. Of the
        174,905 suspect drugs computerized from the 159,504 postmarket ADE cases,
        30.2%(29,584) involved NMEs.



                  Table 4. Postmarket ADE Reports by Top-10 Ranked Suspect Drugs: 1996




          All Suspect Drug Mentions                  174,905              100



          Fosamax™                                   6,197                3.5

          Norplant™                                  5,957                3.4

          Prozac™                                    3,506                2.0

          Pepcid ACT"'                               3,104                1.8
                            TM
          Estraderm                                  2,890                1.7

          Ferns tat™                                 2,648               11.5
                       TM
          Rogaine                                    2,435                1.4

          ParagardTM T380A                           2,172                1.2

          Nix™                                       2,077                1.2

          Zolort™                                    2,070                1.2


       Tl\l-   Trademark
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                 DRUG CLASSES STRATIFIED BY HEALTH PROFESSIONALS OR
                        CONSUMERS, TYPE OF REPORT, AND YEAR

        Table 5 shows the top-five ranked drug classesl associated with suspect drugs, stratified
        by whether the initial reporter was a health professional or consumer, the type of report,
        and year the cases was computerized into the FDA postmarket ADE database.

        1996 Data. In 1996, there were 155,529 drug class mentions where type of initial reporter
        and type of report were known. For consumers, only two of the top-five ranked drug
        classes were common to all report types: central nervous system agents and hormones
        and synthetic substitutes. For health professionals, there were four drug classes of the
        top-five ranked drug classes common to all report types: central nervous system agents,
        antineoplastic agents, anti-infective agents, and cardiovascular drugs. The only drug class
        in the top-five ranked drug classes common to both consumers and health professionals
        across report types was central nervous system agents.



            Table 5. Top-S Ranked Drug Classes Per Type of Reporter & Report: 1996




      ALL                  ALL            ALL                                   155,529     100




      Consumer             All            All                                   64,858      41.7

                           Mfr 15-day     All                                   2,820       1.8

                                          Central nervous system agents         689         0.4

                                          Hormones and synthetic substitutes    482         0.3

                                          Anti-infective agents                 309         0.2

                                          Cardiovascular drugs                  271         0.2

                                          Autonomic drugs                       233         0.1
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         I                           I Mfr Periodic I All                                         61,225       39.4
                                                                                                                      I
                                                         Hormones and synthetic substitutes       11,709       7.5
     I                           I                  I                                                                 I
                                                         Skin and mucous membrane agents          10,612       6.8
     I                                              I                                                                 I
                                                    II Central nervous system agents          110,073          6.5
     I                                                                                                                I
                                                    II Gastrointestinal drugs                     7,080    ,4.6
                                                                                                                      I
     I
     I                                              II Cardiovascular drugs                   J5,504           3.5
                                                                                                                      I
                                 II
     I                           II                 I
     I                           II Direct          II All                                        813          0.5

                                                         Central nervous system agents        1222             0.1
     I                           II
                                                         Skin and mucous membrane agents                       0.1
     I.                          I                                                            1132


     I                           II
                                                         Autonomic drugs
                                                                                              1188             0.1


     I                          I
                                                     I Anti-infective agents                  1187             0.1

                                                    I    Cardiovascular drugs                                  0.0
     I                          II                                                            1143


     I                          II           I                                                I            I
          Health Professional   I All        II All                                           190,671
                                                                                                           I 58.3     I
     I                          I Mfr 15-day l All                                                20,200       13.0
                                                                                                                      I
     I                          II
                                                   II Central nervous system agents           I   4,264        2.7
                                                                                                                      I
                                                    II   Anti-infective agents                113,851      ,2.5
     I                          I                                                                                     I
                                                   II Antineoplastic agents                   113,165      112.0
                                                                                                                      I
     I                          II
                                                   II    Cardiovascular drugs                 112,582             7
     I                          II                                                                         111.

     I                          II                 I
                                                         Hormones and synthetic substitutes
                                                                                              I
                                                                                                  1,274    I 0.8
     I                          II                 I                                          I            I
                                II Mfr Periodic     IAll                                      1156,998     1136.6
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      I                     II
                                          II   Central nervous system agents      1115,324      119.9     I
                                          II   Anti-infective agents              118,061       115.2
      I                                                                                                   I
      I
                                          II   Cardiovascular drugs               115,953       113.8     I
      I                                   II Hormones and synthetic substitutes   115,434       113.5
                            !                                                                             I
                            I             II Antineoplastic agents                  3,962       112.5
      I                                                                                                   I
      I                                   II                                      II            I         I
      I                    I Direct       II All                                       13,473       8.7
                                                                                                          I
                                          II   Central nervous system agents           3,713        2.4
      I                    II                                                                             I
     I                     II
                                          II Anti-infective agents                I    2,477        1.6
                                                                                                          I
     I                     II
                                               Cardiovascular drugs               11,736            1.1
                                                                                                          I
                                               Antieoplastic agents                 1,398           0.9
     I                     I                                                                              I
     I                                    II Blood formation and coagulation      11919         1   0.6
                           II                                                                             I


                                      ROUTES OF SUSPECT DRUGS

          Table 6 presents the top-1 0 ranked routes of administration associated with the suspect
          drugs. There were 156,759 routes mentioned in conjunction with the 159,504 postmarket
          ADE cases. About three-fifths of the route mentions noted the oral route of
          administration.



           Table 6. Postmarket ADE Reports by Top-10 Ranked Routes of Administration of
                                      Suspect Drugs: 1996




           All Routes
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        I                            II                          II
        I Oral                       1199,421                    1163.4                       I
        I Intravenous                     14,873                 IJ9.5                        I
        ISubcutaneous                     8,204                  1/5.2
                                                                                              I
        ITopical                      ,8,181                     115.2                        I
        ITransdermal                117,460                       1   4.8
                                                                                              I
        IVaginal                    113,798                           2.4
                                                                                              I
        I Inhalation                112,739                           1.7
                                                                                              I
        IIntrauterine               112,318                      111.5                        I
        I Ophthalmic                112,094                      111. 3                       I
        I Intramuscular             112,029                      111.3                        I

                               ABATEMENT OF ADVERSE EVENT

        For the 174,905 suspect drug mentions, 78.7% (137,632) had an answer to the question of
        whether the adverse event abated after the suspect drug was stopped or the dose was
        reduced. Figure 7 shows the distribution of responses. About one-quarter of these
        137,632 abate mentions indicated a positive dechallenge ("Yes" response).



                    Figure 7. Postmarket ADE Reports by Abate response: 1996
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                                           No
                                           7%


                Yes
                28%




                                                                                Not Applicable
                                                                                     65%

                                            N= 137,632




        REOCCURRENCE OF ADVERSE EVENT

        For the 174,905 suspect drug mentions, 76.2% (132,296) had an answer to the question of
        whether the adverse event reappeared after reintroduction of the suspect drug. Figure 8
        shows the distribution of responses. Four percent (5,309) ofthese 132,296 reoccur
        mentions indicated a positive rechallenge ("Yes" response).



               Figure 8. Postrnarket ADE Reports by Reintroduction Response: 1996
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                                       Yes     No
                                       4%      2%




                                                  Not Applicable
                                                       94%




                                             N= 132,296



                                         BODY SYSTEMS

        There were 159,515 body system mentions associated with the adverse events ofthe
        159,504 postmarket ADE cases. The distribution of these mentions across the 12 body
        system mentions is presented in Figure 9. Four body systems each had> 10% of the
        159,515 body system mentions: body as a whole (systemic adverse events)- 30.5%, skin
        and appendages system- 13%, nervous system- 11.7%, and digestive system- 11.4%.
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                            Figure 9. Postmarket ADE Reports by Body System:
                                                  1996




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                                                        N = 159,515



                                                 ADVERSE EVENTS

       Table 7 shows the top-10 ranked adverse events reported with the 159,504 postmarket
       ADE cases. The top ranked ADE was" No drug effect:- 10% of the ADE cases reported
       this event.
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                            Table 7. Top-10 Ranked Adverse Events: 1996




         All Postmarket ADE Reports                   159,504



         No drug effect                               15,918                 10.0

         Headache                                     5,133                13.2

         Rash                                         4,090                 2.6

         Application site reaction                    3,583                 2.2

         Diarrhea                                     2,445                 1.5

         Urticaria                                    2,373                 1.4

         Alopecia                                     2,237                 1.4

         Aggravation of existing reaction             2,236                 1.4

         Dizziness                                    2,002                 1.3

         Abdominal pain                               1,875                 1.2




         DRUG CLASSES ASSOCIATED WITH BODY SYSTEM ADVERSE EVENTS

       Table 8 presents the four body systems comprising the most adverse events, each of
       which has b'een crosstabulated by its top-five ranked suspect associated drug classes1.
       Three drug classes were in the top-five ranks for all four body systems, central nervous
       system agents, cardiovascular drugs, and anti-infective agents.

        Table 8. Top-4 Ranked Body Systems with Their Respective Top-S Ranked Suspect
                                     Drug Classes: 1996
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       Body as a whole        All                                   53,050     100

                              Central nervous system agents          12,131    22.9

                              Hormones and synthetic substitutes    7,216       13.6

                              Skin and mucous membrane agents       6,378       12.0

                              Anti-infective agents                14,816      9.1

                              Cardiovascular drugs                  4,566      8.6



       Skin and Appendages   I All                                  21,792     100

                              Hormones and synthetic substitutes    3,948      18.1

                              Skin and mucous membrane agents       3,689       16.9

                              Anti-infective agents                 3,178      14.6

                              Central nervous system agents         2,941      13.5

                              Cardiovascular drugs                  1,931      8.9



       Nervous System         All                                  120,515     100

                              Central nervous system agents         8,265      40.3

                              Anti-infective agents                 2,209      10.8

                              Cardiovascular drugs                  1,763     1 8.6

                             Hormones and synthetic substitutes     1,463      7.1

                              Autonomic drugs                       1,425      7.0



      Digestive System       All                                    20,059     100
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      I                           II   Central nervous system agents          114,105     1120.5

      I                           I    Anti-infective agents
                                                                              I 4,081     1120.3

      I                           II   Gastrointestinal drugs                   2,355          11.7
                                                                                          II
      I                          II Unclassified therapeutic agents           ,2,256
                                                                                          II
                                                                                               11.2


      I                          II    Cardiovascular drugs                   111,900     119.5
                                                                                                      I

                                             ANNUALFOIREPORT

                                                        1996

          In 1996, the Surveillance and Data Processing Branch (SDPB) received a total of2,162
          Freedom oflnformation (FOI) requests. These requests were for adverse reaction cases
          collected by the Food and Drug Administration's Spontaneous Reporting System (SRS).
          All requests are logged in by the central POI office and triaged to various responsive
          divisions throughout the Center for Drugs.

          SDPB processed FOI requests utilizing several forms of data accession. Compressed
          ASCII files were provided to mostly third-party businesses. Microfiche line listings or
          paper copies were also available depending on the preference of the requester. Case
          reports from the SRS database were obtained by people wanting a formalized version of
          the Medwatch form.

          Law firms comprised the most FOI requests, with third-party organizations ranking
          second. Third were the pharmaceutical companies and last were consumers. However,
          consumers made more inquiries in 1996 than in previous years. This could have been
          attributed to media reporting and those consumers wanting to establish a more significant
          role in their drug therapy.

                                                                                        Hal Stepper
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                                  EXPERT REPORT

                                DAVID KESSLER, M.D.




                                                      EXHIBIT
                                                        1
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      APPENDIX B   PRIOR TESTIMONY

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      APPENDIX D- MATERIALS PROVIDED

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      I.        OVERVIEW 1

                1.     [ have been asked to examine the facts relating to Daiichi Sankyo 's Olmesattan 2

      and FDA's regulatory process and standards.

                2.     As pa1t ofthe process, I examined if, and when, there was a "a reasonable

      evidence of a causal association, a definitive causal relationship need not be established," for that

      is the FDA standard for determining whether a company should include a warning in the

      Warnings and Precautions section of the drug labeL

                3.     I understand that at this juncture of the litigation the Court has ordered the parties

      to focus on issues of causation.

               4.      Issues of causality are at the heatt of the FDA standard.

                5.     This report addresses these issues through the prism of FDA's regulatory

      framework. It addresses if; and when, Daiichi Sankyo should have recognized that there was a

      reasonable evidence of a causal ass0ciation between olmesattan and serious gastrointestinal

      symptoms.

               6.      The report focuses on the importance of dechallenge and rechallenge data in

      assessing causal associations under the FDA standard.

               7.      Simply put} as 1 describe in more detail below, dechailenge means stopping the

      drug and seeing if the adverse event goes away. RechaHenge means testarting the dtug and

      seeing if the adverse event comes back. It is a bedrock methodology of establishing a reasonable

      causal association between a drug and an adverse event.


      1
          For all my opinions, see my full Repmt.
      2
        In this Report, "olmesartan;' refers to olmesartan medoxomil and the brand names of the drugs
      in which it is sold as a monotherapy or combination therapy, including Benicar, Benicar HCT,
      Azor, and Tribenzor. The labeling history ofthese drugs is set forth in Schedule IV. All
      Schedules were prepared by legal stafftmder my direction and subject to my review.
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              8.      The repott shows how FDA has had manufacturers change drug labels based in

      part on positive dechallenge and rechallenge evidence.

              9.     The report concludes that by the end of2006, and certainly by 2007, serious

      adverse event reports for olmesartan showed reproducible positive rechallenge cases, thus

      satisfying the FDA standard of «reasonable evidence of a causal association."

              I0.    The report further concludes that despite the fact that there was sound scientific

      evidence that met the FDA standard by the end of 2006, and certainly by 2007, in Daiiohi

      Sankyo}s possession, Daiichi Sankyo failed to act on it and inform doctors and patients.

      II.     QUALIFICATIONS

              11.    I received my M.D. degree from Harvard Medical School in 1979 and my J.D.

      degree from the University of Chicago Law School in 1978.

              l 2.   1 did my pediatrics training at John Hopkins HospitaL

              13.    I was appointed in 1990 by President George H.W. Bush as Commissioner ofthe

      United States Food and Drug Administration and was confirmed by the United States Senate. I

      also served in that position under President William Jefferson Clinton until February 1997.

              14.    I have taught food and drug law at Columbia University Law School, and I have

      testified many times before the United States Congress on food, drug, and consumer protection

      issues under federal and state law. Over the last thirty yeats, I have published numerous articles

      in legal, medical, and scientific journals on the federal regulation of food, drugs, and medical

      devices. I have had special training in pharmacoepidemiology at Johns Hopkins Hospital. My

      resume is included as Appendix A. A list of cases in which'[ have appeared as a witness in the

      last five years and documentation of my expert witness fee is attached as Appendix B. A list of

      my published articles relating to FDA issues, including drugs and devices, is attached as

      Appendix C.


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              15.    As Commissionet, I had ultimate responsibility for implementing and enfotcing

      the United States Food, Drug, and Cosmetic Act. I was responsible for overseeing five Centers

      within FDA. They included, among others, the Center for Drug Evaluation and Research, the

      Center for Devices and Radiological Health, and the Center for Biologics Evaluation and

      research. In addition to those duties, I placed high priority on getting promising therapies for

      serious and lite-threatening diseases to patients as quickly as possible. During my tenure as

      Commissioner, the FDA announced a number of new programs, including: the regulation of the

      marketing and sale of tobacco products to children; nutrition labeling for food; user fees for

      drugs and biologics; preventive controls to improve food safety; measures to strengthen the

      nation's blood sttpply; and the MedWatch program for reporting adverse events and product

      problems involving both drugs and devices. I created an Office of Criminal Investigation within

      the Agency.

             16.     I am a senior advisor to TPG Capital, a: leading global private equity firm, which

      owns pharmaceutical and biomedical companies. I served on the board of Aptalis Pbarma and

      serve on the Boards of Stoke Therapeutics, Tokai Pharmaceuticals and the medical device and

      biologics company Immucor,lnc. In these advisory and fiduciary capacities, I have advised

      companies on the standards and duties of care vvithin the pharmaceutical and medical device

      industry. I also chaired the compliance committee of Aptalis, and I chair the quality committee

      oflmmucor, which involves ensuring compliance with FDA laws and requirements.

             17.     The documents provided to me by counsel, or that r accessed independently from

      various sources, including, but not limited to, FDA's website, are listed in Appendix D to this

      report. At my request, Appendix D was ptepared by counsel. Based on my review of those

      documents and my training and experience, I have a number of opinions that are detailed below,




                                                        3
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                18.   In this report fuse the term "Daiichi Sank yo'" to mean Daiichi Sankyo, Inc.;

      Daiichi Sankyo U.S. Holdings, Inc.; Daiichi Sankyo Co., Ltd; Forest Laboratories, lnc.; Forest

      Pharmaceuticals, Inc.; and Forest Research Institute, Inc. I understand that olmesar1an \Vas sold

      as part of a co-promotion agreement with Forest at various points in time. 3

               19.    The causes of action in this litigation include: products Iiabil ity~design defect

      and failure to warn; gross negligence; negligence; negligence per se; negligent

      misrepresentation; negligent design; fraudulent concealment; constructive fraud; fraud; breach of

      express warranties; breach of implied warranties; unjust enrichment; violation of consumer

      protection laws; loss of consortium; wrongful death; survival action; and punitive damages.

               20.    The Plaintiffs in the bellwether cases are listed in Schedule IX.

      III.     THE FDA STANDARD FOR DETERMINING WHETHER THERE I,S
               REASONABLE EVIDENCE OF A CAUSAL ASSOCIATION WITH A DRUG
               SUCRTHAT ACOMPANYSBOULDINCLUDEA WARNINGINTHE
               WARNINGS AND PRECAUTIONS SECTION OF THE DRUG LABEL.
               21.    In 19791 FDA, as part of a final rule titled "Labeling and Prescription Drug

      Advertising: Content and Format for Labeling. for Human Presctiption Drugs'· issued 21 CFR §§

      201.57 (e) and (g}which stated, respectively:

                      ·•(e) Warnings: Under this section heading, the labeling shall
                      describe serious adverse reactions and potential safety hazards,
                      limitations in use imposed by them and steps that should be taken
                      ifthey occur. The labeling shall be revised to include a warning as
                      soon as there is reasonable evidence of an association ofa serious
                      hazard with a drug; a causal relationship need not have been
                      proved."4 "(g) Adverse Reactions: An adverse reaction is an
                      undesirable effect reasonably associated with the use of the drug
                      that may occur. as part.of.the pharmacol.ofical action of the drug or
                      may be unpredictable m 1ts. occurrence.''


      3
          See OLM-DSI-0001247338- 387.
      4
          21 CFR § 2CH.57(e).
      5
          21 CFR § 20L57€g).


                                                        4
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                22.    In 2006, FDA adopted final rules for 21 CFR §§ 201.57 (c)(6) and (7) which

      stated:

                      "(c)(6) 5 Warnings and precautions. (i) GeneraL This section must
                      describe clinically significant adverse reactions .... the labeling
                       must be revised to include a warning about a clinically significant
                       hazard as soon as there is reasonable evidence of a causal
                      association with a drug; a causal relationship need not have been.
                      definitely established-- .. " "(c)(7) 6 Adverse reactions. This section
                      must describe the overall adverse reaction profile of the drug based
                      on the entire safety database. For purposes of prescription drug
                      labeling, an adverse reaction is an undesirable effect, reasonably
                      associated with use of a drug, that may occur as part ofthe
                      pharmacological action ofthe drug or may be unpredictable in its
                      occurrence. This definition does not includ.e ali adverse events
                      observed during use of a drug, only those adverse events for which
                      there is some basis to believe there is a causal relationship between
                      the drug and the occurrence of the adverse event, " 6

                23.    Hereinafter I refer to post-2006 standm:d as the •'FDA Standard."

      IV.       REGULATORY OVERVIEW OF OL:MESARTAN

                24.    Benicar; Benicar HCT, Azor and Tribenzor contain the active chemical ingredient

      known as ol:mesartan medoxomil. Olmesartan medoxomil is an angiotensin II receptor

      antagonist used for the treatJnent of high blood pressure.

                25.    On April 25, 2002, FDA approved Benicar for treatment of hypetiension as a

      monotherapy containing the active ingredient olmesartan medoxomil (hereinafter «olmesartan"),

      On June 5, 2003, FDA approved Benicar HCT for treatment of hypertension, as a combination

      therapy drug, containing the active ingredients ohnesartan and hydrochlorothiazide. On

      September 26, 2007, the .FDA approved Azor for treatment of hypertension as a combination

      therapy drug, which contains the active ingt·edients olmesartan and amlodlpine besylate. On




      6
          71 Fed. Reg. 3922-3997 (January 24, 2006) at 3990.


                                                         5
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      July 23, 20 l 0, the FDA approved Tribenzor for treatment of hypertension as a combination

      therapy drug, which contains olmesartan, amlodipine and hydrochlorothiazide

               26.   The original labels for all four drugs did not include any statement in the

      Wamings and Precautions section ofthe label regarding olmesartan and serious gastrointestinal

      symptoms. Listings of gastrointestinal symptoms in Adverse Reactions Clinical Trial

      Experience and Post~Marketing sections of the labels for the four olmesartan drugs are described

      in Schedule lV.

               27.   Daiichi Sankyo submitted an Annual Periodic Adverse Dmg Experience Report

      (PADER) for Benicar to FDA on June 24, 2009, which reported six serious adverse event reports

      containing the prefetTed term "coeliac disease!' 7 On November 23,2009, the FDA requested that

      Daiichi Sankyo provide a review of all celiac disease cases after reviewing Daiiohi's PADER. 8

      In response to FDA's request, Daiichi Sankyo provided a report on January 14, 2010~ identifying

      43 reports of adverse events coded with the term "celiac disease" in its global safety database,

      including 16/17 cases with positive rechallenge. 9

               28.   Schedule IU provides a time line of cotTespondence between Daiichi Sankyo and

      FDA regarding celiac disease and serious gastrointestinal symptoms involving olmesartan.

               29.   The FDA also initiated a query using its Mini-Sentinel pilot 10 to assess the risk of

      celiac disease with the use of angiotensin II receptor blockers, including olmesartan. Mini-

      Sentinel reports were issued on January 17,2012 and June 7, 2013. n


      7
          OLM~DSI-0001386786
      8
          OLM-DSI~0004794456 at 462, 465.
      9
          OLM-DSI-0001247409-541, at 419,423,425,432.
      10
        "Mini·SentineF' was a working pilot project of the FDA that uses secure access to the
      electronic health records of more than 100 million patients with at least 17 data partners. The
      program was authorized by Congress in 2007. One of the Mini-Sentinel queries that may be


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               30.   On June 29,2012, the FDA notified Daiichi Sankyo that it had created a Tracked

      Safety Issue ("TSI") 12 for Olmesartan regarding malabsorption. 13

               31.   On July 1.1, 2012, citing a case series just published by Dr. Murray in the Mayo

      Clinic Proceedings regarding Olmesartan and serious gastrointestinal symptoms, FDA requested

      that Daiichi Sankyo provide a review of''all serious spontaneous post-marketing reports of

      malabsorption, enteropathy, microscopic colitis, celiac-like symptoms; or chronic diarrhea with

      clinically significant weight loss associated with olmesartan,~· along with any other ''additional

      relevant information on potential underlying mechanism." 14 Daiichi Sankyo submitted a report

      in response to FDA's inquiry on September 28, 2012, describing a totaf .of 80 adverse event

      reports which met FDA's criteria in its Daiichi global safety database, including 28 cases with
                             15
      positive rechaUenge.

               32.   The results of FDA's Tracked Safety Issue for olmesartan are documented in a

      memorandum dated May 14, 2013, which '"found sufficient evidence to support an association

      undertaken is to assess potential safety risks with medications. However, the "[d]ata obtained
      through Mini~Sentinel are intended to complement other types ofevideJ1ce, such as preclinical
      studies~ <llfnical trials, postmarket studies, and adverse event reports, all ofwhich are used by
      FDA to inform regulatory decisions regarding medical product safety.'' See OLM~DSC-
      0000094055- 82, at 55; OLM-DSJ-0002169412- 55:, at 12.
      n See OLM-DSC-.0000094055- 82; OLM-DSI~0002169412- 55.
      12
        The FDA's Office ofNew Drug (OND) and Oft1ce ofSurveiUan.ceand Epi<;lemiology (OSE)
      r~eive and analyze   safety information. When ttacking significant safety issues related to
      marketed prescription and oveNhe~counter drugs,. the FDA may issue a Document Archiving,
      Reporting, and Regulatory Tracking System (DARRTS) Tracked Safety Issue (TSI). See
      Manual of Policies and Procedures, Center for Drug Evaluation and Research, "Tracking of
      Significant Safety issues in Marketed Drugs- Use ofDARRTS Tracked Safety Issues/'
      effective date of6/8/2009; 12/20/2011, available at
      http://www.fda.gov/downloads/AboutFDA/CentersOftlces/CDER:/ManualofPolicles:Procedures/
      UCMl64967.pdf.
      13
           OLM-DSI-0002100590·593 at 592.
      r4 OLM.:DSF-000 1247624-626 at 25.
      15
           OLM-OST-0001247542- 840 at 13-14.


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      between olmesartan and sprue-like enteropathy," and recommended a revision to the Warnings

      and Precautions and Adverse Reactions-Postmarketing Experience s.ections of all labels for

      Daiichi Sankyo's olmesartan-containing products sold in the United States, and issuance of a

      Drug Safety Communication to healthcare professionals. 16

                33.    On July 3, 2013, the FDA issued a Drug Safety Comm1.1nication "warning that the

      blood pressure drug olmesartan medoxomil (marketed as Benicar, Benicar HCT, Azor,

      Tribenzor, and generics) can cause intestinal problems known as sprue-like enteropathy." The

      FDA stated that its evaluation '"found clear evidence of an association between olmesartan and

      sprue-like enteropathy," noting that it had identified 10 cases in FAERS 17 of positive rechallenge

      for "late-onset diarrhea with significant weight loss and, in some cases, with intestinal vill.ous

      atrophy onbiopsy." 18

      V;        THE IMPORTANCE OF DEIRECHALLENGE DATA IN ASSESSING CAUSAL
                ASSOCIATIONS UNDER THE FDA STANDARD.

                A.     Definition of Positive Deehallenge!RecballEmge

                34.   "Dechallenge" refers to the withdrawal ofa drug from a patient's treatment

      tegirne. The FDA defines positive dechaUenge as "partial or complete disappearance of an

      adverse experience after withdrawal of the suspect product." ''RechaUenge" ref~rs to the

      reintroduction of a drug suspected of having caused an adverse experience following a positive

      dechal1enge. The FDA defines positive rechallenge as "'reoccummce of similar signs and



      16
        See May 14, 2013, Tracked Safety Issue (TSI) Integrated Review Memorandum, attached
      hereto in Schedule IlL
      17
         The FDA Adverse Event Reporting System (FAERS) is a database that contains infotmation
      on adverse event and medication error repotts submitted to the FDA. The database is designed
      to support the FDA's post~marketing safety survei Hance program for drugs and therapeutic
      biologic products.
      18
           Caspard Exhibit No. 184.


                                                        8
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      syrnptoms upon reintroduction of the suspect product.'' DechaUenge/rechallenge information is

      used by the FDA in making causality assessments. 19

              B.     The Importance of Dechallenge/Rechallenge Evidence to Assessing Causation
                     Can Be Seen fmm the Weight that It Is Given in the Medical Literature, by
                     the FDA, and by Daiichi Sankyo.

                     1.      Medical Literature

              35.    As an example of the importance of how dechallenge/rechallenge data is used in

      various causation assessment tools, the Bradford Hill criteria. a well-accepted guideline useful

      for providing evidence of a causal relationship, considers dechallenge/rechallenge evidence.

      Specifically, the criteria assesses causality from multiple sources uslng the following parameters:

      strength of association, temporality (whether condition followed exposure), consistency

      (reproducibility), specificity (whether there are alternative causes), plausibility (whether the

      association is biologically plausible), coherence, dose response relationship, experiment

      (whether the conditi.on improves u.pon removal ()fthe hypothesized causative agent), and

      analogy. 20

              36.    The Naraf1io scale is another validated methodology ibr assessing the causal

      relationship between a drug and an adverse event using a questionnaire to assign probability

      scores. Under the scale, the likelihood of whether an adverse event was caused by the drug can

      be termed "definite," "probable," ''possible.'' or "doubtful." The scoring system gives points for

      positive dechallenge and positive rechallenge. "A 'definite' reaction was one that (1) followed a


      19
        FDA Guidance for Industry, Guideline for Postmarketing Repotting of Adverse Drug
      Experience (1997), p. 18; see also FDA Draft Guidance for Industry. Postmarketing Safety
      Reporting for Human Drug and Biological Products Including Vaccines (2001), p. 35.
      :w See e.g., Austin Bradford Hill, "'The Environment and Disease: Association or Causation,"
      Proceedings of the Royal Society of Medicine, 58 (1965), 295-30; Strom BL, Chapter 3 Basic
      Principles of Clinical Epidemiology Relevant to Phannacoepidemiologic Studies, in Strom BL.
      Pharmacoepidemiology 82~84 (5th ed. 2012).


                                                        9
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      reasonable temporal sequence after a drug ... (2) followed a recognized response to the suspected

      drug, and (3) was confirmed by improvement on withdrawing the drug and reappeared on

      reexposure. )"'-:q
                   ·~



               37.         The World Health Organization-Uppsa1a Monitoring Centre causality assessment

      recognizes that positive rechallenge information can pennit a suspected adverse drug reaction to

      be upgraded from "probable/likely" to "certain" in its causal connection to the drug. 22

               38.         Strom's Pha.nnacoepidemiology textbook describes the importance of rechaUenge

      data in making causal assessments. "Case reports can be particularly useful to document

      causation when the treatment causes a change in disease course which is reversible, such that the

      patient returns to his or her untreated state when the exposure is withdrawn, can be treated again,

      and when the change returns upon repeat treatment.'.z 3

               39.         Another c:hapter in Strom states that case reports may establish a causal

      relationship where ·~there is at least one case with a positive re-challenge and some other

      supportive cases which do not have known confounding drugs or diseases." 24

               40.         A different chapter in Strom states, "[l]t has been suggested that a temporal

      relationship between medical product and adverse event, coupled with positive de-challenge and




      21
        Naranjo CA, Busto U, Sellers EM, et aL, A method for estimating the probability of adverse
      drug reactions, Clin. Pharmacal. Ther. 30 (2): 239'-45 (1981 ).
      22
        Uppsala Monitoring Centre. Pharmacovigilance. Definitions. http://who-
      umc.org/DynPage.aspx ?id=97224&mnl =7347 &mn2=7252&mn3=7257 (accessed October
      2016).
      23
        Strom BL, Chapter 3 Basic Principles of Clinical Epidemiology Relevant to
      Pharmacoepidemiologic Studres, itt Strom BL, Pharmacoepidemiology 86 (5th ed. 2012).
      24
        Edwards IR, Olsson S., Lindquist M, Hugrnan B. Chapter 10 Global Drug Surveillance: The
      WHO Programme for International Drug Monitoring, in Strom BL, Phatmacoepidemiology 175
      (4th ed. 2005).


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      re-challenge, can occasionally make isolated reports conclusive as to a product-event

      association. " 15

              41.         An article in Drug Safety states "f o]nly rarely does the presence of one or more

      proof positive reports - for instance. in the case of a convincing recunence on re-exposure to the

      drug ('positive rechallenge')- produce conclusive evidence with regard to the role ofthe drug." 26

              42.         The Drug Safety article further states "( al weH-documented positive rechallenge,

      intentional or incidental, may irrefutably prove the connection between a drug and an adverse

      reaction. Since certainty is notoriously rare in pharmacovigilance, such proof-positive

      observations (of previously unknown as well as of established adverse reactions) have great

      scientific value and their reporting is of utmost importance.'' 27

                          2.     FDA

              43.         The FDA gathers dechailenge/rechallenge infonnation in collecting and assessing

      adverse drug reactions.

              44,         The FDA's form for reporting adverse drug events, Fonn 3500/3500A (also

      known as a MedWatch fom1), solicits dechallenge/rechal!enge data from consumers, health

      professionals, manufacturers and distributors about the suspect medication. Specifically, the

      Form asks whether the "event abated after use stopped or dose reduced" and whether the "event

      reappeared after reintroduction!'

      http;//www.fda.gov/downloads/AboutFDA/ReportsManualsForms/Fortns/UCM295636.pdf.



     25
        Rizwanuddin A, Chaptecr 9 Spontaneous, Reporting in the United States, in Strom BL,
      Pharmacoepidemiology 152 (4th ed. 2005).
      26
        R.H.B. Meyboom, Y.A. Hekster, A.C.O. Egberts, etal, Causal or Casual? The Role of
      Causality Assessment in Phannac0vigilance; Drug Safety 1997 Dec; 17 (6): 374-389 at 377.
     27
       R.H.B. Meybootn, Y.A. Hekster, A.C.G. Egberts, et al, Causal or Casual? The Role of
     Causality Assessment in Phannacovigilance, Drug Safety 1997 Dec; 17 (6): 374-389 at 383,
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              45.      The FDA's 1997 Guideline for Postmarketing Reporting of Adverse Drug

      Experiences defines "causality assessment'' as including "for example, assessment of

      temporal relationships, dechallenge/rechallenge information, association with (or lack of

      association with) underlying disease, presence (or absence) of a more likely cause,

      plausibility, etc." 28

              46.      The FDA's guidance for reviewers conducting clinical safety reviews ofNDA,

      stresses the importance ofrechallenge information when assessing drug-relatedness of adverse

      events experienced in clinical trials. ,.A ... reason for individual case review of deaths, serious

      adverse events, and adverse events leading to discontinuation is to look for results of rechallenge.

      A potentially important source of information about causality is when an individual is

      rechallenged with drug, accidentally or deliberately. Recurrence with rechallenge is a potentially

      strong indicator of causality, but interpretation of the results of rechaUenge is highly dependent

      on the natural course of the event being considered. For noncyc!kal events that are exceedingly

      rare in the background (e.g., acute liver failure, aplastic anemia) recurrence ofthe event upon

      rechallenge (i.e., positive rechallenge) provides strong evidence of causality. Positive

      rechallenges are less definitive for diagnoses/events that can occur in cyclical or recurrent

      fashion (e.g., worsening glucose control in a subject with diabetes mellitus), but close

      observation ofthe patient's whole course (i.e., both challenge periods and dechallenge periods)

      may be helpful." 29




      28
        FDA Guidance fbr Industry, Guideline for Postmarketing Reporting of Adverse Drug
      Experience (1997), p. 18; see also FDA Draft Guidance for Industry. Postmarketing Safety
      Repotting for Human Drug and Biological Products Including Vaccines (2001), p. 35.
      29
        FDA Reviewer Guidance 1 Conducting a Clinical Safety Review of a New Product Application
      and Preparing a Report on the Review, p. 9 (2005).


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              47.     A third FDA Guidance also states, "[i]t is possible that even a single   well~


      documented case report can be viewed as a signal, particularly if the report describes a positive

      rechallenge or if the event is extremely rare in the absence of drug use." 30

              48.    As discussed below, the FDA has required labeling changes based on adverse

      event reports of positive rechallenge.

                     3.      Daiicbi Sankyo

              49.     Daiichi Sankyo's Standard Operating Procedure ("SOP") for assessing causality

      of olmesartan sedous adverse events in its drug safety database, ARGUS, requires consideration

      of positive techallenge information. "A number of factors must be considered when assessing

      causality, including the study drug (e.g., known pharmacological effect, known adverse event),

      the patient (e.g., medical history, concomitant medication use), the disease under study (e.g.,
                                                                          ~{
      expected outcome event in the population), the event itself (e.g., whether the event is likely dtug

      induced; specificity of the event), and case-specific information (e.g., plausible temporal

      association; positive rechallenge)." A causality assessment of "related" is appropriate "based

      on a positive reeballenge and Jack of other confounding factors. "(Emphasis added.l 1

             50.     Daiichi Sat1kyo's SOP for "Receipt, Assessment, and Reporting of Adverse

      Events from   Non~Study   Sources," RM-SOl-003 effective April l, 2007, instructs that causality

      between an adverse event and drug is "definitely related" if the event: "Follows a reasonable

      temporal sequence from study product administration; Abates upon discontinuation ofthe study




      3
       °FDA Guidance for Industry: Good Pharmacovigilance Practices and Pharmacoepidemiologic
      Assessment, p. 4 (2005).
      31
        Argus Safety Data Entry Convention, effective March 10, 2014, OLM-DSC-000 1431008 at
      070.


                                                        13
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      product (dechallenge ); Is confirmed by reappearance of the reaction on repeat exposure

      (rechallenge)." (Emphasis added.) 32

                51.    In a September 28, 2012 report to the FDA regarding 80 cases retrieved from the

      Daiichi Sankyo global safety database repotting malabsorption, enteropathy, microscopic colitis,

      celiac or sprue like symptoms and chronic diarrhea with clinical significant weight loss, Daiichi

      Sankyo states that the "most interesting cases'' were the reports of positive rechallenges. The

      report goes on to state that rechallenge is a "rigorous criterion for implicating a drug in drug

      induced enteropathy." 33

                52.    At his deposition on May 6, 2016 Allen Feldman, Daiichi Sankyo's Vice

      President for Clinical Safety and Pharmacovigilance from 2007 forward, testified as follows:

                       14             Q. The third criteria in
                       15     looking to see if therets a causal
                       16      relationship is, "Evidence of positive
                       17     dechallenge or positive rechallenge."
                       18     You would agree with that,
                       19     that that's important evidence to look at
                       20     if you have that information to determine
                       21     causation?
                       22             A. That's very useful
                       23     information to have.

                       22             Q. And again, we went through
                       23     this earlier in the deposition. A
                       24     rechallenge is certainly very, very

                                                     231
                       l      important information in terms of
                       2      determining an association, right?
                       3             A. The rechallenge is. '4
                                                            J




      32
           OLM-DSI-0007160734 at 749.
      33
           OLM-DSI-0001247542 at 545 and 574.
      34
           Deposition of Allen Feldman, May 6, 2016, at 136:14-23 and 230:22-231:3.


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              C.      The Scientific Basis ofRechallenge Testing

              53.     Using rechallenge methodology experimentally seeks to isolate the role of the

      drug in contrast to other potential causes/confounding factors. In a rechallenge experiment the

      variable that is manipulated is the drug. Furthennore, as a positive rechallenge necessarily

      involves a pdor positive dechallenge, there are two experimental instances where the

      administration or withdrawal of the drug is determined to be linked to the disease. Thus in any

      positive dechallenge rechallenge situation, there is, in essence, built~in replicahility that limits

      the chances that a confounding factor is at work. As Professor Strom has stated, while there are

      no guarantees that a positive dechallenge and rechallenge is absolute evidence of causation,

      practically speaking it is a method of choice for establishing a causa! association. FDA

      regulations require a warning in the Warnings and Precautions section of the label when there is

      «reasonable evidence of a causal association, a definitive causal relationship need not be

      established."

              54.     In my opinion, positive de/rechallenge evidence that is reproducible meets, the

      FDA standard of reasonable evidence of a causal association?5

      VI.    FDA HAS CHANGED DRUG LABELS BASED IN PART ON POSITIVE
             DECHALLENGE AND RECHALLENGE EVIDENCE

             55.      My opinion that positive de/rechallenge evidence that is reproducible meets the

      FDA standard of reasonable evidence of a causal association and can lead to changes in drug

      labels is further suppotted by numerous examples of FDA revising drug labels based on

      de/rechallenge evidence. An ana.lysis of such cases is included in the next section.




      35
        Meeting this standard triggers the requirement fot    a Warning in the Warnings and Precautions
      section of the labeL


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                A.      The Importance of Dechallenge/Rechallenge Data in FDA Drug Safety
                        Determinations Can Be Seen in the Number oflnstanees Where FDA Used
                        Dechallenge!RechaUenge Data in Making Important Public Health
                        Determinations.

                56.     I searched for the tenn rechallenge in FDA Drug Safety Newsletters from Volume

      1, November 1 (Fall 2007) to the last avallable, Volume 2, Number 3 (2009). I also searched

      FDA Drug Safety Communications from 2010 through 2016 (as ofNovember 27, 2016) and

      MedWatch Safety Alerts from 2012 through 2016 (as of November 27, 2016). 36

                57.     I reviewed FDA Drug Safety Newsletters; FDA Drug Safety Communications,

      and FDA MedWatch Safety Alerts that resulted in Warnings based on orin patton

      dechallenge/rechailenge data.

                58.     This search revealed the following exampLes of changes in the Warnings based on

      ot in part on de/rechallenge data.

                B.      Changes to the Warnings & Precautions Section ofLabelBased on
                        Dechallenge/RecbaUenge Data.

                59.     ProvigH (modafinil). FDA received six reports ofse-vere skin adverse events,

      including erythema multiforme, Stevens-Johnson Syndrome, toxic epidermal necrolysis and drug

      rash with eosinophilia and systemic symptoms. According to FDA, "[i]n one case of SJS...

      recha!Ienge with modafinil resulted in recurrence of the rash ... which supported a causaf

      relationship with modafinil use," FDA further stated that <'[t]he cases described a temporal

      relationship with detailed clinicaL descriptions, relevant laboratory data, dermatologist-

      substantiated diagnoses, skin biopsy confirmation, positive dechallenges, and/or a positive

      rechallenge. all of which support an association betvveen modafinit use and serious cutaneous




      36
           The FDA website for these materials starts at the dates indicated.


                                                          16
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       skin reactions." The Warnings were changed to add "Serious Rash, Including Stevens-Johnson

      Syndrome." 37

                60.    Tysabri (natalizumab). FDA identified in FAERS 28 cases of liver dysfunction,

      24 of which were mild lab abnormalities or potentially due to another etiology. FDA stated of

      the four cases with serious liver irljury, "one patient had a positive rechallenge with development

      of jaundice and significant elevation of liver enzymes after resuming natalizumab.'' FDA further

      stated, "[t]he cases ... describe a temporal relationship between serious liver injury and the use

      of natalizumab with detailed clinical descriptions, relevant laboratory data, biopsy confirmation

      of drug-induced liver injury, positive dechaUenge, and/or a positive rechallenge. These cases

      suppott an association between natalizumab use and serious liver htjury." Warnings and

      Precautions were revised to add: ••Hepatotoxicity. Clinically significant liver injury has been

      reported in patients treated with Tysabri in the postmarketing setting .. .ln some patients, Hver

      injury recurred upon rechallenge, providing evidence that Tysabri caused the injury," 38

                61.    Strattera (atomoxetine). A search ofF ABRS and published literature was

      performed for cases of se.rious liver injury. In 2004, a labeling change was prompted by two

      published reports of atomoxetine-induced hepatitis. In one ofthese reports, there was a positive

      rechallenge with atomoxetine. As a result, "[s]evere liver injury... postmarketing report... of

      two cases of markedly elevated hepatic enzymes and bilirubin... In one patient, liver injury ...

      recurred upon rechallenge, and was followed by recovery upon drug discontinuation providing

      evidence that Strattera caused the liver injury'~ was added to the Watnings in 2004. Watnings and

      Precautions were again revised in 2007. Since 2004, FDA received six additional reports of

      serious liver injury, including two in the published literature. Four of the six patients recovered

      37
           Fall 2007 Drug Safety Newsletter; 10/24/2007 Safety Alert~
      33
           Spring 2008 Drug Safety Newsletter; 1/2008 Tysabri label.


                                                        17
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       upon discontinuation of atomoxetlne. FDA encourages physicians to inform patients of the signs

      and symptoms of liver injury and "discontinue and not resume atomoxetine treatment if patients

       present with jaundice or laboratory evidence of liver injury.'' 39

                62.    By etta (exenatide). FDA reviewed 30 reports of acute pancreatitis associated

      with use of the drug. In 22 of the 30 cases, a positive dechalleoge was reported; three of these

      cases reported recurrence of various symptoms (e.g., nausea and vomiting, abdominal pain) at re-

      initiation of exenatide. The FDA also noted that 27 cases reported one or more possible

      contributory factors, including concomitant use of medications that list pancreatitis among

      reported adverse events in product labeling, or confounding conditions. Nevertheless, the FDA

      concluded "[t]hese findings   suggested~   strong temporal association between exenatlde and acute

      pancreatitis." The product labeling was updated to include information about acute pancreatitis,

      in the Precautions section ofthe label, and information for healthcare professionals was posted

      on FDA's website, including a recommendation not to resume treatment "ifpancreatitis is
                                                                                          40
      confirmed and an alternative etiology for pancreatitis has not been identifie& ''

                63.    Viagra and Revatio (PDE5 Inhibitors)~ Levitra (vardenafil hydrochloride},

      and Cialis (tadalafil). A published case report of sudden sensorineural hearing loss (SSHL) in a

      male patient taking Viagra prompted FDA to search FAERS for postmarketing reports of hearing

      impairment associated with use ofPDES inhibitors. There were 29 unique cases describing

      hearing loss that met the definition of SSHL and "reported a strong or reasonably plausible

      temporal relationship" with the use of a PDE5 inhibitor, vardenafil hydrochloride, and tadalafiL

      Two patients reported a positive rechaUenge. The FDA revised the labeling for the entire class of

      drugs to refkct this information in the Adverse Reactions section and provide guida11:ce for

      39
           2009 Drug Safety Newsletter; Volume 2, No. 1, 10/2006 Strattera LabeL
      40
           Winter 2008 Drug Safety Newsletter, Volume 1. No.2; 11/01/2006 Label, 1/11/2008 Label.


                                                         18
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      patients who experience sudden heating loss in the Precautions.• Information for Patients section
                         41
      of the Jabeling.

                64.      Rocephin (Intravenous Ceftriax:one). FDA reviewed seven case reports from

      F AERS of serious cardiopulmonary adverse events in neonates undergoing concurrent treatment

      with Rocephin and calcium-containing intravenous products. Three representative cases were

      described in detail, including one with a positive rechallenge. A repeat cardiopulmonary .event

      occurred after the second dose.   The Warnings were revised to reflect this risk, including that
                                                                                                         42
      «Rocephin must not be administered simultaneously with calcium-containing IV solutions...."

               65.    Cubicin (daptomycin). FDA located in FAERS and the medical literature seven

      cases of eosinophilic pneumonia. Two of the cases reported recurrence of eosinophilic

      pneumonia after Cubicin was restarted. The Warnings and Precautions section oftbe label was

      revised to add: "Eosinophilic pneumonia has been reported in patients receiving CUBICIN ....

      Recurrence of eosinophHic pneumonia upon re-exposure has been reported."43

               66.    Lamictal (lamotrigine). FDA reviewed adverse event reports submitted to the

      Agency for cases of aseptic meningitis. FDA identified 40 cases. Fifteen of the cases reported a

      rapid return of symptoms foUowing re-initiation of Lam ictaL FDA stated, "[i]n these

      rechallenge cases., symptoms were frequently more severe after re-exposure!' The Warnings and

      Precautions were revised to add: HAseptic meningjtis. Re-exposure resulted in rapid return of




      41
        Winter 2008 Drug SatetyNewsletter, Volume I; No.2; 2/25/2008 Viagra Label, 12/18/2007
      Revatio Label; 10/18/2007 Levitra Label, 10/18/2007 Cialis LabeL
      42
           2009 FDA Drug Safety Newsletter, Volume 1, No.3; 7/17/2007 Label.
      43
           7/29110 Drug Safety Communication; 11/2010 Cubicin LabeL


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      symptoms (fi·om within 30 minutes to 1 day followingre-initiation of treatment) that were

      frequently mote severe." 44

                67.    Proton Pump Inhibitor (PPI) Drugs. FDA searched F AERS, the medical

      literature, and periodic safety update reports for reports oflow magnesium levels. A total of

      38 AERS cases and 23 cases from the literature were found, including eight reported in both

      FAERS and the literature. FDA stated~ "[h]ypomagnesemia has been reported in adult patients

      taking PPls for at least three months, but most cases occurred after a year of treatment. . . Some

      cases cited both positive dechallenge as well as positive rechallenge. . . After restar6ng the PPI,

      the median time to develop hypomagnesemia again was two weeks." The Warnings and

      Precautions Section was revised to add "Hypomagnesemia, symptomatic and asymptomatic, has

      been reported rarely in patients treated with PPis for at least three months .. ,treatment of

      hypomagnesemia required magnesium replacement and discontinuationofthe PPL" 45

                68.   Saphris (asenapine maleate). FDA performed a search ofFAERS for reports of

      type 1 hypersensitivity reactions and identified 52 cases. FDA fuund that "[o]f the 52 cases, 15

      reported a resolution of symptoms fo11owing Saphris discontinuation, while two of these cases

      reported a reappearance of symptoms upon reintroduction ofSaphris." The Warnings and

      Precautions Section was revised to add: "Hypersensitivity Reactions, including anaphylaxis and
                                             46
      angioedema, have been observed ..."

               69.    Tumor Necrosis FactQr-alpha blockers (Remicade, Enbrel, Homira, Cimzia,

      Simponi). FDA performed a search of FAERS and the medical literature for reports of

      opportunistic pathogens seen in patients treated with TNF-a blockers. FDA identified 80 cases

      44
           8112/10 Drug Safety Communication; l0/12/20l0 Lamictal LabeL
      45
           3/22/11 Drug Safety Communication, 05/2011 label.
      46
           9/1/2011 Drug Safety Communication, 08/2011 labeL
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      of Legionella in FAERS and 23 cases in the literature. One published case reported that a

      "patient developed a second episode of Legionella pneumonia following re-initiation of a TN F-a

      blocker." The Boxed Waming Section was revised to add the following italicized words:

      "'Bacterial, viral and other infections due. to opportunistic pathogens, including Legionella and

                   47
      Listeria."

               70.      Acetaminophen and acetaminophen~containing medications. A search of

      FAERS and the medical literature was performed for serious skin reactions. Three cases of

      p.ositive rechaUenge were found in the published literature. ''The evidence supporting causality

      between acetaminophen and serious skin reactions primarily comes from a small number of

      published cases in which patients were rechallenged with acetaminophen and had a recurrence of

      serious skin reaction!' The Wamings were revised to add "Serious skin reactions. . . Patients

      should be informed about the signs of serious skin reactions, and use of the drug should be

      discontinued at the first appearance ofskin rash or any other sign of hypersensitivity." For over
                                                                                 48
      the counter medications, FDA requested/encouraged additional language.

               7t.      Geodon (ziprasidone). FDA searched the FAERS database for cases of serious

      skin reaction known as Drug Reaction with Eosinophilia and Systemic Symptoms (DRESS). Six

      cases of DRESS associated with ziprasidone use were located. The FDA found that "[i]n three

      cases, a recurrence of symptoms was reported following the discontinuation and     re~initiation   of

      ziprasidone, with a faster time to onset following the re-initiation." The FDA concluded that the

      ,.FAERS cases support an association between ziprasidone and the development of DRESS

      because ofthe consistency of the case characteristics to the signs and symptoms of DRESS, the


      47
        9/7/20 l I Drug Safety Communication; 09/2011 Remi.cadc Label, 12/2012 Enbret Label,
      12/2011 Humira Label; 04/2012 Cimzia Label, 12/2011 Simponi Label.
      48
           811/2013 Drug Safety Communication.


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      temporal relationship between ziprasidone initiation and the onset of syrnptoms, and reported

      cases of positive re-challenge.'' The Warnings and Precautions were revised to add "[d]rug

      Reaction with Eosinophilia and Systemic Symptoms (DRESS). . . Discontinue ziprasidone if

      DRESS is suspected." 49

                72.    DPP-4 inhibitors (Januvia, Onglyza, Tradjeuta). fDA searched F AERS and

      the medical literature for reports of severe, disabling joint pain. The FDA identified 33 cases of

      severe arthralgia in PAERS. The FDA reported that "[e]ight of the 33 cases documented a

      positive rechallenge." The Warnings and Precautions were revised to add the following

      language: " ... postmarketing reports of severe and disabling arthralgia ... A subset of patients

      experienced a recurrence of symptoms when restarting the same drug or a differe11t DPP4

      inhibitor!' 5°

               73.     Hanrmii (ledipasvir/sofosbuvir) or SovaJdi (sofosbuvir) and amiodarQne in

      combination with another Direct Acting Antiviral drug. FDA searched the FAERS database

      for :reports of serious slowing of heart rate. The FDA located nine cases of symptomatic

      bradycardia. The FDA noted that "[j]n 3 of the patients, rechallenge with hepatitis C treatment

      in the setting of continued amiodarone therapy resulted in recurrence of symptomatic

      bradycardia." The Warnings and Precautions were revised to add "Serious Symptomatic

      Bradycardia When Coadministered with Amiodatone." 51

               74.     Zyprexa. FDA performed a search of the FAERS database and located 23 <;;ases

      of Drug Reaction with Eosinophilia and Systemic Symptoms ("DRESS''). FDA noted that

      "[o]ne reported the recurrence of DRESS after olanzapine was restarted. Nine cases reported the

      49
           12111/14 Drug Safety Communication; 12/2014label.
      50
           8/28/15 Drug Safety Communication; 8/2ot5 labels.
      51
           3/24/15 Drug Safety Communication; 03/2015 labels.


                                                       22
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      symptoms completely resolved after discontinuation of olanzapine.'' The Warnings and

      Precautions Section was revised to add a warning about DRESS. 52

                75.    Abilify. FDA searched the FAERS database and the medical literature to locate

      cases of impulse-control problems. The FDA located 184 total cases, 167 in F AERS and 17 in

      the medical literature. The FDA noted that for the "17 cases published in the medical literature.

      all cases contained information that the compulsive behavior resolved completely when

      aripiprazole was discontinued, and four cases reported the return of compulsive behaviors when

      aripiprazole was restarted.'' The Warnings and Precautions Section added new warnings about

      the different types of compulsive behaviors that might result, including the ianguage "con~ider

      dose reduction or stopping the medication if a patient develops such urges." 53

                76.   Thus, based on the above, from 2007 to present, there were 17 cases where

      rechallenge data l.ed to a change in the Warnings section of the label in drugs other than

      olmesartan medoxomiL In 16 of these cases the number ofrechallenge cases that led to the

      change in the Warnings section were specified. In these 16 cases, the average number of

      rechalfenge cases was 3.19, with a range of l to 15 and a median of 2.

      VII.     BY THE END OF 2006, AND NO LATER THAN 2007, SERIOUS ADVERSE
               EVENT REPORTS FOR OLMESARTAN SHOW REPRODUCIBLE POSITIVE
               RECHALLENGE CASES, THUS SATISFYING THE FDA STANDARD OF
               REASONABLE EVIDENCE OF A CAUSAL ASSOCIATION. 54

               77.    Daiichi Sankyo's production ofMedWatch reports regarding olmesartan, and

      the.ir corresponding source files, for the ten year period starting at the time of NDA approval

      (from 2002 through 20 12) were reviewed for evidence of serious rechallenge cases involving

      52
           5/J 0/16 Drug Safety Communication; Zyprexa labeL
      53
           5/3/16 Dmg Safety Commtmication; 8/2016 IabeL
      54
         Hereinafter, the term ''rechallenge" is used tb encompass positive dechallenge and positive
      rechallenge occurring together.


                                                       23
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      olmesartan and symptoms of olmesartan associated enteropathy. Any serious reports with a

      positive rechallenge and symptoms (tetms) of diarrhea, vomiting, and/or celiac disease were

      identified,

              78.    The methodological review identified 62 MedWatch forms that were submitted to

      FDA concerning olmesartan and that met the following criteria: 1) at least one of the symptoms

      of diarrhea, vomiting, or celiac disease appeared in either coded preferred terms in Section 0.8

      or the narrative in Section B.S; 2) positive rechallenge was documented either through checked

      rechallenge box in Section C.5 orthe narrative in Section B.5; and 3) seriousness was

      documented either through checked box in Section B.2 or other evidence of hospitalization. l

      reviewed each of these 62 MedWatch fbrms, which are attached in Schedule X. These

      MedWatch forms were produced by Daiichi Sankyo as part of the MDL concerning olmesartan.

      They were selected from a total of approximately of 9,540 MedWatch reports concerning

      olmesartan that were produced.

             79.     Although I am a licensed medical physician, when confronted by a specific

      medical question, it has been my practice at times, like many physicians, to consult with other

      medical experts who have considerable expertise in the issue. Toward tha,t end, on November 1,

      2016, I wrote to Dr. Daniel Leffler, Associate Professor of Medicine (Gastroenterology) at

      Harvard Medical School and Director of Research at the Celiac Center at Beth Israel Deaconess

      Medical Center in Boston, who has published extensively on gastrointestinal symptoms,

      including celiac disease, and has treated patients with olmesartan associated enteropathy.

             80.     In my letter of November 1, 2016, to Dr. Leftler, I requested that he review the 62

      FDA MedWatch forms and provide his clinical opinion on whether the presentation of symptoms

      in each of the MedWatch patients after taking olmesartan is consistent with the clinical syndrome




                                                      24
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      of olmesartan associated enteropathy. r also requested that he exclude any of the 62 MedWatch

      patients whose presentation of symptoms he believes is inconsistent with the clinical syndrome

      of olrnesartan associated enteropathy.

                 81.   Of the 62 cases submitted to Dr. Leffler, Dr. Leffler concluded that 60 were

      highly consistent with olmesmtan associated enteropathy, both by clinical syndrome and

      response to olmesartan withdrawal and rechaltenge. One of the 62 cases,     DSJ~2012-13566,     was

      excluded by Dr. Leffler because the clinical syndrome of constipation, intestinal obstruction and

      pancreatitis was inconsistent with olmesartan associated enteropathy. A second case, DSM-

      2011-00109, was excluded by Dr. Leffler because the very fast onset of symptoms, within one

      week of starting olmesartan, is unusual with olmesartan associated enteropathy. 55

                 82.   Dr. Leffler also confirmed that the criteria used to identify the MedWatch reports

      selected-serious positive rechallenges involving diarrhea, vomiting or celiac disease-are

      highly relevant to clinical diagnosis of olmesartan associated enteropathy. 56

                 83.   The following chart lists the 60 MedWatch forms that concerned olmesartan, met

      the three criteria above, and were validated as consistent with the clinical syndrome of

      olmesartan associated enteropathy.




      55
           Expert Report of Daniel Leffler; M.D.
      56   Jd.


                                                        25
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                                                                                                 TIME TO
                                                                                                 ONSET OF
       #      MFR        TERMS 2         AGE   GENDER      RECHALLENGE2§      SERIOliS22        SYMPTOMS

       l       SU-        Diarrhea       58      F           Box checked     Hospitalization    Over one year
              2004-      (narrative)                                          (source file)      (source file)
             002638       Vomiting


       2       su~       Vomiting        58      F           Box checked     Hospitalization.    Two years
              2005-     Dehydration
             004027        Fall
                        Laceration
                          Nausea
                        Hypotension

       3       SU-         Diarrhea      67      M           Box checked     Hospitalization      One year
              2006-    GI inflammation
             005321     Hypotension

       4       SP-       Diarrhea        73      F           Box checked     Hospitalization    Three months
              2006-      Vomiting
             003299    Abdominal pain

       5       SU-         CD            76      M            Narrative      Hospitalization
              2006-      Diarrhea                                                               Two to three
             0&5596      Vomiting                                                                 years
                        Weight loss
                        Dehydration
                          Anemia
                          Malaise

       6      SU-        Diarrhea        61      M            NatTative      Hospitalization     Two years
              2006~      Vomiting
             005527    Tropical sprue
                      Weight decreased
                        Renal failure

       7       SU-          CD           63      M           Box checked     Hospitalization
              2006-      Vomiting                                                               Two to three
             005001       Pyrexia                                                                 years
                           Chills
                           Nausea
                          Diarrhea
                         (narrative)

       8       sr~     Gastroenteritis   56      F            Narrative      Hospitalization    Nine months
              2006-    Hypokalaemia


      57
        For the sake of completeness, this includes all coded prefetred terms, not only the terms
      searched for. All tetrns are coded except where indicated, when term was used in narrative.
      58
           From Section C.5 on Medwatch unless other source indicated.
      59
           From Section B.2 on the Medwatch unless other source indicated.


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                                                                                            TlM.ETO
                                                                                            ONSET OF
       #    MFR         TERMSll         AGE   GENDER     RECHALLENGEi§    SERIOlJS12       SYMPTOMS

            003369    Hypocalcaemia
                         Diarrhea
                        (narrative)
                         Vomiting
                       (narrative)

       9    DSU-        Vomiting        unk     M          Box checked   Hospitalization    Unknown
            2007-      Hypotension
            00076      Renal failure

      10    DSU-          CD            77      F          Box checked   Hospitalization    Five to six
            2007-       Diarrhea                                                              years
            00519       Vomiting
                       Hypotension
                         Stress

      11     SU-        Diarrhea        67      M          Box checked   Other Serious     Nine months
             2007-     Weight loss
            005968     Dehydration

      .12   DS.l-       Vomiting        70      F          Box checked   Hospitalization   Nine months
            2007-        Nausea
            05652        Alanine
                     aminotransferase
                        abnormal
                        Aspartate
                     aminotransferase
                        abnormal
                        Jaundice

      13    DSM-        Diarrhea        59      M          Box checked   Hospitalization    Two years
            2008-       Vomiting                                                           and 7 months
            OOUl

      14    DSM-        Diarrhea        75      F          Box checked   Hospitalization    One year
            2008-       Vomiting
            00300

      15    DSM-         Vomiting       81      F          Box checked   Hospitalization     Eleven
            2008-        Syncope                                                             months
            00239         Loss of
                      consciousness
                         Diarrhea
                        (narrativt:)

      16    DSU-       Diarrhea         63      M          Box checked   Hospitalization    Two years
            2008-      Vomiting                                          Other Serious
            02107        CD
                      Dehydration
                      Weight loss
                      Hypotension




                                                    27
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                                                                                               TTMETO
                                                                                               ONSET OF
      #    MFR          TERMS 51           AGE   GENDER     RECHALLENGEH!    SERIOUS~         SYMPTOMS

                         Nausea
                           Fall
                          Drug
                      administration
                          elTOf

      17   DSM-         Vomiting           82      F          Box checked   Other Serious     Fifty-six days
           2008-       Dizziness
           00607     Tongue disorder


      18   DSU~        Vomiting            70      F          Box checked   Hospitalization   Over one year
           2008-     Viral infection                                                           (narrative)
           01355      Acute kidney
                         iqjury
                        Sneezing
                        Asthenia
                     Blood pressure
                       increased

      19   DSU-          Vomiting          47      F          Box checked   Other Serious      Unknown
           2008~       Hyponatremia
           02020           Surgery
                     Blood creatinine
                          increased
                        Glomerular
                       filtration rate
                         decreased
                          Gamma-
                   gl utamy !transferase
                          increased
                    Blood cholesterol
                          increased
                   Blood triglycerides
                         increased
                      Blood glucose
                          increased
                        Blood urea
                         increased
                      Blood uric acid
                         increased
                      Blood alkanine
                        phosphatase
                         increased
                           Alanine
                    aminotransferase
                         increased
                        Protein total
                         increased
                      Blood albumin
                         increased




                                                       28
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                                                                                           TIME TO
                                                                                           ONSET OF
      #    MFR         TERMS;tr         AGE   GENDER   RECHALLENGE2!!     SERIOlJS~        SYMPTOMS

                   Blood cholesterol
                      decreased

      20   DSM-        DiatThea         81      .F        Box checked    Hospitalization   One year nine
           2009-       Vomiting                                          Other Serious       months
           00482        Nausea
                     Dehydration
                   Decreased appetite
                     Acute kidney
                         injury
                     Urinary tract
                       infection

      21   DSM-       Diarrhea          70      F         Box. checked   Other Serious       One year
           2009-    Gastroenteritis
           00694    Hypokalaemia
                   Weight decreased

      22   DSM-         Colitis         83      F          Narrative     Hospitalization    Unknown
           2009-       Diatrhea                                          Other Serious
           01869      (narrative)

      23   DSU-        Diarrhea         55      F         Box checked    Hospitalization   One year one
           2009~      Vomiting                                                               month
           01835   Lipas.e increased
                   Weight d.ecreased
                     Dehydration

      24   DSM-        Diarrhea         62      F         Box checked    Hospitalization    Unknown
           2009-     baemorrhagic
           00451       Vomiting
                     Hypotension

      25   DSU-     Celiac disease      63      M         Box checked    Hospitalization    Four years
           2009-       Diarrhea                                                                ago
           00162       Retching                                                             (narrative)
                     Dehydration
                         Pain
                       Asthenia
                   Renal impairment
                     Hypotension
                        Fatigue
                    Hyperhidrosis

      26   DSU-     Celiac disease      65      M         Box checked    Hospitalization     Unknown
           2009-      Diarrhea                                           Other Serious
           00531     Dehydration
                   Weight decreased
                     Malnutrition
                      Lethargy
                    Blood chloride




                                                     29
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                                                                                            TlM.ETO
                                                                                            ONSET OF
       t!.   MFR        TERMSar         AGE   GENDER     RECHALLENGE£1    SERIOllS~        SYMPTOMS

                        increased
                     White blood cell
                     count decreased
                      Platelet count
                        decreased
                         Anemia
                      Skin atrophy
                       Confusion
                        Heart rate
                        decreased
                      Hypertension
                       Transferrin
                        saturation
                        increased

      27     DSU-     Celiac disease    75      F          Box checked   Hospitalization    Two years
             2009-      Diarrhea
             01026      Vomiting
                       Cold sweat
                      Dehydration

      28     DSU-     Celiac disease    Unk     F           Narrative    Other Serious      Two to six
             2009-                                                                           months
             01282

      29     DSU-        Diarrhea       75      F           Narrative    Hospitalization     One year
             2009-      Vomiting                                                           seven months
             01963   Weight decreased
                     Renal impairment
                            Fall
                        Confusion
                        Asthenia

      30     DSU-     Celiac disease    62      F          Box checked   Hospitalization    Five years
             2009-      Diarrhea
             02204      Vomiting
                      Dehydration
                      Enteroco Iit is
                        bacterial
                      Hypotension
                         Nausea

      31     DSU-     Celiac disease    69      F           Narrative    Hospitalization     One year
             2009-      Vomiting                                         Other Serious
             02266   Cholecystectomy
                         Malaise
                      Blood pressure
                        increased

      32     DSM·     Gastroenteritis   63      F          Box checked   Hospitalization   Three years
             2009-    Acute kidney                                        Disability or




                                                    30
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                                                                                               TIME TO
                                                                                               ONSET OF
       tt    MFR          TERMSg           AGE   GENDER     RECHALLENGESl    SERIOUS1i2       SYMPTOMS

             00204          injury                                            Permanent
                           Diarrhea                                            Damage
                          (narrative)

       33    osu-       Celiac disease     65      F           Narrative    Hospitalization    Two years
             2010-
             04766

       34    DSU-       Geliac disease     66      F          Box checked   Hospitalization    One month
             2010-
             01914

       35    OSM-          Diarrhea        Unk     M          Box checked   Hospitalization    Unknown
             2010-         Vomiting
             01260

       36    DSU-       Celiac disease     76      F          Box checked   Hospitalizati¢n   Over one year
             2010-         Diarrhea                                         Other Serious      (narrative)
             00207        Vomiting
                       Weight decreased
                        Gastrointestinal
                           infection
                        Blood pressure
                          increased

       37'   DSU-       Celiac disease     70      F           Narrative    Hospitalization    Two years
             2010-
             04$62

       38    DSM·       Malabsorption      Unk     M           Narrative    Hospitalization    Fouryeal's
             2010-        Diarrhea                                          Other Serious
             01269       (narrative)
                          Vomiting
                         (narrative)

       39    DSU-         Diarrhea         >65     F          Box checked   Hospitalization     Unknown
             2010-      Hospitalization
             01718

       40    DSU-         Vomiting         70      F          Box checked   Hospitalization    Five years
             2010-         Nausea
             02706       Gallbladder
                          disorder

       41    DSU-         Vomiting          63     M          Box checked    Other Serious     Five years
             2010-         Nausea
             03745      Hepatic enzyme
                          increased
                       Faeces discolored

       42    081\'1-       Diarrhea         73     F           Narrative    Hospitalization     Two years




                                                       31
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                                                                                               TIM.ETO
                                                                                               ONSET OF
       #    MFR          TERMSg            AGE   GENDER     RECHALLENGE~     SERIOUS!\2:      SYMPTOMS

            2011-       Vomiting                                                              seven months
            00236      Dehydration
                      Hypokalaemia

       43   DSM-         Diarrhea          76      F          Box checked   Hospitalization   Four hundred
            2011-       Vomiting                                                               and 44 days
            00846     Abdominal pain
                       Hypotension

       44   nsu-      Coeliac disease      74      F          Box checked   Hospitalization     Unknown
            2011-
            01068

       45   nsu:..    Coeliac disease      68      F           Nmmtive       Other serious    Two to three
            2011~                                                                               years
            01739

       46   DSM-        Diarrhea           63      M          Box checked   Hospitalization   Two months
            2011-       Vomiting
            01329    Weight decreased
                     Abdominal pain

       47   nsu-        Diarrhoea          67      M           Narrative    Hospitalization    Two years
            2012-       Vomiting                                            Other Serious
            01841        Nausea
                       Dehydration

       48   DSU-     Coeliac disease       71      F          Box checked   Hospitalization     Unknown
            24Jl2-    Hip fracture                                          Other Serious
            05283    Weight decreased
                      Hypotension

       49   DSU-      Malabsorption        70      M          Box checked   Hospitalization      Months
            2012-        (SLE)
            0:5368     Diarrhea
                       Vomiting

      50    DSU-      Coeliac disease      72      M           Narrative    Hospitalization   Over one year
            2012-         Vomiting
            05969       Clostridium
                     difficile infection
                       Hyperhidrosis

      51    DSU-         Diarrhea          80      F           Narrative    Hospitalization   Over six years
            2012~      Intestinal villi                                     Other Serious
            07932       atrophy
                     Abdominal pain
                        Nausea
                     Weight decrease
                          A fib
                      Lymphocytic




                                                       32
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                                                                                              TIME TO
                                                                                              ONSET OF
       ti.   MFR         TERMS 22         AGE   GENDER     RECHALLENGE~     SERIOUS.§2       SYMPTOMS

                          infiltration
                      Gastrooesophageal
                        reflux disease
                      Lab test abnormal
                      (autoimmune test
                           positive)

       52    DSU-      Coeliac disease    87      F           Narrative    Hospitalization    Over three
             2012-       Diarrhea                                                               years
             09190      Dehydration
                        Malnutrition
                        Hypotension

       53    DSM-         Diarrhea        63      F          Box checked   Hospitalization    Two years
             2012-       Vomiting                                                                   /




             00455      Dehydration
                         Microcytic
                          anaemia
                        Acute kidney
                           injury

       54    DSM-         Diarrhea        80s     M          Box checked   Hospitalization   Many months
             2012-      Renal failure
             00571

       55    DSM-        Diarrhea         55      M          Box checked   Hospitalization    Ty;oyears
             2012-      Renal failure
             00581

       56    DSM-        DiatThea         69      M          Box checked   Hospitalization    Four years
             2012-       Vomiting                                          Other Serious
             01055      Dehydration
                          Nausea
                            Afib
                        Hypokalemia

       57    DSU-         DiatThea        62      M          Box checked   Hospitalization   20-24 months
             2012-       Vomiting                                          Other Serious
             1}7482    Intestinal villi
                          atrophy
                          Gastritis
                         Duodenitis
                       Acute kidney
                           injury
                        Dehydration
                          Syncope
                        Bradycardia
                        Cold sweat
                         Dizziness
                          Nausea
                       Blood pressure




                                                      33
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                                                                                               TIME TO
                                                                                               ONSET OF
       #    MFR         TERJ'YlS 21        AGE   GENDER     RECHALLENGE~     SERIOUS§Z        SYMPTOl\'IS

                         decreased
                       Cardiomegaly
                    Pericardia! effusion
                        Emphysema
                      Arteriosclerosis
                      coronary artery
                     Weight decreased
                          Anxiety
                          Fatigue
                     Hepatic steatosis
                     Lipase increased
                      Large intestine
                           polyp
                    Decreased appetite
                          Pyrexia
                       Hiatus hernia
                           Goitre
                     Benign neoplasm
                     of thyroid gland
                        Atelectasis
                     Red blood count
                         decreased
                       Haemoglobin
                         decreased
                       Haernatocrit
                         decreased
                      Haemorrhoids.
                     Pulmonary mass
                      Blood pressure
                         increased
                     White blood cell
                     count increased
                     Neutrophil count
                         increased
                    Blood magnesium
                         decreased

       58   DSU-        Diarrhea           56      F          Box checked   Hospitalization    Unknown
            2012-     Acute kidney
            08571        injury

       59   DSU-     Malabsorption         75      F          Box checked       Life-           One year
            2012-          (SLE)                                             threatening
            09732        Diarrhea                                           Hospitalization
                         Vomiting                                           Other Serious
                      Intestinal villi
                         atrophy
                            Fall
                       Clostridium
                    difficile infection
                    Weight decreased



                                                       34
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                                                                                               TIME TO
                                                                                               ONSET OF
       !!.   MFR        TERMS:rr            AGE    GENDER     RECHALLENGE~    SERIOUS 22      SYMPTOMS

                       Dehydration
                       Acute kidney
                          injury
                      WBC increased
                      Blood pressure
                        increased
                       Culture urine
                         positive
                       Hypotension
                         Nausea

       60    DSU-         Diarrhea           81      M          Box checked   Other Serious   Three years
             2012-       Vomiting
             02939   Weight decrease
                       Hypotension
                        Clostridium
                     difficile infection
                       Helicobacter
                          infection


              84.    A breakdown by year reveals the number of verified positive rechallenge cases

      with olmesartan to be:

                                                         No. ofVedfied Positive
                                            Year
                                                           RechaUenge Cases
                                           2004:                      1
                                           2005:                      1
                                           2006:                     6
                                           2007:                     4
                                           2008:                      7
                                           2009:                     13
                                           2010:                      9
                                           2011:                      5
                                           2012:                     14

                                           TOTAL                     60




                                                         35
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               85.     In my opinion, by the end of2006, and ce1tainly no later t,han 2007, there was

       reproducible positive de/rechallenge evidence that met the FDA standard of reasonable evidence

       of a causa1 association. 60

       VITI. DAIICHI SANKYO CONCLUDED THAT ITS SAFETY DATABASE DID NOT
             SHOW A CAUSAL ASSOCIATION. A REASONABLE AND PRUDENT
             MANUFACTURER SHOULD HAVE CONCLUDED THAT THE SAFETY
             DATABASE DID SHOW A CAUSAL ASSOCIATION.

               86.     Daiichi Sankyo reported to FDA in 2010 and 2012 that its safety database did not

       show a causal association between olmesarta:n and enteropathy, 61

               87.     Daiichi Sankyo did identify in its reports to FDA 16 positive rechatlenges as of

       December 8, 2009 and 28 positive rechallenges as of July 12, 2012. 62

               88.     In fact, as noted above, there were 32 serious positive rechallenges involving

       diarrhea, vomiting, or celiac disease, as of those December 8, 2009 in Daiichi Sankyo's database,

       and 53 such positive rechallenges as of July 12,2012 in its database;

               89.     In my opinion, a reasonable, and prudent :mamxfacturer would have not.ed and

      acted upon the reproducible positive.rechallenge data in. Daiicni Sankyo's database.

               90.    ln my opinion, a reasonable and prudent n1anufacturer should look for safety

       problems at all stages of drug development

               91.    Herve Caspard, Daiichi Sankyo's Senior Director for Risk Mantlgeme11t from

      2009 to 201 0 provided the following testimony at his deposition on April1, 2016 .

                               19            Q. The dmg and its label is-- are the

      60
        The standard that I have adopted is that positive de/rechaflenge evidence that is reproducible
      meets the FDA Standard for reasonable evidence of a causal association. By 2005,
      de/rechallenge evidence of o1:mesartan associated enteropathy had been duplicated, which is the
      hallmark of reproducibility. By the end of 2006, there were an addJtional six cases with positive
      de/rechallenge, which again stre11gthens a finding of reproducibility.
      ot   See OLM-DSC-0001556439-461 (2010)a:nd OLM-DSI-0001247542 ~7840 (2012).
      62   Id.


                                                        36
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                                 20      drug manufacturer's responsibility, cotTect?
                                 21              A. Yes.
                                 22              Q. Okay. And regardless of what the FDA
                                 23       requests or not, it is the responsjbility, the duty
                                 24      of the drug company, to engage in the drug

                                                                 68
                                 1        safety analysis throughout the life of the drug.
                                 2       We talked about that earlier, correct?
                                 3               A Yes, with respect to the guidance, yes.
                                 4               Q. Right So as you're looking at
                                 5       something, and 1think what we talked about in good
                                 6       pharmacological practices was that you have to be
                                 7       active. I think I asked you about that.
                                 8               A. Yeah.
                                 9               Q. You have to be proactive, right?
                                 ll              THE WITNESS: Yes.
                                 13              Q, You don't want to be passive and just
                                 14      see what happens, correct?
                                 15              A. Completely. 63

                 92.     Tina Ho, Daiichi Sankyo's Executive Director for Clinical Safety and

       Pharmacovigilance from 2009 to 2015 and previously Senior Director of Risk management from

       2006~2009,      testified similarly at her deposition on March 23, 2016.

                                 4               Q. So your company needs to be
                                 5       very vigilant in monitoring adverse
                                 6       events from whatever sources you can --
                                 7               A. Yes.
                                 8               Q. --and to actively seek
                                 9       those out to constantly be assessing the
                                 10      overall safety profile of the drug;
                                 11      correct?
                                 12              A. Yes. 64

                 93.      Ms. Ho further testified:

                                 16                Q. And it talks about the fact
                                 17      ~- I think we talked about this earlier
                                 18      -- it's impossible to identify all safety
                                 19      concerns during clinical trials. That's

       63
            Deposition of Herve Caspard, April 7, 2016, at 67:19-68:15.
       64
            Deposition ofTina Ho, March 23,2016 at 185:4-12.


                                                            37
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                                20      why it's, they say, critical to look at
                                21      postmarketing safety data after the
                                22      product is 011 the market. Right?
                                23              A. Yes. 65

                 94.    Similarly, the webpage for Daiichi Sankyo's Quality and Safety Management

       Unit states that one function it focuses on is «[a]ssurance of patient safety through safety

       measures based on analyses and evaluations of information on adverse drug reactions received

       from all stages ofuse ranging from clinical trials to post-marketing."66

                95.      ln my opiliion, Da:iichi Sankyo failed to adequately identify the safety problems

       associated with olmesartan associated enteropathy in a timely manner.

       IX.      DESPITE THE FACT THAT THERE WAS SOUND SCIENTIFIC EVIDENCE
                THAT MET THE FDA STANDARD IN DAIICHI SANKYO'S POSSESSION BY
                THE END OF 2006, AND CERTAINLY BY 2007, DAIICHI SANKYO FAILED
                TO ACT ON IT AND INFORM DOCTORS AND PATIENTS.
                96.     As discussed above, a reasonable and prudent manufacturer, looking at the

      de/rechallenge data in Daiichi Sankyo's,possession, would have found multiple positive

      de/rechallenge cases by 2006/2007 and acted upon it.

                97.     In my opinion, a pharmaceutical manufacturet· has an affim1ative responsibility to

      look for and detect serious adverse reactions that can be associated with their drug.

                98.     In addition, several times over the years the possibility of a safety risk with

      olmesatian and gastrointestinal symptoms was brought to Daiichi Sankyo's attention.

                99.     First and most importantly, as noted above, by 2006/2007 Daiichi Sankyo had in

      their possession multiple MedWatch forms to the FDA that noted positive rechallenges.




      65
        Jd. at 314:16-23 (referring to Exhibit 111. FDA Guidance for Industry: Good
      Pharrnacovigilance Practices and Pharmacoepidemiologic Assessment (2005)).
      66
           http://www .dai ich isankvo.com/about us/responsibil itvI csr/enterprise/rei iab ility/index.html


                                                           38
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                  I 00.        Despite having multiple such reports, there is no evidence that Daiichi Sankyo did

       any further scientific analysis with this data until November 2009.

                  1OL          Second, in November 2009, Daiichi Sankyo's pharmacovigilance consultant Dr.

       Ranke Dosunmu did an analysis of Daiichi Sankyo's adverse event data and identified five

       positive dechallenge/rechallenge cases for new diagnoses of celiac disease dating back to 2006. 67

                  l 02.        Dr. Dosunmu recommended "further investigation into the clinical database as

       well as epidemiologic studies be considered to fully understand the issue and determine inclusion

       into the core data sheet." 68

                  103.         Based on my search, the record does not show any response to Dr. Dosunmu's

       recommendations.

                  {04.         Third, Dr. Joseph Murray of the Mayo Clinic contacted Daiichi Sankyo in May

       2009 and asked the following question: ''Do you have any information on Gl side effects and

       Benicar? I am specifically interested in any data pertaining to colitis, enteritis, or sprue-like
                          69
       symptoms."

                  105.         Daiichi Sankyo responded by leaving a message with Dr. Murray's receptionist 70

                  106.         Based on my search, there is no record that Daiichi San kyo provided "any data

       pertaining to colitis, enteritis, or sprue~like symptoms" to Dr. Munay in response to his inquiry.

                  107.         Dr. Murray contacted Daiichi Sankyo again in November 2010 and January

       2011. 71 Daiichi Sankyo submitted a MedWatch form to the FDA describing these additional

      contacts. 72


      67
            See OLM-DSl-000 1401249-253.
      68
            See OLM-DSI-0001401249 at 253.
      69
            See OLM-DSI-0003380866- 871, at 866.
       70   Id.


                                                               39
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               108.    Dr. Mun·ay initially left a voicemail, on November 26, 20 l 0, stating that he

       "wanted 'to discuss possible side effects of olmesartan, specifically Benicar and the association

       with unusual and rare enteropathy (malabsorption). [He] may have seen several cases that would

       suggest association with this and the use of olmesartan' ." 73

               109.    On January 26,2011, Dr. Murray provided additional information in a faxed letter

       to Daiichi Sankyo, including that "five patients experienced enteropathy-like disease while'

       taking olmesartan medoxomiL" 74

               110.    Dr. Murray also stated in the letter "I think it may be wmthwhile to arrange a time

       for a telephone call to discuss findings." 75

               111.    I can find no record or testimony to indicate that there was any follow up by

      Daiichi Sankyo with Dr. Murray to discuss his findings prior to the publication of his case series

      in July 2012.

               112.    In July 2012, Dr. Murray published the first case series on the association

       between olmesartan and enteropathy. His paper described 22 patients, seen from August 2008 to

      August 20 ll, who experienced chronic diarrhea, weight loss and enteropathy while on

      olmesartan. Celiac disease was ruled out in all cases. All patients had resolution of their

      symptoms upon discontinuation of olmesartan. The paper reports that no deliberate rechalienge




      71
           See OLM-DSI-0003380866- 871.
      72
         See OLM-DSI-0001096152-R-153-R.
      73 ld.
      74
           See OLM-DSI-0021819177- 195, at 181.
      75Jd.



                                                         40
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       was undertaken because of the "life threatening nature of the syndrome," but that "2 patients

                                                                                                76
      reported anecdotally that their symptoms had worsened when they restarted olmesartan."

               113.   Fourth, in December 2009, the company undertook a proportional reporting ratio

      (PRR) of celiac disease cases in FAERS from the first quarter of 2005 to the second quarter of

      2009, which revealed a propmtionate reporting ratio (PRR) of23.36. 77 The olmesartan cases

      identified dated back to 2005. As FDA recognizes, a PRR is a data mining method that may give

      rise to a safety signal which requires further investigation. 78

               114.   Herve Gaspard, Daiichi Sankyo's Senior Director for Risk Management from

      2009 to 2010 stated the following regarding PRR analysis at his deposition on April 7. 2016:

                              1                Q. Okay. So you talked about the
                              2       Proportional Reporting Ratio.
                              3                A. Yes.
                              4                Q. That in fact is one of the
                              5       epidemiological tools that you can use to analyze
                              6       the information once you cast that net and bring it
                              7        in, that you can use to analyze the data, correct?
                              8                A. Yes.
                              9                Q. Okay. And it's a generally accepted
                              10      method of analyzing data in pharmacovigilance,
                              11      correct?
                              12               A. Yes.
                              13               Q. In fact I think the guidance talks about
                              14       it, correct?
                              15               A. Yes, it is-- it is imperfect, like, you
                              16       know, any analysis of exceptional data, but it's
                              17       the least --one of the least bad indicators we
                              18       have.
                              19               Q. Yeah. It's used fairly commonly amongst
                              20      epidemiologists and biostatisticians in terms of

      76
        Rubio-Tapia A, Hem1an ML, Ludvigsson JF, Kelly DG, Mangan TF, Wu Tt and Murray, JA.
      Severe Spruelike Enteropathy Associated With Olmesartan. Mayo Clin Proc. 2012
      Aug;87(8):732-8. Epub 2012 Jun 22.
      77
           See OLM-DSI-0005439763 ~ 76.
      78
        See FDA Gui.dance for Industry: Good Pharmacovigilance Practices and
      Pharrnacoepidemiologic Assessment, p. 8 (2005).


                                                         41
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                                  21     signal analysis, correct?
                                  22             A. I agree.
                                  23             Q. Okay. And it's a valuable tool for you
                                  24     to use in pharmacovigilance, correct?

                                                                       88
                                                             79
                                                 A. It is.

                 115.   Regarding the PRR of23.36 obtained by Daiichi Sankyo, Mr. Caspatd testified:

                        11               Q. All right. 23.36 --
                        12               A. Is high.
                        13               Q. -- is a very high PRR, isn't it, doctor.
                        14               A. Yes. 80

                116.    Mr. Cas pard further testified regarding the PRR:

                        21                Q. Okay. That is-- and when we talk about
                        22        the 95% confidence interval and it being 23.36,
                        23        that means that your determination or the PRR shows
                        24        that there were 23 times more events than you would

                                                         107
                        I         have expected on olmesartan as compared to all
                        2         other drugs, correct?
                        3                 A. That's correct.

                        11                 Q. Okay. And when we talk about the 95%
                        12        confidence interval, that means that, if you did
                        13        this test a hundred times, 95 of those times it
                        14        would be between the lower and upper bounds of the
                        15        confidence interval, correct'?
                        16                 A. Sorry. I have to be very careftd. about
                        17        this.
                        18                 Q. Well, let me strike--
                        19                 A. Yes.
                        20                 Q. --because I'm not trying to--
                        21                 A. Yes, but I'm always struck by that.
                        22                 Q. I know. The upper bound, let's just do
                        23        it this way, the upper bound, it could be, that
                        24        number, 23.36, could be as high as 36.77-

                                                             108

      79
           Deposition of Herve Caspard, April?, 2016, at 87:1-88:1.
      80
           Jd. at l04:4Ml08:22.


                                                                  42
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                                       A Yes.
                        2              Q. ~- or it cou1d be as low as 14.05,
                        3      correct?
                        4              A. Yes. Yes. The truth is somewhere in
                        5      between.
                        6              Q. Okay. The truth is somewhere in
                        7      between. And the best estimate you can give is
                        8      23.36 from a statistical standpoint.
                        9              A Yes.
                         10            Q. Okay. But even at the lower bounds
                         1I    you're seeing 14 times more reports of celiac
                         12    disease on olmesartan thanyou would have expected.
                         13            A. Yes.
                         14            Q. And that is a significant finding,
                         15    con-ect, doctor?
                         17            THE WITNESS: From-- I have to
                         18    characterize that -- statistically.
                        20             Q. It is a statistically significant
                        21     finding, right, doctor?
                                                 81
                        22             A. Yes.

                117.    Based on my search, the record does not show that the company did anything with

      this PRR result.

                118.    Fifth, in January 2010, in response to an FDA inquiry, Daiichi Sankyo stated that

      in 16 of 17 cases where olmesartan was restarted, there was a "recrudescence" of GI symptoms

      suggestive of celiac disease after restarting the drug. These rechallenge cases dated back to 2007.

      Daiichi Sankyo concludes in its response that an association between olmesartan and celiac

      disease is very unlikely, yet also concludes that olmesartan may exacerbate the symptoms of
                        82
      celiac disease.

                1I 9.   In my opinion, ifDaiichi Sankyo concluded that olmesartan was associated with

      an exacerbation of celiac disease, Daiichi Sankyo had a duty to investigate to confirm whether

      this was the case. Based on my search, the record does not show the company acted on its


      81
           Id at 106:21~108:22.
      82
           See OLM-DSI-000 1247409- 54 I.


                                                        43
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       conclusion that there were 16 cases of recrudescence of GJ symptoms suggestive of celiac

       disease after olmesartan was restarted. In my opinion, a reasonable and prudent manufacturer,

       faced with these positive rechallenge cases, would conclude that warning about a causal link

      between olmesartan and celiac-like symptoms was appropriate.

                 120.    In my opinion, any view that ceHac. disease was the culprit in the cases discussed

      in Section VI above was contradicted by the fact that I) olmesartan did not contain gluten, as

      confirmed by Daiichi Sankyo 83 ; and 2) celiac symptoms emerge in those patients with the

      condition when challenged and rechaHenged by gluten, and there was no evidence of such a

      challenge and rechallenge pattern with gluten in the advetse event reports discussed above.

                 121.    In my opinion, a reasonable and prudent drug manufacturer who attributes a

      ''recrudescence" of celiac disease to their drug, when they conclude that their drug does not

      contain gluten, the known trigger of celiac disease, would investigate alternative causes.

                 122.    Despite the fact that there was reproducible scientific evidence that met the FDA

      standard by 20006/2007 in Daiichi Sankyo's possession, Daiichi Sankyo failed to act on it and

      inform doctors and patients.

      X.         CONCLUSIONS
                          · · S4 :
                 I n my opm10n

                 123.   A drug manufacturer has a duty to revise the labeling of its drug "to include a

      warning about a clinically signific-ant hazard as soon as there is reasonable evidence of a causal

      association with a drug; a causal relationship need not have been definitely established."

                 124.    A pharmaceutical manufacturer has an affirmative responsibility to look for and

      detect serious adverse reactions that can be associated with their drug.

      83
            See OLM-DSC~0001432320.
      154
            For all my opinions, see the full Report.


                                                          44
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               125.   A reasonable and prudent manufacturer should look for safety problems at all

       stages of drug development.

               126.   .Positive de/rechallenge evidence that is reproducible meets the FDA standard of

       reasonable evidence of a causal assoc.iation, and should trigger a Waming in the Warnings and

       Precautions section of the labeL

              127.    There are multiple examples of FDA revising drug labels based on positive

       de/rechallenge evidence that support my opinion that positive de/rechallenge evidence that is

       reproducible meets the FDA standard of reasonable evidence of a causal association.

              128.    A reasonable and prudent manufacturer, faced with multiple positive recha!lenge

      cases between olm~sartan and gastrointestinal symptoms, would conclude that warning about a

      causal link between olrnesartan and celiac-like symptoms was appropriate.

              129.    A reasonable and prudent manufacturer would have noted and acted upon the

      reproducible positive rechallenge data in Daiichi Sankyo's database.

              130.    Any view that celiac disease was the culprit in the adverse event reports discussed

      in Section VI above was contradicted by the fact that 1) olmesartan did not contain gluten, as

      confirmed by Daiichi Sankyo; and 2) celiac symptoms emerge in those patients with the

      condition when challenged and rechallenged by gluten, and there was no evidence of such a

      challenge and rechallenge pattern with gluten in the reports discussed above.

              131.    A reas\>nable and prudent drug manufacturer who attributes a «recrudescence" of

      celiac disease to their drug, would, when they conclude that their drug does not contain gluten,

      the kno:vvn trigger of celiac disease, investigate alternative causes.




                                                        45
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             132.    By the end of2006, and no later than 2007, there was reproducible posit1ve

      de/rechallenge evidence that met the FDA standard of reasonable evidence of a causal

      association.

             133.    Despite the fact that there was sound scientitic evidence that met the FDA

      standard by the end of2006, and no later than 2007, n1 Daiichi Sankyo's possession, Daiichi

      Sankyo failed to act on it and inform doctors and patients.

             134.    Daiichi Sankyo failed to adequately identify the safety problems associated with

      olmesartan associated enteropathy in a timely manner.

             13 5.   I reserve the right to supplement this Report based on new information.




                                                 :Zd~~
                                                   Dav1d A Kessler, M.D.




                                                    Date




                                                      46
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      Question                                                                      Yes   No   Do Not   Score
                                                                                               Know

 1.   Are there previous conclusive reports on this reaction?                       +1     0     0

 2.   Did the adverse event appear after the suspected drug was administered?       +2    -1     0

 3.   Did the adverse reaction improve when the drug was discontinued or a          +1     0     0
      specific antagonist was administered?

 4.   Did the adverse event reappear when the drug was re-administered?             +2    -1     0

 5. Are there alternative causes (other than the drug) that could on their own      -1    +2     0
      have caused the reaction?

 6.   Did the reaction reappear when a placebowas given?                            -1    +1     0

 7.   Was the drug detected in blood (or other fluids) in concentrations known      +1     0     0
      to be toxic?

 8.   Was the reaction more severe when the dose was increased or less severe       +1     0     0
      when the dose was decreased?

 9.   Did the patient have a similar reaction to the same or similar drugs in any   +1     0     0
      previous exposure?

 10. Was the adverse event confirmed by any objective evidence?                     +1     0     0




 Modified from: Naranjo CA eta/. A method for estimating the probability of adverse drug reactions. Clin
 Pharmacal Ther 1981; 30:239-245.
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                            WORLD ALLIANCE FOR PATIENT SAFETY

                            WHO DRAFT GUIDELINES FOR
                            ADVERSE EVENT REPORTING
                            AND LEARNING SYSTEMS

                            FROM INFORMATION TO ACTION




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                                      FOREWORD
                                      Imagine a jet aircraft which contains an orange coloured wire essential for its safe
                                      functioning. An airline engineer in one part of the world doing a pre-flight inspec-
                                      tion spots that the wire is frayed in a way that suggests a critical fault rather than
                                      routine wear and tear. What would happen next? I think we know the answer. It is
                                      likely that- probably within days- most similar jet engines in the world would be
                                      inspected and the orange wire, if faulty, would be renewed.

                                     When will health-care pass the orange-wire test?

                                     The belief that one day it may be possible for the bad experi~nce suffered by a
                                     patient in one part of the world to be a source of transmitted learning that benefits
                                     future patients in many countries is a powerful element of the vision behind the
                                     WHO World Alliance for Patient Safety.
                                        The most important knowledge in the field of patient safety is how to prevent harm
                                     to patients during treatment and care. The fundamental role of patient safety report-
                                     ing systems is to enhance patient safety by learning from failures of the health care
                                     system. We know that most problems are not just a series of random, unconnected
                                     one-off events. We know that health-care errors are provoked by weak systems and
                                     often have common root causes which can be generalized and corrected. Although
                                     each event is unique, there are likely to be similarities and patterns in sources of risk
                                     which may otherwise go unnoticed if incidents are not reported and analysed.
                                        These draft guidelines are a contribution to the Forward Programme 2005 of the
                                     World Alliance for Patient Safety. The guidelines introduce patient safety reporting
                                     with a view to helping countries develop or improve reporting and learning systems
                                     in order to improve the safety of patient care. Ultimately, it is the action we take in
                                     response to reporting- not reporting itself- that leads to change.
                                       Reporting is fundamental to detecting patient safety problems. However, on its
                                     own it can never give a complete picture of all sources of risk and patient harm. The
                                     guidelines also suggest other sources of patient safety information that can be used
                                     both by health services and nationally.
                                       The currency of patient safety can only be measured in terms of harm prevented
                                     and lives saved. It is the vision of the World Alliance that effective patient safety
                                     reporting systems will help to make this a reality for future patients worldwide.


                                      Sir Liam Donaldson
                                     Chair
                                     World Alliance for Patient Safety



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                                    1. INTRODUCTION
                                     Reducing medical errors has become an international concern. Population-based
                                     studies from a number of nations around the world have consistently demonstrated
                                     unacceptably high rates of medical injury and preventable deaths. In response, a
                                     global effort, the World Alliance for Patient Safety, has been launched by WHO to
                                     galvanize and facilitate efforts by all Member States to make health care safer.
                                       These draft guidelines are a contribution to the Forward Programme 2005 of the
                                     World Alliance for Patient Safety (1). The guidelines introduce adverse event report-
                                     ing and focus on reporting and learning to improve the safety of patient care.




                                     Purposes of reporting

                                     In seeking to improve safety, one of the most frustrating aspects for patients and
                                     professionals alike is the apparent failure of health-care systems to learn from their
                                     mistakes. Too often neither health-care providers nor health-care organizations
                                     advise others when a mishap occurs, nor do they share what they have learned
                                     when an investigation has been carried out. As a consequence, the same mistakes
                                     occur repeatedly in many settings and patients continue to be harmed by prevent-
                                     able errors.

                                         One solution to this problem is reporting: by the doctor, nurse, or other provider
                                     within the hospital or health-care organization, and by the organization to a broader
                                     audience through a system-wide, regional, or national reporting system. Some
                                     believe that an effective reporting system is the cornerstone of safe practice and,
                                     within a hospital or other health-care organization, a measure of progress towards
                                     achieving a safety culture. At a minimum, reporting can help identify hazards and
                                     risks, and provide information as to where the system is breaking down. This can
                                     help target improvement efforts and systems changes to reduce the likelihood of
                                     injury to future patients.




                                    Objectives

                                    The objective of these draft guidelines is to facilitate the improvement or develop-
                                    ment of reporting systems that receive information that can be used to improve
                                    patient safety. The target audience is countries, which may select, adapt or otherwise
                                    modify the recommendations to enhance reporting in their specific environments
                                    and for their specific purposes. The guidelines are not meant to be an international
                                    regulation and will undergo modification over time as experience accumulates.



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  The guidelines draw on a review of the literature about reporting systems, a
survey of countries about existing national reporting systems, and the experience
of the authors.
   Reporting may capture errors, injuries, non-harmful errors, equipment malfunc-
tions, process failures or other hazards (see definitions below). While an individual
report may contain important information about a specific incident or event, the
notion of a reporting system refers to the processes and technology involved in the
standardization, formatting, communication, feedback, analysis, learning, response,
and dissemination of lessons learned from reported events.
   Reports are generally initiated by health-care workers such as care providers
or administrators from hospitals, ambulatory sites, or communities. Reporting sys-
tems may also be designed to receive reports from patients, families, or consumer
advocates.



Definitions

Safety: Freedom from accidental injuries (2).
Error: The failure of a planned action to be completed as intended (i.e. error of
execution) or the use of a wrong plan to achieve an aim (i.e. error of planning) (3).
Errors may be errors of commission or omission, and usually reflect deficiencies in
the systems of care.
Adverse event: An injury related to medical management, in contrast to complica-
tions of disease (4). Medical management includes all aspects of care, including
diagnosis and treatment, failure to diagnose or treat, and the systems and equipment
used to deliver care. Adverse events may be preventable or non-preventable.
Preventable adverse event: An adverse event caused by an error or other type of
systems or equipment failure (5).
"Near-miss" or "close call": Serious error or mishap that has the potential to cause
an adverse event but fails to do so because of chance or because it is intercepted.
Also called potential adverse event.
Adverse drug event: A medication-related adverse event.
Hazard: Any threat to safety, e.g. unsafe practices, conduct, equipment, labels,
names.
System: A set of interdependent elements (people, processes, equipment) that inter-
act to achieve a common aim.
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nursing practice standards to label and trace all tubing, to a requirement for medical
device manufacturers to develop incompatible connectors for all medical tubing.

   Appendix 1 contains an excerpt from the landmark Institute of Medicine report To
Err is Human, which provides an overview of the systems approach to human error
within health-care and other industries.




Core concepts

  The four core principles underlying the guidelines are:
   • The fundamental role of patient safety reporting systems is to enhance
     patient safety by learning from failures of the health-care system.
    • Reporting must be safe. Individuals who report incidents must not be
      punished or suffer other ill-effects from reporting.
    • Reporting is only of value if it leads to a constructive response. At a
      minimum, this entails feedback of findings from data analysis. Ideally, it
      also includes recommendations for changes in processes and systems of
      health care.
    • Meaningful analysis, learning, and dissemination of lessons learned
      requires expertise and other human and financial resources. The agency
      that receives reports must be capable of disseminating information,
      making recommendations for changes, and informing the development of
      solutions.




Organization of the Guidelines

Section 2 describes the role of reporting in enhancing patient safety, its purposes
and the ways in which reporting can enhance safety.

   Section 3 discusses the essential components of a patient safety reporting system,
considering the types of systems, the process of reporting (what is reported, by
whom, and how), analysis of reports, response and dissemination, and application
of results.

   Section 4 examines alternative sources of information for safety. Reporting is but
one method of obtaining such information, not necessarily the best. Other sources
of useful data are briefly described.

   Section 5 provides information about several existing national reporting systems,
both governmentally sponsored and those implemented by non-governmental agen-
cies or groups. This illustrates the broad variation in how Member States have dealt
with these issues.
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                                         Section 6 describes the characteristics of successful reporting systems. While
                                      experience is limited in health care, successful existing systems have common fea-
                                      tures in purpose, design and operation, that have general applicability.

                                         Section 7 outlines the requirements for a national adverse event reporting system,
                                      including the mechanism for collecting reports, the capacity to perform inves-
                                      tigations, the expertise required, the technical infrastructure, and the capacity to
                                      disseminate findings.

                                         Section 8 concludes with recommendations to WHO Member States.




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2. THE ROLE OF REPORTING IN
   ENHANCING PATIENT SAFETY
  Key messages

  •    The primary purpose of patient safety reporting systems is to learn from
       experience.
  •    A reporting system must produce a visible, useful response to justify the
       resources expended and to stimulate reporting.
  •    The most important function of a reporting system is to use the
       results of data analysis and investigation to formulate and disseminate
       recommendations for systems change.




The purpose of reporting adverse events and errors

The primary purpose of patient safety reporting systems is to learn from experi-
ence. It is important to note that reporting in itself does not improve safety. It is the
response to reports that leads to change. Within a health-care institution, reporting
of a serious event or serious "near-miss" should trigger an in-depth investigation to
identify underlying systems failures and lead to efforts to redesign the systems to
prevent recurrence.
   In a state or national system, expert analyses of reports and dissemination of les-
sons learned are required if reports are to influence safety. Merely collecting data
contributes little to patient safety advancement. Even monitoring for trends requires
considerable expert analysis and oversight of the reported data.
  The important point is that a reporting system must produce a visible, useful
response by the receiver to justify the resources expended in reporting, or, for that
matter, to stimulate individuals or institutions to report. The response system is more
important than the reporting system.



Methods of learning from reporting

There are several ways in which reporting can lead to learning and improved safety.
First, it can generate alerts regarding significant new hazards, for example, compli-
cations of a new drug. Second, lessons learned by health-care organizations from
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                                                                                  investigating a serious event can be disseminated. Third, analysis of many reports by
                                                                                  the receiving agency or others can reveal unrecognized trends and hazards requiring
                                                                                  attention. Finally, analysis of multiple reports can lead to insights into underlying sys-
                                                                                  tems failures and generate recommendations for "best practices" for all to follow.

                                                                                  Alerts

                                                                                  Even a small number of reports can provide sufficient data to enable expert analysts
                                                                                  to recognize a significant new hazard and generate an alert. An excellent example
                                                                                  of this function is the series of warnings issued every two weeks by the Institute for
                                                                                  Safe Medication Practices entitled "Medication Alert". This system was one of the
                                                                                  first to call attention to the high risk of death following accidental injection of con-
                                                                                  centrated potassium chloride and recommend that this substance be removed from
                                                                                  patient care units .



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                                                                                   Investigation of serious events

                                                                                  In a health-care organization committed to safety, a serious (especially disabling or
                                                                                  life-threatening) event will trigger an investigation to search for underlying causes
                                                                                  and contributing factors. Ideally, every institution will respond to a serious event
                                                                                  with an investigation. Alternatively, an external authority (such as the health min-
                                                                                  istry) can conduct an independent investigation. If the investigation is done well,
                                                                                  systems analysis of a serious adverse event can yield significant insights into the vari-


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ous contributing factors that lead to a mishap, and often suggest potential remedies.
This information can then be disseminated to other organizations. Solutions to some
common hazards, such as wrong site surgery, have been developed in response to
lessons learned from investigations of serious incidents.

Analysis of large datasets

Detailed analysis of thousands of reports also makes it possible to identify hazards
(1). In the Australian Incident Monitoring System (AIMS) classification system, infor-
mation about an incident is entered into the database using the generic classification
scheme of clinically relevant categories. Natural questions guide analysts through
details of context and contributing causes to probe interrelationships among event
types, risk factors, and contributing causes. Statistical correlations identify mean-
ingful relationships and provide analyses that can generate insights into the overall
systems of care.
   In the United States, USP's MedMARx5M system receives thousands of reports
of medication errors and adverse drug events confidentially from participating
health-care organizations. These data are classified and fed back to health-care
organizations with benchmarking from the entire database and with their own prior
experience, to identify targets for improvement as well as providing monitoring of
progress.

Systems analysis and development of recommendations

The most important function that a large reporting system can perform is to use the
results of investigations and data analyses to formulate and disseminate recommen-
dations for systems changes. The joint Commission on Accreditation of Healthcare
Organizations (JCAHO) has performed this function using a relatively small number
of thoroughly investigated incidents reported to its sentinel events monitoring pro-
gramme. Similarly, in the United States, some of the state reporting systems have
developed safety recommendations from their data.
   An example of a system aimed at translating learning into safety improvements
is the relatively new National Reporting and Learning System (NRLS) developed
by the National Patient Safety Agency (NPSA) in England and Wales. Reports are
aggregated and analysed with expert clinical input to understand the frequency of
types of incidents, patterns, trends, and underlying contributory factors. The NPSA
has a "solutions" programme, involving all stakeholders. Recent initiatives include
reducing errors associated with infusion devices, changes in doses of methotrexate,
and a hand hygiene campaign.
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                                    Accountability

                                    Some reporting systems, such as those of state health departments in the United
                                    States have been developed primarily to hold health-care organizations accountable
                                    for ensuring safe practice. Accountability systems are based on the notion that the
                                    government has a fiduciary responsibility to ensure that health-care organizations
                                    take necessary precautions to ensure that care is safe (2). A serious and presumably
                                    preventable injury, such as amputation of the wrong leg, suggests that the hospital's
                                    error prevention mechanisms are defective (3). Knowing that there is oversight by a
                                    government agency helps maintain the public's trust.
                                      Accountability reporting systems hold health-care organizations responsible by
                                    requiring that serious mishaps be reported and by providing disincentives (citations,
                                    penalties, sanctions) to continue unsafe practices (4). Reporting in these systems
                                    can also lead to learning, if lessons are widely shared (2). However, if the govern-
                                    ment agency does not have sufficient resources to investigate or to analyse reports
                                    and disseminate results, the opportunity for learning is lost. In addition, the risk of
                                    sanctions may make health-care organizations reluctant to report events that can be
                                    concealed.
                                      Since most reports elicit no response, and lessons from investigations are seldom
                                    shared, health-care organizations often perceive reporting in these systems as all risk
                                    and no gain (5). The result is that typical accountability systems receive relatively few
                                    reports. This is unlikely to change unless more resources are provided for analysis
                                    and reporting, and the consequences of reporting are made less punitive.



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3. COMPONENTS OF AREPORTING
   SYSTEM
  Key messages

  •   Current reporting systems span a spectrum of objectives incorporating
      both learning and accountability considerations.
  •   The primary objectives of a reporting system will determine the design,
      for example, whether reporting is voluntary and confidential.
  •   Reporting systems need to be dear on who reports, the scope of what is
      reported and how reports are made.
  •   Reporting of incidents is of little value unless the data collected are
      analysed and recommendations are disseminated.
  •   Experts who understand statistical methods, the practice concerns,
      clinical significance, systems issues, and potential preventive measures
      are essential to analyse reported incidents.
  •   Classification and simple analytic schemes start the process of
      categorizing the data and developing solutions that can be generalized.




Types of systems
Current reporting systems span a spectrum of specific aims. At one end of the
spectrum are reporting systems that focus on learning and contributing to system
redesign. At the other end are systems developed by external regulatory or legal
agencies primarily to ensure public accountability. These latter systems typically
seek to identify health-care organizations where the level of care is unacceptable,
for corrective action or discipline.
   In practice, reporting systems may seek to address multiple objectives. Striking a
balance within a single system between the aims of public accountability and learn-
ing for improvement is possible, but most reporting systems focus on one or the
other. Although these aims are not necessarily incompatible, the primary objectives
of the system will determine several design features, including whether the reports
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                                     are mandatory or voluntary, and whether they are held in complete confidence, or
                                     reported to the public or to regulatory agencies.

                                      Learning systems

                                     Reporting to learning systems is usually voluntary, and typically spans a wider scope
                                     of reportable events than the defined set of events typically required by a man-
                                     datory system. Rather than assure a minimum standard of care, learning systems
                                     are designed to foster continuous improvements in care delivery by identifying
                                     themes, reducing variation, facilitating the sharing of best practices, and stimulat-
                                     ing system-wide improvements. Following careful expert analysis of underlying
                                     causes, recommendations are made for system redesign to improve performance
                                     and reduce errors and injuries.
                                        In Australia, for example, over 200 health-care organizations or health serv-
                                     ices voluntarily send incident reports to the Australian Incident Monitoring System
                                     (AIMS) sponsored by the Australia Patient Safety Foundation (APSF). AIMS uses the
                                     Healthcare Incident Types (HIT) classification system, which elicits very detailed
                                     information from the reporter regarding generic incident types, contributing factors,
                                     outcomes, actions, and consequences.
                                       The Japan Council for Quality Health Care collects voluntarily reported adverse
                                     events from health-care organizations in Japan, particularly sentinel cases with root
                                     cause analysis. A research team led by Tokai University asks health-care organi-
                                     zations to voluntarily pool their events, which are then aggregated and results
                                     disseminated. In 2003, the Ministry of Health, Labour and Welfare patient safety
                                     committee recommended a national reporting system.
                                       The National Reporting and Learning System (NRLS) in England and Wales is
                                     another example of a learning system. NRLS receives reports of patient safety inci-
                                     dents from local health-care organizations.
                                         For more details about the above systems, see Section 5.

                                     Accountability systems
                                     Reporting in accountability systems is usually mandatory and restricted to a list of
                                     defined serious events (also called "sentinel" events) such as unexpected death,
                                     transfusion reaction, and surgery on the wrong body part. Accountability systems
                                     typically prompt improvements by requiring an investigation and systems analysis
                                     ("root cause analysis") of the event. Few regulatory agencies have the resources to
                                     perform external investigations of more than a small fraction of reported events,
                                     however, which limits their cap~city to learn. In Slovenia, a brief description of
                                     a sentinel event must be sent to the Ministry of Health within 48 hours, and 45
                                     days later a satisfactory analysis with corrective actions must be submitted or else a
                                     follow-up consultation with the Ministry occurs. The Czech Republic has reporting
                                     requirements that follow from their accreditation standards.


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  The Netherlands has a two-tiered process. The Health Care Inspectorate, the
agency accountable for taking actions against substandard performance, mandates
hospitals to report adverse events that have led to death or permanent impairment.
Other adverse events are reported voluntarily. There is interest in moving towards a
more uniform blame-free reporting system to aggregate events nationally.
   A number of states in the United States have reporting systems that require hospi-
tals or other providers to report certain types of serioqs, usually preventable events
(see Section 6).
   Most accountability systems not only hold health-care organizations accountable
by requiring that serious mishaps be reported, they provide disincentives to unsafe
care through citations, penalties or sanctions. The effectiveness of these systems
depends on the ability of the agency to induce health-care organizations to report
serious events and to conduct thorough investigations.
  Accountability systems can (and should) be learning systems if investigations are
carried out and if the lessons learned are disseminated to all other providers by the
agency. For example, the Danish Health Care System recently passed an Act on
Patient Safety that requires health-care providers to report adverse events so infor-
mation can be shared and aggregated for quality improvement.

Confidentiality and public access to data

Experience has shown that learning systems are most successful when reports are
confidential and reporters do not feel at risk in sharing information about errors.
Indeed, some feel it is only with such safe reporting systems that subtle system issues
and the multitude of contributing factors will be uncovered. From a pragmatic stand-
point, many believe that protecting the confidentiality of health-care organizations
significantly enhances participation in reporting (1, 2).
   However, some citizen advocacy groups have called for public disclosure of
information uncovered during investigations of serious adverse events, asserting the
public's right to know about these events. Surveys in the United States show that
62-73% of Americans believe that health-care providers should be required to make
this information publicly available (3, 4). Nonetheless, all but three states in the
United States have statutes that provide legal protection of confidentiality (5).

Internal reporting

Reports to an agency or other national body from a hospital or other health-care
organization usually originate from a report within the institution. While such reports
may merely reflect statutory requirements, an institution that values patient safety
will have an internal reporting system that captures much more than that.
   The objectives of an internal reporting system for learning are first, to identify
errors and hazards, and then through investigation to uncover the underlying sys-
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                                     terns failures, with the goal of redesigning systems to reduce the likelihood of patient
                                     injury. The key conceptual point here, and the heart of a non-punitive approach to
                                     error reporting, is the recognition that adverse events and errors are symptoms of
                                     defective systems, not defects themselves. Reporting, whether retrospective (adverse
                                     events and errors) or prospective ("hazards", or "errors waiting to happen") provides
                                     the entry point into investigation and analysis of systems' defects, which, if skillfully
                                     done, can lead to substantial system improvements. Reporting is one way to get this
                                     type of information, but not the only way (see Section 4).
                                        Ideally, internal reporting systems should go hand in hand with external report-
                                     ing systems, by identifying and analysing events that warrant forwarding to external
                                     reporting agencies. Conversely, external reporting systems are most effective when
                                     they are an extension of internal systems.



                                      Process

                                     What is reported

                                        Types of reports

                                     Reporting systems may be open-ended and attempt to capture adverse events and
                                     close-calls along the entire spectrum of care delivery, or may focus on particular
                                     types of events, such as medication errors or pre-defined serious injuries. In general,
                                     focused reporting systems are more valuable for deepening the understanding of
                                     a particular domain of care than for discovering new areas of vulnerability. While
                                     these guidelines focus on reporting systems related to adverse events and medical
                                     errors, other types of health-related reporting systems focus on medical devices,
                                     epidemiological outcomes such as emergence of antimicrobial resistance, post-mar-
                                     keting medication surveillance, and specific areas such as blood transfusions.
                                         Formats and processes vary from prescribed forms and defined data elements
                                      to free-text reporting. The system may allow for reports to be submitted via mail,
                                      telephone, electronically, or on the World Wide Web.

                                        Types of events

                                     Adverse events. An adverse events is an injury related to medical management,
                                      in contrast to a complication of disease (6)Dther terms that are sometimes used
                                      are "mishaps", "unanticipated events" or "incidents", and "accidents". Most authori-
                                      ties caution against use of the term accident since it implies that the event was
                                      unpreventable.
                                         Adverse events are not always caused by an error. For example, one form of
                                      adverse drug event, "adverse drug reaction" is, according to the WHO definition, a
                                      complication that occurs when the medication is used as directed and in the usual


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dosage (7). Adverse drug reactions are, therefore, adverse drug events that are not
caused by errors.
   Many adverse events are caused by errors, either of commission or omission, and
do, in fact, reflect deficiencies in the systems of care (8). Some reporting systems
require that only preventable adverse events be reported, while others solicit reports
whether or not a medical error occurred. One advantage of focusing reporting on
adverse events rather than on errors is that it is usually obvious when a mishap has
occurred; actual events focus attention.
Error. Error has been defined as "the failure of a planned action to be completed as
intended (i.e. error of execution) or the use of a wrong plan to achieve an aim (i.e.
error of planning)" (9). Although reporting of errors, whether or not there is an injury,
is sometimes done within institutions, if reporting of all errors is requested, the
number may be overwhelming. Therefore, some sort of threshold is usually estab-
lished -such as "serious" errors, or those with the potential for causing harm (also
called "near misses" or "close calls"). Establishing such a threshold for a reporting
system can be difficult. Hence, most "error reporting systems" are actually "adverse
events caused by errors" systems.
"Near miss" or 11close call". "A near miss" or "close call" is a serious error or mishap
 that has the potential to cause an adverse event, but fails to do so by chance or because
 it was intercepted. It is assumed (though not proven) that the underlying systems failures
 for near misses are the same as for actual adverse events. Therefore, understanding
 their causes should lead to systems design changes that will improve safety.
    A key advantage of a near miss reporting system is that because there has been
 no harm the reporter is not at risk of blame or litigation. On the contrary, he or she
 may be deserving of praise for having intercepted an error and prevented an injury.
This positive aspect of reporting of near misses, has led some to recommend near
 miss systems for internal reporting systems within health-care organizations or other
 health-care facilities where a blaming culture persists. However, any hospital that is
 serious about learning will also invite reports of near misses.
 Hazards and unsafe conditions. Reporting of hazards, or "accidents waiting to
 happen" is another way to achieve prevention without the need to learn from an
 injury. If health care were as safe as some other industries, reports of hazards- poten-
 tial causes of adverse events (as opposed to near misses, which are actual errors)
-would outnumber those of actual events. Of all major systems, the Institute for Safe
 Medication Practices· system for medication-related events has been most success-
 ful at capturing hazards (e.g. "look alike" packaging and "sound alike" names.) and
 calling for their remedy before a predictable error occurs.
     Within a health-care organization, hazard reports raise alerts about unsafe condi-
 tions. Providers can imagine accidents waiting to happen based on their observations
 of weakness in the system and their experience as users. With appropriate analysis,
 these reports can provide valuable information for changes to systems design.
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                                     Who reports

                                      Reporting systems must specify who files reports. In accountability systems, such as
                                      state health department systems and the JCAHO in the United States, reporting is
                                      done by the organization. Many also solicit and receive reports from caregivers (doc-
                                      tors and nurses). Some jurisdictions require caregivers to file reports. Some reporting
                                      systems allow patients, families and consumer advocates to report events. The latter
                                      are typically merely a notice that an event has occurred. In general, learning systems
                                      solicit reports from caregivers or organizations. Focused systems targeting specific
                                      areas such as medication errors or intensive care errors solicit reports from special-
                                      ists such as pharmacists or intensive care specialists, while broad-based systems
                                      look to organizations and caregivers, but usually accept reports from anyone.
                                        A potential source of reports that has not been significantly used is patients and
                                     families who have experienced medical error. Patients often report a high desire to
                                     see remedial action taken to prevent future harm to others. Reporting can initiate
                                     that process. Patients may report otherwise unidentified issues that help health-care
                                     organizations understand where the holes in their safety nets are, identify root causes,
                                     and mitigate harm. A patient may experience an injury that does not manifest until
                                     after discharge from a hospital and therefore is not otherwise captured. Patients may
                                     be better positioned than their care providers to identify failures in hand-overs and
                                     gaps between providers across the continuum of care.

                                      How do they report

                                        Method: e-mail, fax, Internet, mail, phone calls

                                     Methods for submitting reports vary according to local infrastructure and technol-
                                     ogy. They can range from mailing written reports to a central address, to web-based
                                     systems that centralize and aggregate multiple reports into a highly structured data-
                                     base. Mail, fax, and phone calls are most widely used, since these mechanisms are
                                     widely available. A streamlined process can be set up to receive reports by e-mail or
                                     over the Internet; for users who have access to these technologies, this can be very
                                     quick and easy (although it may be costly to establish the technical infrastructure).
                                     Systems that use e-mail or the Internet must be able to provide technical support
                                     for users.

                                        Structured forms or narrative text

                                     Reports may be highly structured, requiring specific types of information, or provide
                                     for a narrative description of events for analysis. The extent to which datasets can be
                                     developed for analysis depends in part on the degree of standardization inherent in
                                     the data reported. Events based on commonly accepted data elements, such as the
                                     classification of medication errors into wrong medication, wrong dose, wrong fre-
                                     quency and so on, can be readily configured into a standardized reporting format.



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   A higher level of structured reporting asks reporters to select options from defined
fields as part of the reporting process. This can greatly facilitate input into datasets
developed for analysis. The Australian Patient Safety Foundation's Advanced Incident
Management System (AIMS), offers a highly sophisticated customizable data entry
form that guides users through a cascade of natural questions and response choices
that are structured and consistent.
   However, much of what promotes learning in patient safety lacks crisply defined
data elements, so most authorities believe it is important for reports to include nar-
rative to convey meaning. Narrative reports provide the opportunity to capture the
rich context and storyline that allow the conditions that contributed to the error to
be explored and understood. Indeed, some believe that only narrative reports are
capable of providing information that provides meaningful insight into the nature
of the underlying systems defects that caused the incident (Richard Cook, personal
communication).
  The vast majority of reporting forms have at least some room for a narrative
description, and some, such as the United States Food and Drug Administration
(FDA) MedWatch programme include open narrative for other relevant medical
information such as laboratory data or patient condition.
    Because of the nature of analysis that is required, systems that elicit open-ended,
narrative texts require additional resources for data analysis and interpretation. In
contrast, reports to systems with a standardized format, fixed fields, and predefined
choices are swiftly entered and readily classified, making possible aggregated analy-
sis at lower cost.
   Another consideration is the effect of reporting on the reporter. Providing report-
ers with the chance to tell their stories implicitly values their observations. When the
reporter can trust in a considered and non-punitive response, the process raises the
individual's awareness of patient safety and sense of responsibility for reporting.



Classification

Reporting of events is of little value unless the data are analysed. Regardless of
the objective of the system - whether to identify new and previously unsuspected
hazards, discover trends, prioritize areas for remedial efforts, uncover common
contributing factors, or develop strategies to decrease adverse events and patient
harm - neither the act of reporting nor the collection of data will accomplish that
objective unless the data are analysed and recommendations are made for change.
Classification of the event is the first step in the analysis.
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                                                               Why classify?
                                                               Recall the case presented in Section 1 of the inadvertent connection of oxygen
                                                               tubing to an intravenous line the result being an air embolism. After the incident is
                                                               reported, classification by the reporting system turns a specific event into an exam-
                                                               ple that could happen anywhere; this particular incident becomes an example of
                                                              "tubing mix-up". When aggregated with similar incidents, depending on the avail-
                                                               ability of contextual information, a variety of solutions can emerge, ranging from
                                                               changes in nursing practice standards to a requirement for medical device manu-
                                                               facturers to develop incompatible connectors for all medical tubing. Classification
                                                               starts the process of developing solutions that can be generalized.

                                                               Classification systems !taxonomies)
                                                               A number of quite different systems have been used for classifying patient safety
                                                               incidents. These systems are also called "taxonomies". Because of differences
                                                               between taxonomies, data can often not be shared among systems. Further, none
                                                               have been validated, in the sense of studies that demonstrate that the classification
                                                               and analysis method used leads to significant improvements in patient safety. As a
                                                               result, the WHO World Alliance for Patient Safety has included in its Forward
                                                               Programme 2005 an action area focusing on the development of an internationally
                                                               agreed taxonomy of events.
                                                  Some of the factors that have been used to classify events include: error type
                                               (wrong dose, wrong diagnosis, etc.), patient outcome (level of harm, from none to
                                                                    death), setting, personnel involved, product or equipment fail-
tCIIU UUI.tl\       U. f'!,U;::ifliiJ.U UUCJ\ WU11 U lH.Vel UliH \dU Ul."'   UU~U

taxiway Vt<eksl,wetj n. a marked path along which aircraft tax      ures, proximal (obvious) causes (misidentification of a patient),
 or from a ,.,..,W,lV, parking area, etc     Also called: taxi sl
 perltr" - - - - - .....                                            underlying causes (lack of knowledge, information, skills, etc.),
tax '       n. a lo
 r· re profits for tax                                              contributing    factors (organizational factors, environmental
                                   ) Biology any taxonomic gr•
    on ( 1t<ekson) n., pl. ~,       IAXONOMY]                       factors, etc.), stage in process of care (ordering, implementa-
 or rank. [C20: back torn\             branch of biology concer
taxonomy <t<ek •son"m 1) ••·          into groups hased on simi     tion, responding to laboratory results), and mechanism of error
 with the classification of ,            tice or arranging organi'
 ities or structure. origin, et         of classification. [C19; fr (knowledge-based,     rule-based, skill-based). These taxonomies
                                      order • ..NoM Y 1 --·- taxonm
 in this way. 2. the scienc•         adJ..   --,taxo'nomlcally ;.   tend to fall into three major categories: classification by event,
 French taxonomie, from (
 (,tmks"'nomlk) or ,taX(             organi;.ation that pnys U1xe'  by risk, or by causation.
 -·tax•onomlst or tax'onf'                        adj.
      'ft,,u..,••   ('ta:ks,pel"')              nc:ome, wealth. etc .. assessed       A taxonomy of adverse events classifies by event type, such
                to taxation.
                      n. the ... ··                                                 as how many medication errors are attributable to "wrong
 I
tax   §-h-t;m!!llllll--~;:;rr·e.                         which nosiness or finan·   dose" or "wrong patient". Event classification schemes work
 aetivities may he organized to                          taxation
·taxv n. coml.>inim: form. a va                            xis.
                                                                                    best when describing a specialized medical domain, such as
                                                                                    medication errors, dialysis events or transfusion mismatches.
                                                                 Several systems use taxonomies to assess risk, in order to prioritize events for
                                                              action or to determine if further investigation is warranted. The United States
                                                              Pharmacopoeia (USP) uses a nine-tier approach to rank medication risk. The
                                                              Veterans Health Administration (VHA) uses a scoring system to prioritize both the
                                                              potential severity, and the likelihood of occurrence of events, based on specific



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scales and definitions; these are organized into a "safety assessment code" matrix
(10). See Figure below.


  The      Australian     Patient Safety       Figure: Safety Assessment Code (SAC) Matrix
Foundation uses explicit criteria for
assessing the degree of risk expressed                                                       SEVERITY
as a risk matrix that plots the severity
of the outcome against the likelihood                                  Catastrophic        Major   Moderate   Minor
of its recurrence (11). The United States                 Frequent          16              12          8       4
Agency for Healthcare Research and               ~
                                                 ::::i   Occasional           12            9           6       3
Quality (AHRQ) has indicated that a risk         co
assessment scale should be included              ~       Uncommon             8             6           4       2
in its Patient Safety Network reporting          ~
                                                 0..
system currently being developed in col-                  Remote              4             3           2       1
laboration with the Institute of Medicine's    Source: Veterans Health Administration National Center for Patient Safety,
Committee on Data Standards for Patient        United States of America
Safety
  The earliest classification system that focused on causation was the Eindhoven
Classification Model, developed at Eindhoven University of Technology in the
Netherlands. It is used in high-risk industries such as chemical manufacturing. It
has recently been adapted for use in the VHA root cause analysis to identify factors
based on the principles of human, organizational, and technical factors.
   Another causation-oriented system is the Australian Incident Monitoring System
developed by the Australian Patient Safety Foundation. This classification system
comprises more than a million permutations of terms to describe an incident or
adverse event. The system allows the end user to deconstruct an incident into a very
detailed data set that defines the relationships between the component factors of the
classification system.
   A related system is classification by contributing factors, used at the Clinical Risk
Unit at University College in London, England to identify patient, provider, team,
task, work environment, organizational and other factors, through comprehensive
systems analysis (12).

Design of a classification system
At least three key factors should be considered in the design of a classification
system:
    • The purpose of the reporting system. What is the expected product? How
      will the classification scheme facilitate analysis that will produce the
      desired outcome?
    • The types of data that are available. Are reporters expected to have
      carried out an investigation and analysis of the event? If not, it is
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                                            unlikely that they will be able to provide useful information concerning
                                            underlying systems causes, and events will not be able to be classified at
                                            that level.
                                          • Resources. The more detailed and elaborate the classification system is,
                                            the more expertise will be required, and the costlier the system will be to
                                            maintain.

                                        A report commissioned by WHO and prepared by the Joint Commission on
                                     Accreditation of Healthcare Organizations (JCAHO) notes that the following
                                     attributes are desirable in an ideal classification scheme (13):
                                          • It should address a broad and diverse range of patient safety issues and
                                            concerns across multiple health-care settings.
                                         • It should identify high-priority patient safety data elements that are
                                           important to health-care systems.
                                         • It should classify information related to what, where and how medical
                                           management goes wrong, the reasons why medical incidents occur, and
                                           what preventive and corrective strategies can be developed to keep them
                                           from occurring or to ameliorate their effects in health care.
                                         • It must provide a meaningful and comprehensive linkage between the
                                           contributory factors and the errors and systems failures that lead to
                                           adverse events.
                                         • It should facilitate the monitoring, reporting, and investigation of adverse
                                           events and near misses at the public health level - allowing aggregated
                                           data to be combined and tracked.

                                        Because the resources required for taxonomy and analytical development tools
                                     are substantial, development of classification schemes is probably better left to
                                     national or international agencies rather than individual health-care systems.

                                    The role of classification

                                     Classification can be the cornerstone of what the system does. If the main goal
                                     is to produce data on the frequency of different types of events, as in the USP
                                     MedMARx5M system, then performing the classification, determining frequencies,
                                     and feeding back that information may be all that is needed to meet the objective
                                     of the reporting system.
                                        More commonly, classification is the beginning of more complex analysis, the
                                    first step. A direct link exists between the type and complexity of the classification
                                    scheme, and the level of analysis that is possible. That is, the analytic plan should
                                    determine the classification scheme, not the reverse.




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Analysis

Hazard identification

At a minimum, a reporting system should permit identification of new and unsus-
pected hazards, such as previously unrecognized complications associated with use
of a medication or a new device. A simple way this can be done is by direct human
review of incoming reports. For example, if even a few people report that free flow
protection on a particular pump model can fail, that may be sufficient for the receiv-
ers of the reports to recognize the problem, alert the providers and communicate
directly with the pump manufacturer.

  This type of analysis requires that knowledgeable experts review reports, but the
reports do not need to be based on extensive investigation by the reporting organi-
zation. A good example of a hazard identification model is the Institute for Safe
Medication Practice (ISMP) Medical Error Reporting Program, where a small group
of pharmacists reviews all reports, identifies new hazards, and prioritizes them for
action. Recommendations are then disseminated to the participants (most hospitals)
every two weeks via a newsletter, Medication Safety Alert.

   Both JCAHO, through its sentinel events alert warning and ISMP have legitimately
taken credit for the success in removing concentrated potassium chloride from nurs-
ing units in the United States (14). ISMP alerts have also led to drug name and
label changes, as well as the removal or restriction of the use of many drugs (15).
MedMARx5M analysis revealed reports of three drugs with a high frequency of medi-
cation errors: insulin, heparin, and warfarin (16).

Summaries and descriptions

At the next level, a simple classification scheme can provide summaries and descrip-
tions that permit determination of frequencies or ranking by order of frequency. An
example of this would be a reporting system that records medication errors classi-
fied by dose, route, patient, etc. Calculating frequencies permits prioritization that
can be used by focused systems to allocate further resources.

Trend and cluster analysis

Trend analysis, obtained by calculating and observing rates of events over time, can
identify significant changes that suggest new problems (or, if improving, that safety
measures are working). Trends can also be detected using statistical control method-
ologies. These assist a particular organization in discerning whether its own trends,
when compared with benchmarks, are attributable to what is known as "special
cause" variation, rather than stemming from normal process fluctuations.
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                                        A cluster of events that suddenly arises suggests a need for inquiry. It is impor-
                                     tant to note that trends or clusters identified by reporting systems are those of
                                     reported events, not those of the events themselves. For example, the JCAHO
                                     recently released a sentinel event alert concerning wrong site surgery when the
                                     rate of reports it received increased substantially over a two-year period. However,
                                     it acknowledged that only a small fraction of events are reported, so the data may
                                     not be representative. The United States Pharmacopeia (USP) MedMARxSM system
                                     analyses events to identify trends. Such trends may influence standard-setting prac-
                                     tices. Large-scale reporting systems such as the National Reporting and Learning
                                     System, of the National Health Service in England, also provide pattern analysis and
                                     recognition of trends or clusters (17).

                                     Correlations

                                      While trends over time or control charts are ways of using the factor of time, other
                                      analytical methods are available for additional cofactors. To take the example of
                                     'medication error - wrong patient', other factors captured may include, for exam-
                                      ple, the health-care setting (whether clinic or hospital), the patient diagnosis, or the
                                      age of the patient. These can be subjected to an analysis of correlations to evalu-
                                      ate the strength of the relationship between two variables, such as whether dosing
                                      errors occur more frequently among chemotherapy patients than among patients
                                      undergoing other treatments, or whether wrong patient medication errors are more
                                      highly correlated with elderly patients than with younger (and perhaps more alert)
                                      patients.

                                      Risk analysis

                                     With adequate data, a reporting system can develop valuable information about risk.
                                     With a large number of reports, estimations of the probability of recurrence of a spe-
                                     cific type of adverse event or error can be calculated. Analysis of reported outcomes
                                     can also produce an estimate of the average severity of harm caused by the incident.
                                     The Safety Assessment Code of the United States Veterans Health Administration
                                     uses these two factors, probability of recurrence and severity, to calculate a score
                                     for prioritizing incidents for safety initiatives.

                                     Causal analysis

                                     When many factors are classified and coded along with the event, a more complex
                                     set of correlations and relationships among the factors can be considered and tested
                                     in the database. If causal factors such as workloads, communication, teamwork,
                                     equipment, environment, staffing and the like are included, then correlations among
                                     many cause and effect relationships can yield important insights into a health-care
                                     system's vulnerabilities.
                                         Another analytical tool that can be applied to datasets with a rich set of cofactors
                                      is regression analysis, which assesses the predictive value of multiple factors upon


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the outcome. For example, regression analysis can be used to investigate whether
patient diagnosis is a predictive factor for dosing error. The major use for this analyti-
cal approach is to go beyond identifying relationships to hypothesis testing.

   The sentinel event alerts issued by JCAHO include risk reduction strategies based
on causal analyses submitted with reports, such as finding that medication errors
attributable to illegible handwriting or poor communication are more common
when abbreviations are used. Eliminating abbreviations has thus become one of the
JCAHO patient safety goals for hospital accreditation.

Systems analysis
The ultimate aim of reporting is to lead to systems improvements by understanding
the systems failures that caused the error or injury. At the organizational level, this
requires investigation and interviews with involved parties to elicit the contributing
factors and underlying design failures. A national reporting system must receive this
level of information in order to identify common and recurring systems failures. For
example, if analysts repeatedly find similar underlying systems defects in reports
of a specific type of error, then remedial actions should focus on correction of that
failure.
   The Australian Patient Safety Foundation identified problems with valve-control-
led flow and pressure occurring with anaesthetic machines. Query of the database
provided a deconstruction of the malfunction types and suggested, among other
things, that frequent maintenance and audible alarms on pressure relief valves could
prevent these mishaps (18).
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                                           November 2005).




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4. ALTERNATIVE SOURCES OF
   INFORMATION FOR PATIENT SAFETY
  Key messages
  •   Reporting systems are clearly of value for learning from others'
      experience.

  •   Reporting systems do not provide a complete picture of risks, hazards
      and system vulnerabilities.

  •   There are other valuable sources of information that can be used within
      a health service and nationally to complement reporting.

  •   These options may present less expensive options than establishing
      national reporting systems.



National or system-wide reporting systems are clearly of great value for learning
from others' experience. Many adverse events occur rarely, and thus to observers in
the institution may seem to be isolated (outlier) cases. Commonality and common
causation only emerge with analysis of aggregated data. Similarly, demonstrating
occurrence of serious events in respectable peer institutions helps counteract a typi-
cal response of "that could never happen here", which providers may genuinely feel
when asked about a serious adverse event, such as amputation of the wrong leg.
   However, there are other valuable sources of patient safety information that can
be used at both the internal health-care organizational level and nationally. Many
are much less expensive, and therefore constitute important options for states and
health-care organizations that are unable to finance a large reporting system. They
are worthy of consideration even for those with highly developed reporting systems.
We look at internal options first.



Internal alternative sources of safety information

An effective internal reporting system is an essential component of a hospital patient
safety programme. However, even a simple reporting system can be a significant
expense. For many institutions, providing the financial resources and expertise
required to establish a reporting system may be a burden, and may not be the wisest
use of scarce funds. Another problem is compliance. Studies have repeatedly shown
that many events are not captured by typical reporting systems. Personnel often fail
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                                     to make reports for a host of reasons: because they forget, are too busy, or think it
                                     is unimportant, or because the reporting does not lead to significant change. Too
                                     often, failure to report reflects a punitive environment in which it can be harmful to
                                     the reporter or colleagues to report.
                                        Fortunately, reporting is not the only way to obtain information about hazards and
                                     systems defects. Hospital personnel - nurses, pharmacists, doctors, risk managers,
                                     and others- are a rich source of information that even well run reporting systems do
                                     not fully exploit. Medical records, laboratory reports, and other routinely collected
                                     data can also be used to find evidence of safety problems. Several methods that
                                     have been found useful for utilizing these resources are described in this section.
                                     In addition, several alternative methods for collecting data on quality and safety of
                                     care are described that do require more extensive resources but offer the promise of
                                     more complete and less intrusive data collection. These alternatives are presented
                                     in order of increasing resource intensity.

                                     Safety WalkRounds

                                    A "Safety WalkRound" is a process whereby a group of senior leaders visit areas of
                                    a health-care organization and ask front-line staff about specific events, contributing
                                    factors, near misses, potential problems, and possible solutions. The leaders then
                                    prioritize the events and the patient safety team develops solutions with the clini-
                                    cians. The results are fed back to the staff (1).
                                       The information gleaned in this process often has the solution embedded in the
                                     event description. Thus, this process can often result in prompt changes that improve
                                     care and safety. It also can lead to culture change, as the concerns of front-line staff
                                     are addressed and as front-line staff are engaged in continuous observation of haz-
                                     ards and solutions for discussion with senior leadership. Leadership walkrounds are
                                     a low-cost way to identify hazards of concern to front-line staff and make needed
                                     changes. They require no additional staff, equipment, or infrastructure.

                                     Focus groups
                                     Focus groups are facilitated discussions with staff or with patients and families to
                                     elicit insights, concerns, and perceptions in an open, learning environment. Most
                                     nurses, for example, are aware of hazards in their daily work, accidents "waiting to
                                     happen", and are willing to discuss them if given the opportunity. A few hours with
                                     front-line people can generate a safety improvement agenda that will keep a hospital
                                     busy for months.
                                        Focus groups offer an opportunity for a very rich learning environment as mem-
                                    bers within the group discuss and develop ideas. While this method of information
                                    gathering cannot provide trends or benchmarks like a reporting system, it can iden-
                                    tify both hazards and potential solutions that otherwise remain hidden.




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Medical record review

Medical record review has historically been the major method for oversight of qual-
ity. While labour intensive, record review often provides the reviewer with the story
and context in which to understand events. In addition, medical record review
allows for evaluation of processes as well as outcomes, and can yield information
about whether important processes occurred, such as communication, documenta-
tion, use of a checklist, or administration of an evidence-based therapy.
   Record reviews may be explicit, in which the reviewer searches for specific types
of data that define events (such as "failure to rescue") or implicit, in which a clinical
expert makes a judgment as to whether an adverse event and/or error has occurred
(such as failure to follow up a positive laboratory test). Record reviews have been the
cornerstone of the major population-based studies that defined the extent of medi-
cal injury (2-6). They are also widely used to monitor progress in preventing adverse
events when new safe practices are implemented.
  The major limitations of record review are its cost, and variability of content.
Aside from laboratory reports and orders, much of the content is determined by the
subjective judgments of those who write notes. While serious adverse events are
almost always mentioned, errors and underlying conditions almost never are. "Near
misses" are rarely noted. Thus, records can be valuable for case finding, but provide
only limited contextual information.

Focused review

Medical record reviews that focus on a specific type of event can identify critical
points of care that represent widespread vulnerabilities. Focused reviews of adverse
drug events, for example, might show that ordering medications for patients with
renal impairment, managing anticoagulation, and tracking allergies are areas that
warrant widespread, systematic improvements. A focused record review might
reveal not only the incidence of wrong-site surgery, but also whether a site check-
list was executed and a time-out took place during each operation. Other focused
analyses might include identifying high complexity processes.

Failure modes and effects analysis

Adverse events can be viewed as the outcomes of vulnerable systems. In addition
to acquiring information about the outcomes, or events, it is very helpful to learn
about the vulnerabilities in the system and about possible solutions to buffer and
strengthen the systems of care.
   Failure modes and effects analysis (FMEA) is a widely used tool for proactively
identifying process vulnerabilities. It begins by systematically identifying each step
in the process and then searches out "failure modes", that is, noticing what could go
wrong. The next step is to evaluate how the failure mode could occur, and what are
the "effects" of this failure. If a failure mode could result in catastrophic effects, the
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                                     process must be corrected or buffered. The FMEA is a proactive tool, used to evalu-
                                     ate a new process, or an existing process for proposed design changes.

                                    Screening

                                     Screening is the use of routine data to identify a possible adverse event. It can be
                                     performed retrospectively, or in "real" time, either by analysis of traditional paper
                                     records or automatically by computer programs if patient clinical and laboratory
                                     data are available in electronic form. "Occurrence" screening identifies when a pre-
                                     defined event occurs, such as a return to the operating room within an admission or
                                     a readmission for the sa,me problem.

                                       Screening criteria are sometimes referred to as "triggers". When a screening cri-
                                    terion is met, further investigation, usually in person by an expert, is needed to
                                    determine whether an event has, in fact, occurred.

                                       For example, laboratory data can be screened for out of range International
                                    Normalized Ratio (INR) results in patients taking warfarin. Records of patients with
                                    a positive screen - defined as values above or below a defined range - are then
                                    reviewed to determine if an episode of haemorrhage or thrombosis has occurred.

                                        The Institute for Healthcare Improvement (IHI) has pioneered in the use of a
                                    "trigger tool" to retrospectively discover adverse drug events (ADE) (7). Records are
                                     searched for the presence of any of a list of highly sensitive indicators (such as
                                     prescribing a narcotic antidote or out of range INR). If the trigger is found, further
                                     investigations are carried out to determine if the ADE did in fact occur. This tool can
                                     be used both to assess the rate of selected ADEs and to measure progress when new
                                     safe practices are implemented.

                                    Observation

                                    The observation method for discovering errors consists first of a knowledgeable
                                    expert (such as a nurse or pharmacist) observing a process and writing down pre-
                                    cisely the steps that are taken by the provider. This log is then compared with the
                                    written orders to identify deviations. Observational studies of nurse administration
                                    of medications in a large number of hospitals have shown high error rates (average
                                    11% of doses) (8). The nurses were not aware of the errors which would, thus, not be
                                    captured in a reporting system.

                                       The observation method is very labour-intensive, and therefore costly. However, it
                                    yields very rich data that facilitate understanding, not only about what events occur,
                                    but also about the processes and dynamics that affect the outcome. It is a tool that
                                    can be used intermittently, as resources permit, both to identify and understand
                                    systems breakdowns and to monitor improvement after changes are implemented.

                                       Observing the hand-over during a transition between caregivers, for example, will
                                    yield not only whether there is an error, but also meaningful clues as to the barriers




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and solutions. Observation can also identify areas where process designs such as
standardization, simplification, and forcing functions may be useful to avoid harm.



External alternative sources of safety information

At the national or systems level, alternatives to reporting have not been widely
employed. Medical record reviews have been occasionally used in random audits to
identify adverse events and estimate frequency. Specific one-off studies, such as the
Confidential Enquiries in the United Kingdom have served this function for several
decades (9, 10). This type of sampling can identify system weaknesses that require
attention with much fewer resources than required by a reporting system. Several
other methods of gathering safety data are available, as described below.

Malpractice claims analysis

Where frequent, as in the United States, malpractice claims can provide a rich source
of data concerning a small number of serious events. When a serious incident occurs,
risk managers typically start a patient file (called a claim, even if no litigation ever
ensues) and promptly conduct an investigation, interviewing all personnel involved
to understand and correctly document exactly what happened. This type of analysis,
while much less sophisticated than a root cause or systems analysis carried out by
experts, produces far more information than the usual hospital reporting systems.
  Analysis of claims, for example, has identified the factors that increase the prob-
ability of a foreign body being retained following surgery and demonstrated the
need for fail-safe follow-up systems to ensure that positive mammograms lead to
biopsy (11).
  The limitation of malpractice claims is their non-representativeness. However,
they do provide data on events that are significant - serious injuries - as well as
data that are typically much more comprehensive than provided to most reporting
systems.

Surveillance

Surveillance systems collect specific case data, checking for predefined factors and
outcomes on all patients in a defined category (such as those with infection). These
systems can identify the prevalence of risk and risk factors for key events, as well as
provide benchmarks for organizations and assist in monitoring progress.
   One of the best examples of a surveillance system is the National Nosocomial
Infections Surveillance System, a voluntary, confidential cooperative effort between
the United States Centers for Disease Control and Prevention (CDC) and participat-
ing hospitals to identify hospital-acquired infections and create a national database
that is used to understand the epidemiology of nosocomial infections and antibiotic
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                                      resistance trends, and to provide robust benchmarks for organizations to track their
                                      own performance (12,13).
                                        Another form of surveillance focuses on review of hospital discharge diagnostic
                                     codes. A list has been developed in the Uni,ted States by the Agency for Healthcare
                                     Research and Quality (AHRQ) of specific discharge codes, called Patient Safety
                                     Indicators (PSI), that are highly correlated with "problems that patients experience as
                                     a result of exposure to the healthcare system and that are likely amenable to preven-
                                     tion"(14). Examples include retention of foreign bodies, complications of anaesthesia,
                                     obstetric trauma, decubitus ulcers, and postoperative hip fracture. Hospitals can use
                                     the PSI to identify potential systems failures and to monitor improvement in safety.
                                     As the indicators are refined, it seems likely that they will be used in a national
                                     monitoring programme.

                                      Routine data collection

                                     A variant of surveillance on a much larger scale is exemplified by the United States
                                     Veterans Health Administration National Surgical Quality Improvement Program
                                     (NSQIP) (15). Trained surgical clinical nurse reviewers collect data on 129 clinical
                                     and outcome variables (including 30-day postoperative outcomes) for all major
                                     operations performed at each Veterans Health hospital. These data are electroni-
                                     cally transmitted to a coordinating centre that uses predictive models to generate
                                     risk-adjusted predicted probability of death or complications for each patient.
                                        Observed and expected ratios of complication rates and mortality are then cal-
                                     culated for each hospital and service for all major surgical procedures and for each
                                     of the subspecialties and fed back to each hospital, together with de-identified
                                     benchmark data from all institutions for comparison. A central committee annu-
                                     ally reviews the data, commends low outliers, and issues warnings to high outliers.
                                     Recurrent high outlier status leads to review by regional authorities and, when indi-
                                     cated, site visits to assist hospitals in identifying and remedying deficiencies. Since
                                     inception of NSQIP, data for more than 1 million cases have been entered into the
                                     national database.
                                        Over a ten-year period, 1991-2000, after implementation of NSQIP, surgical
                                     mortality decreased by 27% and complications by 45% (16). Programme leaders
                                     attribute most of these reductions to changes made by the hospitals in response
                                     to data feedback. The total cost of the program is US$ 4 million annually, approxi-
                                     mately US$ 12 per case. The savings from reduced mortality and complications are
                                     several multiples of this expense; thus there is a net saving with this method.
                                        The success of NSQIP in reducing adverse events and mortality can be attributed
                                     to five factors: (i) data collection is automatic part of the daily routine for all patients,
                                     not just those with complications; (ii) designated trained individuals are responsible
                                     for data collection; (iii) results are risk-adjusted; (iv) results are fed back to hospitals
                                     as site-specific data with peer hospital comparisons; (v) outcomes are monitored



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by a central oversight authority with the power to conduct site visits and require
changes. After initial resistance, these systems have been well-accepted by physi-
cians and hospitals.
     Routine data collection bodes well for ultimately replacing reporting as the pri-
 mary source of safety information in the future. For highly developed health-care
 systems that have fully electronic medical records, automated data collection and
 analysis can provide continuous monitoring of quality and safety at a fraction of the
 cost of a reporting system. Similarly, automatic feed of data to a central authority (as
 in the Veterans Health system) can occur rapidly and inexpensively. In such a system
"reporting" would be much less important, and full attention could be given to analy-
 sis and focused investigation of key events uncovered by the data analysis.



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                                    5. NATIONAL REPORTING SYSTEMS
                                       Key messages

                                       •   Existing national reporting systems exhibit great variation in sponsorship,
                                           support, participation, and function.

                                       •   All of these reporting systems aim to improve patient safety.

                                       •    Reporting to most national systems is voluntary.

                                       •   A major issue for all reporting systems, public or private, mandatory or
                                           voluntary, is confidentiality.


                                    Existing national reporting systems exhibit great variation in sponsorship, support,
                                    participation, and function. Some, such as the National Reporting and Learning
                                    System (NRLS) in England and Wales, and those of Denmark, the Czech Republic,
                                    and Sweden were developed by governmental agencies to provide information to
                                    improve patient safety. Others, such as the Australian Incident Monitoring System
                                    (AIMS) sponsored by the Australia Patient Safety Foundation and the JCAHO Sentinel
                                    Events Reporting System, have been developed within the private or non-govern-
                                    ment sector.

                                       All of these reporting systems aim to improve patient safety. However, their ability
                                    to do that varies considerably according to the sophistication of the analyses and
                                    the vigour with which efforts are pursued to turn insights into changes in practice.
                                    Patient safety is a relatively new concern for most governments. Not surprisingly,
                                    many still do not have a large cadre devoted to advancing safety or resources to
                                    carry out the plans they do make. A number of Member States have no current
                                    governmental initiatives in safety and no reporting system.

                                        Reporting to most national systems is voluntary. However, systems in the Czech
                                     Republic and Slovenia require hospitals to report, and reporting of some especially
                                     serious events is required in the Netherlands, Japan, and other systems as well (see
                                     below for details).

                                       Voluntary systems invite a professional ethic of participation in continuous learn-
                                    ing and prevention, encouraged by acknowledgement and the reward of visible
                                    change. Experience from industries outside of health care, particularly aviation, as
                                    well as from some long-standing health-care reporting systems, for example, the
                                    Institute for Safe Medication Practice, shows that reporting systems are more likely
                                    to be successful if those reporting do not need to worry about adverse consequences
                                    to themselves or others.




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   A major issue for all reporting systems, public or private, mandatory or voluntary,
is confidentiality. There is broad agreement across many systems that patients' and
caregivers' names should not be disclosed, and these are protected by almost all
systems. However there is much less agreement on whether the public should have
access to hospital-level information.

   Governmental health-care systems have a fiduciary responsibility to the public
to ensure reasonable levels of safe care in health-care organizations, and reporting
systems are one mechanism for discharging that responsibility.

   Although accountability does not require release of all information, some form
of public disclosure of adverse incidents seems indicated. Some' systems make the
events themselves available to the public; others disclose results of investigations
or summary reports. Another option is to provide public notice of the occurrence
of a serious event and of the actions taken in response by the institution and the
government. Some agencies issue annual reports that summarize events and actions
taken.




Types of patient safety reporting systems

The following information has been provided by representatives of reporting systems
from across the world as a result of a survey undertaken for these guidelines.

Czech Republic
Type of reporting system: The Czech Republic has a mandatory reporting system.
Voluntary reporting has also been in place for two years in 50 hospitals, and a
national pilot project has been launched for voluntary reporting.

What is reported: Reportable events include nosocomial infections, adverse drug
reactions, transfusion reactions, and medical equipment failures.

Who reports: Health care professionals.
How they report: Reports yield simple statistics of adverse events.
Analysis: Information is aggregated at different levels, including by hospital, medical
specialization, region, and the republic. Analysis of sentinel event reporting in the
field of acute hospital care launched in 2004; a similar project has been launched
in long term care.

Response, dissemination and application of results: Reports are not accessible to
the public.
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                                      Denmark

                                     Type of reporting system: The Act on Patient Safety in the Danish Health Care
                                      System came into force january 1, 2004. The objective of the Act is to improve
                                      patient safety within the Danish health care system. The law obligates health care
                                      professionals to report specified adverse events to a national database. To support
                                      learning, this national mandatory system is sharply separated from the system of
                                      sanctions.
                                     What is reported: Reportable adverse events are "events resulting from treatment by
                                     or stay in a hospital and not from the illness of a patient, if such event is at the same
                                     time either harmful, or could have been harmful had it not been avoided beforehand,
                                     or if the event did not occur for other reasons. Adverse events shall comprise events
                                     and errors known and unknown" Surgical events and medication errors, including
                                     close calls, must be reported.

                                     Who reports: Healthcare professionals who become aware of an adverse event
                                      in connection with a patient's treatment or hospital stay are required to report the
                                      event.

                                     How they report: Health care professionals report to the national database. Reports
                                     are automatically forwarded to the county where the event occurred and county
                                     councils record, analyse, and de-identify the reports. Lastly, reports are forwarded
                                     to the National Board of Health, which maintains a national register of adverse
                                     events.

                                     Analysis: Although there are no national requirements for analysis, there is general
                                     use of the Safety Assessment Code (SAC) score. Adverse events with less serious
                                     SAC scores are acted upon locally, whereas serious adverse events (SAC score of
                                     three) prompt a root cause analysis.

                                      Response, dissemination and application of results: Hospital owners are obligated
                                     by the Act on Patient Safety to act on reports, while the National Board of Health is
                                     charged with dissemination of lessons learnt. The National Board of Health issues
                                     alerts in the form of regular newsletters, in addition to an annual report.

                                     Further information: www.patientsikkerhed.dk

                                      England and Wales

                                     Type of reporting system: The National Reporting and Learning System (NRLS) has
                                     been developed by the National Patient Safety Agency (NPSA) to promote an open
                                     reporting culture and a process for learning from adverse events. The purpose of
                                     the NRLS is to elicit reports of patient safety incidents, identify themes and patterns
                                     in the types of incidents being reported including major systems failures, and to
                                     develop and promote implementation of solutions.
                                        The NRLS was launched in February 2004. As of july 2005, 548 NHS organiza-
                                     tions have successfully connected to NRLS (90% of the total number).



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What is reported: Patient safety incidents to be reported are defined as "any unin-
tended or unexpected incident that could have or did lead to harm for one or more
patients receiving NHS-funded healthcare". Reports are anonymous, although a
NHS Trust identifier is maintained; if staff or patient names are provided, they are
removed before data are entered in the database.
Who reports: Any health care staff member can report a patient safety incident
to the NRLS. The NPSA receives reports from NHS Trusts who in turn encourage
reporting of patient safety incidents from each organization. The Trusts can be Acute,
Primary Care, Mental Health or Ambulance Service oriented. Participation by health
care services is voluntary.
 How they report: Health care organizations with electronic risk management sys-
 tems can use a technical link to submit reports directly from this local system into
 the NRLS. The NPSA has worked with local risk management software vendors
 to establish compatibility and interfaces. The objective is to have reports that are
 already collected for local use forwarded seamlessly to the national repository,
 therefore avoiding any duplication of data entry. Data are submitted to the NRLS at
 a rate of around 10,000 reports a week. The NSPA has worked with every Trust to
'map' its dataset to that of the NRLS (1).
    The NPSA has also developed an electronic reporting form, the 'eForm', for use
 by organizations without compatible commercial risk management system software
 or for reports submitted independently of an organization's risk management system.
The NRLS provides a detailed report form that guides the user through multiple ques-
 tion categories with coded options defining categories of where, when how, and
 what occurred. Brief sections for narratives are embedded throughout the form.
    Patients and carers can telephone reports to the relevant Trusts' NHS Patient
Advice and Liaison Service. Staff can also send in reports directly and plans exist to
 enable patients and from 2006 carers to report via an eForm.
Analysis: After data cleansing (the removal of identifying information), the NPSA
 database supports the identification of trends based on the specific data elements
 defined in the reporting formats. Standardized data are extracted that include the
'when and where', level of patient harm, patient characteristics, and contributing
 factors.
    Adverse events are categorized into classes such as a medication event; these are
 further broken down into descriptors such as wrong quantity, wrong route, etc. The
 report form allows for narrative throughout, but the data provided in the structured,
 standardized format, can be automatically entered in the database and correlated to
 identify trends and relationships among the events and causes.
    Reports are aggregated and analysed with expert clinical input to help under-
 stand the frequency of types of patient safety incidents, patterns and trends and
 underlying contributory factors. Investigation of reports submitted locally remains
 the responsibility of the local organizations. The NPSA does not investigate indi-
 vidual incidents or become involved in discipline or performance management.
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                                      Response, dissemination and application of results: Lessons learnt from NRLS are
                                      disseminated through the publication of NPSA Patient Safety Observatory reports
                                      and through feedback to reporting organizations on incident trends and solutions.
                                      Lessons learned from the NRLS feeds into the NPSA work on safety solutions.
                                         Incident reports are not accessible to the public, but NHS Trusts may (and do)
                                      make information available at their discretion. The NPSA also provides root cause
                                      analysis training.
                                      Further information: www.npsa.nhs.uk

                                     The Netherlands

                                     Type of reporting system: Non-punitive, voluntary reporting systems for adverse
                                     events are in place within most hospitals and other health care organizations. A
                                     mandatory system also exists for reporting serious adverse events (with permanent
                                     injury or death as result) which is monitored by the Health Care Inspectorate. There
                                     is considerable under-reporting.
                                     What is reported: There is a legal requirement that serious adverse events are
                                     reported to the Health Care Inspectorate; adverse events resulting in persistent
                                     patient injury or death are reported, as well as suicides and acts of sexual har-
                                     assment. Medical equipment failures are reported by manufacturers in accordance
                                     with legal European obligations.
                                     Who reports: Voluntary reporting is conducted by anonymous sources, hospital
                                     or health care organizations, other health care organizations, patients, health care
                                     professionals and members of the public. Mandatory reporting is conducted by hos-
                                     pital or healthcare organizations, other health care organizations or by licensing or
                                     disciplinary actions.
                                      How they report: Reports can be submitted by mail, fax, or phone.
                                     Analysis: Data classification among the hospital systems is not standardized, mean-
                                     ing no national aggregation of data. The national mandatory system collates data.
                                       As part of a regulatory response all hospitals are required to investigate serious
                                     events and redesign systems.
                                     Response, dissemination and application of results: Following receipt of reports
                                     by the agency, most reports are investigated; receive analysis of incident causation
                                     and feedback to the reporter. The classification and collation of data is not solid and,
                                     therefore, may be unreliable. The Health Care Inspectorate received 2716 reports in
                                     2003; average annual number of reports 3000. Committees for the investigation of
                                     adverse events in individual health care institutions are required to make an annual
                                     report. The Health Care Inspectorate produces an annual report of summary data
                                     which is made publicly available.
                                      Further information: www.minvws.nl




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Ireland

Type of reporting system: The Republic of Ireland established enterprise liability
under a Clinical Indemnity Scheme (CIS) in 2002 to promote safe patient care, to
reduce the number of claims and to manage claims in a timely fashion. A secure
web based Clinical Incident Reporting System is being rolled out nationally.
What is reported: Reportable adverse incidents include "events arising as conse-
quence of provision of, or failure to provide clinical care that results in injury, disease,
disability, death or prolonged hospital stay for the patient" and "near misses".
Who reports: All enterprises covered by the CIS are required to report on a manda-
tory basis, all adverse clinical events and "near misses".
How they report: Paper reports are submitted to local risk management personnel.
These data are then transmitted electronically to the Clinical Indemnity Scheme
central database via a secure web based system (STARSweb).
Analysis: STARSweb enables aggregated statistical analysis and supports detection
of trends both at the enterprise and national level.
Response, dissemination and application of results: Lessons learnt will be dis-
seminated through quarterly newsletters, topic-based seminars, and via a regularly
updated website.
Further information: www.dohc.ie

Slovenia

Type of reporting system: A voluntary national reporting system for sentinel events
was established in 2002, similar to that developed by the joint Commission on
Accreditation of Healthcare Organizations in the United States.
What is reported: Sentinel events reported include: unexpected death; major per-
manent loss of function; suicide of a patient while in the hospital; discharge of a
newborn infant to a wrong family; hemolytic transfusion reaction following admin-
istration of blood or blood products because of the incompatibility of major blood
groups; surgery on a wrong patient or body part; and neglect which has a possible
characteristic of a criminal offence.
Who reports: Hospitals
How they report: Reported information is analyzed at the Ministry of Health, who
also provide an initial feedback to the health care organization where the error
occurred.
Response, dissemination and application of results: Reports are accessible to the
public as anonymous summaries disseminated via the internet.
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                                     Sweden

                                     Type of reporting system: The Swedish healthcare law of 1997 requires every medi-
                                     cal institution to have a quality system; most medical institutions have implemented
                                     different forms of quality systems, which are regulated by Statutes issued by the
                                     National Board of Health and Welfare (NBHW). The reporting and learning system
                                     is part of a regulatory response that requires hospitals to investigate serious events
                                     and redesign systems.
                                     What is reported: Events resulting in unanticipated serious injury or disease or risk
                                     thereof are reported; this covers adverse events, near misses, equipment failures,
                                     suicide and other hazardous events.
                                     Who reports: Reports are received from hospital and health care organizations and
                                     health care professionals.
                                        Hospitals, heath care organization, licensing and disciplinary bodies are required
                                     to report adverse events to their nearest superior offices. Patients, health care profes-
                                     sionals and members of the public voluntarily report events.
                                     How they report: Reporting is done in paper format via mail or fax. The National
                                     Board of Health and Welfare receives reports; approximately 1100 mandatory and
                                     2400 voluntary reports are received annually. The board investigates most reports
                                     and provides an analysis of incident causation; in all cases feedback is provided to
                                     the reporter.
                                     Analysis: Regional supervisory units of the NBHW receive reports and carry out
                                     inspections. In a limited number of cases reports are sent to the Medical respon-
                                     sibility board (HSAN), where certified health care personnel may be subject to
                                     disciplinary actions.
                                     Response, dissemination and application of results: The Board issues recommen-
                                     dations to influence statutes in order to promote patient safety.
                                       All reports to the NBHW are accessible to the public, but all personal data about
                                     any patients involved are confidential.

                                     United States of America

                                     Type of reporting system: The United States does not have a national governmental
                                     reporting system, but 21 of the 50 state governments operate mandatory reporting
                                     systems. Many of these have been in place for decades. All 21 mandate reporting
                                     of unexpected deaths, and several mandate reporting of wrong-site surgery. Beyond
                                     this, definitions of reportable events vary widely. Reports of serious events may trig-
                                     ger on-site investigations by state health departments. Less serious reports usually
                                     do not elicit a visible response. States cite insufficient staff as a barrier to follow-up,
                                     education, consultation, and oversight. Some degree of public disclosure occurs in
                                     all states, but the degrees of protection and methods of public release of information
                                     vary considerably.



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Private and non-government initiated systems

Australia -the Australian Incident Monitoring System (AIMS)

Type of reporting system: The Australian Incident Monitoring System (AIMS) was
founded in 1993, as an extension of the Anesthesia AIMS, formed in 1987. The
objectives of AIMS is to promote learning of new hazards, trends, risk factors and
contributing factors.
What is reported: AIMS is designed to receive a wide range of events, including pre-
defined "Sentinel" events, all adverse events, near misses, equipment failures, new
hazards, and specific events such as suicide and abduction. AIMS can accept and
classify incident information from any source including incident reports, sentinel
events, root cause analysis, coroner's findings, consumer reports, and morbidity and
mortality reviews.
   Deliberately unsafe, abusive or criminal acts are not reported to AIMS but to
mandatory reporting agencies.
Who reports: Reports are accepted from all sources, including hospitals, outpatient
facilities, emergency departments, aged care (long term care), community care, pro-
fessionals, patients and families, and anonymous sources.
   The system is voluntary and confidential. By law, AIMS databases have been
designated a formal quality assurance activity. This status confers protection from
legal disclosure; revealing or disseminating individually-identifying information
that becomes known solely as a result of safety and quality activities is a criminal
offense.
   Databases reside in a fully secure location with strictly limited access.
How they report: A single system (incorporating different forms) is used for all inci-
dents. Reports are submitted by paper, electronically, or by phone.
Analysis: The classification system in AIMS is perhaps the most highly developed of
any known reporting system, comprising more than a million permutations of terms
to describe an incident or adverse event. The purpose of the classification process
is to translate information about an incident into a common language and create an
electronic record that can be compared with other records and can be analysed
as part of a larger set of data. The latest classification is based on the Professor
Runciman's Generic Reference Model (GRM). The GRM is based on the Reason
model of complex system failure (2).
   The GRM has the components contributing factors (environmental, organiza-
tional, human, subject of incident, agents), details of the incident (type, component,
person involved, timing of the incident, timing of detection, method of detection,
preventability), factors minimizing or aggravating outcomes or consequences, and
outcomes for the patient and organization.
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                                       The GRM is implemented via Healthcare Incident Types (HITs). HITs are a series
                                    of cascading, hierarchically based questions and answers designed to "de-construct"
                                    the information in a way that facilitates subsequent analysis and learning.
                                       AIMS allows the reporter to deconstruct an incident into a very detailed data set
                                    that can be used for analysis, aggregation, and trending. Owing to the rich "natural
                                    categories" in the classification scheme, interrelationships among event types, risk
                                    factors, and contributing causes can be probed.
                                       A specific data module allows the user to develop a risk matrix to determine the
                                    severity of risk. Statistical correlations among the many elements in each category
                                    are explored to identify meaningful relationships and provide analysis that can gen-
                                    erate insights into the overall systems of care.
                                       AIMS has a hierarchically-based, completely customizable organization tree. All
                                    wards, departments, divisions, hospitals, health services, states or territories and
                                    nations can be represented. The organization tree has the potential for 13 levels.
                                       Incidents can be analysed at the organization level and below at which the
                                    analyst has security rights (security constraints prevent analysts querying incidents
                                    above the organization node where they security privileges).The organization tree
                                    structure allows the whole spectrum of analysis from local management of problems
                                    to aggregated analysis at a national level. The AIMS system is well equipped to pro-
                                    vide reports and queries on any term in the database, which makes it possible for
                                    institutions or departments to compare data.
                                    Response, dissemination and application of results: The Australian Patient Safety
                                    Foundation provides newsletters, publications, and advice at a system level. The
                                    Health Departments who use AIMS also distribute information in the form of news-
                                    letters and publications.
                                        Putting the information, trends, and recommendations into action is the responsi-
                                    bility of reporting facilities. Health care facilities and organizations are able to access
                                    AIMS findings from problem-specific task forces to lead patient safety initiatives.
                                    Further information: www.apsf.net.au

                                    Japan
                                    Type of reporting system: In japan, hospitals are mandated by the Ministry of Health,
                                    Labour and Welfare to have internal reporting systems. The japan Council for Quality
                                    Health Care collects voluntary incident reports and implemented a national report-
                                    ing system in 2004. Reporting to the new system is mandatory for teaching hospitals,
                                    voluntary for others
                                    Reporting systems exist on three levels; hospital or health facility; voluntary system
                                    in several different forms such as accreditation body for hospitals and a research
                                    group, and at national level which is mandatory.
                                    What is reported: Patient injuries, sometimes referred to as adverse events are
                                    reported along with near-misses and equipment failures.



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Who reports: Reports are received from hospitals or health care organizations.
How they report: Any hospital or healthcare organization can voluntarily report to
accrediting bodies. There is a mandatory requirement to report to the Japan Council
for Quality Health Care. Information is reported electronically.
Analysis: The Agency will provide analysis of incident causation and feedback of
analysis to the reporter. The data are classified and summary results are dissemi-
nated to healthcare providers and to the public.
Response, dissemination and application of results: Cases deemed particularly
important are evaluated individually. Otherwise, reports are aggregated for statisti-
cal analysis (further details not available). The Japan Council for Quality Health Care
produces summary reports of events and disseminates them to healthcare providers
and to the public.

U.S.A. - Institute for Safe Medication Practices (ISMP)
Type of reporting system: ISMP is a national, confidential medication error report-
ing system. that distributes hazard alerts and other medication safety information to
600,000 providers every other week.
What is reported: ISMP is a focused reporting system for adverse drug events and
hazards in medication delivery and management.
Who reports: Reports are accepted from health care professionals, organizations,
or patients.
How they report: Reports from organizations or professionals can be submitted
online, electronically, by telephone, mail, or fax.
Analysis: Over half of reporters are called back to elicit details about hazardous
medication packaging or devices information of brand name, model number, or a
photograph illustrating the problem This detailed information is extracted to enable
specific, direct and immediate influence on hazard reduction. Medication infor-
mation is classified according to 10 key elements. Hazard identification is done
by human expertise; a group of experts observes recurrent reports, works closely
together, and applies their knowledge to appreciate the urgency of a problem. Rapid
turnaround permits numerous hazard alerts, so that an overall analysis for prioritiza-
tion is unwarranted.
Response, dissemination and application of results: ISMP is engaged in numerous
actions to support hazard reduction, such as promoting maximum dose statements
on chemotherapy vial caps, elimination of pre-filled syringes for hazardous cardiac
medications, identification and reduction of hazardous medical abbreviations among
providers and pharmaceutical advertisements, and several other collaborations with
pharmaceutical companies, device manufacturers, and the United States FDA.
Further information: www.ismp.org
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                                     U.S.A- Joint Commission on Accreditation of Healthcare Organizations
                                      (JCAHO)

                                     Type of reporting system: The Joint Commission on Accreditation of Healthcare
                                     Organizations implemented a Sentinel Event Reporting System in 1996. The system
                                     is designed to facilitate identification and learning among healthcare organizations
                                     of sentinel events and their prevention strategies. The system is voluntary and con-
                                     fidential. Accreditation status is not penalized for any organization that reports an
                                     error and applies due process to its future prevention.

                                     What is reported: Reported sentinel events include: event has resulted in an unan-
                                     ticipated death or major permanent loss of function, not related to the natural course
                                     of the patient's illness or underlying condition, or the event is one of the following
                                     (even if the outcome was not death or major permanent loss of function unrelated
                                     to the natural course of the patient's illness or underlying condition): suicide of any
                                     individual receiving care, treatment or services in staffed around-the-clock care
                                     setting or within 72 hours of discharge; unanticipated death of a full-term infant;
                                     abduction of any individual receiving care, treatment or services; discharge of an
                                     infant to the wrong family; rape; hemolytic transfusion reaction involving administra-
                                     tion of blood or blood products having major blood group incompatibilities; surgery
                                     on the wrong individual or wrong body part; unintended retention of a foreign
                                     object in an individual after surgery or other procedure.

                                     Who reports: Reports are received from health care organizations and other sources
                                      such as media, complaints and the State Health Department.

                                      How they report:Any accredited healthcare organization may submit reports.
                                     Analysis: JCAHO require organizations to conduct a root cause analysis accom-
                                     panied by an action plan. JCAHO also require access to review the organization's
                                     response to the sentinel event (which may or may not include actually reviewing the
                                     RCA). Guidance on conducting root cause analysis is offered by JCAHO on their
                                     website or upon request. Although reporting is voluntary, providing a root cause
                                     analysis is required.
                                        Before the data describing the event, its root causes, and risk reduction strategies
                                     can be accepted into the database, the organization's response must meet certain
                                     defined criteria for acceptability.

                                      Response, dissemination and application of results: Using their database and col-
                                      laborating with experts, JCAHO periodically chooses a reported event type and
                                      develops a Sentinel Event Alert describing the events, causes, and strategies gath-
                                      ered from organizations for prevention. Publications began in 1998; to date 34 issues
                                      of Sentinel Event Alert have been published.
                                        The individual organization's action plan is monitored by the JCAHO in a manner
                                      similar to the monitoring of corrective actions of other quality concerns. On a
                                      broader scale, hospitals' responses to the "Sentinel Event Alerts" are considered




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during accreditation survey. The JCAHO have instituted National Patient Safety
Goals as an influential derivative of the Sentinel Event reporting process.
Further information: www.jcaho.org

U.S.A- United States Pharmacopoeia MedMARx 5M

Type of reporting system: MedMARx5M is a voluntary system designed to identify
hazards and systems vulnerabilities, identify best practices, and gather information
that will support the standard-setting activities of USP.
What is reported: Adverse drug events, near misses, and errors can all be submitted
to MedMARx 5M.
Who reports: MedMARx 5M accepts reports from healthcare professionals,organizati
ons, and patients. Since its introduction in 1998, over 900 healthcare facilities have
contributed over 630,000 medication error reports (Personal communication with
).Silverstone National Patient Safety Foundation email listserve, editor. 4-20-2004).
Currently, they receive approximately 20,000 reports each month (Personal com-
munication with D. Cousins 5-19-2004) or about 20 per month for each of their 900
healthcare facilities.
How they report: Reports can be submitted directly through a web-based portal,
submitted electronically, or by telephone, mail, and fax.
Analysis: Reports are entered into a database that can be searched and used to
count, sort, and correlate events.
Response, dissemination and application of results: USP analyzes the errors in
MedMARx 5M and provides an annual summary report. The database gathered by
the USP is provided to the US Food and Drug Administration. A research partner-
ship is underway with the Agency for Healthcare Research and Quality (AHRQ) to
study the data for further improvement opportunities.
Further information: www.medmarx.com



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                                     6. CHARACTERISTICS OF SUCCESSFUL
                                        REPORTING SYSTEMS
                                       Key messages

                                       A successful reporting and learning system to enhance patient safety should
                                       have the following characteristics:

                                       •     reporting is safe for the individuals who report;

                                       •     reporting leads to a constructive response;

                                       •     expertise and adequate financial resources are available to allow for
                                             meaningful analysis of reports;

                                       •    the reporting system must be capable of disseminating information on
                                            hazards and recommendations for changes.




                                    The ultimate measure of the success of a reporting system is whether the informa-
                                    tion it yields is used appropriately to improve patient safety. How that is done varies
                                    greatly according to the aims of its sponsor. While both learning and accountability
                                    systems seek to improve learning from mistakes, the fiduciary objectives of the latter
                                    impose an additional constraint: satisfying the public's interest in making sure that
                                    known mechanisms for injury prevention are being used (rules and safe practices)
                                    and that new hazards are promptly addressed when they are uncovered. This may
                                    require some departure from the following concepts, particularly regarding confi-
                                    dentiality and independence.

                                       Successful patient safety reporting systems have the following characteristics:
                                        • reporting must be safe for the individuals who report;
                                           • reporting is only of value if it leads to a constructive response, and
                                             meaningful analysis;
                                           • learning requires expertise and adequate financial resources. The agency
                                             that receives reports must be capable of disseminating information and
                                             making recommendations for changes, and informing the development of
                                             solutions.

                                       Table One lists the characteristics that have been identified by various authors
                                    as essential to the success of any reporting systems concerned with patient safety
                                    (1-4). Many of these characteristics are derived from long experience both in health
                                    care (for example, the Institute for Safe Medication Practice) and in other industries,
                                    particularly aviation. These essential characteristics are discussed below.



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Non-punitive. The most important characteristic for success of a patient safety
reporting system is that it must be non-punitive. Neither reporters nor others
involved in the incidents can be punished as a result of reporting. For public sys-
tems, this requirement is the most difficult to achieve, since the public often assumes
an individual is to blame, and there can be strong pressure to punish the "culprit".
While perhaps temporarily emotionally satisfying, this approach is doomed to fail.
People will not report any errors they can hide. It is important for national systems
to protect reporters from blame. The best way to do this is by keeping the reports
confidential.
Confidential. The identities of the patient and reporter must never be revealed to any
third party. At the institutional level, confidentiality also refers to not making public
specific information that can be used in litigation. Although, historically, breach of
confidentiality has not been a problem in public or private systems, concern about
disclosure is a major factor inhibiting reporting for many voluntary reporting pro-
grammes (5).
Independent. The reporting system must be independent of any authority with
the power to punish the reporter or organization with a stake in the outcome.
Maintaining a "firewall" between the reporting agency and the disciplinary agency
in a governmental system can be difficult, but it is essential if trust in reporting is to
be maintained.
Expert analysis. Reports must be evaluated by experts who understand the clinical
circumstances under which the incidents occur and who are trained to recognize
underlying systems causes. While it seems obvious that collecting data and not ana-
lysing it is of little value, the most common failure of governmentally run reporting
systems is to require reporting but not to provide the resources needed to analyse
the reports. Huge numbers of reports are collected only to sit in boxes or on com-
puters. Expertise is a major, and essential, resource requirement for any reporting
system.
Credible. The combination of independence and the use of content experts for
analysis is necessary if recommendations are to be accepted and acted upon.
Timely. Reports must be analysed without delay, and recommendations must be
promptly disseminated to those who need to know. When serious hazards are
identified, notification should take place rapidly. For example, the Institute for Safe
Medication Practice issues prompt alerts through its regular publication when new
hazards in drugs are discovered.
Systems-oriented. Recommendations should focus on changes in systems, proc-
esses or products, rather than being targeted at individual performance. This is a
cardinal principle of safety that must be reinforced by the nature of recommenda-
tions that come from any reporting system. It is based on the concept that even an
apparently egregious individual error results from systems defects, and will recur
with another person at another time if those systems defects are not remedied.
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                                           Responsive. For recommendations to result in widespread systems changes, the
                                           organization receiving reports must be capable of making and disseminating effec-
                                           tive recommendations, and target organizations must make a commitment to
                                           implement recommendations. A good example is the National Reporting and
                                           Learning System in England and Wales which allows the National Patient Safety
                                           Agency to develop new solutions that are disseminated throughout the system.
                                                                                                  Several of these characteristics are
Table 1 Characteristics of Successful Reporting Systems (7)                                    included among the attributes that
                                                                                               Runciman has proposed for national
 Non-punitive       Reporters are free from fear of retaliation against them-                  reporting and learning systems (6):
                    selves or punishment of others as a result of reporting.                 • an independent organization
 Confidential       The identities of the patient, reporter, and institution are               to coordinate patient safety
                    never revealed.                                                            survei Ilance;
 Independent        The reporting system is independent of any authority                     • agreed frameworks for patient
                    with power to punish the reporter or the organization.                     safety and surveillance systems;
 Expert analysis    Reports are evaluated by experts who understand the                      • common, agreed standards and
                    clinical circumstances and are trained to recognize un-                    terminology;
                    derlying systems causes.                                                 • a single, clinically useful
 Ttmely             Reports are analysed promptly and recommendations                          classification for things that go
                    are rapidly disseminated to those who need to know, es-                    wrong in health care;
                    pecially when serious hazards are identified.                            • a national repository for
 Systems-oriented   Recommendations focus on changes in systems, process-                      information covering all of
                    es, or products, rather than being targeted at individual                  health care from all available
                    performance.                                                               sources;
 Responsive         The agency that receives reports is capable of dissemi-                  • mechanisms for setting
                    nating recommendations. Participating organizations                        priorities at local, national and
                    commit to implementing recommendations whenever                            international levels;
                    possible.
                                                                                           • a just system which caters for
                                                                                             the rights of patients, society,
                                                  and health-care practitioners and facilities;
                                                • separate processes for accountability and "systems learnings";
                                                • the right to anonymity and legal privilege for reporters;
                                                • systems for rapid feedback and evidence of action;
                                                • mechanisms for involving and informing all stakeholders.




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                                     7. REQUIREMENTS FOR ANATIONAL
                                        ADVERSE EVENT REPORTING AND
                                        LEARNING SYSTEM
                                        Key messages

                                        Certain capacities are needed for all reporting systems, whether simple or
                                        complex. These are:
                                        •   clear objectives;
                                        •   clarity about who should report;

                                        •   clarity about what gets reported;
                                        •    mechanisms for receiving reports and managing the data;
                                        •   expertise for analysis;

                                        •   capacity to respond to reports;
                                        •   a method for classifying and making sense of reported events;

                                        •   the capacity to disseminate findings;
                                        •   technical infrastructure and data security.



                                     Before deciding whether to establish a national adverse event reporting and learn-
                                     ing system, states should carefully consider (i) what the objectives of the system
                                     are (ii) whether they can develop the capacity to respond to reports; and (iii) the
                                     resources that will be required. It is also important to decide the scope of what is to
                                     be reported and the data to be collected.
                                         Appendix 2 provides a quick reference checklist of issues to consider in develop-
                                      ing a reporting system.



                                     Objectives
                                     Ideally, the objectives of a reporting system emerge from the perceived needs of
                                     a patient safety programme. Reporting is a tool for obtaining safety information. A
                                     national reporting system, therefore, can usefully be regarded as a tool to advance
                                     public policy concerning patient safety. It should be an extension of a programme


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of quality improvement and error prevention. To be effective, learnings from the
analysis of reports must feed into a mechanism for developing and disseminating
changes in policy and practice that improve safety.

   If the commitment to improvement is weak, or if there is no infrastructure to
carry out implementation of changes, such as an agency charged with improving
safety, a reporting system will be of little value. Stating it simply, it is more important
to develop a response system than a reporting system. If there is a commitment
to improvement of patient safety and some infrastructure, but resources are scant,
alternative methods of identifying problem areas may be preferable (See Section 4).




Capacity to respond

Certain capacities are needed for all reporting systems, whether simple or com-
plex. These are a mechanism for receiying the reports and managing the data, some
capacity to get additional information, a technical infrastructure, a method for clas-
sifying events, expertise for analysis, and the capacity to disseminate findings.

Mechanism for collecting reports and database management

The optimal process for receiving, inputting, analysing, and disseminating reports
will vary according to the specific objectives and focus of an individual reporting
system. For example, a structured input can help with analysis, whereas story tell-
ing captures rich detail and context. Personal contact from phone calls or reading
written reports engages the receiver with each report, whereas direct electronic
transmission facilitates ease of use and direct database entry. Keeping in mind the
essential objectives of the reporting system and considering available types of tech-
nical support and overall resources will help developers determine which methods
are most suitable.

   When reports are received by mail, phone, or fax, front-line staff must have a
process for the initial sorting and triage of reports. Staff may be called upon to judge
whether a report can be entered directly into the database, or requires forwarding
to an internal expert for further understanding.

   One advantage of reports being received by individuals (as opposed to automatic
data transfer) is that staff may recognize that reports of certain types of events have
recurred and then query the database to confirm a trend. Reporting systems that
receive reports in this fashion require resources to perform data entry and manage
the integrity of the database for organizing identifying information about each
report.
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                                     Capacity to investigate

                                     Even with simple systems that focus primarily on recognizing hazards, resources
                                     should be available to support follow-up on reports, provide feedback to the reporter,
                                     and conduct at least a limited investigation when indicated. More sophisticated sys-
                                     tems will have the capacity to find out more about the context in which the event
                                     occurred and conduct a systems analysis or other process for understanding the
                                     clinical issues and systems flaws underlying the event. This may also require further
                                     discussions with the reporter or an on-site investigation. Experts who perform this
                                     function must be sufficiently familiar both with the clinical context and with systems
                                     principles to identify potential themes and extract the essential learnings from the
                                     event.

                                     Technical infrastructure

                                     The technical infrastructure required to support reporting systems may be very simple
                                     or quite sophisticated. Reporting systems that use phone, mail or fax require as a
                                     minimum an efficient method for communicating with internal or external experts,
                                     tracking the database and generating reports. Web-based systems offer ease of use
                                     to reporters and also eliminate the need for staff to do data entry. The technical
                                     infrastructure to enable entered reports to be downloaded into a database is most
                                     readily achieved with standardized data fields.
                                        Finally, all systems must provide technical support to users who may require
                                     assistance, whether with paper forms or on-line reporting functions.

                                     Method for classifying events

                                     There are three key factors in determining what classification system should be
                                     used:
                                         • the purpose of the reporting system, and thus the type of information
                                           desired and how the classification scheme will facilitate the purpose for
                                           which data are being collected;
                                          • the nature of the data available since underlying systems causes cannot
                                            be included in a classification scheme if those data are not reported;
                                          • Resources, bearing in mind that elaborate classification systems that
                                            require substantial expertise can be expensive.

                                         Reporting systems with predefined events may have a minimal classification
                                      scheme that sorts events into simple categories. Such a scheme yields a count and
                                      possibly trends but provides little opportunity for further analysis.
                                        A more sophisticated classification scheme will include categories such as causal
                                     factors, severity, probability of recurrence, and type of recovery. An ideal system
                                     will also obtain, and classify, information about contributing factors (see Section 3
                                     for a detailed discussion of classification systems).



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Expert analysis

Whether analysing relatively simple reports to identify and understand new haz-
ards, or searching for common underlying contributing factors in serious adverse
events, all reporting systems need experts who understand the content and context
of reported events. Experts determine whether reports are for identifying trends only,
require follow-up with the reporter for further information, should trigger an on-site
investigation, or herald an emerging hazard that warrants alerting the health-care
organizations.

  To provide meaningful recommendations, it is necessary to have experts who
understand the practice concerns, clinical significance, systems issues, and potential
preventive measures for the problems raised by the reports. Ultimately, it is human
experts who must translate the knowledge gleaned from aggregated reports into
meaningful recommendations for action to improve care.

Capacity to disseminate findings and recommendations

To fulfill their mission, reporting systems must communicate back to the commu-
nity from which the reports are received. Reports, newsletters, communications,
or alerts distill the meaning of aggregated reports into meaningful themes, identify
proposed actions to prevent harm, inform policy-makers of issues, broadcast solu-
tions and best practices, or alert pharmaceutical companies, device manufacturers,
or health-care providers to new hazards. This requires staff to write reports and
a mechanism to disseminate reports, such as large-scale mailings, press releases,
newsletters, or electronic bulletins.

  At a higher level, findings from the reporting system inform new safety initia-
tives that are generated and implemented by the appropriate authority. The National
Reporting and Learning System of England and Wales, for example, feeds informa-
tion and recommendations to the National Patient Safety Agency, which develops
initiatives and campaigns to implement solutions.

  While ultimately the effectiveness of a reporting system is measured by
improvements in clinical outcomes, an intermediary measure is the number of rec-
ommendations generated from analyses of reports.




Security issues

Whereas reports within a health-care organization often have rich detail and usu-
ally contain information that makes it possible to identify the people concerned, it
is important that such information is removed from external reports and de-identi-
fied to protect patients, providers and reporters. Confidentiality protection against
unauthorized access must be implemented with a data security system. This may
include a process for de-identifying reports upon their receipt or after a follow-up
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                                      investigation has occurred. A lock box or "firewall" may be indicated to protect
                                      against inadvertent data sharing with other parties or agencies. Data encryption
                                      methods are essential for web-based reporting systems. Data security systems also
                                      should have a mechanism for identifying breaches of security.




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8. RECOMMENDATIONS TO WHO
   MEMBER STATES
1. Adverse event reporting and learning systems should have as their main objec-
tive the improvement of patient safety through the identification of errors and
hazards which may warrant further analysis and investigation in order to identify
underlying systems factors.
2. When designing adverse event reporting and learning systems, the responsible
parties should clearly set out:
     • the objectives of the system
     • who should report
     • what gets reported
     • mechanisms for receiving reports and managing the data
     • sources of expertise for analysis
     • the response to reports
     • methods for classifying and making sense of reported events
     • ways to disseminate findings
     • technical infrastructure and data security.

3. Health-care workers and organizations should be encouraged to report a wide
range of safety information and events.
4. Health-care workers who report adverse events, near misses and other safety
concerns should not be punished as a result of reporting.
5. Reporting systems should be independent of any authority with power to
punish the reporter.
6.   The identities of reporters should not normally be disclosed to third parties.
7.   Reported events should be analysed in a timely way.
8. Reported events should be analysed by experts who understand the clinical
circumstances and care processes involved and who are trained to recognize under-
lying systems causes.
9. The entity that receives reports should be capable of making and disseminating
recommendations. Participating organizations should agree to implement recom-
mendations wherever possible.
10. Recommendations for preventative strategies should be rapidly disseminated,
especially when serious hazards are identified.
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                                          APPENDIX 1
                                          EXCERPT FROM INSTITUTE OF
                                          MEDICINE REPORT TO ERR IS
                                          HUMAN
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                                         System) © (2000) by the National Academy of Sciences, courtesy of
                                         the National Academies Press, Washington, D.C.




                                    Why Do Errors Happen?

                                    The common initial reaction when an error occurs is to find and blame someone.
                                    However, even apparently single events or errors are due most often to the conver-
                                    gence of multiple contributing factors. Blaming an individual does not change these
                                    factors and the same error is likely to recur. Preventing errors and improving safety
                                    for patients require a systems approach in order to modify the conditions that con-
                                    tribute to errors. People working in health care are among the most educated and
                                    dedicated workforce in any industry. The problem is not bad people; the problem is
                                    that the system needs to be made safer.
                                       This chapter covers two key areas. First, definitions of several key terms are offered.
                                    This is important because there is no agreed-upon terminology for talking about this
                                    issue. 1 Second, the emphasis in this chapter (and in this report generally) is about
                                    how to make systems safer; its primary focus is not on "getting rid of bad apples," or
                                    individuals with patterns of poor per-formance. The underlying assumption is that
                                    lasting and broad-based safety improvements in an industry can be brought about
                                    through a systems approach.
                                       Finally, it should be noted that although the examples may draw more from inpa-
                                    tient or institutional settings, errors occur in all settings. The concepts presented in
                                    this chapter are just as applicable to ambulatory care, home care, community phar-
                                    macies, or any other setting in which health care is delivered.
                                        This chapter uses a case study to illustrate a series of definitions and concepts
                                     in patient safety. After presentation of the case study, the chapter will define what
                                     comprises a system, how accidents occur, how human error contributes to acci-
                                     dents and how these elements fit into a broader concept of safety. The case study


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will be referenced to illustrate several of the concepts. The next section will examine
whether certain types of systems are more prone to accidents than others. Finally,
after a short discussion of the study of human factors, the chapter summarizes what
health care can learn from other industries about safety.



WHY DO ACCIDENTS HAPPEN?

Major accidents, such as Three Mile Island or the Challenger accident, grab people's
attention and make the front page of newspapers. Because they usually affect only
one individual at a time, accidents in health care delivery are less visible and dramatic
than those in other industries. Except for celebrated cases, such as Betsy Lehman
(the Boston Globe reporter who died from an overdose during chemotherapy) or
Willie King (who had the wrong leg amputated)/ they are rarely noticed. However,
accidents are a form of information about a system. 3 They represent places in which
the system failed and the breakdown resulted in harm.
   The ideas in this section rely heavily upon the work of Charles Perrow and
james Reason, among others. Charles
Perrow's analysis of the accidentat
Three Mile Island identified how sys-          An Illustrative Case in Patient Safety
tems can cause or prevent accidents. 4         Infusion devices are mechanical devices that administer intravenous solutions contain-
james Reason extended the thinking by          ing drugs to patients. A patient was undergoing a cardiac procedure. This patient had
analyzing multiple accidents to exam-          a tendency toward being hypertensive and this was known to the staff.
ine the role of systems and the human         As part of the routine set-up for surgerYt a nurse assembled three different infusion
contribution to accidents. 5 ''l\ system       devices. The nurse was a new member of the team in the operating room; she had just
is a set of interdependent elements            started working at the hospital a few weeks before. The other members of the team
interacting to achieve a common aim.           had been working together for at least six months. The nurse was being very careful
                                               when setting up the devices because one of them was a slightly different model than
The elements may be both human and
                                               she had used before.
non-human (equipment, technologies,
                                               Each infusion device administered a different medication that would be used during
etc.)."
                                                   surgery. For each medication, the infusion device had to be programmed according
   Systems can be very large and                   to how much medication would flow into the patient (calculated as "cc's/hour"). The
far-reaching, or they can be more                  medications had different concentrations and each required calculation of the correct
localized. In health care, a system can            dose for that specific patient. The correct cc's/hour were programmed into the infu-
be an integrated delivery system, a cen-           sion devices.
trally owned multihospital system, or a            The anesthesiologist, who monitors and uses the infusion devices during surgery, usu-

virtual system comprised of many dif-              ally arrived for surgery while the nurse was completing her set-up of the infusion
                                                   devices and was able to check them over. This particular morning, the anesthesiologist
ferent partners over a wide geographic
                                                   was running behind from a previous surgery. When he arrived in the operating room,
area. However, an operating room
                                                   the rest of the team was ready to start. The anesthesiologist quickly glanced at the set-
or an obstetrical unit is also a type of
                                                   up and accepted the report as given to him by the nurse.
system. Furthermore, any element in                One of the infusion devices was started at the beginning of surgery. About halfway
a system probably belongs to multiple              through the surgerYt the patient's blood pressure began to rise. The anesthesiologist
systems. For example, one operating
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                                                room is part of a surgical department, which is part of a hospital, which is part of
                                                a larger health care delivery system. The variable size, scope, and membership of
                                                systems make them difficult to analyze and understand.

                                                  In the case study, one of the systems used during surgery is the automated, medication
                                                  adminstration system, which includes the equipment, the people, their interactions with
                                                  each other and with the equipment, the procedures in place, and the physical design of
                                                  the surgical suite in which the equipment and people function.


                                                  When large systems fail, it is due to multiple faults that occur together in an unantici-
                                                pated interaction, 6 creating a chain of events in which the faults grow and evolve. 7 Their
                                                accumulation results in an accident. "An accident is an event that involves damage to a
                                                defined system that disrupts the ongoing or future output of that system." 8
                                                    The Challenger failed because of a combination of brittle 0-ring seals, unexpected
                                                  cold weather, reliance on the seals in the design of the boosters, and change in the
                                                  roles of the contractor and NASA. Individually, no one factor caused the event, but
                                                  when they came together, disaster struck. Perrow uses a DEPOSE (Design, Equipment
                                                                                                Procedures, Operators, Supplies and
                                                                                                materials, and Environment) frame-
tried to counteract this by starting one of the other infusion devices that had been set       work to identify the potential sources
up earlier. He checked the drip chamber in the intravenous (IV) tubing and did not             of failures. In evaluating the environ-
see any drips. He checked the IV tubing and found a closed clamp, which he opened.              ment, some researchers explicitly
At this point, the second device signaled an occlusion, or blockage, in the tubing by          include organizational design and
sounding an alarm and flashing an error message. The anesthesiologist found a closed           characteristics. 9
clamp in this tubing as well, opened it, pressed the re-start button and the device
resumed pumping without further difficulty. He returned to the first device that he
had started and found that there had been a free flow of fluid and medication to the             In the case study, the accident was a
patient, resulting in an overdose. The team responded appropriately and the patient              breakdown in the delivery of IV medi-
recovered without further incident.                                                              cationsduring surgery.
The case was reviewed two weeks later at the hospital's "morbidity and mortality"
committee meeting, where the hospital staff reviews cases that encountered a prob-
lem to identify what happened and how to avoid a recurrence.                                       The complex coincidences that
The IV tubing had been removed from the device and discarded. The bioengineering                 cause systems to fail could rarely have
service had checked the pump and found it to be functioning accurately. It was not               been foreseen by the people involved.
possible to determine whether the tubing had been inserted incorrectly into the device,          As a result, they are reviewed only in
whether the infusion rate had been set incorrectly or changed while the device was               hindsight; however, knowing the out-
in use, or whether the device had malfunctioned unexpectedly. The anesthesiologist               come of an event influences how we
was convinced that the tubing had been inserted incorrectly, so that when the clamp              assess past events. 10 Hindsight bias
was open the fluid was able to flow freely rather than being controlled by the infu-             means that things that were not seen or
sion device. The nurse felt the anesthesiologist had failed to check the infusion system         understood at the time of the accident
adequately before turning on the devices. Neither knew whether it was possible for an            seem obvious in retrospect. Hindsight
infusion device to have a safety mechansim built into it that would prevent free flows           bias also misleads a reviewer into
from happening.
                                                                                                 simplifying the causes of an accident,



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highlighting a single element as the cause and overlooking multiple contributing fac-
tors. Given that the information about an accident is spread over many participants,
none of whom may have complete information, 11 hindsight bias makes it easy to
arrive at a simple solution or to blame an individual, but difficult to determine what
really went wrong.

   Although many features of systems and accidents in other industries are also found
in health care, there are important differences. In most other industries, when an
accident occurs the worker and the company are directly affected. There is a saying
that the pilot is always the first at the scene of an airline accident. In health care, the
damage happens to a third party; the patient is harmed; the health professional or
the organization, only rarely. Furthermore, harm occurs to only one patient at a time;
not whole groups of patients, making the accident less visible.'

    In any industry, one of the greatest contributors to accidents is human error.
Perrow has estimated that, on average, 60-80 percent of accidents involve human
error. There is reason to believe that this is equally true in health. An analysis of
anesthesia found that human error was involved in 82 percent of preventable inci-
dents; the remainder involved mainly equipment failureY Even when equipment
failure occurs, it can be exacerbated by human errorP However, saying that an
accident is due to human error is not the same as assigning blame. Humans commit
errors for a variety of expected and unexpected reasons, which are discussed in
more detail in the next two sections.

Understanding Errors

The work of Reason provides a good understanding of errors. He defines an error
as the failure of a planned sequence of mental or physical activities to achieve
its intended outcome when these failures cannot be attributed to chance. 14 It is
important to note the inclusion of "intention." According to Reason, error is not
meaningful without the consideration of intention. That is, it has no meaning when
applied to unintentional behaviors because errors depend on two kinds of failure,
either actions do not go as intended or the intended action is not the correct one. In
the first case, the desired outcome may or may not be achieved; in the second case,
the desired outcome cannot be achieved.

    Reason differentiates between slips or lapses and mistakes. A slip or lapse occurs
when the action conducted is not what was intended. It is an error of execution. The
difference between a slip and a lapse is that a slip is observable and a lapse is not.


*    Public health has made an effort to eliminate the term, "accident," replacing it with
unintentional injuries, consistent with the nomenclature of the International Classification
of Diseases. However, this report is not focysed specifically on injury since an accident
may or may not result in injury. See Institute of Medicine, Reducing the Burden of Injury,
eds. Richard f. Bonnie, Carolyn Fulco and Catharyn Liverman. Washington, D.C., National
Academy Press, 1999).
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                                     For example, turning the wrong knob on a piece of equipment would be a slip; not
                                     being able to recall something from memory is a lapse.

                                        In a mistake, the action proceeds as planned but fails to achieve its intended
                                     outcome because the planned action was wrong. The situation might have been
                                     assessed incorrectly, and/or there could have been a lack of knowl- edge of the
                                     situation. In a mistake, the original intention is inadequate; a failure of planning is
                                     involved.

                                        In medicine, slips, lapses, and mistakes are all serious and can potentially harm
                                     patients. For example, in medicine, a slip might be involved if the physician chooses
                                     an appropriate medication, writes 10 mg when the intention was to write 1 mg. The
                                     original intention is correct (the correct medication was chosen given the patient's
                                     condition), but the action did not proceed as planned. On the other hand, a mistake
                                     in medicine might involve selecting the wrong drug because the diagnosis is wrong.
                                     In this case, the situation was misassessed and the action planned is wrong. If the
                                     terms "slip" and "mistake" are used, it is important not to equate slip with "minor."
                                     Patients can die from slips as well as mistakes. For this report, error is defined as
                                     the failure of a planned action to be completed as intended (e.g., error of execu-
                                     tion) or the use of a wrong plan to achieve an aim (e.g., error of planning). From
                                     the patient's perspective, not only should a medical intervention proceed properly
                                     and safely, it should be the correct intervention for the particular condition. This
                                     report addresses primarily the first concern, errors of execution, since they have their
                                     own epidemiology, causes, and remedies that are different from errors in planning.
                                     Subsequent reports from the Quality of Health Care in America project will consider
                                     the full range of quality-related issues, sometimes classified as overuse, underuse
                                     and misuse. 15

                                     latent and Active Errors

                                     In considering how humans contribute to error, it is important to distinguish between
                                     active and latent errors. 16 Active errors occur at the level of the frontline operator,
                                     and their effects are felt almost immediately. This is sometimes called the sharp
                                     end. 17 Latent errors tend to be removed from the direct control of the operator and
                                     include things such as poor design, incorrect installation, faulty maintenance, bad
                                     management decisions, and poorly structured organizations. These are called the
                                     blunt end. The active error is that the pilot crashed the plane. The latent error is that
                                     a previously undiscovered design malfunction caused the plane to roll unexpectedly
                                     in a way the pilot could not control and the plane crashed


                                        In the case study, the active error was the free flow of the medication from the infusion
                                        device.




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   Latent errors pose the greatest threat to safety in a complex system because they
are often unrecognized and have the capacity to result in multiple types of active
errors. Analysis of the Challenger accident traced contributing events back nine
years. In the Three Mile Island accident, latent errors were traced back two years. 18
Latent errors can be difficult for the people working in the system to notice since the
errors may be hidden in the design of routine processes in computer programs or in
the structure or management of the organization. People also become accustomed
to design defects and learn to work around them, so they are often not recognized.
    In her book about the Challenger explosion, Vaughan describes the "normal-
ization of deviance" in which small changes in behavior became the norm and
expanded the boundaries so that additional deviations became acceptable. 19 When
deviant events become acceptable, the potential for errors is created because signals
are overlooked or misinterpreted and accumulate without being noticed.
   Current responses to errors tend to focus on the active errors by punishing indi-
viduals (e.g., firing or suing them), retraining or other responses aimed at preventing
recurrence of the active error. Although a punitive response may be appropriate
in some cases (e.g., deliberate malfeasance), it is not an effective way to prevent
recurrence. Because large system failures represent latent failures coming together
in unexpected ways, they appear to be unique in retrospect. Since the same mix
of factors is unlikely to occur again, efforts to prevent specific active errors are not
likely to make the system any safer. 20

  In our case study, a number of latent failures were present:
  • Multiple infusion devices were used in parallel during this cardiac surgery. Three
  devices were set up, each requiring many steps. each step in the assembly presents a
  possibility for failure that could disrupt the entire system.
  • Each of the three different medications had to be programmed into the infusion
  device with the correct dose for that patient.
  • Possible scheduling problems in the operating suites may have contributed to the
  anesthesiologist having insufficient time to check the devices before surgery.
  • A new nurse on the team may have interrupted the "normal" flow between the team
  members, especially communication between the anesthesiologist and the nurse set-
  ting up the devices. There was no standardized list of checks between the nurse and
  anesthesiologist before starting the procedure.
  • Training of new team members may be insufficient since the nurse found her-
  self assembling a device that was a slightly different model. As a new employee,
  she may have been hesitant to ask for help or may not have known who to ask.



   Focusing on active errors lets the latent failures remain in the system, and their
accumulation actually makes the system more prone to future failure. 21 Discovering
and fixing latent failures, and decreasing their duration, are likely to have a greater
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                                     effect on building safer systems than efforts to minimize active errors at the point at
                                     which they occur.

                                       In the case study, a typical response would have been to retrain the nurse on how to
                                       assemble the equipment properly. However, this would have had no effect on weak-
                                       nesses in equipment design, team management and communications, scheduling
                                       problems, or orienting new staff. Thus, free flow errors would likely recur.




                                     Understanding Safety

                                     Most of this chapter thus far has drawn on Perrow's normal accident theory, which
                                     believes that accident are inevitable in certain systems. AI- though they may be
                                     rare, accidents are "normal" in complex, high technology industries. In contrast
                                     to studying the causes of accident and errors, other researchers have focused on
                                     the characteristics that make certain industries, such as military aircraft carriers or
                                     chemical processing, highly reliable. 22 High reliability theory believes that acci-
                                     dents can be prevented through good organizational design and management. 23
                                     Characteristics of highly reliable industries include an organizational commitment
                                     to safety, high levels of redundancy in personnel and safety measures, and a strong
                                     organizational culture for continuous learning and willingness to change. 24 Correct
                                     performance and error can be viewed as "two sides of the same coin."25 Although
                                     accidents may occur, systems can be designed to be safer so that accidents are very
                                     rare.
                                      The National Patient Safety Foundation has defined patient safety as the avoid-
                                    ance, prevention and amelioration of adverse outcomes or injuries stemming from
                                    the processes of health care. 26 Safety does not reside in a person, device or depart-
                                    ment, but emerges from the interactions of components of a system. Others have
                                    specifically examined pharmaceutical safety and defined it to include maximizing
                                    therapeutic benefit, reducing risk, and eliminating harm. 27 That is, benefit relates
                                    to risk. Other experts have also defined safety as a relative concept. Brewer and
                                    Colditz suggest that the acceptability of an adverse event d~pends on the serious-
                                    ness of the underlying illness and the availability of alternative treatments. 28 The
                                    committee's focus, however, was not on the patient's response to a treatment, but
                                    rather on the ability of a system to deliver care safely. From this perspective, the
                                    committee believes that there is a level of safety that can and should be ensured.
                                    Safety is relative only in that it continues to evolve over time and, when risks do
                                    become known, they become part of the safety requirements.
                                        Safety is more than just the absence of errors. Safety has multiple dimensions,
                                     including the following:
                                          • an outlook that recognizes that health care is complex and risky and that
                                            solutions are found in the broader systems context;



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    • a set of processes that identify, evaluate, and minimize hazards and are
      continuously improving, and
    • an outcome that is manifested by fewer medical errors and minimized
      risk or hazard. 29

   For this report, safety is defined as freedom from accidental injury. This simple
definition recognizes that from the patient's perspective, the primary safety goal is
to prevent accidental injuries. If an environment is safe, the risk of accidents is lower.
Making environments safer means looking at processes of care to reduce defects
in the process or departures from the way things should have been done. Ensuring
patient safety, therefore, involves the establishment of operational systems and proc-
esses that increase the reliability of patient care.



ARE SOME TYPES OF SYSTEMS MORE PRONE TO ACCIDENTS?
Accidents are more likely to happen in certain types of systems. When they do occur,
they represent failures in the way systems are designed. The primary objective of
systems design ought to be to make it difficult for accidents and errors to occur and
to minimize damage if they do occur. 30
   Perrow characterizes systems according to two important dimensions: complexity
and tight or loose coupling. 31 Systems that are more complex and tightly coupled
are more prone to accidents and have to be made more reliable. 32 1n Reason's words,
complex and tightly coupled systems can "spring nasty surprises."33
   In complex systems, one component of the system can interact with multiple other
components, sometimes in unexpected or invisible ways. Although all systems have
many parts that interact, the problem arises when one part serves multiple func-
tions because if this part fails, all of the dependent functions fail as well. Complex
systems are characterized by specialization and interdependency. Complex systems
also tend to have multiple feedback loops, and to receive information indirectly, and
because of specialization, there is little chance of substituting or reassigning person-
nel or other resources.
   In contrast to complex systems, linear systems contain interactions that are
expected in the usual and familiar production sequence. One component of the
system interacts with the component immediately preceding it in the production
process and the component following it. Linear systems tend to have segregated
subsystems, few feedback loops, and easy substitutions (less specialization).
   An example of complexity is the concern with year 2000 (Y2K) computer prob-
lems. A failure in one part of the system can unexpectedly interrupt other parts, and
all of the interrelated processes that can be affected are not yet visible. Complexity
is also the reason that changes in long-standing production processes must be made
cautiously. 34 When tasks are distributed across a team, for example, many interac-
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                                      tions that are critical to the process may not be noticed until they are changed or
                                      removed.
                                        Coupling is a mechanical term meaning that there is no slack or buffer between
                                     two items. Large systems that are tightly coupled have more timedependent proc-
                                     esses and sequences that are more fixed (e.g., y depends on x having been done).
                                     There is often only one way to reach a goal. Compared to tightly coupled systems,
                                     loosely coupled systems can tolerate processing delays, can reorder the sequence of
                                     production, and can employ alternative methods or resources.
                                         All systems have linear interactions; however, some systems additionally expe-
                                      rience greater complexity. Complex interactions contribute to accidents because
                                      they can confuse operators. Tight coupling contributes to accidents because things
                                      unravel too quickly and prevent errors from being intercepted or prevent speedy
                                      recovery from an event. 35 Because of complexity and coupling, small failures can
                                      grow into large accidents.

                                        In the case study, the medication adminstration system was both complex and tightly
                                        coupled. The complexity arises from three devices functioning simultaneously, in close
                                        proximity, and two having problems at the same time. The tight coupling arises from the
                                        steps involved in making the system work properly, from the steps required to assemble
                                        three devices, to the calculation of correct medication dosage levels, to the operation of
                                        multiple devices during surgery, to the responses when alarms start going off.


                                         Although there are not firm assignments, Perrow considered nuclear power plants,
                                      nuclear weapons handling, and aircraft to be complex, tightly coupled systems. 36
                                      Multiple processes are happening simultaneously, and failure in one area can inter-
                                      rupt another. Dams and rail transportation are considered tightly coupled because
                                      the steps in production are closely linked, but linear because there are few unex-
                                      pected interactions. Universities are considered complex, but loosely coupled, since
                                      the impact of a decision in one area can likely be limited to that area.
                                        Perrow did not classify health care as a system, but others have suggested that
                                     health care is complex and tightly coupled. 37 The activities in the typical emer-
                                     gency room, surgical suite, or intensive care unit exemplify complex and tightly
                                     coupled systems. Therefore, the delivery of health care services may be classified as
                                     an industry prone to accidents. 38
                                        Complex, tightly coupled systems have to be made more reliable. 39 One of the
                                     advantages of having systems is that it is possible to build in more defenses against
                                     failure. Systems that are more complex, tightly coupled, and are more prone to
                                     accidents can reduce the likelihood of accidents by simplifying and standardizing
                                     processes, building in redundancy, developing backup systems, and so forth.




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    Another aspect of making systems more reliable has to do with organizational
 design and team performance. Since these are part of activities within organizations,
 they are discussed in Chapter 8.

 Conditions That Create Errors

 Factors can intervene between the design of a system and the production process that
 creates conditions in which errors are more likely to happen. James Reason refers to
 these factors as psychological precursors or preconditions. 40 Although good mana-
 gerial decisions are required for safe and efficient production, they are not sufficient.
 There is also a need to have the right equipment, well-maintained and reliable; a
 skilled and knowledgeable workforce; reasonable work schedules, well-designed
 jobs; clear guidance on desired and undesired performance, et cetera. Factors such
 as these are the precursors or preconditions for safe production processes.
     Any given precondition can contribute to a large number of unsafe acts. For
  example, training deficiencies can show up as high workload, undue time pressure,
. inappropriate perception of hazards, or motivational difficulties. 41 Preconditions are
  latent failures embedded in the system. Designing safe systems means taking into
  account people's psychological limits and either seeking ways to eliminate the pre-
  conditions or intervening to minimize their consequences. Job design, equipment
  selection and use, operational procedures, work schedules, and so forth, are all
  factors in the production process that can be designed for safety.
    One specific type of precondition that receives a lot of attention is technology.
 The occurrence of human error creates the perception that humans are unreliable
 and inefficient. One response to this has been to find the unreliable person who
 committed the error and focus on preventing him or her from doing it again. Another
 response has been to increase the use of technology to automate processes so as to
 remove opportunities for. humans to make errors. The growth of technology over the
 past several decades has contributed to system complexity so this particular issue is
 highlighted here.
   Technology changes the tasks that people do by shifting the workload and elimi-
 nating human decision making. 42 Where a worker previously may have overseen an
 entire production process, he or she may intervene now only in the last few steps if
 the previous steps are automated. For example, flying an aircraft has become more
 automated, which has helped reduce workload during nonpeak periods. During
 peak times, such as take-off and landing, there may be more processes to monitor
 and information to interpret.
    Furthermore, tl}e operator must still do things that cannot be automated. This
 usually involves having to monitor automated systems for rare, abnormal events43
 because machines cannot deal with infrequent events in a constantly changing envi-
 ronment.44 Fortunately, automated systems rarely fail. Unfortunately, this means that
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                                      operators do not practice basic skills, so workers lose skills in exactly the activities
                                      they need in order to take over when something goes wrong.
                                        Automation makes systems more "opaque" to people who manage, maintain, and
                                     operate them. 45 Processes that a~e automated are less visible because machines
                                     intervene between the person and the task. For example, automation means that
                                     people have less hands-on contact with processes and are elevated to more super-
                                     visory and planning tasks. Direct information is filtered through a machine (e.g., a
                                     computer), and operators run the risk of having too much information to interpret or
                                     of not getting the right information.

                                        In the case study, the infusion device administered the medication and the professional
                                        monitored the process, intervening when problems arose. The medication administra-
                                        tion process was "opaque" in that the device provided no feedback to the user when
                                        the medication flowed freely and minimal feedback when the medication flow was
                                        blocked.



                                        One of the advantages of technology is that it can enhance human performance
                                     to the extent that the human plus technology is more powerful than either is alone. 46
                                     Good machines can question the actions of operators, offer advice, and examine a
                                     range of alternative possibilities that humans cannot possibly remember. In medicine,
                                     automated order entry systems or decision support systems have this aim. However,
                                     technology can also create new demands on operators. For example, a new piece
                                     of equipment may provide more precise measurements, but also demand better
                                     precision from the operator for the equipment to work properly. 47 Devices that have
                                     not been standardized, or that work and look differently, increase the likelihood of
                                     operator errors. Equipment may not be designed using human factors principles to
                                     account for the human-machine interface. 48

                                        In the case study, safer systems could have been designed by taking into consideration
                                        characteristics of how people use machines and interact with each other in teams.
                                        For example:
                                        • Redesign the devices to default to a safe mode
                                        • Reduce the difficulties of using multiple devices simultaneously
                                        • Minimize the variety of equipment models purchased
                                        • Implement clear procedures for checking equipment, supplies, etc., prior to beginning
                                        surgery
                                        • Orient and train new staff with the team(s) with which they will work
                                        • Provide a supportive environment for identifying and communicating about errors for
                                        organizational/earning and change to prevent errors.



                                        Technology also has to be recognized as a "member" of the work team. When
                                     technology shifts workloads, it also shifts the interactions between team members.



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Where processes may have been monitored by several people, technology can
permit the task to be accomplished by fewer people. This affects the distributed
nature of the job in which tasks are shared among several people and may influence
the ability to discover and recover from errors. 49
   In this context, technology does not involve just computers and information tech-
nology. It includes "techniques, drugs, equipment and procedures used by health
care professionals in delivering medical care to individuals and the systems within
which such care is delivered."50 Additionally, the use of the term technology is not
restricted to the technology employed by health care professionals. It can also
include people at home of differentages, visual abilities, languages, and so forth,
who must use different kinds of medical equipment and devices. As more care shifts
to ambulatory and home settings, the use of medical technology by non-health pro-
fessionals can be expected to take on increasing importance.



RESEARCH ON HUMAN FACTORS

Research in the area of human factors is just beginning to be applied to health care.
It borrows from the disciplines of industrial engineering and psychology. Human fac-
tors is defined as the study of the interrelationships between humans, the tools they
use, and the environment in which they live and work. 51
    In the context of this report, a human factors approach is used to under- stand
where and why systems or processes break down. This approach examines the proc-
ess of error, looking at the causes, circumstances, conditions, associated procedures
and devices and other factors connected with the event. Studying human perform-
ance can result in the creation of safer systems and the reduction of conditions
that lead to errors. However, not all errors are related to human factors. Although
equipment and materials should take into account the design of the way people use
them, human factors may not resolve instances of equipment breakdown or material
failure.
   Much of the work in human factors is on improving the human-system interface
by designing better systems and processes. 52 This might include, for example, sim-
plifying and standardizing procedures, building in redundancy to provide backup
and opportunities for recovery, improving communications and coordination within
teams, or redesigning equipment to improve the human-machine interface.
   Two approaches have typically been used in human factors analysis. The first
is critical incident analysis. Critical incident analysis examines a significant or piv-
otal occurrence to understand where the system broke down, why the incident
occurred, and the circumstances surrounding the incident. 53 Analyzing critical
incidents, whether or not the event actually leads to a bad outcome, provides an
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                                     understanding of the conditions that produced an actual error or the risk of error and
                                     contributing factors.


                                        In the case study, researchers with expertise in human factors could have helped the
                                        team investigate the problem. They could examine how the device performed under
                                        different circumstances (e.g., what the alarms and displays did when the medication
                                        flow changed), varying the setup and operation of the infusion device to observe how
                                        it performed under normal and abnormal conditions. They could observe how the staff
                                        used the particular infusion device during surgery and how they interacted with the use
                                        of multiple infusion devices.


                                        A critical incident analysis in anesthesia found that human error was involved
                                     in 82 percent of preventable incidents. The study identified the most frequent cat-
                                     egories of error and the riskiest steps in the process of administering anesthesia.
                                     Recommended corrective actions included such things as labeling and packaging
                                     strategies to highlight differences among anesthesiologists in the way they pre-
                                     pared their workspace, training issues for residents, work-rest cycles, how relief
                                     and replacement processes could be improved, and equipment improvements (e.g.,
                                     standardizing equipment in terms of the shape of knobs and the direction in which
                                     they turn).

                                        Another analytic approach is referred to as "naturalistic decision making."54 This
                                     approach examines the way people make decisions in their natural work settings. It
                                     considers all of the factors that are typically controlled for in a laboratory-type evalu-
                                     ation, such as time pressure, noise and other distractions, insufficient information,
                                     and competing goals. In this method, the researcher goes out with workers in vari-
                                     ous fields, such as firefighters or nurses, observes them in practice, and then walks
                                     them through to reconstruct various incidents. The analysis uncovers the factors
                                     weighed and the processes used in making decisions when faced with ambiguous
                                     information under time pressure.

                                        In terms of applying human factors research, David Woods of Ohio State University
                                     describes a process of reporting, investigation, innovation, and dissemination (David
                                     Woods, personal communication, December 17, 1998). Reporting or other means
                                     of identifying errors tells people where errors are occurring and where improve-
                                     ments can be made. The investigation stage uses human factors and other analyses
                                     to determine the contributing factors and circumstances that created the conditions
                                     in which errors could occur. The design of safer systems provides opportunities for
                                     innovation and working with early adopters to test out new approaches. Finally, dis-
                                     semination of innovation throughout the industry shifts the baseline for performance.
                                     The experience of the early adopters redefines what is possible and provides models
                                     for implementation. Aviation has long analyzed the role of human factors in per-
                                     formance. The Ames Research Center (part of the National Aeronautics and Space
                                     Administration) has examined areas related to information technology, automa.tion,



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and the use of simulators for training in basic and crisis skills, for example. Other
recent projects include detecting and correcting errors in flight; interruptions, dis-
tractions and lapses of attention in the cockpit; and designing information displays
to assist pilots in maintaining awareness of their situation during flight. 55




SUMMARY
The following key points can be summarized from this chapter.

1. Some systems are more prone to accidents than others because of the way the
   components are tied together. Health care services is a complex and technologi-
   cal industry prone to accidents.

2. Much can be done to make systems more reliable and safe. When large systems
   fail, it is due to multiple faults that occur together.

3. One of the greatest contributors to accidents in any industry including health
   care, is human error. However, saying that an accident is due to human error
   is not the same as assigning blame because most human errors are induced by
   system failures. Humans commit errors for a variety of known and complicated
   reasons.

4. Latent errors or system failures pose the greatest threat to safety in a complex
   system because they lead to operator errors. They are failures built into the
   system and present long before the active error. Latent errors are difficult for the
   people working in the system to see since they may be hidden in computers or
   layers of management and people become accustomed to working around the
   problem.

5. Current responses to errors tend to focus on the active errors. Although this may
   sometimes be appropriate, in many cases it is not an effective way to make
   systems safer. If latent failures remain unaddressed, their accumulation actually
   makes the system more prone to future failure. Discovering and fixing latent
   failures and decreasing their duration are likely to have a greater effect on build-
   ing safer systems than efforts to minimize active errors at the point at which they
   occur.

6. The application of human factors in other industries has successfully reduced
   errors. Health care has to look at medical error not as a special case of medicine,
   but as a special case of error, and to apply the theory and approaches already
   used in other fields to reduce errors and improve reliability. 5 6
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 32. Cook and Woods, 1994.
 33. Reason. 1990.
 34. Norman, 1993.
 35. Perrow, 1984.
 36. Perrow, 1984.
 37. Cook, Woods and Miller, 1998.
 3 8. On the other hand, in some places, the health system may be complex, but loosely coupled. For example,
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      ambulance to the emergency room to the outpatient clinic to home care. See Van Cott in Bogner, 1994.
 39. Cook and Woods, 1994.
 40. Reason, 1990.
 41. Reason, 1990.
 42. Cook and Woods, 1994.
 43. Reason, 1990.
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                                           APPENDIX 2
                                           CHECKLIST FOR DEVELOPING
                                           AREPORTING SYSTEM
                                     1. Clarify objectives
                                          • Learning
                                          • Accountability
                                          • Both

                                     2. What types of learning are the priorities?
                                        • Alerts regarding significant new hazards
                                         • Lessons learned by hospitals
                                        • Analysis of trends
                                        • Analysis of systems failures
                                         • Recommendations for best practices

                                     3. Voluntary or mandatory?
                                         • Voluntary
                                         • Mandatory

                                     4. Confidential or public disclosure?
                                         • Confidential
                                         • Public disclosure of individual reports
                                         • Public disclosure of analysis or trends

                                     5. What is the process for the reporting system?
                                         • What is reported?
                                         • Who can report?
                                         • How does one report?

                                     6. Is confidential information held secure?
                                          • Patient confidentiality
                                          • Reporter confidentiality
                                          • Organization confidentiality



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7. What is the data infrastructure?
    • Human receiver recognizing hazard reports
    • Simple spreadsheet
    • Relational database

8. What is the approach to classification?
    • By event type
    • By risk
    • By causation

9. What is the approach to analysis?
    • Hazard identification
    • Summaries and descriptions
    • Trend and cluster analysis
    • Correlations
    • Risk analysis
    • Causal analysis
    • Systems analysis

10. How will responses be generated and disseminated?
    • Acknowledgement to reporter
    • Alerts generated to organizations
    • Trends, themes, or best practices in periodic newsletters

11. Are there sufficient resources?
    • Mechanism for collecting reports
    • Database management
    • Capacity to investigate
    • Technical infrastructure
    • Method for classifying events
    • Expert analysis
    • Capacity to disseminate findings and recommendations
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          Guidance for Industry
                Good Pharmacovigilance
                     Practices and
                Pharmacoepidemiologic
                      Assessment

                          U.S. Department of Health and Human Services
                                   Food and Drug Administration
                         Center for Drug Evaluation and Research (CDER)
                        Center for Biologics Evaluation and Research (CBER)

                                           March 2005
                                         Clinical Medical




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          Guidance for Industry
                Good Pharmacovigilance
                     Practices and
                Pharmacoepidemiologic
                      Assessment
                                        Additional copies are available from:
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                                      Center for Drug Evaluation and Research
                                            Food and Drug Administration
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                              Guidance for lndustry 1
            Good Pharmacovigilance Practices and Pharmacoepidemiologic
                                   Assessment


      This guidance represents the Food and Drug Administration's (FDA's) current thinking on this topic. It
      does not create or confer any rights for or on any person and does not operate to bind FDA or the public.
      You can use an alternative approach ifthe approach satisfies the requirements ofthe applicable statutes
      and regulations. If you want to discuss an alternative approach, contact the FDA staff responsible for
      implementing this guidance. If you cannot identify the appropriate FDA staff, call the appropriate
      number listed on the title page of this guidance.




      I.       INTRODUCTION

      This document provides guidance to industry on good pharmacovigilance practices and
      pharmacoepidemiologic assessment of observational data regarding drugs, including biological
      drug products (excluding blood and blood components)? Specifically, this document provides
      guidance on (1) safety signal identification, (2) pharrnacoepidemiologic assessment and safety
      signal interpretation, and (3) pharrnacovigilance plan development.

      FDA's guidance documents, including this guidance, do not establish legally enforceable
      responsibilities. Instead, guidances describe the Agency's current thinking on a topic and should
      be viewed only as recommendations, unless specific regulatory or statutory requirements are
      cited. The use of the word should in Agency guidances means that something is suggested or
      recommended, but not required.


      II.      BACKGROUND




      1
        This guidance has been prepared by the PDUFA III Pharmacovigilance Working Group, which includes members
      from the Center for Drug Evaluation and Research (CDER) and the Center for Biologics Evaluation and Research
      (CBER) at the Food and Drug Administration.
      2
        For ease of reference, this guidance uses the term product or drug to refer to all products (excluding blood and
      blood components) regulated by CDER and CBER. Similarly, for ease of reference, this guidance uses the term
      approval to refer to both drug approval and biologic licensure.

     Paperwork Reduction Act Public Burden Statement: This guidance contains information collection provisions
     that are subject to review by the Office of Management and Budget (OMB) under the Paperwork Reduction Act of
     1995 (PRA) (44 U.S.C. 3501-3520). The collection(s) of information in this guidance were approved under OMB
     Control No. 0910-0001 (until March 31, 2005) and 0910-0338 (until August 31, 2005).

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                A.      PDUFA Ill's Risk Management Guidance Goal

      On June 12, 2002, Congress reauthorized, for the second time, the Prescription Drug User Fee
      Act (PDUF A III). In the context of PDUF A III, FDA agreed to satisfy certain performance
      goals. One of those goals was to produce guidance for industry on risk management activities
      for drug and biological products. As an initial step towards satisfying that goal, FDA sought
      public comment on risk management. Specifically, FDA issued three concept papers. Each
      paper focused on one aspect of risk management, including (1) conducting premarketing risk
      assessment, (2) developing and implementing risk minimization tools, and (3) performing
      postmarketing pharmacovigilance and pharmacoepidemiologic assessments. In addition to
      receiving numerous written comments regarding the three concept papers, FDA held a public
      workshop on April9- 11,2003, to discuss the concept papers. FDA considered all of the
      comments received in developing three draft guidance documents on risk management activities.
      The draft guidance documents were published on May 5, 2004, and the public was provided with
      an opportunity to comment on them until July 6, 2004. FDA considered all of the comments
      received in producing the final guidance documents.

      1.       Premarketing Risk Assessment (Premarketing Guidance)
      2.       Development and Use of Risk Minimization Action Plans (RiskMAP Guidance)
      3.       Good Pharmacovigilance Practices and Pharmacoepidemiologic Assessment
               (Pharmacovigilance Guidance)

                B.     Overview of the Risk Management Guidances

     Like the concept papers and draft guidances that preceded them, each of the three final guidance
     documents focuses on one aspect of risk management. The Premarketing Guidance and the
     Pharmacovigilance Guidance focus on premarketing and postmarketing risk assessment,
     respectively. The Risk:MAP Guidance focuses on risk minimization. Together, risk assessment
     and risk minimization form what FDA calls risk management. Specifically, risk management is
     an iterative process of (1) assessing a product's benefit-risk balance, (2) developing and
     implementing tools to minimize its risks while preserving its benefits, (3) evaluating tool
     effectiveness and reassessing the benefit-risk balance, and (4) making adjustments, as
     appropriate, to the risk minimization tools to further improve the benefit-risk balance. This four-
     part process should be continuous throughout a product's lifecycle, with the results of risk
     assessment informing the sponsor's decisions regarding risk minimization.

     When reviewing the recommendations provided in this guidance, sponsors and applicants should
     keep the following points in mind:

           •    Many recommendations in this guidance are not intended to be generally applicable to all
                products.

                Industry already performs risk assessment and risk minimization activities for products
                during development and marketing. The Federal Food, Drug, and Cosmetic Act (FDCA)
                and FDA implementing regulations establish requirements for routine risk assessment
                and risk minimization (see e.g., FDA requirements for professional labeling, and adverse

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                 event monitoring and reporting). As a result, many of the recommendations presented
                 here focus on situations when a product may pose a clinically important and unusual type
                 or level of risk. To the extent possible, we have specified in the text whether a
                 recommendation is intended for all products or only this subset of products.

             •   It is of critical importance to protect patients and their privacy during the generation of
                 safety data and the development of risk minimization action plans.

                 During all risk assessment and risk minimization activities, sponsors must comply with
                 applicable regulatory requirements involving human subjects research and patient
                 privacy.3

             •   To the extent possible, this guidance conforms with FDA's commitment to harmonize
                 international definitions and standards as appropriate.

                 The topics covered in this guidance are being discussed in a variety of international
                 forums. We are participating in these discussions and believe that, to the extent possible,
                 the recommendations in this guidance reflect current thinking on related issues.

             •   When planning risk assessment and risk minimization activities, sponsors should
                 consider input from health care participants likely to be affected by these activities (e.g.,
                 from consumers, pharmacists and pharmacies, physicians, nurses, and third party payers).

             •   There are points of overlap among the three guidances.

                 We have tried to note in the text of each guidance when areas of overlap occur and when
                 referencing one of the other guidances might be useful.



      III.       THE ROLE OF PHARMACOVIGILANCE AND PHARMACOEPIDEMIOLOGY
                 IN RISK MANAGEMENT

      Risk assessment during product development should be conducted in a thorough and rigorous
      manner; however, it is impossible to identify all safety concerns during clinical trials. Once a
      product is marketed, there is generally a large increase in the number of patients exposed,
      including those with co-morbid conditions and those being treated with concomitant medical
      products. Therefore, postmarketing safety data collection and risk assessment based on
      observational data are critical for evaluating and characterizing a product's risk profile and for
      making informed decisions on risk minimization.


      3
        See 45 CFR part 46 and 21 CFR parts 50 and 56. See also the Health Insurance Portability and Accountability Act
      of 1996 (HIPAA) (Public Law 104-191) and the Standards for Privacy oflndividually Identifiable Health
      Information (the Privacy Rule) (45 CFR part 160 and subparts A and E of part 164). The Privacy Rule specifically
      permits covered entities to report adverse events and other information related to the quality, effectiveness, and
      safety ofFDA-regulated products both to manufacturers and directly to FDA (45 CFR 164.512(b)(l)(i) and (iii), and
      45 CFR 164.512(a)(l)). For additional guidance on patient privacy protection, see http://www.hhs.gov/ocr/hipaa.

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      This guidance document focuses on pharmacovigilance activities in the post-approval period.
      This guidance uses the term pharmacovigilance to mean all scientific and data gathering
      activities relating to the detection, assessment, and understanding of adverse events. This
      includes the use of pharmacoepidemiologic studies. These activities are undertaken with the
      goal of identifying adverse events and understanding, to the extent possible, their nature,
      frequency, and potential risk factors.

      Pharmacovigilance principally involves the identification and evaluation of safety signals. In
      this guidance document, safety signal refers to a concern about an excess of adverse events
      compared to what would be expected to be associated with a product's use. Signals can arise
      from postmarketing data and other sources, such as preclinical data and events associated with
      other products in the same pharmacologic class. It is possible that even a single well-
      documented case report can be viewed as a signal, particularly if the report describes a positive
      rechallenge or if the event is extremely rare in the absence of drug use. Signals generally
      indicate the need for further investigation, which may or may not lead to the conclusion that the
      product caused the event. After a signal is identified, it should be further assessed to determine
      whether it represents a potential safety risk and whether other action should be taken.

      IV.       IDENTIFYING AND DESCRIBING SAFETY SIGNALS: FROM CASE
                REPORTS TO CASE SERIES

     Good pharrnacovigilance practice is generally based on acquiring complete data from
     spontaneous adverse event reports, also known as case reports. The reports are used to develop
     case series for interpretation.

                A.     Good Reporting Practice

     Spontaneous case reports of adverse events submitted to the sponsor and FDA, and reports from
     other sources, such as the medical literature or clinical studies, may generate signals of adverse
     effects of drugs. The quality of the reports is critical for appropriate evaluation of the
     relationship between the product and adverse events. FDA recommends that sponsors make a
     reasonable attempt to obtain complete information for case assessment during initial contacts and
     subsequent follow-up, especially for serious events,4 and encourages sponsors to use trained
     health care practitioners to query reporters. Computer-assisted interview technology, targeted
     questionnaires, or other methods developed to target specific events can help focus the line of
     questioning. When the report is from a consumer, it is often important to obtain permission to
     contact the health care practitioner familiar with the patient's adverse event to obtain further
     medical information and to retrieve relevant medical records, as needed.




     4
       Good reporting practices are extensively addressed in a proposed FDA regulation and guidance documents. See
     (1) Safety Reporting Requirements for Human Drug and Biological Products, Proposed Rule, 68 FR 12406 (March
     14, 2003), (2) FDA guidance for industry on Postmarketing Reporting ofAdverse Experiences, (3) FDA guidance
     for industry on E2C Clinical Safety Data Management: Periodic Safety Update Report (PSUR), (4) FDA guidance
     for industry on Postmarketing Adverse Experience Reporting for Human Drug and Licensed Biological Products:
     Clarification of What to Report.

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      FDA suggests that the intensity and method of case follow-up be driven by the seriousness of the
      event reported, the report's origin (e.g., health care practitioner, patient, literature), and other
      factors. FDA recommends that the most aggressive follow-up efforts be directed towards serious
      adverse event reports, especially of adverse events not known to occur with the drug.

                B.     Characteristics of a Good Case Report

      Good case reports include the following elements:

          1. Description of the adverse events or disease experience, including time to onset of signs
             or symptoms;

          2. Suspected and concomitant product therapy details (i.e., dose, lot number, schedule,
             dates, duration), including over-the-counter medications, dietary supplements, and
             recently discontinued medications;

         3. Patient characteristics, including demographic information (e.g., age, race, sex), baseline
            medical condition prior to product therapy, co-morbid conditions, use of concomitant
            medications, relevant family history of disease, and presence of other risk factors;

         4. Documentation of the diagnosis of the events, including methods used to make the
            diagnosis;

         5. Clinical course of the event and patient outcomes (e.g., hospitalization or death); 5

         6. Relevant therapeutic measures and laboratory data at baseline, during therapy, and
            subsequent to therapy, including blood levels, as appropriate;

         7. Information about response to dechallenge and rechallenge; and

         8. Any other relevant information (e.g., other details relating to the event or information on
            benefits received by the patient, if important to the assessment of the event).

     For reports of medication errors, good case reports also include full descriptions ofthe following,
     when such information is available:

         I. Products involved (including the trade (proprietary) and established (proper) name,
            manufacturer, dosage form, strength, concentration, and type and size of container);

         2. Sequence of events leading up to the error;

         3. Work environment in which the error occurred; and

         4. Types of personnel involved with the error, type(s) of error, and contributing factors.
     5
      Patient outcomes may not be available at the time of initial reporting. In these cases, follow-up reports can convey
     important information about the course of the event and serious outcomes, such as hospitalization or death.

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      FDA recommends that sponsors capture in the case narrative section of a medication error report
      all appropriate information outlined in the National Coordinating Council for Medication Error
      Reporting and Prevention (NCC MERP) Taxonomy. 6 Although sponsors are not required to use
      the taxonomy, FDA has found the taxonomy to be a useful tool to categorize and analyze reports
      of medication errors. It provides a standard language and structure for medication error-related
      data collected through reports.

                C.       Developing a Case Series

      FDA suggests that sponsors initially evaluate a signal generated from postmarketing spontaneous
      reports through a careful review of the cases and a search for additional cases. Additional cases
      could be identified from the sponsor's global adverse event databases, the published literature,
      and other available databases, such as FDA's Adverse Event Reporting System (AERS) or
      Vaccine Adverse Events Reporting System (VAERS), using thorough database search strategies
      based on updated coding terminology (e.g., the Medical Dictionary for Regulatory Activities
      (MedDRA)). When available, FDA recommends that standardized case definitions (i.e., formal
      criteria for including or excluding a case) be used to assess potential cases for inclusion in a case
      series. 7 In general, FDA suggests that case-level review occur before other investigations or
      analyses. FDA recommends that emphasis usually be placed on review of serious, unlabeled
      adverse events, although other events may warrant further investigation (see section IV .F. for
      more details).

      As part of the case-level review, FDA suggests that sponsors evaluate individual case reports for
      clinical content and completeness, and follow up with reporters, as necessary. It is important to
      remove any duplicate reports. In assessing case reports, FDA recommends that sponsors look for
      features that may suggest a causal relationship between the use of a product and the adverse
      event, including:

            1. Occurrence of the adverse event in the expected time (e.g., type 1 allergic reactions
               occurring within days of therapy, cancers developing after years of therapy);

            2. Absence of symptoms related to the event prior to exposure;

            3. Evidence of positive dechallenge or positive rechallenge;

           4. Consistency of the event with the established pharmacological/toxicological effects ofthe
              product, or for vaccines, consistency with established infectious or immunologic
              mechanisms of injury;

           5. Consistency of the event with the known effects of other products in the class;



     6
         See http://www.nccmerp.org for the definition of a medication error and taxonomy of medication errors.
     7
         See, for example, Institute of Medicine (IOM) Immunization Safety Review on Vaccines and Autism, 2004.

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           6. Existence of other supporting evidence from preclinical studies, clinical trials, and/or
              pharmacoepidemiologic studies; and

          7. Absence of alternative explanations for the event (e.g., no concomitant medications that
             could contribute to the event; no co- or pre-morbid medical conditions).

      Confounded cases are common, especially among patients with complicated medical conditions.
      Confounded cases (i.e., cases with adverse events that have possible etiologies other than the
      product of concern) could still represent adverse effects of the product under review. FDA
      recommends that sponsors carefully evaluate these cases and not routinely exclude them.
      Separate analyses ofunconfounded cases may be useful.

      For any individual case report, it is rarely possible to know with a high level of certainty whether
      the event was caused by the product. To date, there are no internationally agreed upon standards
      or criteria for assessing causality in individual cases, especially for events that often occur
      spontaneously (e.g. stroke, pulmonary embolism). Rigorous pharmacoepidemiologic studies,
      such as case-control studies and cohort studies with appropriate follow-up, are usually employed
      to further examine the potential association between a product and an adverse event.

      FDA does not recommend any specific categorization of causality, but the categories probable,
      possible, or unlikely have been used previously .8 If a causality assessment is undertaken, FDA
      suggests that the causal categories be specified and described in sufficient detail to understand
      the underlying logic in the classification.

      If the safety signal relates to a medication error, FDA recommends that sponsors report all
      known contributing factors that led to the event. A number of references are available to assist
      sponsors in capturing a complete account of the event.9 FDA recommends that sponsors follow
      up to the extent possible with reporters to capture a complete account of the event, focusing on
      the medication use systems (e.g., prescribing/order process, dispensing process, administration
      process). This data may be informative in developing strategies to minimize future errors.

                 D.    Summary Descriptive Analysis of a Case Series

      In the event that one or more cases suggest a safety signal warranting additional investigation,
      FDA recommends that a case series be assembled and descriptive clinical information be
      summarized to characterize the potential safety risk and, if possible, to identify risk factors. A
      case series commonly includes an analysis of the following:

          1. The clinical and laboratory manifestations and course of the event;


      8
        See World Health Organization, the Uppsala Monitoring Center, 2000, Safety Monitoring of Medicinal Product,
      for additional categorizations of causality.
      9
       See Cohen MR (ed), 1999, Medication Errors, American Pharmaceutical Association, Washington DC; Cousins
      DD (ed), 1998, Medication Use: A Systems Approach to Reducing Errors, Joint Commission on Accreditation of
      Healthcare Organizations, Oakbrook Terrace, IL.

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          2. Demographic characteristics of patients with events (e.g., age, gender, race);

          3. Exposure duration;

          4. Time from initiation of product exposure to the adverse event;

          5. Doses used in cases, including labeled doses, greater than labeled doses, and overdoses;

          6. Use of concomitant medications;

          7. The presence of co-morbid conditions, particularly those known to cause the adverse
             event, such as underlying hepatic or renal impairment;

          8. The route of administration (e.g., oral vs. parenteral);

          9. Lot numbers, if available, for products used in patients with events; and

          10. Changes in event reporting rate over calendar time or product life cycle.

          E.      Use of Data Mining to Identify Product-Event Combinations

     At various stages of risk identification and assessment, systematic examination of the reported
     adverse events by using statistical or mathematical tools, or so-called data mining, can provide
     additional information about the existence of an excess of adverse events reported for a product.
     By applying data mining techniques to large adverse event databases, such as FDA's AERS or
     VAERS, it may be possible to identify unusual or unexpected product-event combinations
     warranting further investigation. Data mining can be used to augment existing signal detection
     strategies and is especially useful for assessing patterns, time trends, and events associated with
     drug-drug interactions. Data mining is not a tool for establishing causal attributions between
     products and adverse events.

     The methods of data mining currently in use usually generate a score comparing ( 1) the fraction
     of all reports for a particular event (e.g., liver failure) for a specific drug (i.e., the "observed
     reporting fraction") with (2) the fraction of reports for the same particular event for all drugs
     (i.e.,"the expected reporting fraction"). 10 This analysis can be refined by adjusting for aspects of
     reporting (e.g., the reporting year) or characteristics of the patient (e.g., age or gender) that might
     influence the amount of reporting. In addition, it may be possible to limit data mining to an
     analysis for drugs of a specific class or for drugs that are used to treat a particular disease.

     The score (or statistic) generated by data mining quantifies the disproportionality between the
     observed and expected values for a given product-event combination. This score is compared to
     a threshold that is chosen by the analyst. A potential excess of adverse events is operationally
     defined as any product-event combination with a score exceeding the specified threshold. When

     10
       Evans SJ, 2000, Phannacovigilance: A science or fielding emergencies? Statistics in Medicine 19(23):3199-209;
     Evans SJW, Waller PC, and Davis S, 2001, Use of proportional reporting ratios (PRRs) for signal generation from
     spontaneous adverse drug reaction reports, Pharmacoepidemiology and Drug Safety 10:483-6.

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      applying data mining to large databases (such as AERS), it is not unusual for a product to have
      several product-event combinations with scores above a specified threshold. The lower the
      threshold, the greater the likelihood that more combinations will exceed the threshold and will
      warrant further investigation.

      Several data mining methods have been described and may be worth considering, such as the
      Multi-Item Gamma Poisson Shrinker (MGPS) algorithm 11 •12• the Proportional Reporting Ratio
      (PRR) method 13 •14and the Neural Network approach. 15 Except when the observed number of
      cases with the drug event combination is small (e.g., less than 20) or the expected number of
      cases with the drug event combination is < I, the MGPS and PRR methods will generally
      identify similar drug event combinations for further investigation. 16

     Although all of these approaches are inherently exploratory or hypothesis generating, they may
     provide insights into the patterns of adverse events reported for a given product relative to other
     products in the same class or to all other products. FDA exercises caution when making such
     comparisons, because voluntary adverse event reporting systems such as AERS or VAERS are
     subject to a variety of reporting biases (e.g., some observations could reflect concomitant
     treatment, not the product itself, and other factors, including the disease being treated, other co-
     morbidities or unrecorded confounders, may cause the events to be reported). In addition, AERS
     or V AERS data may be affected by the submission of incomplete or duplicate reports, under-
     reporting, or reporting stimulated by publicity or litigation. As reporting biases may differ by
     product and change over time, and could change differently for different events, it is not possible
     to predict their impact on data mining scores.

     Use of data mining techniques is not a required part of signal identification or evaluation. If data
     mining results are submitted to FDA, they should be presented in the larger appropriate clinical
     epidemiological context. This should include (1) a description of the database used, (2) a
     description of the data mining tool used (e.g., statistical algorithm, and the drugs, events and

     n DuMouchel Wand Pregibon D, 2001, Empirical Bayes screening for multi-item associations, SeventhACM
     SigKDD International Conference on Knowledge Discovery and Data Mining.
     12
       Szarfman A, Machado SG, and O'Neill RT, 2002, Use of screening algorithms and computer systems to
     efficiently signal higher-than-expected combinations of drugs and events in the US FDA's spontaneous reports
     database, Drug Safety 25(6): 381-92.
     13
        Evans SJW, Waller P, and Davis S, 1998, Proportional reporting ratios: the uses of epidemiological methods for
     signal generation [abstract], Pharmacoepidemiology and Drug Safety 7:8102.
     14
       Evans SJ, 2000, Pharmacovigilance: A science or fielding emergencies? Statistics in Medicine 19(23):3199-209;
     Evans SJW, Waller PC, and Davis S, 2001, Use of proportional reporting ratios (PRRs) for signal generation from
     spontaneous adverse drug reaction reports, Pharmacoepidemiology and Drug Safety 10:483-6.
     15
        Bate A et al., 1998, A Bayesian neural network method for adverse drug reaction signal generation, European
     Journal ofClinical Pharmacology 54:315-21.
     16
       This conclusion is based on the experience of FDA and of William DuMouchel, Ph.D., Chief Scientist, Lincoln
     Technologies, Wellsley, MA, as summarized in an email communication from Dr. DuMouchel to Ana Szarfman,
     M.D., Ph.D., Medical Officer, OPaSS, CDER, on October 13, 2004.


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      stratifications selected for the analyses) or an appropriate reference, and (3) a careful assessment
      of individual case reports and any other relevant safety information related to the particular drug-
      event combination of interest (e.g., results from preclinical, clinical, pharmacoepidemiologic, or
      other available studies).

                   F.      Safety Signals That May Warrant Further Investigation

      FDA believes that the methods described above will permit a sponsor to identify and
      preliminarily characterize a safety signal. The actual risk to patients cannot be known from these
      data because it is not possible to characterize all events definitively and because there is
      invariably under-reporting of some extent and incomplete information about duration of therapy,
      numbers treated, etc. Safety signals that may warrant further investigation may include, but are
      not limited to, the following:

              1.        New unlabeled adverse events, especially if serious;

             2.         An apparent increase in the severity of a labeled event;

             3.         Occurrence of serious events thought to be extremely rare in the general population;

             4.         New product-product, product-device, product-food, or product-dietary supplement
                        interactions;

             5.         Identification of a previously unrecognized at-risk population (e.g., populations with
                        specific racial or genetic predispositions or co-morbidities);

             6.         Confusion about a product's name, labeling, packaging, or use;

             7.         Concerns arising from the way a product is used (e.g., adverse events seen at higher
                        than labeled doses or in populations not recommended for treatment);

             8.         Concerns arising from potential inadequacies of a currently implemented risk
                        minimization action plan (e.g., reports of serious adverse events that appear to reflect
                        failure of a RiskMAP goal); 17 and

             9.         Other concerns identified by the sponsor or FDA.

             G.         Putting the Signal into Context: Calculating Reporting Rates vs. Incidence
                        Rates

     If a sponsor determines that a concern about an excess of adverse events or safety signal warrants
     further investigation and analysis, it is important to put the signal into context. For this reason,
     calculations of the rate at which new cases of adverse events occur in the product-exposed
     population (i.e., the incidence rate) are the hallmark ofpharmacoepidemiologic risk assessment.

     17
          For a detailed discussion of risk minimization action plan evaluation, please consult the RiskMAP Guidance.

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      In pharmacoepidemiologic studies (see section V.A), the numerator (number of new cases) and
      denominator (number of exposed patients and time of exposure or, if known, time at risk) may be
      readily ascertainable. In contrast, for spontaneously reported events, it is not possible to identifY
      all cases because of under-reporting, and the size of the population at risk is at best an estimate.
      Limitations in national denominator estimates arise because:

                 1.     Accurate national estimates of the number of patients exposed to a medical product
                        and their duration of exposure may not be available;

                 2.     It may be difficult to exclude patients who are not at risk for an event, for example,
                        because their exposure is too brief or their dose is too low; 18 and

                 3.     A product may be used in different populations for different indications, but use
                        estimates are not available for the specific population of interest.

     Although we recognize these limitations, we recommend that sponsors calculate crude adverse
     event reporting rates as a valuable step in the investigation and assessment of adverse events.
     FDA suggests that sponsors calculate reporting rates by using the total number of spontaneously
     reported cases in the United States in the numerator and estimates of national patient exposure to
                                             °
     product in the denominator. 19•2 FDA recommends that whenever possible, the number of
     patients or person time exposed to the product nationwide be the estimated denominator for a
     reporting rate. FDA suggests that other surrogates for exposure, such as numbers of
     prescriptions or kilograms of product sold, only be used when patient-level estimates are
     unavailable. FDA recommends that sponsors submit a detailed explanation of the rationale for
     selection of a denominator and a method of estimation.

     Comparisons of reporting rates and their temporal trends can be valuable, particularly across
     similar products or across different product classes prescribed for the same indication. However,
     such comparisons are subject to substantial limitations in interpretation because ofthe inherent
     uncertainties in the numerator and denominator used. As a result, FDA suggests that a
     comparison of two or more reporting rates be viewed with extreme caution and generally
     considered exploratory or hypothesis-generating. Reporting rates can by no means be considered
     incidence rates, for either absolute or comparative purposes.

     To provide further context for incidence rates or reporting rates, it is helpful to have an estimate
     of the background rate of occurrence for the event being evaluated in the general population or,
     ideally, in a subpopulation with characteristics similar to that of the exposed population (e.g.,
     premenopausal women, diabetics). These background rates can be derived from: (1) national
     health statistics, (2) published medical literature, or (3) ad hoc studies, particularly of

     18
        See Current Challenges in Pharmacovigilance: Pragmatic Approaches, Report of the Council for International
     Organizations ofMedical Sciences (CIOMS) Working Group V, Geneva, 2001.
     19
       See Rodriguez EM, Staffa JA, Graham DJ, 2001, The role of databases in drug postmarketing surveillance,
     Pharmacoepidemiology and Drug Safety, 10:407-10.
     20
          In addition to U.S. reporting rates, sponsors can provide global reporting rates, when relevant.

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      subpopulations, using large automated databases or ongoing epidemiologic investigations with
      primary data collection. FDA suggests that comparisons of incidence rates or reporting rates to
      background rate estimates take into account potential differences in the data sources, diagnostic
      criteria, and duration of time at risk.

      While the extent of under-reporting is unknown, it is usually assumed to be substantial and may
      vary according to the type of product, seriousness of the event, population using the product, and
      other factors. As a result, a reporting rate higher than the background rate may, in some cases,
      be a strong indicator that the true incidence rate is sufficiently high to be of concern. However,
      many other factors affect the reporting of product-related adverse events (e.g., publicity, newness
      of product to the market) and these factors should be considered when interpreting a high
      reporting rate. Also, because of under-reporting, the fact that a reporting rate is less than the
      background rate does not necessarily show that the product is not associated with an increased
      risk of an adverse event.

     V.      BEYOND CASE REVIEW: INVESTIGATING A SIGNAL THROUGH
             OBSERVATIONAL STUDIES

     FDA recognizes that there are a variety of methods for investigating a safety signal. Signals
     warranting additional investigation can be further evaluated through carefully designed non-
     randomized observational studies of the product's use in the "real world" and randomized trials.
     The Premarketing Guidance discusses a number of types of randomized trials, including the
     large simple safety study, which is a risk assessment method that could be used either pre- or
     post-approval.

     This document focuses on three types of non-randomized observational studies: (1)
     pharmacoepidemiologic studies, (2) registries, and (3) surveys. By focusing this guidance on
     certain risk assessment methods, we do not intend to advocate the use of these approaches over
     others. FDA encourages sponsors to consider all methods to evaluate a particular safety signal.
     FDA recommends that sponsors choose the method best suited to the particular signal and
     research question of interest. Sponsors planning to evaluate a safety signal are encouraged to
     communicate with FDA as their plans progress.

             A.       Pharmacoepidemiologic Studies

     Pharmacoepidemiologic studies can be of various designs, including cohort (prosgective or
     retrospective), case-control, nested case-control, case-crossover, or other models. 1 The results
     of such studies may be used to characterize one or more safety signals associated with a product,
     or may examine the natural history of a disease or drug utilization patterns. Unlike a case series,
     a pharmacoepidemiologic study which is designed to assess the risk attributed to a drug exposure
     has a protocol and control group and tests prespecified hypotheses. Pharmacoepidemiologic
     studies can allow for the estimation of the relative risk of an outcome associated with a product,
     and some (e.g., cohort studies) can also provide estimates of risk (incidence rate) for an adverse

     21
        Guidelines for Good Pharmacoepidemiology,, International Society for Pharmacoepidemiology, 2004
     {http://www.pharmacoepi.org/resources/guidelines_08027 .cfm)


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      event. Sponsors can initiate phannacoepidemiologic studies at any time. They are sometimes
      started at the time of initial marketing, based on questions that remain after review of the
      premarketing data. More often, however, they are initiated when a safety signal has been
      identified after approval. Finally, there may also be occasions when a phannacoepidemiologic
      study is initiated prior to marketing (e.g., to study the natural history of disease or patterns of
      product use, or to estimate background rates for adverse events).

      For uncommon or delayed adverse events, phannacoepidemiologic studies may be the only
      practical choice for evaluation, even though they can be limited by low statistical power.
      Clinical trials are impractical in almost all cases when the event rates of concern are less
      common than 1:2000-3000 (an exception may be larger trials conducted for some vaccines,
      which could move the threshold to 1:1 0,000). It may also be difficult to use clinical trials: ( 1) to
      evaluate a safety signal associated with chronic exposure to a product, exposure in populations
      with co-morbid conditions, or taking multiple concomitant medications, or (2) to identify certain
      risk factors for a particular adverse event. On the other hand, for evaluation of more common
      events, which are seen relatively often in untreated patients, clinical trials may be preferable to
      observational studies.

     Because pharmacoepidemiologic studies are observational in nature, they may be subject to
     confounding, effect modification, and other bias, which may make results of these types of
     studies more difficult to interpret than the results of clinical trials. Some of these problems can
     be sunnounted when the relative risk to exposed patients is high.

     Because different products pose different benefit-risk considerations (e.g., seriousness of the
     disease being treated, nature and frequency of the safety signal under evaluation), it is impossible
     to delineate a universal set of criteria for the point at which a phannacoepidemiologic study
     should be initiated, and the decision should be made on a case-by-case basis. When an important
     adverse event-product association leads to questions on the product's benefit-risk balance, FDA
     recommends that sponsors consider whether the particular signal should be addressed with one
     or more pharmacoepidemiologic studies. If a sponsor determines that a pharmacoepidemiologic
     study is the best method for evaluating a particular signal, the design and size of the proposed
     study would depend on the objectives of the study and the expected frequency of the events of
     interest.

     When performing a pharmacoepidemiologic study, FDA suggests that investigators seek to
     minimize bias and to account for possible confounding. Confounding by indication is one
     example of an important concern in performing a pharmacoepidemiologic study?2 Because of
     the effects of bias, confounding, or effect modification, phannacoepidemiologic studies
     evaluating the same hypothesis may provide different or eyen conflicting results. It is almost
     always prudent to conduct more than one study, in more than one environment and even use
     different designs. Agreement of the results from more than one study helps to provide
     reassurance that the observed results are robust.

     22
       See, for example, Strom BL (ed), 2000, Pharmacoepidemiology, 3'd edition, Chichester: John Wiley and Sons,
     Ltd; Hartzema AG, Porta M, and Tilson HH (eds), 1998, Pharmacoepidemiology: An Introduction, 3rd edition,
     Cincinnati, OH: Harvey Whitney Books.


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      There are a number of references describing methodologies for pharmacoepidemiologic studies,
      discussing their strengths and limitations/3 and providing guidelines to facilitate the conduct,
      interpretation, and documentation of such studies.24 Consequently, this guidance document does
      not comprehensively address these topics. However, a protocol for a pharmacoepidemiologic
      study generally includes:

             1.    Clearly specified study objectives;
             2.    A critical review of the literature; and
             3.    A detailed description ofthe research methods, including:
                   • the population to be studied;
                   • the case definitions to be used;
                   • the data sources to be used (including a rationale for data sources if from outside
                      the U.S.);
                   • the projected study size and statistical power calculations; and
                   • the methods for data collection, management, and analysis.

     Depending on the type of pharmacoepidemiologic study planned, there are a variety of data
     sources that may be used, ranging from the prospective collection of data to the use of existing
     data, such as data from previously conducted clinical trials or large databases. In recent years, a
     number of pharmacoepidemiologic studies have been conducted in automated claims databases
     (e.g., HMO, Medicaid) that allow retrieval of records on product exposure and patient outcomes.
     In addition, recently, comprehensive electronic medical record databases have also been used for
     studying drug safety issues. Depending on study objectives, factors that may affect the choice of
     databases include the following:

           1.     Demographic characteristics of patients enrolled in the health plans (e.g., age,
                  geographic location);

            2.    Turnover rate of patients in the health plans;

            3.    Plan coverage ofthe medications of interest;

            4.    Size and characteristics of the exposed population available for study;

            5.    Availability of the outcomes of interest;

            6.    Ability to identify conditions of interest using standard medical coding systems (e.g.,
                  International Classification of Diseases (ICD-9)), procedure codes or prescriptions that
                  could be used as markers;


     23
          Ibid.
     24
       Guidelines for Good Pharmacoepidemiology, International Society forPharmacoepidemiology, 2004
     (http:/lwww .pharmacoepi.org/resources/guidelines 08027.c:fin).


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              7.        Access to medical records; and

              8.        Access to patients for data not captured electronically.

      For most pharmacoepidemiologic studies, FDA recommends that sponsors validate diagnostic
      findings through a detailed review of at least a sample of medical records. If the validation of the
      specific outcome or exposure of interest using the proposed database has been previously
      reported, FDA recommends that the literature supporting the validity ofthe proposed study be
      submitted for review.

      FDA encourages sponsors to communicate with the Agency when pharmacoepidemiologic
      studies are being developed.

                   B.      Registries

      The term registry as used in pharmacovigilance and pharmacoepidemiology can have varied
      meanings. In this guidance document, a registry is "an organized system for the collection,
      storage, retrieval, analysis, and dissemination of information on individual persons exposed to a
      specific medical intervention who have either a particular disease, a condition (e.g., a risk factor)
      that predisposes [them] to the occurrence of a health-related event, or prior exposure to
      substances (or circumstances) known or suspected to cause adverse health effects."25 Whenever
      possible, a control or comparison group should be included, (i.e., individuals with a disease or
      risk factor who are not treated or are exposed to medical interventions other than the intervention
      of interest). 26

      Through the creation of registries, a sponsor can evaluate safety signals identified from
      spontaneous case reports, literature reports, or other sources, and evaluate factors that affect the
      risk of adverse outcomes, such as dose, timing of exposure, or patient characteristics.Z7
      Registries can be particularly useful for:

              1.        Collecting outcome information not available in large automated databases; and

             2.         Collecting information from multiple sources (e.g., physician records, hospital
                        summaries, pathology reports, vital statistics), particularly when patients receive care
                        from multiple providers over time.

     A sponsor can initiate a registry at any time. It may be appropriate to initiate the registry at or
     before initial marketing, when a new indication is approved, or when there is a need to evaluate


      25
        See Frequently Asked Questions About Medical and Public Health Registries, The National Committee on Vital
      and Health Statistics, at http://www.ncvhs.hhs.gov.
     26
        See for example, FDA Guidance for Industry, Establishing Pregnancy Exposure Registries, August 2002
     http://www .fda.gov/cder/guidance/3626fnl.pdf.
     27
           Ibid.

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      safety signals identified from spontaneous case reports. In deciding whether to establish a
      registry, FDA recommends that a sponsor consider the following factors:

            1.        The types of additional risk information desired;
            2.        The attainability of that information through other methods; and
            3.        The feasibility of establishing the registry.

     Sponsors electing to initiate a registry should develop written protocols that provide: (1)
     objectives for the registry, (2) a review of the literature, and (3) a summary of relevant animal
     and human data. FDA suggests that protocols also contain detailed descriptions of: (1) plans for
     systematic patient recruitment and follow-up, (2) methods for data collection, management, and
     analysis, and (3) conditions under which the registry will be terminated. A registry-based
     monitoring system should include carefully designed data collection forms to ensure data quality,
     integrity, and validation of registry findings against a sample of medical records or through
     interviews with health care providers. FDA recoinmends that the size of the registry and the
     period during which data will be collected be consistent with the safety questions under study
     and we encourage sponsors to discuss their registry development plans with FDA.

                 C.       Surveys

     Patient or health care provider surveys can gather information to assess, for example:

            1.        A safety signal;

            2.        Knowledge about labeled adverse events;

            3.        Use of a product as labeled, particularly when the indicated use is for a restricted
                      population or numerous contraindications exist;

            4.        Compliance with the elements of a RiskMAP (e.g., whether or not a Medication
                      Guide was provided at the time of product dispensing); and 28

            5.        Confusion in the practicing community over sound-alike or look-alike trade (or
                      proprietary) names.

     Like a registry, a survey can be initiated by a sponsor at any time. It can be conducted at the
     time of initial marketing (i.e., to fulfill a postmarketing commitment) or when there is a desire to
     evaluate safety signals identified from spontaneous case reports.

     FDA suggests that sponsors electing to initiate a survey develop a written protocol that provides
     objectives for the survey and a detailed description of the research methods, including: (1)
     patient or provider recruitment and follow-lf, (2) projected sample size, and (3) methods for
     data collection, management, and analysis? FDA recommends that a survey-based monitoring

     28
          For a detailed discussion ofRiskMAP evaluation, please consult the RiskMAP Guidance.
     29
          See 21 CFR parts 50 and 56 for FDA's regulations governing the protection of human subjects.

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      system include carefully designed survey instruments and validation of survey findings against a
      sample of medical or pharmacy records or through interviews with health care providers,
      whenever possible. FDA recommends that survey instruments be validated or piloted before
      implementation. FDA suggests that sponsors consider whether survey translation and cultural
      validation would be important.

      Sponsors are encouraged to discuss their survey development plans with FDA.

      VI.        INTERPRETING SAFETY SIGNALS: FROM SIGNAL TO POTENTIAL
                 SAFETY RISK

      After identifying a safety signal, FDA recommends that a sponsor conduct a careful case level
      review and summarize the resulting case series descriptively. To help further characterize a
      safety signal, a sponsor can also: (1) employ data mining techniques, and (2) calculate reporting
      rates for comparison to background rates. Based on these findings and other available data (e.g.,
      from preclinical or other sources), FDA suggests that a sponsor consider further study (e.g.,
      observational studies) to establish whether or not a potential safety risk exists.

     When evaluation of a safety signal suggests that it may represent a potential safety risk, FDA
     recommends that a sponsor submit a synthesis of all available safety information and analyses
     performed, ranging from preclinical findings to current observations. This submission should
     include the following:

            1.     Spontaneously reported and published case reports, with denominator or exposure
                   information to aid interpretation;

            2.     Background rate for the event in general and specific patient populations, if available;

            3.     Relative risks, odds ratios, or other measures of association derived from
                   pharmacoepidemiologic studies;

            4.     Biologic effects observed in preclinical studies and pharmacokinetic or
                   pharmacodynamic effects;

            5.     Safety findings from controlled clinical trials; and

            6.     General marketing experience with similar products in the class.

     After the available safety information is presented and interpreted, it may be possible to assess
     the degree of causality between use of a product and an adverse event. FDA suggests that the
     sponsor's submission provide an assessment of the benefit-risk balance of the product for the
     population of users as a whole and for identified at-risk patient populations, and, if appropriate,
     (1) propose steps to further investigate the signal through additional studies, and (2) propose risk




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      minimization actions. 3 FDA will make its own assessment of the potential safety risk posed by
      the signal in question, taking into account the information provided by the sponsor and any
      additional relevant information known to FDA (e.g., information on other products in the same
      class) and will communicate its conclusions to the sponsor whenever possible. Factors that are
      typically considered include:

            1.     Strength of the association (e.g., relative risk of the adverse event associated with the
                   product);

          2.       Temporal relationship of product use and the event;

          3.       Consistency of findings across available data sources;

          4.       Evidence of a dose-response for the effect;

          5.       Biologic plausibility;

          6.       Seriousness of the event relative to the disease being treated;

          7.       Potential to mitigate the risk in the population;

          8.       Feasibility of further study using observational or controlled clinical study designs;
                   and

          9.       Degree of benefit the product provides, including availability of other therapies.

     As noted in section II, risk management is an iterative process and steps to further investigate a
     potential safety risk, assess the product's benefit-risk balance, and implement risk minimization
     tools would best occur in a logical sequence, not simultaneously. Not all steps may be
     recommended, depending on the results of earlier steps. 31 FDA recommends that assessment of
     causality and of strategies to minimize product risk occur on an ongoing basis, taking into
     account the findings from newly completed studies.

     VII.        BEYOND ROUTINE PHARMACOVIGILANCE: DEVELOPING A
                 PHARMACOVIGILANCE PLAN

     For most products, routine pharmacovigilance (i.e., compliance with applicable postmarket
     requirements under the FDCA and FDA implementing regulations) is sufficient for
     postmarketing risk assessment. However, in certain limited instances, unusual safety risks may
     become evident before approval or after a product is marketed that could suggest that
     consideration by the sponsor of a pharmacovigilance plan may be appropriate. A

     30
        In the vast majority of cases, risk communication that incorporates appropriate language into the product's
     labeling will be adequate for risk minimization. In rare instances, however, a sponsor may consider implementing a
     RiskMAP. Please refer to the RiskMAP Guidance for a complete discussion ofRiskMAP development.
     31
        For additional discussion of the relationship between risk assessment and risk minimization, please consult the
     RiskMAP Guidance.

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      pharmacovigilance plan is a plan developed by a sponsor that is focused on detecting new safety
      risks and/or evaluating already identified safety risks. Specifically, a pharmacovigilance plan
      describes pharrnacovigilance efforts above and beyond routine postmarketing spontaneous
      reporting, and is designed to enhance and expedite the sponsor's acquisition of safety
      information. 32 The development ofpharmacovigilance plans may be useful at the time of
      product launch or when a safety risk is identified during product marketing. FDA recommends
      that a sponsor's decision to develop a pharrnacovigilance plan be based on scientific and
      logistical factors, including the following:

             1.      The likelihood that the adverse event represents a potential safety risk;

            2.       The frequency with which the event occurs (e.g., incidence rate, reporting rate, or
                     other measures available);

            3.       The severity of the event;

            4.       The nature of the population(s) at risk;

            5.       The range of patients for which the product is indicated (broad range or selected
                     populations only); and

            6.       The method by which the product is dispensed (through pharmacies or performance
                     linked systems only).33

     A pharrnacovigilance plan may be developed by itself or as part of a Risk Minimization Action
     Plan (RiskMAP), as described in the RiskMAP Guidance. Sponsors may meet with
     representatives from the appropriate Office ofNew Drugs review division and the Office of Drug
     Safety in CDER, or the appropriate Product Office and the Division of Epidemiology, Office of
     Biostatistics and Epidemiology in CBER regarding the specifics of a given product's
     pharrnacovigilance plan.

     FDA believes that for a product without safety risks identified pre- or post-approval and for
     which at-risk populations are thought to have been adequately studied, routine spontaneous
     reporting will be sufficient for postmarketing surveillance. On the other hand,
     pharmacovigilance plans may be appropriate for products for which: (1) serious safety risks have
     been identified pre- or post-approval, or (2) aHisk populations have not been adequately studied.



     32
        As used in this document, the term "pharmacovigilance plan" is defined differently than in the ICH draft E2E
     document (version 4.1). As used in the ICH document, a "pharmacovigilance plan" would be routinely developed
     (i.e., even when a sponsor does not anticipate that enhanced pharmacovigilance efforts are necessary). In contrast,
     as discussed above, FDA is only recommending that pharmacovigilance plans be developed when warranted by
     unusual safety risks. This ICH guidance is available on the Internet at http://www.fda.gov/cder/guidance/index.htm
     under the topic ICH Efficacy. The draft E2E guidance was made available on March 30,2004 (69 FR 16579). ICH
     agreed on the final version of the E2E guidance in November, 2004.
     33
          For a detailed discussion of controlled access systems, please consult the RiskMAP Guidance.

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      Sponsors may discuss with the Agency the nature of the safety concerns posed by such a product
      and the determination whether a pharmacovigilance plan is appropriate.

      A pharmacovigilance plan could include one or more of the following elements:

             I.      Submission of specific serious adverse event reports in an expedited manner beyond
                     routine required reporting (i.e., as I 5-day reports);

            2.       Submission of adverse event report summaries at more frequent, prespecified
                     intervals (e.g., quarterly rather than annually);

            3.       Active surveillance to identify adverse events that may or may not be reported
                     through passive surveillance. Active surveillance can be (1) drug based: identifying
                     adverse events in patients taking certain products, (2) setting based: identifying
                     adverse events in certain health care settings where they are likely to present for
                     treatment (e.g., emergency departments, etc.), or (3) event based: identifying adverse
                     events that are likely to be associated with medical products (e.g., acute liver failure);

            4.       Additional pharmacoepidemiologic studies (for example, in automated claims
                     databases or other databases) using cohort, case-control, or other appropriate study
                     designs (see section V);

            5.       Creation of registries or implementation of patient or health care provider surveys
                     (see section V); and

            6.       Additional controlled clinical trials. 34
                                                     \
     As data emerges, FDA recommends that a sponsor re-evaluate the safety risk and the
     effectiveness of its pharmacovigilance plan. Such re-evaluation may result in revisions to the
     pharmacovigilance plan for a product. In some circumstances, FDA may decide to bring
     questions on potential safety risks and pharmacovigilance plans before its Drug Safety and Risk
     Management Advisory Committee or the FDA Advisory Committee dealing with the specific
     product in question. Such committees may be convened when FDA seeks: (I) general advice on
     the design of pharmacoepidemiologic studies, (2) comment on specific pharmacoepidemiology
     studies developed by sponsors or FDA for a specific product and safety question, or (3) advice
     on the interpretation of early signals from a case series and on the need for further investigation
     in pharmacoepidemiologic studies. While additional information is being developed, sponsors
     working with FDA can take interim actions to communicate information about potential safety
     risks (e.g., through labeling) to minimize the risk to users of the product.




     34
          For a discussion of risk assessment in controlled clinical trials, please consult the Premarketing Guidance.

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                1      IN THE UNITED STATES DISTRICT COURT
                2    FOR THE EASTERN DISTRICT OF NEW JERSEY
                3
                4

                     IN RE:  BENICAR                     CIVIL ACTION
                5    (Olmesartan) PRODUCT
                     LIABILITY LITIGATION                NO. 15-2606
                6                                        (RBK) (JS)

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                                  February 28, 2017
           10


           11                 PROTECTED INFORMATION
           12                         Oral deposition of
                    SUSAN HUFTLESS, Ph.D., taken pursuant to
           13       notice, was held at the law offices of
                    Venable, LLP, 750 East Pratt Street,
          ' 14      Suite 900, Baltimore, Maryland, beginning
                    at 8:36a.m., on the above date, before
           15       Michelle L. Gray, a Registered
                    Professional Reporter, Certified
           16       Shorthand Reporter, Certified Realtime
                    Reporter, and Notary Public.
           17
           18
           19
                            GOLKOW TECHNOLOGIES, INC.
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            1        APPEARANCES:          ( Cont 'd.)
            2

                     ALSO PRESENT:
            3

                         Amy Klug (Daiichi-Sankyo)
       i    4             (Via telephone)
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             1   would be fixed as one, a yes, one point.
             2                     Number 3,       "Did the adverse
        i
        I    3   reaction improve when the drug was
             4   discontinue or specific antagonist was
             5   administered?"         I'm sorry.        That was
             6   about temporality.           Number 3 is about
        i    7   dechallenge.        That would also receive a
        I    8   score of one.
             9                     The next question, Number 4,
        i   10   is about rechallenge.             "Did the adverse
            11   event reappear when the drug was
            12   readministered?"          That would be given a
            13   score of two.
            14                     Question Number 5, "Are
            15   there alternative causes other than the
            16   drug that could on their own have caused
        ' 17     a reaction?"        This is one of the items
            18   that would be assessed using the three
            19   questions that I mentioned about
        '2o      comorbidities, medications, and
            21   allergies.       That's an unknown at this
            22   point, no score yet.
            23
        i
                                   Question Number 6, "Did the
        i 24
        I
                 reaction reappear when placebo was
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             1   given?"     This is when we're really                                                                 _
             2   getting to the point where I'm finding it
             3   hard to apply Naranjo because this just
             4   doesn't apply, because the manufacturer
             5   never included olmesartan-induced
        ;    6   enteropathy or celiac disease or any of
             7   the other symptoms that are associated
             8   with olmesartan-induced enteropathy as
             9   defined endpoints in their files.                                               So I
            10   can't assess this one.                             It's given as a
            11   zero point for that reason.
            12                          "Was the drug detected in
            13   blood or other fluids in concentrations
            14   known to be toxic?"                        Again, there was no
            15   drug detection.                  There's no test for
            16   this.     That's a score of zero.
            17                          "Was the reaction more
            18   severe when the dose is increased or less
            19   severe when the dose was decreased?"
            20   Based on my conversations with Dan in
            21   clinical practice, you prescribe the
            22   patient a dose, and there isn't -- for
        : 23
                 some drugs, you'll actually up-titrate or
        ' 24     down-titrate.               That doesn't happen with
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             1             olmesartan-induced enteropathy.                                    In this
             2             case that would be assumed to be assessed
             3             as zero for all.
             4                                               The next one,          "Did the
             5             patient have a similar reaction to the
             6             same or similar drugs in any previous
       :     7             exposure?"                      And this is one of them that
             8             we struggled with in the wording, because
             9             we felt this would be exactly the same as
           10              rechallenge.                        You'll see that
           11              conversation that you were asking me
           12              about, about Naranjo 9, is exactly the
           13              same conversation.                            It's a frustrating
           14              question.
           15                                                We assume this would be the
           16              same as rechallenge and assigned this a
           17              one.
           18                                                Number 10,        "Was the adverse
           19              event confirmed by any objective
           20              evidence?"                      This would need to be
           21              assessed on a case-by-case basis.                                     So if
           22             you add those up.                            You get -- one, two,
           23              three, four,                      five six -- you end up with
           24              six actually even before going to the
       !
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                       Exhibit AA
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2009 WL 2058384, 79 Fed. R. Evid. Serv. 1424


                                                                     Attorneys and Law Firms
     KeyCite Yellow Flag- Negative Treatment
Disagreed With by Schott v. !-Flow Corp., S.D.Ohio, March 16, 2010   Alejandro Alvarez, Coral Gables, FL, Clell Calvin
                    2009 WL 2058384                                  Warriner, III, Brenda S. Fulmer, Christian D. Searcy,
                United States District Court,                        David Joseph Sales, Searcy Denney Scarola Barnhart &
                       S.D. Florida.                                 Shipley, P.A., West Palm Beach, FL, for Plaintiff.

            Douglas C. KILPATRICK, Plaintiff,                        Jeffrey Brian Shapiro, Andrea Cox, Neville Malcolm
                                v.                                   Leslie, Arnstein & Lehr LLP, Miami, FL, Kim Schmid,
                                                                     Mary T. Novacheck, Monica Kelly, Sheryl A. Bjork,
                  BREG, INC., Defendant.
                                                                     Bowman & Brooke, Minneapolis, MN, for Defendant.
                      No. o8-10052-CIV.
                                     I
                         June 25, 2009.                                       ORDER GRANTING DEFENDANT'S
                                                                            MOTIONFORSUMMARYJUDGMEN~
                                                                           GRANTING DEFENDANT'S MOTION TO
 West KeySummary
                                                                            EXCLUDE CAUSATION TESTIMONY

                                                                     K. MICHAEL MOORE, District Judge.
 t       Evidence
              Medical testimony                                      *1 THIS CAUSE came before the Court upon Breg's
         Evidence                                                    Motion for Summary Judgment (dkt # 69) and Breg's
              References to authorities on subject                   Motion to Exclude Causation Testimony (dkt # 71).
         Medical device manufacturer's motion
        to exclude expert physician's causation                      UPON CONSIDERATION of the Motions, the
        testimony and expert opinion on the causation                responses, the pertinent portions of the record, and being
        of chondrolysis was granted in patient's                     otherwise fully advised in the premises, the Court enters
        product liability claims against medical                     the following Order.
        device manufacturer. Patient proffered an
        extensive list of articles that expert physician
                                                                     I. BACKGROUND
        purportedly relied upon in preparing his
        expert report; however, expert physician                     Plaintiff Douglas Kilpatrick ("Kilpatrick") is the owner
        pointed to only four articles that supported                 and operator of a charter fishing guide service in the
        his conclusion that bupivacaine delivered                    Florida Keys. In 2004, Kilpatrick visited orthopedic
        via an intra-articular pain pump catheter                    surgeon Dr. John Papilion ("Papilion"), complaining of
        could cause chondrolysis. Only one of                        pain in his right shoulder. Papilion performed an X-ray
        the articles was a comparative study of                      and an MRI scan which identified a tear in Kilpatrick's.
        humans who had undergone arthroscopic                        labrum, the ring of tissue that surrounds the shoulder
        surgery involving pain pumps. None of the                    socket, or glenoid. To correct the problem, Papilion
        articles explained the mechanism by which                    performed arthroscopic shoulder surgery on Kilpatrick on
        bupivacaine damages cartilage, and none of                   October 5, 2004.
        the articles offered an ultimate conclusion
        as to the general causation of glenohumeral                  In order to control post-operative pain, Papilion, during
        chondrolysis. Fed.Rules Evid.Rule 702, 28                    the surgery, inserted into Kilpatrick's shoulder joint a pain
        U.S.C.A.                                                     pump manufactured by Defendant, Breg, Inc. ("Breg").
                                                                     Kilpatrick alleges that per Breg's product instructions,
        23 Cases that cite this headnote                             Papilion then injected 20 cc's of the anesthetic .5%
                                                                     bupivacaine 1 via the pain pump's attached catheter into
                                                                     Kilpatrick's shoulder, and further filled the pump with
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 IOO cc's of bupivacaine, which the pump was to deliver         Kilpatrick has not sufficiently demonstrated that Breg's
into Kilpatrick's shoulder over the next forty-eight hours.     pain pump could and did cause the type of injury
Kilpatrick successfully completed post-operative physical       Kilpatrick suffered.
therapy and was able to return to work for the 2005 fishing
season. Kilpatrick claims that while working during that
season, he noticed some popping in his shoulder, but at         II. DISCUSSION
the end of the season felt better.                              Because the resolution of Breg's summary judgment
                                                                motion turns on whether Kilpatrick has provided enough
                                                                admissible evidence to show an issue of material fact as to
       A trade name for bupivacaine is "marcaine," and
                                                                whether Breg's pain pump caused Kilpatrick's injury, the
       the Parties' filings use both names. Kilpatrick's
                                                                Court finds it appropriate to first resolve Breg's Rule 702
       causation expert has testified that both names refer
       to the same chemical. See Deposition of Dr. Gary         motion. 2
       Poehling, at pp. 63:8-9 (dkt # 72-2) (hereinafter
       "Poehling Dep."). For convenience, this Order will       2       As a threshold matter, the Court notes that it has
       use the term "bupivacaine." It is undisputed that Breg           jurisdiction over this matter pursuant to 28 USC §
       manufactured only the pain pump used in Kilpatrick's              1332 because the Parties are diverse and the amount
       surgery, not the bupivacaine.                                    in controversy exceeds $75,000. The Parties stipulate
However, during the 2006 season, Kilpatrick claims he                   that Florida substantive law on strict products
began to experience severe shoulder pain and limited                    liability and negligence applies. See Amended Pretrial
motion while working. Kilpatrick returned to Papilion,                  Stipulation at p. 4 (dkt # 155).
who, after additional testing, diagnosed Kilpatrick in
October of 2006 with glenohumeral chondrolysis-a                    A. Breg's Motion to Exclude Causation Testimony
breakdown of the cartilage in Kilpatrick's shoulder joint.
                                                                   I. Standard of Review
On November I3, 2006, orthopedic surgeon Dr. John
                                                                Federal Rule of Evidence 702 sets out the following
Uribe ("Uribe") performed a total shoulder replacement
                                                                requirements for expert testimony:
on Kilpatrick. Kilpatrick states that he will have to
undergo several more such procedures during his lifetime.                    If scientific, technical, or other
                                                                             specialized knowledge will assist
On July 28, 2008, Kilpatrick filed the instant Complaint                     the trier of fact to understand
(dkt # I). Kilpatrick alleges that, as a direct result of                    the evidence or to determine a
being administered bupivacaine via Breg's pain pump,                         fact in issue, a witness qualified
he now suffers from permanent and incurable injuries,                        as an expert by knowledge, skill,
including debilitating shoulder pain, that have severely                     experience, training, or education,
and negatively impacted his ability to work, resulting in                    may testify thereto in the form of
economic harm in the form of past and future medical                         an opinion or otherwise, if (1) the
expenses. The Complaint asserts five strict product                          testimony is based upon sufficient
liability claims against Breg for design defect (Count I),                   facts or data, (2) the testimony is
defect due to inadequate warning (Count II), defect due                      the product of reliable principles and
to nonconformance with representations (Count III), and                      methods, and (3) the witness has
defect due to failure to adequately test (Count IV). The                     applied the principles and methods
Complaint also includes a claim for negligence (Count                        reliably to the facts of the case.
V), and for violation of the Florida Deceptive and Unfair
Trade Practices Act, §§ 501.20I-213, Florida Statutes           Fed.R.Evid. 702. The U.S. Supreme Court's decision in
(Count VI).                                                     Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579,
                                                                113 S.Ct. 2786, 125 L.Ed.2d 469 (1993), and its progeny,
 *2 Breg has filed a motion pursuant to Federal Rule            govern the application of Rule 702.
of Evidence 702 to exclude Kilpatrick's evidence of the
causation of his injury (dkt # 71). Breg has also moved         Under Rule 702 and Daubert, district courts must act as
for summary judgment (dkt # 69) on the grounds that             "gatekeepers," admitting expert testimony only if it is both
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 reliable and relevant, to prevent speculative and unreliable      qualified, objections to the level of the expert's expertise
 testimony from reaching the jury. Rink v. Cheminova,              [go] to credibility and weight, not admissibility." Hendrix
 Inc., 400 F.3d 1286, 1291 (11th Cir.2005). Specifically,           v. Evenflo Co., Inc., 255 F.R.D. 568, 585 (N.D.Fla.2009)
 the district court must consider whether 1) the expert            (citations and quotation marks omitted). Breg does not
 is qualified to testify competently regarding the matters         challenge Poehling's qualifications to opine on the cause
 he intends to address; 2) the methodology by which the            of chondrolysis, conceding that Poehling has had a long
 expert reaches his conclusions is sufficiently reliable as        and accomplished career in the field of orthopedics, has
 determined by the sort of inquiry mandated in Daubert;            been an editor on one of the nation's leading peer-reviewed
 and 3) the testimony assists the trier of fact, through the       orthopedics journals for twenty years-serving as editor-
 application of scientific, technical, or specialized expertise,   in-chief since 1992-has been a practicing orthopedic
 to understand the evidence or to determine a fact in issue.       surgeon and professor of orthopedics, and has authored
 City of Tuscaloosa v. Harcros Chems., Inc., 158 F.3d              numerous lectures, speeches, articles, and other writings
 548, 562-63 (11th Cir.l998) (footnote omitted). In the            on topics related to orthopedics. See Poehling Curriculum
 Eleventh Circuit, these three considerations are known            Vitae (dkt # 104-7). The Court finds that Poehling is more
 as "qualifications, reliability, and helpfulness," and must       than minimally qualified to offer an opinion on the cause
 not be conflated by the district court. U.S. v. Frazier, 387      of Kilpatrick's injury.
 F. 3d at 1246, 1260 (11th Cir.2004). The party offering the
 expert bears the burden of satisfying each of the three
 elements by a preponderance of the evidence. Rink, 400               3. Reliability
 F.3d at 1292 (citations omitted).                                 The reliability prong of Rule 702 is at the heart of the
                                                                   Parties' dispute. The reliability inquiry requires the court
 The district court enjoys "broad latitude" in deciding            to independently analyze each step in the logic leading to
 whether expert testimony is reliable, and in how to               the expert's conclusions; if the court determines that any
 conduct that inquiry. See Toole v. Baxter Healthcare              step in the expert's chain of logic is unreliable, his entire
 Corp., 235 F.3d 1307, 1312 (11th Cir.2000) (citing Kumho          opinion must be excluded. McClain v. Metabolife Int'l
 Tire Co. v. Carmichael, 526 U.S. 137, 142, 119 S.Ct. 1167,        Inc., 401 F.2d 1233, 1245 (11th Cir.2005). In determining
 143 L.Ed.2d 238 (1999)). "This deferential standard is            reliability, the Court may consider the following non-
 not relaxed even though a ruling on the admissibility of          exclusive factors: "(1) whether the expert's theory can
 expert evidence may be outcome-determinative." Allison            be and has been tested; (2) whether the theory has been
 v. McGhan Medical Corp., 184 F.3d 1300, 1306 (11th                subjected to peer review and publication; (3) the known
 Cir.1999) (citing General Electric Co. v. Joiner, 522 U.S.        or potential rate of error of the particular scientific
 136, 142-43, 118 S.Ct. 512, 139 L.Ed.2d 508 (1997)).              technique; and (4) whether the technique is generally
                                                                   accepted in the scientific community." See McCorvey
  *3 With the foregoing in mind, the Court has                     v. Baxter Healthcare Corp., 298 F.3d 1253, 1256 (11th
 reviewed the voluminous record in this case, including            Cir.2002) (citing Daubert, 509 U.S. at 593-94).
 the expert report of Dr. Gary Poehling, M.D.
 ("Poehling"), Poehling's deposition testimony, and the            However, these factors are not the "definitive checklist
 medical literature upon which he based his opinions, and          or test" for reliability, see Daubert, 509 U.S. at 593, and
 has concluded that his testimony on the causation of              in some cases, evidence which does not meet all or even
                                                                   most of these factors may still be admissible, because
 chondrolysis must be excluded pursuant to Rule 702. 3
                                                                   other factors may predominate. U.S. v. Brown, 415 F.3d
                                                                   1257, 1267-68 (11th Cir.2005). Although the pertinent
 3      Because Poehling's testimony must be excluded for          criteria for reliability may vary case by case, to be reliable
        failure to satisfy Rule 702's reliability prong, the       the expert's testimony must always be based on "good
        Court does not reach the helpfulness prong.                grounds," see Daubert, 509 U.S. at 590; "leaps of faith"
                                                                   unsupported by good science preclude the admission of
    2. Qualifications                                              the expert's testimony. Rider v. Sandoz Pharmaceuticals,
  Poehling easily meets the qualification prong of Rule            295 F.3d 1194, 1202 (11th Cir.2002). The objective ofthe
. 702. The qualification standard for expert testimony is          gatekeeping inquiry "is to make certain that an expert,
  "not stringent," and "so long as the expert is minimally         whether basing testimony upon professional studies or
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personal experience, employs in the courtroom the same           epidemiological studies of human beings, which
level of intellectual rigor that characterizes the practice of   traditionally are considered the best form of statistical
an expert in the relevant field." Kumho Tire Co., 526 U.S.       evidence for proving causation. 4 Kilpatrick argues,
at 152.                                                          plausibly, that randomized human epidemiological
                                                                 studies would not be ethical or feasible under the
  *4 Breg argues, and Kilpatrick does not contest, that          circumstances and that such studies are not necessary to
 this case should be treated like a toxic tort case for          carry his burden on a Daubert motion. It is true enough
 purposes of the Daubert inquiry, requiring Kilpatrick to        that a lack of epidemiological evidence is not fatal to
 offer proof of both general causation-whether the agent         Kilpatrick's case. See Rider, 295 F.3d at 1199. But this only
 in question can cause harm of the type Kilpatrick alleges       heightens the need for Poehling to present other forms of
 -and proof of specific causation-whether the agent in           highly persuasive scientific evidence to lay a foundation
 fact did cause Kilpatrick's injury. See McClain, 401 F.3d       for his expert opinions. He has failed to do so.
 at 1239. If anything, determining causation in this case
 requires an even more complex logical chain than the            4      "Epidemiology, a field that concerns itself with
 typical toxic tort case, because the key issue is not merely
                                                                        finding the causal nexus between external factors and
 whether a chemical compound could and did cause injury,
                                                                        disease, is generally considered to be the best evidence
 but whether that compound as delivered via a particular                of causation in toxic tort actions." Rider, 295 F.3d at
 medical device inserted in a particular location (within               1198.
 Kilpatrick's shoulder joint) could and did cause injury.
                                                                  *5 Kilpatrick proffers an extensive list of articles
 Poehling has acknowledged this distinction, stating that
                                                                 that Poehling purportedly relied upon in preparing his
 he does not believe it is Breg's pain pump per se that
                                                                 expert report. However, when questioned during his
causes chondrolysis, but the bupivacaine delivered via
                                                                 deposition as to which articles support his conclusion that
the pain pump that causes it. See Poehling Dep., at pp.
                                                                 bupivacaine delivered via an intra-articular pain pump
99:2-6 (dkt # 72-2) ("I don't think an intra-articular
                                                                 catheter can cause chondrolysis, Poehling pointed only
catheter causes glenohumeral chondrolysis. I think it is the
bupivacaine that goes through that catheter that causes          to four 5 : a study of 152 patients who had undergone
the glenohumeral chondrolysis."). Further, the Parties do        arthroscopic, shoulder surgery (the "Hansen study"), 6
not dispute that glenohumeral chondrolysis is a medical          a study of rabbits whose shoulders were injected with
phenomenon that has emerged only recently, and that              bupivacaine (the "Gomoll study"), 7 a case report of
the first study suggesting its linkage with intra-articular      two teenage female arthroscopic surgery patients who
pain catheters appeared only in 2006. Even Kilpatrick
                                                                 developed chondrolysis (the "Greis report"), 8 and a one-
concedes that the medical literature supporting his claim
is still a "developing science." See Pl.'s Resp. to Def. Mot.    page editorial that Poehling had co-authored. 9 Only
for Summ. J., at p. 6 (dkt # 102). It is almost de rigeur        the first of these articles was a comparative study
in Daubert opinions to quote Judge Posner's observation          of humans who had undergone arthroscopic surgery
that "[l]aw lags science; it does not lead it," Rosen v.         involving pain pumps. Significantly, none of the articles
Ciba-Geigy Corp., 78 F.3d 316, 319 (7th Cir.1996), but           explains the mechanism by which bupivacaine damages
in light of the foregoing, it is particularly true in this       cartilage, 10 each has important limitations that Poehling
case. Accordingly, the general causation inquiry takes on        does not take into account, 11 and none of them offers
special importance here.                                         an ultimate conclusion as to the general causation of
                                                                 glenohumeral chondrolysis. At best, some of them tend
                                                                 to show an association between chondrolysis and intra-
   a. Literature Poehling Relies on Is Insufficient to Show
                                                                 articular pain pump use, but as the Eleventh Circuit has
   Causation
                                                                 recognized, "showing association is far removed from
In reaching his conclusions on general causation in
                                                                 proving causation." Allison, 184 F.3d at 1315 n. 16
this case, Poehling did not personally conduct any
                                                                 (emphasis in original); see also In re Accutane Prods.
independent research; rather, he relied upon several
                                                                 Liability Litig., 511 F.Supp.2d 1288, 1297 (M.D.Fla.2007)
medical journal articles. See Poehling Dep. at pp. 37:6-
                                                                 ("[A]n association is not equivalent to causation ... ")
38:8 (dkt # 72-2). Poehling acknowledges that none
of those articles were based on controlled, randomized
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(citations omitted). The Court will now review each of          not explain whether thermal energy contributed to or
these articles in turn.                                         wholly accounted for the chondrolysis in those cases,
                                                                beyond a vague statement that "it [thermal energy]
5       See Poehling Dep., at pp. 43:20-45:10; 143:8-147:17     does not appear to be clearly proven to be the only
        (dkt # 72-2).                                           factor in these cases." See Hansen study (dkt # 72-
                                                                3, at 14). The study purported to identify a "strong
6       Brent P. Hansen et al., Postarthroscopic Glenohumeral   association" between chondrolysis and intra-articular
        Chondrolysis, 35 Am. J. Sports Med., July 2007, 1628-   pain pumps, but also acknowledged that "[t]hermal and/or
        34 (dkt # 72-3).
                                                                radiofrequency, suture material, and reabsorbable suture
7      Andreas Gomoll et al., Chondrolysis After                anchors may have played a role not yet completely
       Continuous Intra-Articular Bupivacaine Infusion: An      understood at this time." !d. at 15. Unlike Poehling, the
       Experimental Model Investigating Chondrotoxicity in      Hansen study declined to reach a conclusion as to the
       the Rabbit Shoulder, 22 Arthroscopy, Aug. 2006, 813-     general causation of chondrolysis. Even assuming that
       19. (dkt # 105-2).                                       arthroscopic shoulder surgery patients treated with intra-
8                                                               articular pain pumps suffer chondrolysis at the same
       Patrick Greis et al., Bilateral Shoulder Chondrolysis
                                                                rate observed in the Hansen study, nothing explains
       Following Arthroscopy: A Report of Two Cases, 90 J.
                                                                why nearly 40% of patients treated with pain pumps
       Bone & Joint Surgery, June 2008, 1338-44 (dkt # 105-
       7).                                                      did not develop chondrolysis. In his deposition, Poehling
                                                                acknowledged that he has no explanation:
9      James Lubowitz & Gary Poehling, Editorial, 25
       Arthroscopy, July 2007,223,223 (dkt # 105-8).                         *6 A .... You know, there is some
                                                                            reason that 40 percent of people
10     See In re Accutane Prods. Liability Litig., 511
                                                                            that got in Hansen's study somehow
       F.Supp.2d 1288, 1295 (M.D.Fla.2007) (excluding
                                                                            survived-their articular cartilage
       expert testimony where "no one knows the biological
                                                                            survived, so is there something in
       mechanism by which [the condition in question]
                                                                            those patients that are protective ...
       occurs").
                                                                            you have to say that there is a
11     See id. at 1291 ("When an expert relies on the studies               difference, because 40 percent didn't
       of others, he must not exceed the limitations the                    have it, so what is it that protected
       authors themselves place on the study. That is, he                   them. Is it something in the synovial
       must not draw overreaching conclusions.") (citing                    fluid that is different, is there-is
       McClain, 401 F.3d at 1245-47).
                                                                            there some sort of protein that they
Poehling characterizes the Hansen study (dkt # 72-3)                        have. You know, I don't know.
as the "strongest" evidence for a connection between
intra-articular pain pumps and chondrolysis. See Poehling       Poehling Dep., at pp. 138:23-139:10 (dkt # 72-2); see
Dep., at p. 145:13-17 (dkt # 72-2). The Hansen study            also id. at 103:14:-25. Extrapolating from the Hansen
examined 152 patients who underwent 177 shoulder                study that intra-articular pain pumps cause chondrolysis,
surgeries. Only nineteen shoulders in seventeen patients        then, effectively leaves an unexplained 40'% error rate in
had bupivacaine-dispensing pain pumps inserted into             Poehling's hypothesis. This is not the "good science" that
them. Of those, twelve shoulders in ten patients developed      Daubert and Rule 702 demand.
chondrolysis. Kilpatrick, and Poehling, claim that this
63% injury rate (i.e. twelve chondrolytic shoulders             The second article on which Poehling based his
out of nineteen treated with pain pumps) is powerful            conclusions, the Gomoll study, is a controlled study
evidence of general causation. However, the Hansen              of rabbits (dkt # 105-2). The authors reported
study includes no statistical analysis, and therefore no        statistically significant evidence of chondrolysis among
means of determining whether the findings are statistically     an experimental group of rabbits whose shoulders were
significant, or whether it is statistically meaningful to       infused with bupivacaine over a 48-hour period, as
extrapolate from the relatively small sample size. Further,     contrasted with a control group of rabbits injected with
the study noted that thermal energy, another suspected          saline solution. However, the authors were careful to
cause of chondrolysis, was used in four cases, but did          limit their conclusions, noting that further study was
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 warranted "because epidemiologic study of chondrolysis        dog study where expert did not consider differences in
 in humans will require an extremely large sample              dose-response relationship between dogs and humans).
 size because of the low incidence and prevalence of
 this condition ... " !d. at 6. The authors noted that         12     Dose-response relationship is " '[a] relationship in
 "although we were able to show the detrimental effects               which a change in amount, intensity, or duration of
 of bupivacaine on the cellular and tissue level in a                 exposure to an agent is associated with a change-
 rabbit model, it remains to be determined whether human              either an increase or decrease-in risk of disease.' "
cartilage is equally susceptible and whether these ...                McClain, 401 F.3d at 1241-42 (citations omitted).
changes result in the subsequent development of rapidly        The third article upon which Poehling based his
progressive osteoarthritis." Id. at 5. The courts have         conclusion, the Greis report, was a report of two cases
also recognized the difficulty inherent in extrapolating       of female swimmers, one aged fourteen and the other
conclusions about human disease from animal-based              eighteen, who developed chondrolysis after undergoing
studies. See, e.g., Accutane, 511 F.Supp.2d at 1291-           arthroscopic shoulder surgery involving bupivacaine-
 1292 (discussing advantages and disadvantages of animal       dispensing, intra-articular pain pumps (dkt # 105-7).
studies). One "significant disadvantage" of animal studies     Once again, the authors of the study were more cautious
is that "differences in absorption, metabolism and other       than Poehling in reaching an ultimate conclusion as to
facts may result in interspecies variation in responses";      causation, acknowledging that "we realize that the exact
another disadvantage is that "the high doses customarily       cause of the chondrolysis remains unknown." See id.
used in animal studies require consideration of the dose-      at 6. Furthermore, anecdotal reports of two individuals
response relationship and whether a threshold no-effect        are, of course, not statistically significant evidence of
dose exists." See id. (quoting Michael D. Green et al.,        causation. As Poehling acknowledges, case reports are
Reference Guide on Epidemiology, in Reference Manual           "way down at the very bottom as far as medical strength
on Scientific Evidence, 333, 345-46 (Federal Judicial          of an article" and cannot establish medical causation.
Center, 2d. ed.2000)). This second consideration, the          Poehling Dep., at p. 90:8-23 (dkt # 72-2). The Eleventh
dose-response relationship, is particularly important here,    Circuit has likewise recognized that case reports on their
because the authors ofthe Gomoll study acknowledge that        own are not especially useful as proof of causation. See
"no data exist regarding the human-equivalent dosing of        McClain, 401 F.3d at 1254 ("Simply stated, case reports
intra-articular bupivacaine in a rabbit shoulder model ... "   raise questions; they do not answer them"); Rider, 295
See Gomoll study (dkt # 105-2 at 2). This admission            F.3d at 1199 ("[W]hile they may support other proof
undercuts the Gomoll study's applicability to human            of causation, case reports alone ordinarily cannot prove
chondrolysis.                                                  causation"). Accordingly, Poehling's extrapolation of a
                                                               general cause for chondrolysis from this anecdotal case
 *7 The difference m the dose-response relationship            report is unwarranted and unreliable.
between animals and humans is not trivial: dose-response
relationship is, in fact, "'the single most important factor   The final piece of literature Poehling claims to have
to consider in evaluating whether an alleged exposure          relied upon is a 228-word editorial that Poehling himself
caused a specific adverse effect." McClain, 401 F.3d           co-authored (dkt # 105-8). The editorial is not a case
at 1242 (citing David Eaton, Scientific Judgment and           report or study of any kind, and does not offer an
Toxic Torts: A Primer in Toxicology for Judges and             opinion on the causation of chondrolysis, but rather
Lawyers, 12 J.L. & Pol'y 1, 11 (2003)). 12 "The expert         states that "[t]he etiology of glenohumeral chondrolysis
who avoids or neglects this principle of toxic torts           may be multifactorial. Further research is required to
without justification casts suspicion on the reliability of    determine the cause, and proper prevention, of shoulder
his methodology." !d. In reaching his conclusions on           chondrolysis." See id. The editorial also notes that
human chondrolysis causation, Poehling did not account         "idiopathic" chondrolysis-that is, chondrolysis caused
for or explain the possible differences in dose-response       by unknown factors-has also been described in the
relationship between humans and rabbits, rendering his         medical literature. See id. By Kilpatrick's own admission,
methodology questionable. See Accutane, 511 F.Supp.2d          the Poehling editorial "is general in nature and does not
at 1292-93 (excluding expert testimony based in part on        present any factual context that would allow the court to
                                                               discern its relevance to this case." See Pl.'s Statement of
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Material Facts in Opp. to Def.'s Mot. for Summ. J., at~             pump medically causes glenhumeral chondrolysis,
3 (dkt # 103). The Poehling editorial is, to say the least,         correct?
inadequate as a basis for a scientific judgment about the
general causation of chondrolysis.                               A: Well, that's a-correct statement and I can't argue
                                                                   with that. But those are words and it makes it sound
                                                                   like we don't know what we're doing and that, gosh,
   b. Poehling Does Not Explain Background Risk                    guys, it might be all right for you to go and put this
 *8 Even if the studies Poehling claims to have relied             in because we're really not sure, and !-that isn't the
upon did support his conclusions about the causation               case ...
of chondrolysis, there are additional problems with
his methodology. Specifically, Poehling has not offered
a sufficient explanation of the background risk for
glenohumeral chondrolysis. Background risk "is not the
                                                                                           ***
risk posed by the chemical or drug at issue in the case. It is   Q: I understand that's your personal opmwn, Dr.
the risk a plaintiff and other members of the general public       Poehling, but I'm asking you, on the general
have of suffering the disease or injury that plaintiff alleges     causation aspect, based on the available body of
without exposure to the drug or chemical in question."             medical literature and science, this body of evidence
McClain, 401 F.3d 1243 (emphasis in original). "A reliable         that you talked about earlier in your response, would
methodology should take into account the background                you agree with me, Dr. Poehling, that there is nothing
risk." !d.                                                         in the available medical and scientific literature today
                                                                   as of May 15, 2009, which establishes causation
Kilpatrick claims that the background risk of chondrolysis         between the intra-articular placement of a catheter
is "for all intent[s] and purposes zero." See Pl.'s Mem. in        that is part of a continuous flow pain pump and the
Opp. to Def.'s Mot. for Summ. J., at p. 1 (dkt # 102). But         condition of glenohumeral chondrolysis?
this is demonstrably incorrect. Poehling acknowledged in
his editorial, and in his deposition, that chondrolysis can            *9 A: Again, you're specifically right and I don't
arise idiopathically-that is, from unknown causes. See                  think I need to say what I feel otherwise.
Poehling Dep., at p. 70:10-20 (dkt # 72-2). If chondrolysis
                                                                 Poehling Dep., at pp. 97:6-17; 99:7-19 (dkt # 72-
can occur without any known cause, it cannot be that
                                                                   2) (emphasis added). Poehling's concession that the
the background risk for it is "zero." Whatever the true
                                                                   current state of the medical literature is still unsettled
background risk, Poehling has not endeavored to explain
                                                                   about the cause of chondrolysis seriously undermines
it, and this casts further doubt on the reliability of his
                                                                   the reliability of his methodology. As Breg correctly
methodology.
                                                                   notes, the Court cannot make up for the scientific
                                                                   leaps required to reach a conclusion on causation
  c. Poehling Concedes That the Literature Has Not                 simply by viewing all of Kilpatrick's evidence as a
   Reached a Conclusion as to the Cause of Chondrolysis            whole:
Although Kilpatrick offers Poehling's testimony for the
                                                                             Conclusions and methodology
purposes of proving general causation, Poehling, when
                                                                               are not entirely distinct from
asked in his deposition whether intra-articular pain pumps
                                                                               one another. Trained experts
are still only a "hypothetical or speculative" cause of
                                                                               commonly extrapolate from
glenohumeral chondrolysis, repeatedly answered in the
                                                                               existing data. But nothing in
affirmative. Several exchanges from the transcript of his
                                                                               either Daubert or the Federal
deposition are worth highlighting:
                                                                               Rules of Evidence requires a
  Q: Do you agree, Dr. Poehling, that based on the                             district court to admit opinion
    available body of medical and scientific literature                        evidence that is connected to
    even today as of May 15, 2009, it is still only                            existing data only by the ipse
    hypothetical or speculation that the intra-articular                       dixit of the expert. A court
    application of a catheter from a continuous flow pain                     may conclude that there is
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                  simply too great an analytical                diagnosis "may offer an important component of a valid
                  gap between the data and the                  methodology" in determining specific causation, but it
                  opinion proferred.                            "will not usually overcome the fundamental failure of
                                                                laying a scientific groundwork for the general toxicity of
   General Electric Co., 522 U.S. at 146, overruling Joiner     the drug ... " McClain, 401 F.3d at 1252-53. Ultimately
      v. General Electric Co., 78 F.3d 524 (lith Cir.l996)      then, because Poehling's testimony fails on the general
     (suggesting that evidence should be viewed "in its         causation prong, differential diagnosis does not suffice to
     entirety" for Daubert purposes).                           carry Kilpatrick's burden on the specific causation prong.
This Court has reviewed the studies Poehling claims to rely
upon, and found that Poehling's extrapolations from them        13      The Parties describe gentian violet as a "contrast dye"
regarding causation are not warranted. What is more,
                                                                        that is sometimes injected into a patient's shoulder
Poehling, when pressed, essentially admits the same thing.
                                                                        during arthroscopic surgery, but do not explain its
Poehling's methodology has no known rate of error-                      purpose or function.
to the extent one can be extrapolated from the Hansen
study, it is an unexplained 40o/o-and at most, all he can       14      See McClain, 401 F.3d at 1252 ("Differential
offer is a hypothesis that "may be exactly right," but that             diagnosis involves 'the determination of which one
right now is "merely plausible, not proven." Accutane, 511              of two or more diseases or conditions a patient
F.Supp.2d at 1296. "[B]iological possibility is not proof of            is suffering from, by systematically comparing and
                                                                        contrasting their clinical findings.' ") (citations
causation." Id Under the circumstances, the Court would
                                                                        omitted). "The more precise but rarely used term is
be derelict in the gatekeeping duties imposed on it by
                                                                        differential etiology ... [t]he etiology of a disease is the
Daubert and Rule 702 if it found Poehling's testimony on
                                                                        cause or origin of the disease ... " !d.
general causation reliable.
                                                                 *10 However, even if Poehling's testimony satisfied
                                                                the general causation inquiry, his conclusion on specific
   d. Poehling's Conclusions on Specific Causation are          causation would still be unreliable for a more fundamental
   Also Unreliable                                              reason: it is ultimately rooted in nothing more than
To carry his burden on causation, Kilpatrick must show          temporal relationship. It may be "almost irresistible to
sufficient evidence of specific causation as well as general    conclude that what happens shortly after the event must
causation. See McClain, 401 F.3d at 1239. Kilpatrick's          have been caused by the event," but that is not the basis of
failure to present reliable evidence of general causation       good science. Accutane, 511 F .Supp.2d at 1300. Yet this is
alone requires that Breg's Daubert motion be granted.           precisely what Poehling does in describing his diagnosis of
However, Poehling's testimony about specific causation          Kilpatrick's chondrolysis:
is also unreliable, because it is ultimately premised upon
temporal relationship and the post hoc ergo propter hoc                      ... I think any scientist would sit
fallacy. "The post hoc ergo propter hoc fallacy assumes                      down and look at this case and
causation from temporal sequence. It literally means 'after                  observe the factors of what happened
that, because of this.' ... It is called a fallacy because it                to this patient, what he looked like
makes an assumption based on the false inference that a                      before and what he looks like now
temporal relationship proves a causal relationship.'' I d. at                would come to the conclusion that
1243.                                                                        bupivacaine is what caused it, and I
                                                                             don't think that that's just me or-I
In describing how he concluded that Kilpatrick's                             think any real scientist.
chondrolysis was caused by the use of Breg's pain pump,
                                                                Poehling Dep., at p. 96:13-19 (dkt # 72-2) (emphasis
Poehling described a process of differential diagnosis,
                                                                added). Determining causation based on "what the patient
ruling out other suspected causes of chondrolysis such
                                                                looked like before" versus "what he looks like now" is
as thermal energy and "gentian violet." 13 Poehling             the very definition of the post hoc ergo propter hoc fallacy.
Dep., at pp. 85:21-87:21 (dkt # 72-2). Differential             It is not a valid basis for scientific conclusions about
diagnosis means, in layman's terms, determining the cause       specific causation, and Poehling's dependence upon it
of a disease by process of elimination. 14 Differential         further weakens the reliability of his methodology.
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                                                              Summary judgment may be entered only where there is no
   e. Kilpatrick Has Not Shown Any Other Valid Basis for      genuine issue of material fact. Twiss v. Kury, 25 F.3d 1551,
   Determining Causation                                       1554 (lith Cir.l994). The moving party has the burden
As noted above, Kilpatrick points to various other articles   of meeting this exacting standard. Adickes v. S. H. Kress
that he claims provide evidence of the causation of           & Co., 398 U.S. 144, 157, 90 S.Ct. 1598, 26 L.Ed.2d 142
chondrolysis, but when questioned during his deposition       (1970). An issue of fact is "material" if it is a legal element
about medical literature that supports his conclusions,       of the claim under the applicable substantive law which
Poehling cited only the studies discussed above. See          might affect the outcome of the case. Allen v. Tyson Foods,
Poehling Dep., at pp. 43:20-45:10; 143:8-147:17 (dkt #        Inc., 121 F.3d 642, 646 (lith Cir.1997). An issue of fact
72-2). Breg correctly argues that where an expert witness     is "genuine" if the record taken as a whole could lead a
is "unable to explain why these studies help inform her       rational trier of fact to find for the nonmoving party. !d.
conclusion ... plaintiffs counsel cannot fill in the gaps."
In re Human Tissue Prods. Liability Litig., 582 F.Supp.2d     In applying this standard, the district court must view
664, 667 (D.N.J.2008). A review of the literature that        the evidence and all factual inferences therefrom in the
Poehling based his opinion on reveals that those articles     light most favorable to the party opposing the motion.
do not support his conclusions without "leaps of faith"       !d. However, the nonmoving party "may not rely merely
prohibited by Rule 702.                                       on allegations or denials in its own pleading; rather, its
                                                              response must-by affidavits or as otherwise provided
Kilpatrick points to some of Breg's internal documents        in this rule-set out specific facts showing that there is
to bolster his arguments on causation. However, neither       a genuine issue for trial." Fed.R.Civ.P. 56(e)(2). "The
Kilpatrick nor Poehling suggest that Poehling relied on       mere existence of a scintilla of evidence in support of the
these documents in reaching his conclusions, and they         [nonmovant's] position will be insufficient; there must be
are therefore irrelevant to the Daubert inquiry. At most,     evidence on which the jury could reasonably find for the
Breg's documents, like the articles that Poehling relied      [nonmovant]." Anderson v. Liberty Lobby, Inc., 477 U.S.
upon, mention an association between pain pumps an            242, 252, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986)
chondrolysis, which, as discussed, is not equivalent to
causation. See Accutane, 511 F.Supp.2d 1288 (excluding
expert testimony where expert claimed to have relied on         2. Causation
defendant's internal documents in reaching conclusions        Causation is an element common to all of Kilpatrick's
on causation; if defendant's documents had admitted           claims. To sufficiently establish causation for a negligence
causation, "this Court could have saved a lot of time-this    claim in a products liability action, the plaintiff bears the
opinion would have been unnecessary.").                       burden of proving by a preponderance of the evidence that
                                                              his injury was proximately caused by the manufacturer's
                                                              breach of its duty to produce a product reasonably safe for
  B. Breg's Motion for Summary Judgment                       use. See Indem. Ins. Co. of N. Am. v. Am. Aviation, Inc.,
                                                              344 F.3d 1136, 1146 (lith Cir.2003) (applying Florida
  1. Standard of Review                                       law). To prove causation under a strict products liability
*11 The applicable standard for reviewing a summary           theory, the plaintiff bears the burden of proving that
judgment motion is unambiguously stated in Rule 56(c) of      the product defect proximately caused his injury. See
the Federal Rules of Civil Procedure:                         McCorvey v. Baxter Healthcare Corp., 298 F.3d 1253,
                                                              1257 (lith Cir.2002) (citing Edward M. Chadbourne, Inc.
              The judgment sought should be
                                                              v. Vaughn, 491 So.2d 551, 553 (Fla.1986)). Causation is
              rendered if the pleadings, the
                                                              also one of the elements of a claim arising under the
              discovery and disclosure materials
                                                              Florida Deceptive and Unfair Trade Practices Act. See
              on file, and any affidavits show
                                                              City First Mortg. Corp. v. Barton, 988 So.2d 82, 86 (Fla.
              that there is no genuine issue as
                                                              4th Dist.Ct.App.2008) (elements of FDUTPA claim are
              to any material fact and that the
                                                              deceptive act or unfair practice, causation, and actual
              movant is entitled to judgment as
                                                              damages) (citations omitted).
              a matter of law.
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                                                                   solicit expert testimony about causation ... will not be
 Kilpatrick's failure to proffer sufficient evidence of
                                                                   permitted"). In the absence of any reliable expert evidence
 causation, an element critical to all of his claims, is
                                                                   on causation, summary judgment must be granted in favor
 necessarily fatal to his efforts to avoid summary judgment.
                                                                   ofBreg.
 See Rink, 400 F.3d at 1294-96 (affirming grant of
summary judgment where plaintiffs expert evidence was
unreliable to prove causation); Allison, 184 F.3d at 1320          III. CONCLUSION
(same). Poehling is Kilpatrick's sole designated expert on          *12 Based on the foregoing, it is
the issue of causation. Kilpatrick's only other possible
source of evidence on causation is the testimony of                ORDERED AND ADJUDGED that Breg's Motion to
Kilpatrick's two treating physicians, Papilion and Uribe.          Exclude Causation Testimony (dkt # 71) is GRANTED.
Treating physicians not offered as experts, however, may           It is further
only testify as lay witnesses to matters within the scope
of their own personal observation, such as treatment. See          ORDERED AND ADJUDGED that Breg's Motion for
 U.S. v. Henderson, 409 F.3d 1293, 1300 (11th Cir.2005)
                                                                   Summary Judgment (dkt # 69) is GRANTED. The Clerk
(treating physician impermissibly offered expert testimony         of Court is directed to CLOSE this case. All pending
on causation, where determining causation was not                  motions not otherwise ruled upon are DENIED AS
necessary to either diagnosis or treatment). Because Uribe         MOOT.
and Papilion have neither been designated as experts nor
completed expert reports pursuant to Federal Rule of               DONE AND ORDERED.
Civil Procedure 26, their testimony would necessarily be
limited to matters of personal observation and cannot
touch upon causation. See, e.g., Widhelm v. Wrtl-Mart              All Citations
Stores, Inc., 162 F.R.D. 591, 594 (D.Neb.l995) (treating
physicians not required to complete expert report to offer         Not Reported in F.Supp.2d, 2009 WL 2058384, 79 Fed.
expert testimony on treatment, but plaintiffs' attempts "to        R. Evid. Serv. 1424


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                                                                  medical expert. The Plaintiff likewise filed a motion to
                                                                  exclude portions of the testimonies of Drs. Douglas Rex
                   2006 WL 1529582
                                                                  and Barbara Matthews, who are the Defendants' medical
              United States District Court,
                                                                  experts. These motions are now ripe for review, and the
           S.D. Indiana, Terre Haute Division.
                                                                  court finds as follows:
                 Mickey ERVIN, Plaintiff,
                         v.
                                                                  I. BACKGROUND
              JOHNSON & JOHNSON, INC.                             In March 2001, Ervin was a twenty-year-old male
             and Centocor, Inc., Defendants.                      suffering from Crohn's disease, Type 1 insulin dependent
                                                                  diabetes, and hypothyroidism. (McKinley Dep. 26: 1-11.)
                No. 2:04CV0205-JDT-WGH.
                                                                  His case of Crohn's was severe, and he required over
                                 I                                200 units of blood transfusions over a period of years
                         May 30, 2006.
                                                                  prior to March 2001 due to the disease. (Ghosh Dep.
Attorneys and Law Firms                                           40:12-41:1; McKinley Dep. 34:20-36:3.) Ervin received
                                                                  several different medications to treat his Crohn's disease,
Craig P. Niedenthal, Elizabeth Anne Ellis, Leila                  but none were very effective in treating his disease.
Hirayama Watson, Cory Watson Crowder & Degaris
P.C., Birmingham, AL, G. Steven Fleschner, Thomas C.              In March 2001, Dr. Maisel, Ervin's gastroenterologist,
Newlin, Fleschner Stark Tanoos & Newlin, Terre Haute,             discussed with Ervin the option of treating his Ct·ohn's
IN, for Plaintiff.                                                with Remicade. (Maisel Dep. 23:10-13.) At the time of the
                                                                  discussion, Dr. Maisel was familiar with the possible risks
John D. Winter, Patterson Belknap Webb & Tyler LLP,               and side effects associated with Remicade, including the
New York, NY, Mary Nold Larimore, Nancy Menard                    information that was listed on the drug's package insert.
Riddle, Ice Miller LLP, Indianapolis, IN, for Defendants.         (Id at 34:9-35:1.) The package insert stated the following:

                                                                    ADVERSE REACTIONS:
    ENTRY ON DEFENDANTS' MOTION FOR
                                                                    Serious adverse events (all occurred at frequencies <2%)
     SUMMARY JUDGMENT (Docket No. 39)
                                                                    by body system in all patients treated with REMICADE
     AND MOTION IN LIMINE TO EXCLUDE
                                                                    are as follows:
    EXPERT TESTIMONY (Docket No. 43), AND
     ON PLAINTIFF'S MOTION TO EXCLUDE
      EXPERT TESTIMONY (Docket No. 40) 1
                                                                    Vascular ( Extracardiac): brain infarction, peripheral
       This Entry is a matter of public record and will be          ischemia, pulmonary embolism, thrombophlebitis deep.
       made available on the court's web site. However, the
       discussion contained herein is not sufficiently novel to   (S.J. Br., Ex. 8 (emphasis added).) "Thrombophlebitis
       justify commercial publication.                            deep" refers to the risk of venous thrombosis, not
                                                                  arterial thrombosis. Ervin agreed to the treatment and
TINDER,J.                                                         underwent his first infusion of Remicade on March 21,
                                                                  2001. Ervin had no problems with the first infusion.
 *1 Plaintiff Mickey Ervin brought this product liability         (Maisel Dep. at 28: 1-3.) He underwent a second infusion
suit against the Defendants, Johnson & Johnson, Inc.              of Remicade on April 25, 2001. During this second
("Johnson & Johnson") and Centocor, Inc. ("Centocor"),            infusion, Ervin experienced certain syptoms and the
alleging that Remicade, a drug developed by Defendants            infusion was stopped temporarily so a nurse could treat
to treat Crohn's disease, caused Ervin to develop an              him with Benadryl. (ld. at 30:15-31:3.) The symptoms
arterial blood clot, which led to the amputation of his           dissipated, and Ervin completed the second infusion and
lower leg. The Defendants filed a motion for summary              was discharged without complications. (Id. at 31 :12-17.)
judgment and a corresponding motion in limine to exclude
the testimony of Dr. Lee McKinley, who is the Plaintiffs
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On April 30, 2001, Ervin complained to his internal            Medicines Agency on a biannual basis. In each report,
medicine doctor, Dr. McKinley, of pain in his hands and        Centocor provides information on thromboembolic
legs. After examining Ervin, Dr. McKinley adjusted his         events reported during the relevant six-month period
diabetes medication and prescribed a pain medication.          and assesses possible causal associations. The PSURs
(McKinley Dep. 66:20-67:12.) After the pain intensified,       indicate that, as of August 23, 2003, 492,874 patients
Ervin was hospitalized the next day, on May 1, 2001. The       had been exposed to Remicade. (PSUR (8), Feb. 2003-
doctors diagnosed him with arterial thrombosis (a blood        Aug.2003, pg. 1.) Of those 492,874 patients, Centocor
clot located in the artery) of the left leg. Dr. Morrison,     had received 356 reports of thromboembolic events
a vascular surgeon, performed a thromboembolectomy             (0.072'%), which include both arterial and venous events. 2
on May 1 to clear the clot and restore the blood flow.         (PSUR (9), Aug. 2003-Feb.2004, pg. 152.) There had
Initially, the procedure appeared successful, but on May       only been twenty-nine reported cases (0.006%) of arterial
4, just prior to his scheduled discharge, Ervin experienced    thrombosis with those patients. (ld.) These figures
additional arterial thrombosis in his left leg. Additional     demonstrate a 0.006% reported occurrence rate of arterial
attempts to clear the clots failed, and Ervin underwent a      thrombosis with those patients exposed to Remicade.
left below-the-knee amputation on May 6, 2001.
                                                               2      The February 2004 PSUR (9) indicates that there
 *2 Lab reports taken during his hospitalization in May
                                                                      have been a total of 408 reported thromboembolic
2001 show that Ervin had a Protein S activity level of
                                                                      events. Because PSUR (9) does not provide a total
61%. (Mot. Limine Br., Ex.l4.) Protein S is a naturally               patient exposure number as of February 2004, the
occurring anticoagulant-a low Protein S level is indicative           court will use the total patient exposure number of
of a higher tendency to clot. (Morrison Dep. 13:16-20.)               492,874 that is indicated in the August 2003 PSUR
The lab report defined 61% as "Low." However, Dr.                     (8). Thus, the court will subtract the thromboembolic
McKinley asserts that a Protein S activity level above 50%            events indicated in PSUR (9) that occurred after
is not clinically significant.                                        PSUR (8).
                                                               Medical studies and case reports have linked vascular
In addition to low Protein S activity and Crohn's disease,     complications and thrombosis to patients with Ct·ohn's
Ervin also registered an elevated platelet count of 674,000.   disease. One study followed 7199 Crohn's patients over
While this number is elevated, Dr. McKinley stated that        an eleven year period at the Mayo Clinic. Robert W.
it is not "into the range that we would actively treat         Talbot et al., Vascular Complications of Inflammatory
it." (McKinley Dep. 57:24-25.) In addition, Dr. McKinley       Bowel Disease, 61 Mayo Clin. Proc. 140 (1986). Of those
noted that Ervin had at least a four-year history of           7199 patients, ninety-two developed a thromboembolic
elevated platelet counts. (!d. at 57: 17-20.)                  condition (1. 3%). !d. However, only seven of those ninety-
                                                               two cases involved arterial thrombosis (0.1 %). !d. at
In May 2002, one year after his arterial thrombosis            142. Moreover, six of the seven arterial thrombosis cases
and subsequent amputation, Ervin developed a cerebral          involved postoperative patients. !d. Thus, only one non-
vein thrombosis. Ervin had not undergone any Remicade          postoperative Crohn's patient in the study developed
treatments since the previous incident and the cerebral        a case of arterial thrombosis (0.014%). Another study
vein thrombosis was completely unrelated to Remicade.          completed in 1936 reports that eighteen of 1500 Crohn's
(!d. at 156:19-25.) In July 2002, one month after              patients (1.2%) developed extensive arterial and venous
the cerebral thrombosis, lab reports indicated that his        thrombosis. !d. at 140. Although the court cannot tell how
Protein S level was at 33'% (Mot. Limine Br., Ex.15),          many of those eighteen reported cases involved arterial
which, according to Dr. McKinley, was significantly low        thrombosis, it can infer that there was at least one case
(McKinley Dep. 84:11-14).                                      of arterial thrombosis as part of that study. Nevertheless,
                                                               the extremely low occurrence rate of arterial thrombosis
The Food and Drug Administration ("FDA") approved              in these studies suggests that it is a rare event that occurs
Remicade for use with Crohn's disease in August 1998           in anywhere from 0.014% to 0.1% ofCrohn's patients.
and for use with rheumatoid arthritis in November
1999. Centocor submits the Remicade Periodic Safety
Update Reports ("PSUR'') to the FDA and the European           II. STANDARD OF REVIEW
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  *3 The purpose of summary judgment is to "pierce             injury proximately resulting from the defendant's acts.
 the pleadings and to assess the proof in order to see         Harris v. Raymond, 715 N.E.2d 388, 393 (Ind.1999); Cowe
 whether there is a genuine need for trial." Matsushita        by Cowe v. Forum Group, 575 N.E.2d 630,636 (Ind.1991).
 Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,         Ervin must prove that the Defendants' Remicade caused
 587, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986). Summary           his injury.
judgment is appropriate where the pleadings, depositions,
 answers to interrogatories, affidavits, and other materials   Proximate cause requires a showing of causation in
 demonstrate that there exists "no genuine issue as to any     fact, which is a showing that "the injury would not
material fact and that the moving party is entitled to a       have occurred without the defendant's negligent act or
judgment as a matter of law." Fed.R.Civ.P. 56(c). The          omission." City of Gary ex ref. King v. Smith & Wesson
court considers those facts that are undisputed and views       Corp., 801 N.E.2d 1222, 1243-44 (Ind.2003); see also
additional evidence, and all reasonable inferences drawn       Ortho Pharm., 388 N.E.2d at 555 (A legal cause-in-fact is
therefrom, in the light most reasonably favorable to the       "that cause which, in natural and continuous sequence,
nonmoving party. See Celotex Corp. v. Catrett, 477 U.S.        unbroken by any efficient intervening cause, produced
317, 323, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986); Anderson      the result complained of and without which the result
v. Liberty Lobby, Inc., 477 U.S. 242, 255, 106 S.Ct. 2505,     would not have occurred."). "At a minimum, proximate
91 L.Ed.2d 202 (1986); Baron v. City of Highland Park, 195     cause requires that the injury would not have occurred
F.3d 333,337-38 (7th Cir.1999). However, once a properly       but for the defendant's conduct." Paragon Family Rest.
supported motion for summary judgment is made, the             v. Bartolini, 799 N.E.2d 1048, 1054 (Ind.2003); see also
non-movant "cannot rest on the pleadings alone, but must       Hamilton v. Ashton,-N.E.2d-, 846 N.E.2d 309, 2006 WL
identify specific facts to establish that there is a genuine   1098288, at *5 (Ind.Ct.App. Apr.27, 2006). Under Indiana
triable issue." Donovan v. City of Milwaukee, 17 F.3d 944,     law, the evidentiary standard required to establish the
947 (7th Cir.l994); see Fed.R.Civ.P. 56(e).                    fact of causation in this matter is a preponderance of
                                                               the evidence, which requires a "more likely than not"
                                                               showing. Watson v. Med. Emergency Serv. Corp., 532
III. DISCUSSION                                                N.E.2d 1191 (Ind.Ct.App.l989). Ervin must prove by a
                                                               preponderance of the evidence that his arterial thrombosis
   A. Fact of Causation May be Established by Expert
                                                               would not have occurred but for his Remicade infusion.
   Testimony Only
Ervin brings five counts against the Defendants: 1)
                                                                *4 "When the issue of proximate cause is not within
Product Liability-Negligence; 2) Product Liability-Failure
                                                               the understanding of lay persons, testimony of an
to Warn; 3) Breach of Warranty of Merchantability;
                                                               expert witness on the issue is necessary." Watson, 532
4) Wantonness; and 5) Fraud, Misrepresentation, and
                                                               N.E.2d at 1194. Due to the medical issues involved in
Suppression. Ervin does not dispute that each of his
                                                               this case, the matter presents a situation where expert
claims requires a finding of fact that the Defendants'
                                                               testimony is not only helpful but absolutely necessary.
Remicade was the legal cause of his arterial thrombosis
                                                               Under Indiana law, "questions of medical causation of
and subsequent amputation. "Proximate cause is an
                                                               a particular injury are questions of science necessarily
essential element of, and is determined in the same
                                                               dependent on the testimony of physicians and surgeons
manner in, both negligence and product liability actions."
                                                               learned in such matters." Armstrong v. Cerester USA,
 Wo(fe v. Stork RMS-Protecon, Inc., 683 N.E.2d 264, 268
                                                               Inc., 775 N.E.2d 360, 366 (Ind.Ct.App.2002) (quoting
(Ind.Ct.App.l997). Without a proved causal relationship,
                                                               Hannan v. Pest Control Servs., Inc., 734 N.E.2d 674, 679
all causes of action connecting Ervin's arterial thrombosis
                                                               (Ind.Ct.App.2000)). Accordingly, the Defendants' motion
to Remicade fail for lack of an essential element. Ervin's
                                                               to exclude Dr. McKinley's expert testimony on causation
product liability claims place upon the claimant the
                                                               is a watershed issue. If Dr. McKinley's expert testimony
burden of proving that "the defective condition was a
                                                               is inadmissible, then Ervin lacks expert testimony on the
proximate cause of the loss complained of." Lantis v.
                                                               issue of medical causation, and summary judgment in
Astec Indus., Inc., 648 F.2d 1118, 1120 (7th Cir.1981)
                                                               favor of the Defendants would be appropriate.
(applying Indiana law); Ortho Pharm. Corp. v. Chapman,
180 Ind.App. 33,388 N.E.2d 541, 545 (Ind.Ct.App.1979).
A party claiming injury bears the burden of proving an           B. Expert Testimony of Dr. McKinley
Case
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For an expert's testimony to be admissible, it must           the last sixteen years, he has taught medical and
comport with the requirements of Federal Rule of              doctoral students at the Indiana University campus their
Evidence 702 and the Supreme Court's decision in Daubert      initial lectures on clinical coagulation (clotting) disorders.
v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 113       (McKinley Dep. 136:17-23.) This experience gives Dr.
S.Ct. 2786, 125 L.Ed.2d 469 (1993). The Seventh Circuit       McKinley the requisite knowledge, training, skill, and
recently reemphasized that "Rule 702 has superseded           education to provide an expert opinion, based upon
Daubert, but the standard of review that was established      a differential diagnosis, regarding the cause of Ervin's
for Daubert challenges is still appropriate." United States   arterial thrombosis.
v. Parra, 402 F.3d 752, 758 (7th Cir.2005).
                                                               *5 Once the expert Is deemed qualified, the court
Rule 702 and Daubert require that the court determine         must address whether the methodology underlying the
whether the expert testimony is both relevant and reliable.   expert's conclusion is reliable. See Ammons v. Aramark
In determining reliability, the court must ascertain           Uniform Servs., Inc., 368 F.3d 809, 816 (7th Cir.2004).
whether the expert is qualified in the relevant field         It is not the court's role to decide whether an expert
and whether the methodology underlying the expert's           testimony is correct; instead, the court performs a
conclusions is reliable. Zelinski v. Columbia 300, Inc.,      gatekeeping function in which it is "limited to determining
335 F.3d 633, 640 (7th Cir.2003) (citing Smith v.             whether expert testimony is pertinent to an issue in
Ford Motor Co., 215 F.3d 713, 718 (7th Cir.2000)).            the case and whether the methodology underlying that
Thus, the court must undertake a three-step analysis          testimony is sound." Smith, 215 F.3d at 719 (citation
in determining whether expert testimony is admissible         omitted). In determining whether the "reasoning or
under Rule 702. First, the witness must be qualified          methodology underlying the testimony is scientifically
"as an expert by knowledge, skill, experience, training,      valid," Daubert, 509 U.S. at 592-93, the court must
or education." Fed.R.Evid. 702. Second, the expert's          consider "whether the testimony has been subjected to
reasoning or methodology underlying the testimony must        the scientific method, ruling out any subjective belief or
be scientifically reliable. Daubert, 509 U.S. at 592-93.      unsupported speculation." Chapman v. Maytag Corp., 297
Finally, the testimony must "assist the trier of fact to      F.3d 682, 687 (7th Cir.2002) (citing Porter v. Whitehall
understand the evidence or to determine a fact in issue."     Labs. Inc., 9 F.3d 607, 614 (7th Cir.1993)).
Fed.R.Evid. 702. The court will apply this three-step
analysis to the expert testimony of Dr. McKinley.             In this case, Dr. McKinley relies on the process of
                                                              differential diagnosis to arrive at his opinion, concluding
The Defendants first argue that Dr. McKinley lacks            that "to a reasonable degree of medical certainty ...
the requisite "knowledge, skill, experience, training, or     the use of the Remicade was the major contributing
education" under Rule 702 to qualify as an expert to give     factor to Mr. Ervin's thrombotic arterial occlusion and
testimony on the causal relationship between Remicade         subsequent below knee amputation." (McKinley Expert
and Ervin's arterial thrombosis. The Defendants aver,         Report 3.) Differential diagnosis, or differential etiology,
and Ervin does not dispute, that Dr. McKinley is not an       is a process by which a physician determines the cause of
expert in epidemiology or biostatistics. (McKinley Dep.       a patient's symptoms by first determining, or "ruling-in,"
50:6-9.) Likewise, he is not a gastroenterologist and has     all plausible causes for the patient's symptoms and then
never prescribed Remicade. However, Dr. McKinley is a         eliminating each of these potential causes until reaching
practicing board certified internal medicine and critical     one that cannot be ruled out or determining which of
care specialist. He has experience treating patients with     those that cannot be excluded is the most likely. This
Crohn's disease. (/d. 41:6-8.) As a practicing internist,     technique "has widespread acceptance in the medical
he often uses the process of differential diagnosis to        community, has been subject to peer review, and does
make diagnostic and therapeutic decisions for patient         not frequently lead to incorrect results." In re Paoli
care. (McKinley Expert Report 2.) In addition, he             R.R. Yard PCB Litig., 35 F.3d 717, 758 (3d Cir.1994).
lectures on thrombophilia (McKinley Dep. 136: 12-13),         While the Seventh Circuit has not directly addressed
which is "a disorder of the hemopoietic system in which       whether a proper differential diagnosis can satisfy Rule
there is a tendency to the occurrence of thrombosis."         702 and Daubert, the majority of the courts of appeals
Stedman's Medical Dictionary 1831 (27th ed.2000). For         has recognized the technique as valid and reliable. See
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 Feliciano-Hill v. Principi, 439 F .3d 18, 25 (1st Cir.2006)     from case to case.") Thus, an expert's use of differential
 (finding that differential diagnosis is a reliable technique    diagnosis is reliable and valid only if the expert applied the
 under Daubert ); Bitler v. A. 0. Smith Corp., 391 F.3d          technique in a manner which is also reliable. In this case,
 1114, 1123-1124 (lOth Cir.2004) (finding that differential      the court finds two critical flaws in the manner in which
 diagnosis is "a common method of analysis" and is               Dr. McKinley applied the differential diagnosis. Due to
 reliable under Daubert); Clausen v. M/V New Carissa, 339        these flaws, the diagnosis itself is not sufficiently reliable
 F.3d 1049, 1058-59 (9th Cir.2003) (recognizing differential     to satisfy Daubert.
 diagnosis as a reliable method); Mattis v. Carlon Elec.
 Prods., 295 F.3d 856, 861 (8th Cir.2002) (holding that
 "[a] medical opinion based upon a proper differential               1. Flaw in Rule-In Aspect of Differential Diagnosis
diagnosis is sufficiently reliable to satisfy Daubert" );         In a proper differential diagnosis, the physician's first
 Hardyman v. Norfolk & W Ry. Co., 243 F.3d 255, 261              step is to "rule-in" all of the scientifically plausible
 (6th Cir.2001) (recognizing differential diagnosis as an        causes for the patient's symptoms. This step of the
acceptable method of determining causation); Westberry            diagnosis includes the general causation aspect of the
 v. Gislaved Gummi AB, 178 F.3d 257, 262 (4th Cir.l999)          test. In other words, in order to rule-in a plausible
(holding that differential diagnosis is a reliable technique     cause, the expert must first reach the determination that
"of identifying the cause of a medical problem by                the suspected cause is actually capable of causing the
eliminating the likely causes until the most probable one is     injury. Expert opinion on the issue of general causation
isolated"); Zuchowicz v. United States, 140 F.3d 381, 387        must be derived from a scientifically valid methodology.
(2d Cir.1998) (upholding district court decision to admit        In this case, Dr. McKinley rules-in Remicade as a
differential diagnosis testimony); In re Paoli, 35 F.3d at       plausible cause for the arterial thrombosis, and, in
758 (same). But see Rink v. Cheminova, Inc., 400 F.3d            doing so, finds that Remicade is actually capable of
1286, 1295 (11th Cir.2005) (holding that in the context          causing the arterial thrombosis. Dr. McKinley provides
of summary judgment, differential diagnosis evidence by          no epidemiological studies linking Remicade to arterial
itself does not suffice for proof of causation).                 thrombosis and provides no physiological explanation
                                                                 as to how Remicade would cause arterial thrombosis.
 *6 However, while these courts recognize the                    Instead, he bases the ruling-in (or general causation)
methodology of differential diagnosis as scientifically          aspect of his opinion on the temporal proximity between
valid, the same courts also warn that opinions based             the infusion of the drug and the development of the clot,
on differential diagnosis must be analyzed on a case-            and upon a limited number of case reports, which were
by-case basis, ensuring that the expert's application of         reported in the manufacturer's Periodic Safety Update
the technique is reliable and proper in each case. As the        Reports (PSUR) to the FDA, that also demonstrate a
Eleventh Circuit explained:                                      temporal proximity.

  [A]n expert does not establish the reliability of his          Courts should treat with caution those expert opinions
  techniques or the validity of his conclusions simply by        based on case reports. As one court explained, "case
  claiming that he performed a differential diagnosis on         reports are merely accounts of medical events." Rider
  the patient.. .. "No one doubts the utility of medical         v. Sandoz Pharms. Corp., 295 F.3d 1194, 1199 (11th
  histories in general or the process by which doctors rule      Cir.2002). A doctor makes a case report when a patient
  out some known causes of disease in order to finalize          demonstrates adverse symptoms that are . temporally
  a diagnosis. But such general rules must ... be applied        connected with the prescribed drug. The reports contain
  fact-specifically in each case."                               very basic information, often omitting patient histories,
                                                                 descriptions of the course of treatment, and reasoning to
McClain v. Metabolife Int'l, Inc., 401 F.3d 1233, 1253           exclude other possible causes. "Case reports make little
(11th Cir.2005) (quoting Black v. Food Lion, Inc., 171           attempt to screen out alternative causes for a patient's
F.3d 308, 314 (5th Cir.1999)); see also In re Paoli, 35          condition. They frequently lack analysis. And they often
F.3d at 758 (Differential diagnosis "is a method that            omit relevant facts about the patient's condition. Hence,
involves assessing causation with respect to a particular        'causual attribution based on case studies must be
individual. As a result, the steps a doctor has to take to       regarded with caution." ' Glastetter v. Novartis Pharms.
make that (differential) diagnosis reliable are likely to vary   Corp., 252 F.3d 986, 989-90 (8th Cir.2001) (quoting
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 Reference Manual on Scientific Evidence 475 (Federal                      arterial thrombosis events indicated in PSUR (9)
 Judicial Center 2000)); see also Rider, 295 F.3d at 1199                  that occurred after PSUR (8), which was just one
 (affirming the district court's exclusion of expert testimony             additional case of arterial thrombosis.
 based on case reports because "they do not rule out               Ervin suffers from a severe case of C1·ohn's. Prior to the
 the possibility that the effect manifested in the reported        Remicade treatments, his Crohn's was so severe that Ervin
patient's case is simply idiosyncratic or the result of            required two to three blood transfusions every two weeks.
 unknown confounding factors"); Hollander v. Sandoz                (McKinley Dep. 58:4-6.) Case studies have also shown
 Pharms. Corp., 289 F.3d 1193, 1209-12 (lOth Cir.2002)             a temporal relationship between Crohn's disease and
(same); Meister v. Med. Eng'g Corp., 267 F.3d 1123,                arterial thrombosis. One peer-reviewed article describes a
 1129 (D.C.Cir.2001) (same); Caraker v. Sandoz Pharms.             case study of 7199 patients with Crohn's disease at the
 Corp., 188 F.Supp.2d 1026, 1035 (S.D.Ill.2001) (same);            Mayo Clinic from 1970 to 1980. Robert W. Talbot et al.,
Lennon v. Norfolk & W Ry. Co., 123 F.Supp.2d 1143,                 Vascular Complications of Inflammatory Bowel Disease,
 1152-53 (N.D.Ind.2000) (same). Indeed, Dr. McKinley               61 Mayo Clin. Proc. 140 (1986). Of those 7199 patients,
agrees that a doctor should not rely merely on case                seven developed arterial thrombosis, which results in a
studies to establish a causal relationship. (McKinley Dep.         percentage of 0.1 %. I d. at 142. Dr. McKinley qualifies this
129:11-18, 130:20-23.) In essence, the case reports do little      number by observing that six of these seven occurrences
more than establish a temporal association between an
                                                                   were with post-operative patients. 4 Even if the six post-
exposure to a drug and a particular occurrence. Granted,
                                                                   operative occurrences were not considered, then the study
"an overwhelming amount of case reports of a temporal
                                                                   still shows that one out of7199 Crohn's patients (0.014%)
proximity between a very specific drug and a very
                                                                   in the case study developed an arterial thrombosis. This
specific adverse event might be enough to make a general
                                                                   is admittedly a low figure, and for that reason, Dr.
causation conclusion sufficiently reliable." Caraker, 188
                                                                   McKinley will not rule-in Crohn's as a plausible cause
F.Supp.2d at 1035. Here, Dr. McKinley believed he saw
                                                                   in his differential diagnosis. The court understand's Dr.
"enough" occurrences of arterial thrombosis in these case
                                                                   McKinley's reasoning for not ruling in Crohn's with
reports to justify ruling-in Remicade as a plausible cause
                                                                   the case study demonstrating such a low occurrence.
of the arterial thrombosis. (McKinley Dep. 129:12-23.)
                                                                   However, what the court does not understand and what
                                                                   most concerns the court is that Dr. McKinley has no
 *7 Despite Dr. McKinley's concerns, the case reports
                                                                   problem ruling-in Remicade, with an occurrence rate of
show a relatively small number of occurrences of arterial
                                                                   0.006% in the case reports, but refuses to rule-in Crohn's
thrombosis. As of August 23, 2003, 492,874 patients had
                                                                   because its occurrence rate of 0.014% to 0.1% is too low.
been exposed to Remicade. (PSUR (8), 2/03-8/03, pg. 1.)
                                                                   The decision to rule-in Remicade is not only based on
Of those 492,874 patients, there had only been twenty-
                                                                   unreliable data demonstrating an insignificant occurrence
nine case reports indicating arterial thrombosis (PSUR
                                                                   rate, but it is also inconsistent with his decision not to rule-
(9), 8/03-2/04, pg. 152). 3 Again, very little is known about      in Crohn's. Thus, the court finds that his application of the
these twenty-nine incidents or about possible contributing         differential diagnosis technique is unreliable and fails the
factors. Even so, twenty-nine occurrences out of 492,874
                                                                   standards set forth in Rule 702 and Daubert. 5
patients results in a percentage of 0.006%. This low figure
does not appear to justify ruling in Remicade as a plausible
                                                                   4      The court notes that due to the limited information
cause. But even if it does, then Dr. McKinley should have
                                                                          available in the case reports regarding the twenty-nine
also considered, or ruled-in, Ervin's Crohn's disease as a
                                                                          occurrences of arterial thrombosis associated with
plausible cause of the arterial thrombosis.
                                                                          Remicade, the court does not know how many of
                                                                          those twenty-nine patients were also post-operative.
3        The February 2004 PSUR (9) actually indicates                    This fact illustrates the problem with relying on case
         that there have been a total of 30 reported arterial             reports in support of a medical opinion.
         thrombosis. However, PSUR (9) does not provide a
                                                                   5      In addition, Dr. McKinley appears to call into doubt
         total patient exposure number as of February 2004,
         so the court will use the total patient exposure number          his own opinion. When confronted with scientific
         of 492,874 that is indicated in the August 2003 PSUR             medical literature associating arterial thrombosis
         (8). In doing so, the court will also subtract the               with Crohn's disease and asked how that information
                                                                          would affect his opinion, he admits that in 2001, he
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       did not know of an association between Crohn's and        seems to occur more frequently in subjects with [Protein
       thrombosis, and that now "I am aware there are more       S] deficiency than in other thrombophilic states." Scott
       cases [associating Crohn's with arterial thrombosis]      H. Goodnight & William E. Hathaway, Disorders
       out there than there were then [in 2001]. I wish I        of Hemostasis and Thrombosis 377-78 (2001). Upon
       had known those things then. I didn't .... I would        further questioning, even Dr. McKinley concedes that
       have to reinterpret this case in a completely different
                                                                 he is aware of some rare reports associating protein
       way .... I have to look at the way I thought then
                                                                 S deficiencies with arterial disease. (McKinley Dep.
       and I could probably look at the way I could think
                                                                 85:23-86:4.) Furthermore, in May 2002, one year after
       now." (McKinley Dep. 98:18-102:19.) In forming his
       opinion, Dr. McKinley should consider all evidence,
                                                                 his arterial thrombosis and subsequent amputation, Ervin
       including evidence he has learned since the time of the   developed a cerebral vein thrombosis. Ervin had not
       injury in May 2001. He does not appear to do so here.     undergone any Remicade treatments since the previous
                                                                 incident and the cerebral vein thrombosis was completely
   2. Flaw in Rule-Out Aspect of Differential Diagnosis          unrelated to Remicade. (Id. 156:19-25.) In July 2002,
After properly ruling-in all of the plausible causes of          one month after the cerebral thrombosis, lab reports
the patient's symptoms, the physician's next step in the         indicated that his Protein S level was at 33(% (Mot. Limine
differential diagnosis is to eliminate, or "rule-out," each      Br., Ex.l5), which, according to Dr. McKinley, was
of these potential causes until reaching one that cannot         significantly low (McKinley Dep. 84:11-14). Despite the
be ruled out or determining which of those that cannot           fact that the significantly low Protein S level in 2002 could
be excluded is the most likely. This step of the diagnosis       be indicative of some type of thromboembolic potential
includes the specific causation aspect of the test. In this      (!d. 105:20-24), Dr. McKinley nevertheless did not include
case, Dr. McKinley ruled-in multiple plausible causes            the 2002 level in considering whether a low Protein S level
(but, as explained above, failed to rule-in Crohn's),            could had played a part in his 2001 arterial thrombosis.
including deficient Protein S levels, viscosity of the           But he concedes that if he were to form an opinion today,
blood, elevated platelet count, vasculitis, and Remicade.        including consideration of the 2002 Protein S level, he
(McKinley Dep. 96:5-25.) Dr. McKinley was able to rule-          "would have to add this to the list of possibilities." (/d.
out each of these plausible causes, except for Remicade.         106:8-9.)
Accordingly, he opines that Remicade was the most likely
cause of the arterial thrombosis.                                Dr. McKinley admits that a significantly low Protein
                                                                 S level has been associated, at least in some cases,
 *8 Dr. McKinley ruled-out the possibility that a                with arterial thrombosis. He further admits that Ervin's
low Protein S activity level could have caused the               significantly low ProteinS level in 2002 could be indicative
arterial thrombosis. Protein S is a naturally occurring          of a hypercoagulability syndrome (!d. 107:2-4), which
anticoagulant-when it is low, the blood has a higher             should also be added to the list of plausible causes. He
tendency to clot. Lab reports taken during Ervin's               provides no reason to rule-out this plausible cause (at
hospitalization in May 2001 show that he had a Protein           least not with the 2002 Protein S levels). Accordingly, Dr.
S activity level of 61%. (Mot. Limine Br., Ex. 14.)              McKinley's differential diagnosis fails to demonstrate how
The lab report defined 61% as "Low." However, Dr.                Remicade is a more likely cause than a low Protein S level.
McKinley asserts that a Protein S activity level above 50%
is not clinically significant. (McKinley Dep. 84: 11-14.)         *9 The flaws in Dr. McKinley's differential diagnosis, as
In addition, Dr. McKinley recognized that a deficient            explained above, leave his diagnosis unreliable under the
Protein S level is "only associated with venous disease,"        standards set forth in Rule 702 and Daubert. 6 As such,
and is not pertinent to arterial disease. (!d. 85: 18-23.)       the court will GRANT the Defendants motion in limine
Because his level was not significantly low and because          and exclude the expert testimony of Dr. McKinley. Ervin
he had suffered an arterial event, Dr. McKinley ruled-           has no other expert testimony on the issue of medical
out low Protein S as the specific cause of Ervin's arterial      causation and each of his counts against the Defendants
thrombosis.                                                      will fail for lack of satisfying the requisite causation
                                                                 element. Accordingly, the Defendants are entitled to
A problem arises in Dr. McKinley's reasoning because,            summary judgment on all counts.
as noted in one medical textbook, "[a]rterial thrombosis
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                                                                    testimony of Dr. McKinley (Docket No. 43), and
6     These same considerations would have also precluded
                                                                    GRANTS the Defendants' motion for summary judgment
      Dr. McKinley's opinion at the third step of the Rule
                                                                    (Docket No. 39). Because the Defendants are entitled
      702 analysis in that his inadequate analysis would not
                                                                    to summary judgment, the Plaintiffs motion to exclude
      have aided the jury in understanding the causation
      question or in determining whether Remicade was the
                                                                    aspects of the Defendants' expert witnesses' opinions
      cause of the arterial thrombosis. Without repeating           (Docket No. 40) need not be addressed. It therefore is
      the discussion above, Dr. McKinley's conclusions              DENIED AS MOOT. The court directs the Clerk to
      would have only justified speculation on the part             enter judgment in favor of the Defendants Centocor and
      of the jurors as to causation and would not have              Johnson & Johnson.
      provided a sound basis for a decision in the Plaintiffs
      favor.
                                                                    All Citations
IV. CONCLUSION
                                                                    Not Reported m F.Supp.2d,                2006 WL        1529582,
For the foregoing reasons, the court GRANTS the
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Defendants' motion in limine to exclude the expert

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